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                          Case Nos. 2023-1093, -1141

UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT


                  VANDEWATER INTERNATIONAL INC.

                                           Plaintiff,

                        SIGMA CORPORATION,
                 SMITH-COOPER INTERNATIONAL, INC.,

                                           Plaintiffs-Appellants,

                                      v.

                              UNITED STATES

                                           Defendant-Appellee.


         On Appeal from the United States Court of International Trade
              Case No. 18-00199, Hon. Leo M. Gordon, Judge


                    OPENING BRIEF OF
  PLAINTIFF-APPELLANT SMITH-COOPER INTERNATIONAL, INC.


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Dated: January 9, 2023
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2023-1093, -1141
   Short Case Caption Vandewater International Inc. v. US
   Filing Party/Entity Smith-Cooper International, Inc.



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
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  complete to the best of my knowledge.


        01/09/2023
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                                            Name:         Gregory S. McCue
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FORM 9. Certificate of Interest                                                       Form 9 (p. 2)
                                                                                         July 2020


     1. Represented                    2. Real Party in            3. Parent Corporations
         Entities.                         Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).          Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of         Provide the full names of       Provide the full names of
 all entities represented          all real parties in interest    all parent corporations
 by undersigned counsel in         for the entities. Do not        for the entities and all
 this case.                        list the real parties if        publicly held companies
                                   they are the same as the        that own 10% or more
                                   entities.                       stock in the entities.

                                   ✔ None/Not Applicable
                                   ☐                               ☐ None/Not Applicable

Smith-Cooper International, Inc.                                  ASC Engineered Solutions




                                      Additional pages attached
                  Case: 23-1093                Document: 12   Page: 4   Filed: 01/09/2023



FORM 9. Certificate of Interest                                                             Form 9 (p. 3)
                                                                                               July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
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           None/Not Applicable                                Additional pages attached




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
           None/Not Applicable                                Additional pages attached
   Carbon Steel But-Weld Pipe Fittings from
 Peoples Republic of China; SCO - Vandewater         A-570-814           Department of Commerce

Smith-Cooper International, Inc,                      19-00011          Court of International Trade




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔        None/Not Applicable                                Additional pages attached
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I.    Statement of Related Cases

      Counsel for Plaintiff-Appellant Smith-Cooper International, Inc. (“SCI”) is

aware of no other appeal in or from the same civil action or proceeding in the

lower court that was previously before this Court or any other appellate court.

      Counsel for SCI is aware of two cases currently stayed at the U.S. Court of

International Trade (“CIT”) that may be directly affected by this Court’s decision

in the pending appeal. These are: Smith-Cooper International, Inc. v. United

States (CIT No. 19-00011) (“SCI”) and SIGMA Corporation v. United States (CIT

No. 19-00003) (“SIGMA”).

II.   Jurisdictional Statement

      This is an appeal from the final judgment of the CIT in Vandewater

International Inc. v. United States (CIT No. 18-00199) (“Vandewater”), Slip Op.

22-104 (Ct. Int’l Trade Sept. 8, 2022) (“CIT (k)(2) Opinion”), which affirmed the

U.S. Department of Commerce’s (“Commerce”) final remand redetermination

pursuant to court order and under 19 C.F.R. § 351.225(k)(2) (“(k)(2)”). Appx1-

Appx20. This appeal also covers the CIT’s intermediate decisions on Commerce’s

initial scope rulings underlying the Vandewater, SCI, and SIGMA proceedings.

These decisions are:




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(1) the CIT’s decision dated June 3, 2020 in the Vandewater, SCI, and SIGMA

proceedings, which held that the plain language of the antidumping duty order

scope at issue is not dispositive as to the question of inclusion or exclusion of the

plaintiffs’ respective welded outlet products under the order (“CIT (k)(0)

Opinion”), Appx143-Appx148; and (2) Slip Op. 20-146 (Ct. Int’l Trade Oct. 16,

2020) in the Vandewater proceeding, which remanded Commerce’s initial scope

ruling under 19 C.F.R. § 351.225(k)(1) (“(k)(1)”) back to the agency for further

analysis under 19 C.F.R. § 351.225(k)(2) (“CIT (k)(1) Opinion”), Appx125-

Appx130. The CIT exercised jurisdiction pursuant to 28 U.S.C. § 158l(c) and 19

U.S.C. § 1516a(a)(2)(B)(vi).

       SCI timely filed its notice of appeal on November 1, 2022, within sixty days

of the CIT’s September 8, 2022 entry of final judgement. This Court has exclusive

jurisdiction over appeals from final decisions of the CIT under 28 U.S.C. §

1295(a)(5).

III.   Statement of the Issues

This appeal presents the following questions:

   1. Is the plain language of the scope of the antidumping duty order on butt-

       weld pipe fittings from China (“AD Order”) unambiguous and, if so, are

       welded outlets excluded from the scope pursuant to this language?




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      2. Alternatively, if the plain language of the AD Order’s scope is not

         unambiguous, are the enumerated sources of 19 C.F.R. § 351.225(k)(1)

         dispositive regarding the exclusion of welded outlets from the scope?

      3. Alternatively, if the enumerated sources of 19 C.F.R. § 351.225(k)(1) are not

         dispositive, and Commerce’s final remand redetermination under 19 C.F.R.

         § 351.225(k)(2) is upheld, what is the effective date for suspension of

         liquidation of entries under such determination?

IV.      Statement of the Case

         On July 6, 1992, Commerce published the antidumping duty order on certain

steel butt-weld pipe fittings from China. Certain Carbon Steel Butt-Weld Pipe

Fittings from the People’s Republic of China, 57 Fed. Reg. 29,702 (Dep’t of

Commerce July 6, 1992) (“AD Order”). The scope of the AD Order covers (in

relevant part):

               Carbon steel butt-weld pipe fittings, having an inside
               diameter of less than 14 inches, imported in either
               finished or unfinished form. These formed or forged pipe
               fittings are used to join sections in piping systems where
               conditions require permanent, welded connections, as
               distinguished from fittings based on other fastening
               methods (e.g., threaded, grooved, or bolted fittings).

Id.

         From May to August 2018, Vandewater International Inc. (“Vandewater”),

SIGMA Corporation (“SIGMA”), and SCI (collectively, “importers”) filed


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separate scope ruling requests with Commerce. The importers provided detailed

information demonstrating that their respective welded outlet products are not butt-

weld pipe fittings, and are excluded from the scope of the AD Order. Appx167-

Appx451 (Vandewater); Appx3271-Appx3313 (SIGMA); Appx3728-Appx3987

(SCI). SCI’s request included photographs and diagrams illustrating the clear and

substantial physical differences between butt-weld fittings and welded outlets.




                              Butt-Weld Pipe Fittings




 Butt-Weld Fittings Illustrating the Shallow Channel for a Weld Bead Created by Joining
                              Flat Ends Along the Same Plane
          SCI Scope Ruling Request (August 13, 2018) at 13, Appx3740




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                     SCI’s Welded Outlets




Threaded Cooplet (61CG)                   Grooved Cooplet (61FT)
 SCI Scope Ruling Request (August 13, 2018) at 4, Appx3731




               Cross-Section of Grooved Cooplet
           When Attached to Run Pipe with Fillet Welds

 SCI Scope Ruling Request (August 13, 2018) at 5, Appx3732


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           Grooved Outlet with Fishmouth Opening

SCI Scope Ruling Request (August 13, 2018) at 5, Appx3732




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           SCI’s Welded Outlets Alongside Butt-Weld Pipe Fitting




Threaded and Grooved Cooplets Placed Against the End of a Butt-Weld Fitting, With No
                     Shallow Channel Created For Weld Bead
          SCI Scope Ruling Request (August 13, 2018) at 16, Appx3743


      In their scope ruling requests, the importers demonstrated that their welded

outlet products are excluded from the scope of the AD Order pursuant to (1) the

plain language of the scope; (2) the enumerated sources of 19 C.F.R. §


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351.225(k)(1) (“(k)(1) sources”), i.e., the petition, the initial investigation, and the

determinations of the Secretary (including prior scope determinations) and the

International Trade Commission (“ITC”); and (3) the factors listed in 19 C.F.R. §

351.225(k)(2) (“(k)(2) factors”), i.e., the physical characteristics of the product, the

expectations of the ultimate purchasers, the ultimate use of the product, the

channels of trade in which the product is sold, and the manner in which the product

is advertised and displayed.

      In three separate scope rulings, Commerce determined that Vandewater’s,

SIGMA’s, and SCI’s welded outlet products are subject to the scope of the AD

Order pursuant to the (k)(1) sources; Commerce did not analyze the importers’

arguments under the plain language of the scope, nor did it provide analysis under

the (k)(2) factors. Appx131-Appx142 (Vandewater); Appx3711-Appx3727

(SIGMA); Appx4081-Appx4098 (SCI).

      Vandewater, SIGMA, and SCI each timely appealed Commerce’s scope

rulings to the CIT. Due to the similarity of the products and rulings at issue, the

plaintiffs moved to consolidate the three appeals. See, e.g., Appx4099-Appx4103;

Appx4104-Appx4110. The CIT denied the motions for consolidation, and instead

determined that “all three actions should proceed in parallel.” Appx4111-

Appx4113; Appx4114-Appx4116; Appx4122-Appx4123. Along these lines, the

CIT first instructed the parties to the below proceedings to brief “the threshold


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(k)(zero) issue . . . the legal issue of whether the term ‘butt-weld’ has an

unambiguous meaning.” Appx4114-Appx4116; Appx4117-Appx4121;

Appx4124-Appx4125. Following the briefing of the (k)(0) issues by the parties to

the below proceedings from September to November 2019, the CIT issued the

same decision simultaneously in the three proceedings, holding that the plain

language of the AD Order’s scope, including the term “butt-weld,” is not

unambiguous. Appx143-Appx148.

      Reversing its earlier determination that “all three actions should proceed in

parallel,” and without any request from the parties, the CIT then stayed the SCI and

SIGMA proceedings until 30 days after the final resolution of the Vandewater

proceeding, including all appeals. The CIT thus considered the next question

before it – whether the (k)(1) sources speak definitively to the inclusion or

exclusion of welded outlets from the scope of the AD Order – only as to the

Vandewater proceeding and the related administrative record before Commerce.

Following the briefing of issues related to the (k)(1) sources by the parties below

from June to August 2020, the CIT held that, contrary to Commerce’s

determination in its original Vandewater scope ruling, the (k)(1) sources are not

dispositive. The CIT thus remanded to Commerce for analysis under the (k)(2)

factors. Appx125-Appx130.




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      Commerce’s final remand redetermination analyzing the (k)(2) factors,

which found welded outlets subject to the scope of the AD Order, was filed with

the CIT on July 23, 2021. Appx21-Appx124. Comments on Commerce’s final

remand redetermination were filed at the CIT by the parties below between

September 2021 and January 2022. Between July and August 2022, the CIT

engaged – through letters and teleconferences – with the parties below to discuss

several aspects of the parties’ arguments concerning Commerce’s final remand

redetermination. In its September 8, 2022 opinion, the CIT affirmed Commerce’s

final remand redetermination and held, inter alia, that SCI had forfeited its

arguments concerning the effective date for suspension of liquidation for entries

subject to the final remand redetermination. Appx1-Appx20.

V.    Summary of Argument

      The plain language of the AD Order’s scope contains multiple unambiguous

terms that exclude welded outlets of the kind imported by the importers. The

records before Commerce included substantial evidence concerning the

unambiguous meaning of the term “butt-weld” and that welded outlets do not meet

this meaning. Additionally, the records before Commerce included substantial

evidence concerning the meanings of other unambiguous language in the scope,

which covers only goods that are (1) “formed” or “forged,” (2) not based on

“grooved” or “threaded” fastening methods, and (3) designed to “join sections in


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piping systems where conditions require permanent, welded connections.” Welded

outlets also do not match any of these unambiguous scope criteria. The CIT erred

in finding that the term “butt-weld” is not unambiguous by relying on non-record

evidence and an inapposite prior Commerce scope ruling. Also, the CIT altogether

failed to address SCI’s arguments concerning the unambiguous meanings of the

other scope terms. Accordingly, the CIT’s (k)(0) decision cannot stand. Instead,

substantial record evidence supports the unambiguous meaning of the AD Order’s

scope language and the exclusion of welded outlets from the scope based on this

language.

      Even if the Court were to find ambiguity in the relevant scope language,

such that analysis under the (k)(1) sources was required, those sources are

dispositive with respect to the exclusion of welded outlets from the scope. The

Petition explicitly requires that: (1) both or all edges of the fitting are beveled; (2)

the fitting is designed to connect to the end of a pipe; and (3) the beveled edge of

the fitting is designed to be set against another beveled edge on the connecting

pipe, so that the two beveled edges create a channel for welding. The Petition also

lists the basic shapes of the subject merchandise: elbows, tees, caps, and reducers.

As the Vandewater record before Commerce demonstrated, welded outlets meet

none of these requirements and do not match any of these shapes. Similarly,

language from the ITC includes several key requirements of the subject


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merchandise: (1) the presence of beveled edges (plural); (2) the presence of

welded connections (plural); (3) the exclusion of “threaded” or “grooved” ends,

which indicates a “different type of fastening method”; and (4) placement against

the beveled end of a pipe. The ITC also listed the same basic shapes of the subject

merchandise identified by the Petition. Welded outlets meet none of these

requirements and do not match any of these shapes. The aforementioned

descriptions from the Petition and the ITC are consistent with Commerce’s prior

Forged Steel Fittings scope ruling, a (k)(1) source, in which the agency determined

that a butt-weld fitting is “butt welded at both end connections” (unlike welded

outlets). And, importantly, the relevant industry standards applicable to the subject

merchandise – ASTM A234-82a for materials and ANSI B16.9 for dimensions –

identified in the Petition and by the ITC’s determination in the original

investigation, among other (k)(1) sources, are not applicable to welded outlets.

Accordingly, the CIT’s (k)(1) decision cannot stand, as substantial record evidence

demonstrates that the (k)(1) sources are dispositive and confirm the exclusion of

welded outlets from the AD Order’s scope.

      Finally, if the Court were to find that the (k)(1) sources do not confirm the

exclusion of welded outlets from the scope, this Court should address the CIT’s

error regarding the effective date for suspension of liquidation of entries under

Commerce’s final remand redetermination under (k)(2). Here, Commerce’s


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regulations explicitly state that, “where there has been no {prior} suspension of

liquidation” (as here), suspension of liquidation and cash deposits shall apply to

entries “entered, or withdrawn from warehouse, for consumption on or after the

date of initiation of the scope inquiry.” 19 C.F.R. § 351.225(l)(3). The regulations

allow “continued” suspension of liquidation only when “the product in question is

already subject to suspension of liquidation.” 19 C.F.R. § 351.225(l)(1), (l)(3).

Yet here, Commerce proposes to apply suspension and collection of cash deposits

to entries made prior to the date of initiation, where the product in question was not

yet subject to suspension, on the ground that some other product in the same entry

happened to be suspended. Despite the absurdity of this position under the

regulations, the CIT refused to consider this issue, asserting that such arguments

were forfeited. However, because this issue was briefed fully by SCI to both

Commerce and the CIT, there is no plausible assertion that it was forfeited.

Accordingly, should this Court affirm Commerce’s final remand redetermination

under (k)(2), it should find that suspension of liquidation applies only to entries

made on or after October 30, 2020, or alternatively, instruct the CIT to rule on this

issue in the first instance.




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VI.   Argument

      A.     Standard of Review

      This Court reviews the CIT’s rulings de novo, applying the same standard of

review used by the CIT to review Commerce’s determinations. Downhole Pipe &

Equip., L.P. v. United States, 776 F.3d 1369, 1373 (Fed. Cir. 2015). An agency

determination, finding, or conclusion will only be sustained if it is supported by

substantial evidence on the record or otherwise in accordance with law. SKF USA,

Inc. v. United States, 537 F.3d 1373, 1377 (Fed. Cir. 2008). Substantial evidence is

“more than a mere scintilla” of supportive record information. Altx, Inc. v. United

States, 370 F.3d 1108, 1116 (Fed. Cir. 2004) (citation omitted). Rather, substantial

evidence is “such relevant evidence as a reasonable mind might accept as adequate

to support a conclusion.” Am. Silicon Techs. v. United States, 334 F.3d 1033, 1037

(Fed. Cir. 2003).

      Commerce’s scope determinations must be based on substantial evidence.

Whirlpool Corp. v. United States, 890 F.3d 1302, 1307 (Fed. Cir. 2018)

(“Whirlpool”) (“we uphold a Commerce scope ruling that is supported ‘by

substantial evidence on the record’ and otherwise ‘in accordance with law’”)

(citing Meridian Prods. v. United States, 851 F.3d 1375, 1380 (Fed. Cir. 2017)

(“Meridian”). “Commerce’s inquiry begins with the Order{’}s scope to determine

whether it contains an ambiguity and, thus, is susceptible to interpretation.” “If the


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scope is unambiguous, the plain meaning of the Order{’}s language governs.” See

Whirlpool, 890 F.3d at 1307-08 (internal citations omitted). If the plain language

of the scope is ambiguous, Commerce may develop its interpretation of the scope

language based on the enumerated sources in its regulations. Id.; 19 C.F.R. §

351.225(k)(1)-(2).

      Any reliance on the enumerated sources in 19 C.F.R. § 351.225(k)(1) must

be supported by substantial evidence. Meridian, 851 F.3d at 1382. Commerce’s

reviewing courts have overturned Commerce’s scope determinations where

“Commerce came forward with no evidence to support the conclusion that {the

product at issue} is in the domestic industry investigated by the Commission.”

A.L. Patterson, Inc. v. United States, 585 Fed. App’x 778, 785-86 (Fed. Cir. 2014).

Elsewhere, the courts have remanded scope determinations to Commerce where

“{t}he petition language Commerce relied upon … {did} not lend support to

Commerce’s interpretation” that the particular product at issue was covered by the

order. Bell Supply Co., LLC v. United States, 955 F. Supp. 3d 1082, 1100 (Ct.

Int’l Trade Apr. 27, 2016). The courts also will find Commerce scope

determinations to be deficient if they do not adequately address how Commerce

“concluded that…prior… proceedings or prior scope determinations compared

with or were distinguishable from the current scope determination.” Shake &

Shingle Alliance v. United States, 415 F. Supp. 3d 1249, 1260 (Ct. Int’l Trade


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Nov. 13, 2019). Ultimately, however, the (k)(1) sources “cannot substitute for

language in the order itself.” “{A} predicate for the interpretive process is

language in the order that is subject to interpretation.” Tak Fat Trading Co. v.

United States, 396 F.3d 1378, 1382-83 (Fed. Cir. 2005) (“Tak Fat Trading”).

      B.        Welded Outlets Are Excluded by the Unambiguous Language of
                the AD Order’s Scope

      In its June 3, 2020 opinion, the CIT erred in failing to recognize the

unambiguous language of the scope that excludes welded outlets. Appx143-

Appx148. Because “butt-weld” and other terms in the AD Order scope language

are unambiguous, and because SCI’s welded outlets do not match these

unambiguous terms, this Court should overturn the CIT’s (k)(0) opinion.

           1.      The “(k)(0)” Standard

      This Court requires that “Commerce’s inquiry must begin with the order’s

scope to determine whether it contains an ambiguity and, thus, is susceptible to

interpretation.” Meridian, 851 F. 3d at 1381. Only “{s}hould Commerce find that

{the} language is subject to interpretation, {may} Commerce … turn to the (k)(1)

factors, i.e., {t}he descriptions of the merchandise contained in the petition, the

initial investigation{,}” and other such material. Maquilacero S.A. De C.V. v.

United States, 256 F. Supp. 3d 1294, 1304 (Ct. Int’l Trade Aug. 30, 2017).

      “{W}hether the unambiguous terms of a scope control the inquiry, or

whether some ambiguity exists, is a question of law” that the court reviews de

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novo. Meridian, 851 F. 3d at 1382 (internal citation omitted). “The relevant scope

terms are ‘unambiguous’ if they have ‘a clearly defined or stated meaning{,}’” and

if the scope is unambiguous, it governs. Id. at 1381 & n.7. Once the court resolves

the issue of whether the terms are unambiguous, “{t}he question of whether a

product meets the unambiguous scope terms then presents a question of fact

reviewed for substantial evidence.” Whirlpool, 890 F.3d at 1308.

          2.    The CIT’s (k)(0) Opinion

      Before the CIT, SCI demonstrated that welded outlets are not covered by the

unambiguous term “butt-weld” pipe fittings. In addition, SCI explained that

welded outlets are not covered by other unambiguous scope terms, which cover

only goods that are (a) “formed” or “forged,” (b) not based on “grooved” or

“threaded” fastening methods, and (c) designed to “join sections in piping systems

where conditions require permanent, welded connections.” SCI Opening Brief

(September 5, 2019), CIT 19-00011 ECF No. 49; SCI Reply Brief (November 8,

2019), CIT 19-00011 ECF No. 57.

      In its cursory, less-than-a-page analysis, the CIT stated that the term “butt-

weld” is not unambiguous because there is not a “a well-known, uniform ‘trade

usage’ of the term.” Appx147. The CIT also stated that the fact that “similar

branch outlets have been included since 1992 under a similar antidumping duty

order covering butt-weld fittings from another country” made it “hard for a


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reasonable mind to be persuaded” that “but-weld” is unambiguous and does not

cover these welded outlets. Id. The CIT’s unsupported and inadequate statements

do not withstand scrutiny.

          3.     Substantial Record Evidence Before Commerce and the CIT
                 Demonstrated the Unambiguous Meaning of a “Butt Weld”
                 and that Welded Outlets Do Not Utilize a Butt Weld

      The CIT’s (k)(0) ruling ignored substantial record evidence presented before

Commerce and the CIT by SCI, SIGMA, and Vandewater concerning (1) the well-

defined and consistently used term “butt-weld” within industry; (2) the different

industry standards applicable to welded outlets on the one hand, and “butt-weld”

pipe fittings on the other; and (3) objective dictionary definitions of the term “butt-

weld.” CIT 18-00199 ECF No. 58; CIT 19-00003 ECF No. 49; CIT 19-00011

ECF No. 49. SCI’s scope ruling request to Commerce also included diagrams

(reproduced below) presenting the clear, observable differences between a butt-

weld and the fillet weld used for outlets. Such substantial evidence should have

led Commerce and the CIT to conclude that welded outlets do not utilize a butt

weld and are therefore not subject to the scope of the AD Order.




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              Contrasting a Butt Weld and Fillet Weld




Fillet Weld on Threaded Cooplet                        Butt Weld

    SCI Scope Ruling Request (August 13, 2018) at 15, Appx3742




                Bevel-to-Bevel Weld on a Butt-Weld Fitting

    SCI Scope Ruling Request (August 13, 2018) at 23, Appx3750




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          4.     The CIT Impermissibly Relied on Non-Record Evidence in
                 Disregarding the Unambiguous Meaning of “Butt-Weld”

      Without any citation whatsoever, the CIT incorrectly stated that the term

“butt-weld” is not unambiguous “largely because {of} a key piece of record

information” which, the CIT asserted, used the terms “threaded butt-welded

outlet,” “grooved butt-welded outlet,” and “butt-weld outlets” in describing various

welded outlets. Appx147. According to the CIT, such usage “weakens any claim

that there is a well-known, uniform ‘trade usage’ of the term ‘butt-weld fitting’ that

excludes {the} Plaintiffs’ merchandise from the Order.” However, no such

documents were ever placed on the administrative records before Commerce (in

the SCI, Vandewater, or SIGMA scope proceedings). Nor was any such

“information” addressed or relied on by Commerce in its scope rulings (in any of

the three aforementioned scope proceedings). Nor was any such “information”

cited in the Government’s briefs to the CIT. Rather, it appears that the CIT

impermissibly relied on an assertion, submitted to Commerce without supporting

documentation.

      In the Vandewater scope proceeding before Commerce, Petitioner Island

Industries (“Island”) asserted, without providing any supporting documentation,

that “Smith-Cooper International, a major industry player, markets Chinese-made

Outlets under the ‘Cooplet’ brand name” and that “{r}ecent public import records

describe these products as ‘butt weld outlets.’” Appx456. Because of the CIT’s

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lack of citation to the record and any meaningful analysis, SCI can only assume

that this is the unsupported assertion relied on by the CIT in its (k)(0) opinion. Not

only did the CIT incorrectly rely on these unsupported assertions made by Island,

but it also failed to meaningfully engage with the arguments presented by SCI to

Commerce on these same points. Specifically, SCI explained to Commerce that

any mention of “butt-weld” products in a limited number of import documents was

the result of human error, and not reflective of the vast majority of SCI’s import

documents or of the consistent and uniform understanding of the term “butt-weld”

in industry, which excludes welded outlets. Appx571. The CIT’s (k)(0) opinion

simply adopted Island’s unsupported assertion and failed to meaningfully address

SCI’s explanations. The CIT also failed to explain how this limited error could

outweigh the thoroughly documented, consistent, and authoritative evidence

presented by SCI, SIGMA, and Vandewater demonstrating that the term “butt-

weld” is, in fact, unambiguous, and that welded outlets do not match this

unambiguous term.

          5.     The CIT’s Reliance on Commerce’s Sprink Scope Ruling is
                 Misplaced

      In its (k)(0) opinion, the CIT held that because “similar branch outlets have

been included since 1992 under a similar antidumping duty order covering butt-

weld fittings from another country,” it is “hard for a reasonable mind to be

persuaded that branch outlets could never be classified as butt-weld fittings

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because there is one, and only one, widely- and well-known ‘trade usage’ of the

term ‘butt-weld fittings.’” Appx147. In reaching this conclusion, the CIT cited

the 1992 Sprink scope ruling, in which Commerce determined that “Sprink-lets,” a

product with one welded end and one grooved or threaded end, are covered under

the AD order on butt-weld fittings from Taiwan. There are fundamental flaws with

this aspect of the CIT’s decision.

      First, the CIT never addressed the information on the record demonstrating

the likelihood that the Sprink scope ruling was incorrectly decided.1

      Second, Commerce itself determined in this very case that, because the

Sprink scope ruling was decided under a different order, with different scope

language, Sprink does not control the interpretation of the AD order on butt-weld

pipe fittings from China.2 Commerce stated:


1
  The 1992 Sprink ruling had multiple deficiencies. Procedurally, the scope ruling
was made based on a one-page letter and three sheets of data submitted by Sprink,
Inc., with no input from any other industry participants. Additionally, the ruling
failed to address several reasons why Sprink-lets were not covered by the Taiwan
order, including that these products do not have butt-welds on both ends, do not
have a beveled end-to-beveled end connection with a pipe, and do not conform to
the shapes typical of butt-weld pipe fittings, per the relevant industry standard
(ASME B16.9). Appx3755-Appx3761.
2
 There are several differences between the scope language of the Taiwan and
China orders. While the Taiwan order covers a broader range of products (“butt-
weld type fittings” (emphasis added)), the China Order only covers “butt-weld
pipe fittings.” The China Order also limits the scope to fittings used “to join
sections in piping systems where conditions require permanent, welded
connections,” but this limitation is absent in the Taiwan order. And, the China
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             We agree that the products at issue in the Sprink Scope
             Ruling were similar to SCI’s … weld outlets. However,
             we note that Commerce analyzed those products under
             the Taiwan Butt-Weld Order and not the China Butt-
             Weld Order. We recognize that some of the language in
             both orders is the same, but … there is also language
             unique to the China Butt-Weld Order. Accordingly, we
             are not bound by the agency’s analysis in the Sprink
             Scope Ruling.

Appx4097. The CIT’s position is patently unreasonable in giving such weight to

this deeply flawed, older ruling, under a different order with different scope

language, while never addressing Commerce’s explicit determination to disregard

that ruling in the present case.

      Third, the CIT failed to explain why the Sprink scope ruling should be

accorded more weight than the more contemporaneous Forged Steel Fittings scope

ruling (also under different orders), which determined that in order to be “butt-

weld”, a fitting must have butt welds on both ends. See Forged Steel Fittings from

China, Italy, and Taiwan: Final Scope Determination Decision Memorandum

(July 23, 2018) (“Forged Steel Fittings scope ruling”) at 8-9 (“{o}utlets with a

socket-weld or threaded end connection, or with only one butt weld end



Order focuses on piping systems in conditions requiring permanent welding, as
opposed to those with “threaded, grooved, or bolted fittings,” while the Taiwan
Order does not. Appx3760-Appx3761. Commerce recognized the existence of
the differing language in its SCI Scope Ruling (“{w}e recognize that some of the
language in both orders is the same, but, … there is also language unique to the
China Butt-Weld Order”). Appx4097.
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connection, are not considered a butt weld fitting”), Appx590-Appx601. In light

of the failure to address the clear conflict between the Sprink and Forged Steel

Fittings scope rulings, the CIT’s reliance on Sprink cannot stand.

            6.   The CIT Failed to Address Other Unambiguous Terms in the
                 Scope Language, Also Excluding Welded Outlets

      In addition to “butt-weld,” there are multiple other unambiguous terms in the

scope language. SCI presented each of these points to the CIT. SCI Opening Brief

(September 5, 2019). But, the CIT failed entirely to address them. Each of these

terms is unambiguous, and each one is sufficient to demonstrate the exclusion of

welded outlets from the scope. Accordingly, this Court should rule that these

additional terms are unambiguous and that welded outlets do not match their

meanings.

                   a.       “Formed” or “Forged”

      The scope is explicitly limited to products that are “formed or forged,” and

each of these terms carry unambiguous meanings. A fitting is “formed” when the

metal is reshaped through mechanical deformation without any change to its mass.

SCI Opening Brief (September 5, 2019) at 7-8. A fitting is “forged” if it is created

using techniques such as hammering, rolling, and pressing, to create the shape of

the fitting. Id., citing ASTM Dictionary of Engineering Science & Technology

(2004) at 257 (SCI Scope Ruling Request (August 13, 2018) at Exhibit 13),

Appx3969. As described by the ITC, such forming processes may include being

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“heated to a cherry red, . . . then pushed over a mandrel” or “formed in a series of

progressively smaller dies in a swedge press.” Such forging processes may include

being “hammer-forged to size.” Certain Carbon Steel Butt-Weld Pipe Fittings

from China and Thailand, Determinations of the Commission in Investigations

Nos. 731-TA-520 and 521 (Final) Under the Tariff Act of 1930, Together With the

Information Obtained in the Investigations, USITC Pub. 2528 (June 1992) (“ITC

Original Investigation”) at I-7 – I-10, Appx347-Appx350.

      By requiring that butt-weld fittings be “formed or forged,” the scope

language excludes fittings created by other methods. Unlike forging or forming,

which are processes of reshaping without removing any material, SCI confirmed to

Commerce and the CIT that SCI’s welded outlets are cut from pre-existing pipe

and further shaped by machining (a process which cuts away or otherwise removes

excess material). Appx3744-Appx3745; SCI Opening Brief (September 5, 2019)

at 7-8. They are not hammered, rolled, or pressed, and they lose mass through the

machining process. SCI Opening Brief (September 5, 2019) at 7-8. Accordingly,

SCI’s welded outlets are not “formed” or “forged.”

                   b.      No “Threaded” or “Grooved” Fastening Methods

      The scope of the AD Order explicitly excludes “fittings based on other

fastening methods (e.g., threaded, grooved, or bolted fittings).” Thus, per the




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unambiguous language of the scope, fittings based on these other fastening

methods, including those of SCI, are not butt-weld pipe fittings.

      Because welded outlets always have one end that is threaded or grooved for

temporary fastening, they are not butt-weld pipe fittings under the unambiguous

language in the AD Order’s scope. The threaded or grooved end of welded outlets

is the essential feature of the product, as it allows for removal and replacement of

the attached sprinkler head. Accordingly, these welded outlets are “based on other

fastening methods.”3 Appx3745-Appx3746; SCI Opening Brief (September 5,

2019) at 10. Products relying on these “other fastening methods” are explicitly

identified and excluded by the unambiguous terms of the scope. Accordingly,

welded outlets are not butt-weld pipe fittings.

                   c.      Used to “Join Sections in Piping Systems where
                           Conditions Require Permanent, Welded Connections”

      The plain language of the AD Order’s scope covers products “used to join

sections in piping systems where conditions require permanent, welded

connections.” This unambiguous scope language requires “sections” (plural) “in

piping systems where conditions require” “permanent, welded connections”

(plural). This clearly means that butt-weld pipe fittings are used to join two



3
 The same is true of both SCI’s and Vandewater’s welded outlets (“{a}ll of
Vandewater’s steel branch outlets have a threaded end or a grooved finish on the
branch side”). Appx178.
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different sections of piping, connecting with both sections via permanent, welded

connections. The intended use of stronger butt-weld pipe fittings – to connect

pipes in high-pressure systems (i.e., requiring “permanent, welded connections”) –

has been well established, and products employing weaker fillet welds or unwelded

connections cannot be used for this purpose. See ITC Original Investigation at I-

12. Moreover, this understanding of the scope language is consistent with

Commerce’s Forged Steel Fittings scope ruling, discussed above, in which

Commerce determined that an outlet can only be considered a butt-weld fitting if

both ends are connected by butt welds. Appx590-Appx601.

       By contrast, welded outlets, which are designed for low-pressure fire

sprinkler systems, only employ a temporary connection between (1) the piping

system and (2) a sprinkler head or another fitting or a branch pipe. This temporary

connection is necessitated by the fact that the sprinkler head must be replaced after

a fire, or when buildings are remodeled or fire codes are changed. Accordingly,

welded outlets have zero permanent connections, and are therefore not butt-weld

pipe fittings.4 Appx3746-Appx3748; SCI Opening Brief (September 5, 2019) at

8-9.



4
  The same is true of Vandewater’s welded outlets (“a steel branch outlet cannot be
used to join sections where conditions require ‘permanent, welded connections’
(emphasis added). While a steel branch outlet has a permanent welded connection
on one end (albeit a fillet weld, as opposed to a butt weld), the other end of
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      C.        Welded Outlets Are Excluded from the Scope by the Enumerated
                (k)(1) Sources

      As explained above, welded outlets are excluded by unambiguous terms in

the scope language. However, even if the scope language were not unambiguous,

the sources enumerated in 19 C.F.R. § 351.225(k)(1) consistently demonstrate that

welded outlets are excluded from the scope. Thus, this Court should overturn the

CIT’s decision that the (k)(1) sources are not dispositive, and find instead that the

(k)(1) sources exclude welded outlets from the scope.

           1.      The CIT’s (k)(1) Opinion

      In its October 16, 2020 decision, the CIT held that the (k)(1) sources were

not dispositive regarding welded outlets. Appx125-Appx130. Accordingly, the

CIT remanded the case to Commerce for analysis under 19 C.F.R. § 351.225(k)(2).

In reaching this (k)(1) decision, the CIT cited only one source – Commerce’s 1992

Sprink scope ruling – purportedly favoring inclusion of welded outlets in the scope.

See generally id. But, as explained above, and as the CIT itself noted, the Sprink

scope ruling was under a different order and scope, and was expressly disregarded

by Commerce in its underlying scope ruling. All the other (k)(1) materials cited by

the CIT, and those relied on in briefing to the CIT but that were unaddressed in its




Vandewater’s steel branch outlets has either a threaded or grooved end”).
Appx181.

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(k)(1) opinion, consistently support the exclusion of welded outlets from the scope.

Accordingly, this Court should find that the (k)(1) sources exclude welded outlets

from the scope.

           2.       The CIT Correctly Found that the Petition Excludes Welded
                    Outlets Based on Physical Characteristics

      The description of the physical characteristics of the subject merchandise in

the Petition, a (k)(1) source, clearly excludes welded outlets from the scope.

                       a.    The Petition Language Describing Subject Butt-Weld
                             Fittings Excludes Welded Outlets From the Scope

      The original Petition for the AD Order describes subject butt-weld pipe

fittings as follows:

                The edges of finished butt-weld fittings are beveled, so
                that when a fitting is placed against the end of a pipe (the
                ends of which have also been beveled), a shallow channel
                is created to accommodate the ‘bead’ of the weld which
                joins the fitting to the pipe.

Appx712. Thus, the Petition explicitly requires that: (1) both or all edges of the

fitting are beveled; (2) the fitting is designed to connect to the end of a pipe; and

(3) the beveled edge of the fitting is designed to be set against another beveled

edge on the connecting pipe, so that the two beveled edges create the type of

channel necessary for butt-welding.

      None of these physical characteristics, explicitly required by the Petition, are

present for welded outlets. In contrast to this explicit description, welded outlets


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do not have two beveled edges (or only beveled edges). Instead, welded outlets

always have one beveled edge (of a type for fillet welding, not butt welding) and

one non-beveled edge (not connected via welding). Appx177-Appx181. The non-

beveled edge is threaded or grooved and connects to a sprinkler head or an

intermediate part (i.e., a branch pipe) that is also threaded or grooved, meaning that

no weld of any kind is used on that end. Id. Additionally, the beveled end of

welded outlets possesses a “fishmouth” shape, which physically prevents the outlet

from being “placed against the end of the pipe,” as required by the Petition. Id.

Instead, the outlet connects to the rounded face in the middle of the pipe, in direct

contrast to the Petition language requiring that a fitting connect to that pipe’s

“ends. . .which have also been beveled.”

      Commerce ignored the Petition’s plain language requiring specific types of

edges for specific types of welding. Instead, Commerce inexplicably determined

that the existence of any single beveled edge for any type of welding is the

defining characteristic of the subject merchandise. Only by ignoring the clear

language of the Petition was Commerce able to make such unreasonable

determinations as “{o}ther than the existence of a beveled edge, there are no angle

restrictions to what is considered a butt-weld connection according to the scope

and the 19 CFR 351.225(k)(1) sources” and that “there is nothing in the … sources




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under 19 CFR 351.225(k)(1) that limits the scope … to butt-weld pipe fittings with

an end-to-end … connection.” Appx140.

         The court below correctly found that this (k)(1) language does not describe

the welded outlets at issue. Quoting the above-cited Petition language, the CIT

held that “{t}he quoted petition language, which contemplates beveling on both

parts of the assembled pipe, is . . . not descriptive of the actual physical

characteristics of {welded outlets}.” Appx130. In other words, the CIT confirmed

that the Petition language excludes welded outlets from the scope. Thus, the

above-cited Petition language is not inconclusive. Instead, it clearly supports the

exclusion of welded outlets from the scope.

                      b.     Other Petition Language on Shapes Excludes Welded
                             Outlets From the Scope

         Although other relevant language in the Petition was identified and briefed

to the court below, the CIT ignored such language in its (k)(1) decision. Had the

CIT addressed this language, it would have appropriately concluded that this

additional Petition language supports the exclusion of welded outlets from the

scope.

         The Petition states that “{b}utt-weld fittings come in several basic shapes”

such as: elbows, tees, caps, and reducers. Appx712; Appx713-Appx715;

Appx755-Appx759. Each of the shapes identified in the Petition adhere to the

requirements of the subject merchandise contained in the Petition language

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discussed immediately above. Section VI.B.2.a. Although this issue was briefed

to the CIT, it ignored these points in its analysis. See Vandewater Opening Brief

(June 24, 2020) at 9-11, CIT 18-00199 ECF No. 93. Had the CIT addressed these

points, it would have seen that none of the shapes identified in the Petition cover

welded outlets, and that it is thus clear that the Petition language excludes welded

outlets from the scope of the AD Order.

      Despite the fact that welded outlets do not match any of the shapes of the

subject merchandise described in the Petition, Commerce engaged in post-hoc

rationalization by arguing for the first time before the CIT that a single image of a

saddle in an appendix to the Petition indicated that the Petition intended to cover

welded outlets. See United States Response Brief (July 22, 2020) at 12, CIT 18-

00199 ECF No. 93; see also Vandewater Reply Brief (August 4, 2020) at 4, CIT

18-00199 ECF No. 105. Because such reasoning does not appear in Commerce’s

underlying scope ruling, it cannot serve as a basis for upholding the agency’s

determination. U.H.F.C. Co. v. United States, 916 F.2d 689, 699 (Fed. Cir. 1990).

      In any event, a saddle – unlike a welded outlet – has a classic, butt-weld

beveled edge on one side, for end-to-end butt-weld connection to a pipe, in exactly

the manner described in the Petition language cited above. On its other side, the

saddle has a portion of curved pipe face, which will sit in and replace a large hole

cut in the side of the pipe. Because the saddle has one traditional butt-weld side, it


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is not surprising that it was included with traditional butt-weld pipe fittings. In

contrast, a welded outlet has zero butt-weld sides, and did not appear in the

aforementioned Petition appendix. As noted above, the two sides of a welded

outlet are (1) a threaded or grooved end, and (2) a fillet weld end that is not

designed to butt-weld end-to-end as described in the Petition. Neither side of a

welded outlet has a butt-weld, and therefore does not resemble a saddle.

      In its underlying scope ruling, Commerce similarly misinterpreted the

Petition’s mention of caps (which have one butt-weld end and one closed end

which does not connect to anything). In its scope ruling, it determined that “caps

are one of the most common shapes of butt-weld pipe fittings. Caps are used to

seal the end of a pipe and, thus, fittings with only one welded connection are not

excluded from the scope of the order.” Appx140. Although Commerce never

explained its analysis, it is unquestionably the case that only one end of a cap

connects to anything and that this end uses a traditional butt-weld connection.

Thus, caps might be a reasonable exception to the Petition description that subject

butt-weld fittings should have two butt-weld ends, because a cap only has only one

connecting end to begin with (which is a traditional butt-weld connection).

However, this does not in any way suggest that welded outlets are subject to the

AD Order since, unlike caps, welded outlets have two connecting ends, neither of

which are butt-weld connections.


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          3.       The CIT Correctly Found that the ITC’s Determinations
                   Exclude Welded Outlets from the Scope Based on Physical
                   Characteristics

                     a.      The ITC’s Determinations Describing Subject Butt-
                             Weld Connections Exclude Welded Outlets From the
                             Scope

      As with the Petition, the ITC’s determinations clearly exclude welded outlets

from the scope of the AD Order based on their physical characteristics. In its 2016

Sunset Review, the ITC described the subject merchandise as follows:

               Butt weld pipe fittings are used to connect pipe sections
               where conditions require permanent, welded connections.
               The beveled edges of butt‐weld pipe fittings distinguish
               them from other types of pipe fittings, such as threaded,
               grooved, or bolted fittings, which rely on different types
               of fastening methods. When placed against the end of a
               beveled pipe or another fitting, the beveled edges of a
               butt‐weld pipe fitting form a shallow channel that
               accommodates the “bead” of the weld that fastens the
               two adjoining pieces.

Carbon Steel Butt-Weld Pipe Fittings from Brazil, China, Japan, Taiwan, and

Thailand: Investigation Nos. 731-TA-308-310 and 520-521 (Fourth Review),

USITC Pub. 4628 (Aug. 2016) (“ITC 2016 Sunset Review”) at 6 (emphasis

added). Appx622. This language includes several key requirements of the subject

merchandise: (1) the presence of beveled edges (plural); (2) the presence of

welded connections (plural); (3) the exclusion of the “threaded” or “grooved” ends,

which indicates a “different type of fastening method”; and (4) placement against

the beveled end of a pipe.

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      Commerce’s (k)(1) scope ruling failed to reasonably interpret the above-

cited language. Though Commerce cited the ITC’s 2016 Sunset Review in its

determination, the agency erroneously determined that only a single beveled edge

is required for a product to be considered subject to the AD Order, effectively

disregarding the other requirements of the subject merchandise identified by the

ITC. Appx140.

      Commerce’s misguided reading of the ITC’s language cannot stand. The

CIT agreed, holding that “{t}he quoted language Commerce relied upon from the

ITC sunset review suffers from the same problem as the petition language—it

contemplates beveling on both parts of the assembled pipe. … The quoted sunset

review language is therefore not descriptive of the actual physical characteristics of

{welded outlets}.” Appx130. Accordingly, the above-cited language in the ITC’s

2016 Sunset Review clearly excludes welded outlets from the scope of the AD

Order.

                   b.      Other ITC Determinations Confirm the Exclusion of
                           Welded Outlets from the Scope of the AD Order

      Additional determinations of the ITC confirm the exclusion of welded

outlets from the scope of the AD Order. In its 2016 Sunset Review, for instance,

the ITC identified the common shapes of butt-weld pipe fittings:

             Carbon steel butt‐weld pipe fittings come in several basic
             shapes, the most common of which are elbows, tees,
             reducers, and caps (figure I‐1). Elbows are two‐outlet

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               fittings usually having a 45‐degree or 90‐degree bend,
               tees are T‐shaped fittings having three outlets, and
               reducers are two‐outlet fittings that connect pipes of two
               different diameters. Caps are used to seal the end of a
               pipe. There are further variations within each class of
               fitting based on differences in the size of one or more of
               the outlets (for example, there are reducing elbows and
               reducing tees).

Appx652-Appx653. These shapes, which, notably, exclude saddles, attach only to

the end of a pipe and only with butt-weld connections, which is not possible for

welded outlets. The ITC referenced no other kind of shapes in its determination.

And, although the ITC mentioned that there are “further variations” of the subject

merchandise, it only noted such variations “within each class of fitting based on

differences in the size of one or more of the outlets (for example, there are

reducing elbows and reducing tees)” (emphasis added). Appx652. Because

welded outlets meet none of these descriptions or conform to any of these shapes,

the ITC’s 2016 Sunset Review clearly indicates that welded outlets are excluded

from the scope of the AD Order.

          4.       The CIT Ignored Other Information From the (k)(1) Sources
                   that Consistently Support the Exclusion of Welded Outlets
                   from the Scope

      The CIT ignored other information from the (k)(1) sources that consistently

support the exclusion of welded outlets from the scope of the AD Order.




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                   a.      Commerce’s Prior Scope Rulings Confirm the
                           Exclusion of Welded Outlets from the Scope

      The CIT correctly recognized that Commerce “chose to dismiss” the Sprink

scope ruling (discussed above) as inapplicable to welded outlets. Appx129.

Importantly, however, the CIT’s (k)(1) decision entirely failed to address the

Forged Steel Fittings scope ruling, as cited in briefing by the parties below. See

Vandewater Opening Brief (June 24, 2020) at 23-26. The Forged Steel Fittings

scope ruling confirmed that the definition of a butt-weld fitting excludes welded

outlets. In particular, the requirement that butt-weld pipe fittings have “beveled

edges” (plural) for butt-welding – as discussed above in the context of the Petition

and the ITC’s 2016 Sunset Review – was confirmed by Commerce in its own

Forged Steel Fittings scope ruling. Appx590-Appx601. In that scope

determination, Commerce rejected the petitioners’ request to include butt-weld

outlets in the scope of the investigations, which expressly excluded “flanges, butt

weld fittings, butt weld outlets, nipples, and all fittings that have a maximum

pressure rating of 300 pounds of pressure/PSI or less.” Appx592. According to

Commerce, an outlet “butt welded at both end connections” (emphasis added), was

a butt-weld fitting and, therefore, properly excluded from the scope of the forged

steel fittings investigations. Appx597. Conversely, outlets with a “socket-weld or

threaded end connection, or with only one butt weld end connection, {were} not



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considered a butt weld fitting and, therefore, {were} not excluded from the scope

of the investigations.” Appx597-Appx598.

      Although Commerce’s later Scope Clarification Memorandum in the Forged

Steel Fittings proceeding (which, in any event, postdates the underlying

Vandewater scope ruling in this case) attempted to distinguish between butt-weld

fittings and outlets with “at least one, but not all” butt-weld connections and those

with “all” butt-weld connections, it fails to address how welded outlets – with zero

butt-weld connections – could be viewed as butt-weld fittings for purposes of

either the Forged Steel Fittings orders or butt-weld pipe fittings order. Placing

Carbon Steel Butt Weld Pipe Fitting Scope Ruling on the Record (September 19,

2018), Appx4071-Appx4072. Because welded outlets have no butt-weld

connections, employing (1) a fillet weld (not butt weld) to attach to the side of a

pipe at one end, and (2) a grooved or threaded connection to attach to a sprinkler

head or an intermediate part (i.e., a branch pipe) on the other end, they clearly are

not subject butt-weld fittings under the Forged Steel Fittings scope ruling.

      In the underlying scope proceeding, Commerce attempted to disregard the

Forged Steel Fittings scope ruling, arguing in a footnote that:

             In the forged steel fittings from China investigations,
             Commerce explained that “butt weld outlets” were
             excluded, which it defined as outlets butt welded at both
             ends. As we have explained in this decision, outlets butt
             welded at only one end are covered by the China Butt-
             Weld Order. In light of the fact that the product at issue
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             has a maximum pressure rate of under 300 pounds of
             pressure/PSI, we need not address this distinction further
             for purposes of this scope ruling.

Appx 141. However, Commerce never explained why the same or similar

products should not be treated similarly across these scope rulings. Although

separate proceedings, that distinction only goes so far, and provides no basis or

explanation for why a “butt-weld pipe fitting” is defined as two different things by

Commerce.5 As mentioned above, these points regarding Commerce’s Forged

Steel Fittings scope ruling were thoroughly briefed before the CIT but entirely

ignored by it. Accordingly, this Court should find that Commerce’s Forged Steel

Fittings scope ruling further supports the exclusion of welded outlets from the

scope of the AD Order here.

                   b.      Multiple (k)(1) Sources Exclude Welded Outlets
                           Based on Industry Standards

      The Petition, the ITC’s determinations from the original investigation and

subsequent sunset reviews, and previous Commerce scope rulings all exclude

welded outlets from the scope of the AD Order based on industry standards.

Although the issue of industry standards was briefed to the court below, the CIT

ignored these important arguments, providing no basis for doing so. See


5
  By contrast, SCI explained why the Sprink scope ruling, made under the separate
and different Taiwan order on butt-weld fittings, was inapplicable to the
interpretation of the order on butt-weld pipe fittings from China. See notes 1, 2,
supra.
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Vandewater Opening Brief (June 24, 2020) at 9-12; Vandewater Reply Brief

(August 4, 2020) at 5-9.

      The Petition establishes a direct connection between specific industry

standards and the subject merchandise, stating that “{c}arbon steel butt-weld

fittings are commodity type products, manufactured in conformity with industry

standards as established by the American Society for Testing and Materials

(‘ASTM’) and the American National Standards Institute (‘ANSI’).” Appx712.

This language does not soften the connection to suggest that products meeting

these industry standards are “included in” or “among” the subject merchandise.

Rather, the Petition explicitly identifies the subject merchandise as the products

that “are…manufactured in conformity” with those standards. The Petition

footnote following this sentence identifies the specific ASTM/ANSI standards as

“ASTM A234-82a for materials; ANSI B16.9 for dimensions.” Id.

      Consistent with the Petition, the ITC’s report from the original investigation

stated that butt-weld pipe fittings are checked for conformance with “the

specifications of the American Society for Testing and Materials (ASTM) and

ANSI.” ITC Original Investigation at I-9, Appx349. The ITC made clear that the

relevant ASTM standard is 234, since all five of the products that the ITC selected

for data collection adhered to ASTM A-234. Id. at I-38. Similarly, the ITC’s 2005

Sunset Review stated that purchasers confirmed that subject merchandise “sources


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have to manufacture to ANSI B16 standards.” Carbon Steel Butt-Weld Pipe

Fittings From Brazil, China, Japan, Taiwan, and Thailand, Investigation Nos. 731-

TA-308-310, 520, and 521(Second Review), USITC Pub. 3809 (Oct. 2005) (“ITC

2005 Sunset Review”) at II-6. Thus, the ITC has clearly identified the specific

industry standards of ASTM A-234 and ANSI B16 as applicable to the subject

merchandise, and confirmed that “ASTM and ANSI industry standards still

prevail” among the subject merchandise in its more recent 2016 Sunset Review”

(emphasis added).6 Appx631.

      Commerce’s King scope ruling similarly determined that adherence to

specific ASTM and ANSI industry standards are requirements of the subject

merchandise. Final Scope Ruling: Antidumping Duty Order on Carbon Steel Butt-

Weld Pipe Fittings from the People’s Republic of China (“PRC”) (October 20,

2009) (“King scope ruling”), Appx873-Appx878. In the King scope ruling,

Commerce determined that the “{r}ecord evidence … demonstrate{d} that King’s

pipe fittings are produced to meet all ASTM and ANSI certifications that were

listed in the Petition” (emphasis added). Appx877. Commerce did not indicate

that any ASTM or ANSI standards would suffice, but identified those “that were



6
  Citing the ITC’s findings in the third sunset review, the ITC 2016 Sunset Review
also noted that “{t}he Commission observed that all carbon steel BWPF, whether
domestic or imported, remained subject to ASTM and ANSI standards…”
(emphasis added). Appx639.
                                        41
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listed in the Petition” (discussed above). In affirming Commerce’s King scope

ruling, this Court confirmed the importance of these specific industry standards

among the requirements of the subject merchandise. See King Supply Co., LLC v.

United States, 674 F.3d 1343, 1345-46 (Fed. Cir. 2012) (“{t}he leading paragraph

in the ‘product description’ section of the Petition identified products subject to the

investigation in terms of . . . satisfying certain American Society for Testing and

Materials (‘ASTM’) and American National Standards Institute (‘ANSI’) industry

standards for materials and dimensions”); Id. at 1347 (“Commerce emphasized that

. . . King’s products met the same ASTM and ANSI industry standards as were

referenced in the Petition”).

      In contrast to all of the above descriptions of the subject merchandise,

welded outlets do not meet the required ASTM A234-82a specification for

materials or the ANSI B16.9 specification for dimensions. See Vandewater

Opening Brief (June 24, 2020) at 11-12. For example, Vandewater’s welded

outlets conform to a different industry standard: MSS-SP-97.7 Id., citing Affidavit

of Walter J. Sperko paras. 8-10, Appx302.




7
 Though the industry standards applicable to SCI’s and Vandewater’s welded
outlets may vary, none of these standards are those identified in the (k)(1) sources.
Appx3744.

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      Despite the consistency of the (k)(1) sources concerning these industry

standards, and the fact that welded outlets do not conform to these standards,

Commerce avoided any discussion of this fundamental distinction in its scope

ruling below. Additionally, although the Government conceded before the CIT

that “{t}he petition does include a reference to . . . ASTM A234-82a for materials

and ANSI B16.9 for dimensions,” it somehow reached the illogical conclusion that

the “(k)(1) sources {do not} indicate that the China Butt-Weld Order is confined to

butt-weld pipe fittings that conform to such standards.” United States Response

Brief (July 22, 2020) at 20-21. Commerce and the CIT failed to meaningfully

consider the clear and consistent (k)(1) sources concerning industry standards.

Because the (k)(1) sources require specific industry standards – ASTM A234 and

ANSI B16 – Commerce’s (k)(1) determination cannot be allowed to stand.

      D.     Suspension of Liquidation Under Commerce’s (k)(2) Remand
             Redetermination Should Apply Only to Entries Made On or After
             October 30, 2020

      Should this Court find that neither the unambiguous scope language nor the

(k)(1) sources confirm that welded outlets are excluded from the scope of the AD

Order, the next step would be an analysis under 19 C.F.R. § 351.225(k)(2). The

CIT remanded to Commerce to perform this (k)(2) analysis, the results of which it

subsequently affirmed. Appx1-Appx20. SCI does not contest the CIT’s

affirmation of the substance of Commerce’s (k)(2) analysis and instead


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respectfully submits that the unambiguous scope terms and (k)(1) sources

consistently confirm the exclusion of welded outlets. Supra. However, if the

(k)(2) analysis applies, SCI contests Commerce’s stated intent to apply suspension

of liquidation and cash deposit requirements to entries made prior to the date

Commerce’s (k)(2) inquiry was initiated, specifically to entries already suspended

only due to the presence of products other than those in question, that had been

covered by other, unrelated AD/CVD orders.

      By incorrectly ruling that SCI forfeited arguments on the issue of the

effective date for suspension of liquidation under Commerce’s (k)(2) remand

redetermination, the CIT abused its discretion. Accordingly, this Court should rule

that Commerce may only impose suspension of liquidation for and collect cash

deposits on entries made on or after October 30, 2020, the date of initiation of the

(k)(2) scope inquiry. In the alternative, because the CIT incorrectly refused to

consider this issue, this Court should remand to the CIT to address it in the first

instance.

            1.   Commerce’s Remand Redetermination

      Under the CIT’s remand order, Commerce for the first time in the case

initiated a scope inquiry pursuant to 19 C.F.R. § 351.225(e), on October 30, 2020,

to determine whether Vandewater’s welded outlets are subject to the scope of the

AD Order based on the factors enumerated in 19 C.F.R. § 351.225(k)(2).


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Appx125-Appx130; Appx882-Appx883. Commerce invited comments on the

remand proceeding, which SCI submitted. Appx884-Appx1229.

      In its comments on the record, SCI explained that, “if the Department

decides under the (k)(2) criteria that steel branch outlets are subject to the order (it

should not), . . . the Department also would need to confirm that such a finding

applies only as to unliquidated entries made on or after October 30, 2020” (i.e., the

date of the initiation of the remand proceeding). Appx914. This comment was

based on Commerce’s regulations. Specifically, 19 C.F.R. § 351.225(l)(3) requires

that Commerce, in the event of a final affirmative scope ruling, “suspend

liquidation and . . . require a cash deposit of estimated duties, at the applicable rate,

for each unliquidated entry of the product entered, or withdrawn from warehouse,

for consumption on or after the date of initiation of the scope inquiry” (emphasis

added). Appx915. Additionally, 19 C.F.R. § 351.225(l)(1) requires that when

Commerce initiates a scope inquiry under 19 C.F.R. § 351.225(e) (“Ruling where

further inquiry is warranted”) (as here), and when “the product in question is

already subject to suspension of liquidation … that suspension of liquidation will

be continued, pending a … final scope ruling” (emphasis added). Appx914. And

19 C.F.R. § 351.225(l)(3) requires that this “continued” suspension of liquidation

be continued in the event of a final affirmative scope ruling. Appx914-Appx915.

As SCI explained, because of these requirements, and the fact that “the product in


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question {was not} “already subject to suspension of liquidation” (i.e., there was

no preexisting suspension of liquidation on welded outlets), Commerce could not

“continue” suspension of liquidation for entries made before October 30, 2020.

Instead, Commerce could only impose suspension of liquidation for entries

“entered or withdrawn from warehouse … on or after the date of initiation of the

scope inquiry” (i.e., entries made on or after October 30, 2020). Appx914-

Appx916.

      In its draft remand redetermination, Commerce disagreed with SCI and

determined that it need not modify the instructions it had transmitted to CBP

following the issuance of the agency’s initial (k)(1) scope ruling that was

invalidated by the CIT. Appx3108-Appx3169. Although these previously issued

instructions had included directions to “{c}ontinue to suspend liquidation of

entries of carbon steel butt-weld pipe fittings from the People’s Republic of China,

including Vandewater International Inc.’s steel branch outlets imported by

Vandewater International Inc. . . .” going back to the 1992 AD Order, Commerce

determined that modification was not necessary because “Vandewater ha{d} not

provided any information to show that its outlets were not subject to the suspension

of liquidation prior to the date of initiation of th{e} scope inquiry.” Appx3168.

      Commerce’s erroneous position was addressed in SCI’s comments on the

record regarding the draft remand redetermination. Appx3220-Appx3254. First,


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SCI explained that Commerce’s assumption that Vandewater’s welded outlets were

already subject to suspension of liquidation contravened the requirement that the

agency’s determinations be based on substantial evidence on the record.

Appx3246. Second, SCI explained that Commerce’s determination to “continue”

to suspend liquidation of entries made prior to October 30, 2020 conflicted with

the decisions of this Court in Sunpreme Inc. v. United States8 & United Steel &

Fasteners, Inc. v. United States.9 Appx3246-Appx3249. Third, SCI explained


8
  As SCI explained, in Sunpreme, the product at issue first became subject to
suspension of liquidation when CBP, on its own initiative, determined that the
product, despite being entered as a non-AD/CVD entry, was subject to AD/CVD
orders. Following a subsequent determination by Commerce that the product was,
in fact, subject to the orders, Commerce instructed CBP to continue suspension of
liquidation and collect cash deposits pursuant to 19 C.F.R. §§ 351.225(l)(1) and
(l)(3) (i.e., back to the date on which CBP initially commenced suspension).

       In its review of the CIT’s decision, this Court found the central issue to be
whether the original suspension by CBP was legally effective. This Court
explained that, “{i}f it was, Sunpreme {was} required to pay antidumping and
countervailing duties on products imported on or after {the date} when Customs
first determined that Sunpreme’s {products} were within the scope of the Orders.”
However, if CBP’s initial suspension was not legally effective because CBP had
acted ultra vires, “then Sunpreme {was} only required to pay duties on products
imported on or after . . . the date the scope inquiry was initiated.”

       The Court thus made clear that, for purposes of 19 C.F.R. § 351.225(l)(1), a
product cannot be considered “already subject to suspension of liquidation” unless
there is some legally-valid preexisting suspension of liquidation. See Sunpreme
Inc. v. United States, 256 F. Supp. 3d 1265, 1292 (Ct. Int’l Trade 2017); Sunpreme
Inc. v. United States, 946 F.3d 1300, 1315-17 (Fed. Cir. 2020).
9
  As SCI explained, in United Steel & Fasteners, United Steel and Fasteners, Inc.
(“US&F”) requested a scope ruling from Commerce (like Vandewater), alleging
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that Commerce’s determination conflicted with the agency’s own description of its

scope regulations in a 2020 notice of proposed rulemaking.10 Appx3250-

Appx3251.


that its products were not covered by an existing AD order from 1993.
Previously, US&F had been importing its products without declaring them subject
to the AD order. Without initiating a scope inquiry (like the Vandewater case),
Commerce issued a final scope ruling that US&F’s products were within the
scope based on the (k)(1) factors in Commerce’s regulations (like Vandewater)
and instructed CBP to suspend liquidation of all unliquidated entries made since
the imposition of the AD order, i.e., October 1993 (like Vandewater).

       This Court made clear that Commerce may not stretch suspension of
liquidation retroactively in this way. The Court held that where Commerce does
not initiate a scope inquiry, and yet issues instructions to CBP to retroactively
suspend liquidation to the date of the AD order at issue, Commerce’s instructions
are “‘clearly inconsistent with the limited prospective authority provided’ by §
351.225(l)(3) and must be vacated.” This Court unequivocally stated that “{19
C.F.R. § 351.225(l)(3)} is clear. When Commerce issues a final scope ruling, and
liquidation has not previously been suspended, Commerce may suspend
liquidation beginning ‘on or after the date of initiation of the scope inquiry.’ The
regulation does not allow suspension of liquidation before a scope inquiry.”

        Accordingly, this Court has made clear that Commerce cannot
 retroactively suspend liquidation of entries prior to the date of initiation of a
 scope inquiry. See United Steel & Fasteners, Inc. v. United States, 947 F.3d
 794-802 (Fed. Cir. 2020).
10
  As SCI explained, on August 13, 2020, Commerce published a notice in the
Federal Register discussing, inter alia, proposed amendments to 19 C.F.R.
351.225. In the notice of proposed rulemaking, Commerce described the operation
of the then unmodified 19 C.F.R. 351.225(l)(2) and (3) as follows:

             current paragraphs (l)(2) and (3) provide that if
             Commerce issues an affirmative preliminary or final
             scope ruling pursuant to a formal scope inquiry, then
             “any suspension of liquidation” will continue. Where
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      In its final remand redetermination, Commerce failed to reverse course from

its draft remand redetermination. Commerce stated that:

            In light of the Court’s Remand Order, should the Court
            affirm this remand redetermination in a subsequent
            decision, Commerce intends to issue instructions to CBP
            consistent with 19 CFR 351.225(l) and section 516A(c)
            and (e) of the Act. Specifically, Commerce intends to
            instruct CBP to suspend or continue to suspend entries
            that entered, or were withdrawn from warehouse, for
            consumption on or after the date of initiation of this
            scope inquiry. With respect to entries pre-dating the date
            of initiation of the inquiry that were suspended pursuant
            to the instructions issued following the September 10,
            2018, Final Scope Ruling, Commerce intends to instruct
            CBP to refund cash deposits upon request but continue to
            suspend the entries at a zero percent cash deposit rate
            pending any appeals. In the event that the Court’s final
            judgment is not appealed or is upheld on appeal,
            Commerce intends to instruct CBP to lift suspension of



            there has been no previous suspension of liquidation,
            Commerce will direct CBP (in the event of an affirmative
            preliminary or final scope ruling) to suspend liquidation
            of unliquidated entries dating back to the date of
            initiation of the scope inquiry. (emphasis added)

Commerce explained that under provisions of the then unmodified 19 C.F.R.
351.225(l) “all entries not already suspended prior to the date on which Commerce
initiates a scope inquiry are essentially excused from AD/CVD duties, even if
Commerce finds through the scope inquiry that such duties should have applied.”

       Commerce’s own descriptions of the regulations at issue thus further
confirm that the agency cannot suspend liquidation of entries made prior to the
date of initiation of the scope inquiry where there has been no previous suspension
of liquidation. See Regulations To Improve Administration and Enforcement of
Antidumping and Countervailing Duty Laws, 85 Fed. Reg. 49,472, 49,482-49,483
(Aug. 13, 2020).
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               liquidation and liquidate such entries without regard to
               antidumping duties.

Appx123. Commerce’s draft and final remand redeterminations, and the parties’

comments during the remand proceeding, formed the remand proceeding record

that came before the CIT.

          2.       The CIT’s Handling of Commerce’s Final Remand
                   Redetermination

      In its comments to the CIT on Commerce’s remand redetermination, SCI

explained again the problems with Commerce’s analysis. Appx4261-Appx4279.

As SCI explained, although Commerce’s determination to instruct CBP to refund

cash deposits for entries made prior to October 30, 2020 was correct (seemingly an

acknowledgment that its final remand redetermination applied only to entries made

on or after that date), Commerce’s renewed determination to impose (which

Commerce called “continue”) suspension of liquidation on certain pre-October 30,

2020 entries was unlawful. Appx4265-Appx4277. Specifically, Commerce’s

determination to “continue” to suspend liquidation for entries made before October

30, 2020 appeared to stem from its desire to preserve these entries for collection,

pending resolution of any and all judicial appeals. However, the agency cited no

authority or other basis for “continuing” any suspension on pre-initiation entries,

where “the product in question” was not “already subject to suspension of

liquidation.” 19 C.F.R. § 351.225(l)(1), (3). Rather, as SCI explained to the CIT,


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Commerce was “attempting to achieve a result—suspension ‘just in case’—that it

ha{d} no authority to impose.” Appx4265. As SCI stated to the CIT:

            Had Commerce properly decided this case, moving to a
            (k)(2) analysis from the beginning, as the Court has now
            required it to do, Commerce would have initiated a scope
            inquiry then, and all entries prior to the date of initiation
            of the scope inquiry would now be both unburdened by
            cash deposits and also not subject to any suspension of
            liquidation. That would have remained true even if the
            petitioner had appealed Commerce’s decision to move
            past a (k)(1) analysis, and on to a (k)(2) analysis. That is
            to say – those pre-initiation entries would have been
            liquidated during the pendency of the appeal. Indeed,
            Commerce’s apparent excuse, that it might want to
            impose retroactive cash deposits again if its previous
            (k)(1) decision were to be reinstated on appeal, has no
            basis in the applicable regulation and has previously been
            rejected by the Federal Circuit.11

Appx4265-Appx4266. In addition, SCI explained to the CIT that Commerce’s

determination to suspend liquidation of pre-initiation entries was unlawful because


11
  In a different hypothetical scenario, had the United States appealed the CIT’s
decision below rejecting Commerce’s initial (k)(1) scope ruling (which it did not
do), and had Commerce’s (k)(1) scope ruling been reinstated by the Court as a
result of such appeal, Commerce would only have been able to impose suspension
of liquidation going back to the date of its scope ruling (September 10, 2018),
which was issued pursuant to 19 C.F.R. § 351.225(d) (“Ruling based upon the
application”), consistent with the parallel facts and ruling in United Steel &
Fasteners, Inc. v. United States. See SCI Final Remand Redetermination
Comments at 11 (“even if Commerce’s (k)(1) decision were to be revived on
appeal, … the suspension of liquidation may not apply to entries made prior to the
date of that (k)(1) decision which, for Vandewater, was September 10, 2018”). See
also n. 10, supra, discussing United Steel & Fasteners, Inc. v. United States
(holding that 19 C.F.R. § 351.225(l)(3) provides Commerce with “limited
prospective authority” to suspend liquidation of entries).
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there was no previous suspension to continue on “the product in question”. As SCI

stated:

              Prior to the issuance of Commerce’s (k)(1) decision to
              Vandewater in September 2018, there was no suspension
              of liquidation present on this merchandise because
              Commerce had made no prior statement regarding
              suspension of liquidation for this type of welded outlet.
              Thus, there is no basis for Commerce to apply suspension
              of liquidation, back to the 1992 inception of the Order,
              based on continuation of some previous suspension of
              liquidation (which does not exist).
              ...
              As of now in this case, the (k)(1) decision has been
              struck down by {the CIT}. Accordingly, there is no
              (k)(1) decision to apply. Any suspension of liquidation
              that Commerce announced as part of its (k)(1) decision in
              September 2018 is, similarly, struck down. Accordingly,
              there is no previous suspension of liquidation to continue
              now. This matter is governed by the present (k)(2)
              analysis. And, as part of its (k)(2) analysis, Commerce
              initiated the present scope inquiry on October 30, 2020.
              Under the plain language of the regulation, under the
              current (k)(2) proceeding, the suspension of liquidation
              cannot apply to any entries made prior to that date.
Appx4271-Appx4273.

      On July 21, 2022, acknowledging that this issue had been properly raised

before it, the CIT issued a letter asking the United States to “clarify whether or not

there was a pre-existing suspension of liquidation.” Appx4280-Appx4283. The

CIT stated:

              Plaintiffs maintain that Commerce provides no support
              for its proposal for the on-going suspension of liquidation
              of entries made before the date of initiation of the

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            underlying scope inquiry, including back to the date of
            the 1992 China BWPFs Order.

            The Government attempts to justify the on-going
            suspension of the pre-initiation entries based on 19
            U.S.C. § 1516a(c) and (e), the statutory injunction
            provisions. The Government also argues that Commerce
            may issue instructions for the “continued” suspension of
            liquidation based on Commerce’s initial instructions to
            CBP in connection with the 2018 Final Scope Ruling.
            This, the Government maintains, is consistent with the
            applicable regulation, 19 C.F.R. § 351.225(l).

            The court understands that Commerce referenced the
            statutory injunction provisions in addressing this issue,
            and that there have been statutory injunctions entered by
            the court that cover each Plaintiff’s entries going back to
            1992. However, the court is troubled by the
            Government’s argument, in the alternative, that
            Commerce’s determination to instruct to CBP to
            “continue” suspension of liquidation was within the
            bounds of Commerce’s authority under 19 C.F.R. §
            351.225(l).
            ...
            The difficulty for the court is occasioned by the
            Government’s statement that “{t}he record does not
            contain any evidence regarding whether entries were
            already subject to an existing suspension by CBP.
            (internal citations omitted).

Appx4281-Appx4282.

      In response to the CIT’s July 21, 2022 letter and request to “clarify whether

or not there was a pre-existing suspension of liquidation,” the United States

provided the CIT with a list of entries that remained suspended that (1) had entry

dates between January 1, 1992 and July 25, 2022, (2) were suspended under the


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AD Order, and (3) were imported by SCI, SIGMA, or Vandewater. Appx4284-

Appx4285. Only one of the importers had entries meeting these criteria.

      On July 29, 2022, at the CIT’s request, the parties to the proceeding below

had a telephonic conference.12 CIT Docket 18-00199 ECF No. 157, Appx4286.

During the telephonic conference, the CIT indicated that the information provided

in the United States’ July 27, 2022 letter was insufficient and non-responsive, and

requested again that the United States “clarify whether or not there was a pre-

existing suspension of liquidation.” According to the CIT, the question could

simply be answered “yes” or “no.” In its follow up letter dated August 5, 2022,

the United States essentially conceded that there was no pre-existing suspension of

liquidation covering Vandewater’s steel branch outlets. Appx4287-Appx4303.

As stated by the United States:

            Commerce’s September 2018 instructions to CBP
            following the final scope ruling{,} which{} . . .
            instructed CBP to “{c}ontinue” to suspend liquidation of
            Vandewater’s entries of steel branch outlets covered by
            the scope ruling{,} were the first such suspension
            instructions Commerce issued specifically regarding
            Vandewater’s entries of steel branch outlets. Commerce
            itself did not issue any relevant suspension instructions
            prior to September 2018 focused on Vandewater’s steel
            branch outlets, and using the information disclosed in
            {the} July 27, 2022 initial response to the Court as a
            basis for inquiry, we have not been able to identify any
            prior suspension by CBP. Although it is theoretically

12
 The telephonic conference on July 29, 2022 was not recorded and no transcript
was produced.
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             possible that CBP could have suspended one or more
             individual entries as of September 2018 pursuant to other
             authority, which could have continued under
             Commerce’s regulations and post-ruling instructions,
             Commerce’s search described in our July 27 filing and
             our inquiries with Vandewater did not identify any such
             entry. (internal citations omitted).

Appx4287-Appx4288. The United States also informed the CIT that certain

currently suspended entries, made by one of the three parties, were not subject to

Commerce’s September 2018 suspension instructions (since they pre-dated those

instructions and were not subject to preexisting suspension of liquidation) but were

subject to the CIT’s October 2018 statutory injunction (which covered entries

going back to the 1992 AD Order). Appx4288-Appx4289.

      In a second telephonic conference requested by the CIT, held on August 10,

2022, the CIT inquired as to whether the issue of the effective date for suspension

of liquidation was made moot by the United States’ August 5, 2022 letter, and

encouraged the parties to the proceeding below to reach consensus on the issue.

CIT 18-00199 ECF No. 164. During the telephonic conference, SCI explained that

the United States had adopted the incorrect position that Commerce could

“continue” to suspend pre-initiation entries that included welded outlets so long as

those entries had been suspended for any reason whatsoever (including, for

example, because the entry also included other merchandise subject to suspension

under an unrelated AD/CVD order). As SCI explained, because the company had


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entries that would be impacted by the position taken by the United States, the issue

identified by the CIT was not moot.13

         Following the August 10, 2022 telephonic conference, the United States

and Vandewater reached a settlement and proposed to amend the CIT’s October

2018 statutory injunction, such that only entries that were made on or after

September 10, 2018 (as opposed to on or after the date of the 1992 AD Order) or

that were previously suspended as of that date and that remain unliquidated would

be subject to the injunction. Appx4304-Appx4306. This proposed amendment

was granted by the CIT. Appx4310-Appx4312.

      As SCI explained to the CIT in its response to Vandewater’s motion to

amend the October 2018 statutory injunction, the terms of the proposed

amendment would not address or resolve the legal position adopted by the United

States that Commerce was authorized to “continue” to suspend liquidation of

unliquidated entries made prior to initiation of the scope inquiry if those entries

were suspended for reasons unrelated to the AD Order on butt-weld pipe fittings

from China. Appx4307-Appx4309. SCI made three distinct points in its letter.

First, SCI explained that Commerce’s regulations only afford the agency the

authority to “continue” an existing suspension of liquidation as to specific products


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   The telephonic conference on August 10, 2022 was not recorded and no
transcript was produced.

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(not entries) already subject to suspension. Second, SCI explained that allowing

Commerce to “continue” to suspend an entry, of any age, that happened to be

suspended pursuant to some other AD/CVD order, would conflict with this Court’s

understanding of Commerce’s “limited prospective authority” to suspend

liquidation following its scope rulings. Third, SCI explained that the United

States’ position would lead to an arbitrary and absurd result. For instance, for two

entries, both made prior to October 2020, the first containing only welded outlets

(not subject to any other suspension on welded outlets) and the second containing

welded outlets and Canadian lumber (subject to suspension on lumber), the first

entry would not be subject to duties on the welded outlets whereas the second entry

would be subject to such duties. SCI offered to “substantiate further these

concerns should the Court determine that additional briefing or consultation is

necessary or appropriate.” Appx4309.

      In its final decision in the case, the CIT stated that, “{w}hile SCI initially

presented arguments challenging the legal basis for Commerce’s instructions to

‘continue’ suspension of liquidation, SCI’s arguments … evolved significantly

after conferencing with the court.” Appx19. As the CIT continued, “SCI

maintains that this issue is not moot because certain of its entries contain both

subject merchandise and non-subject merchandise (‘mixed entries’), and argues

that these mixed entries may be inappropriately subject to duties as a result of


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Commerce’s instructions as applied to a suspension of liquidation covering the

non-subject merchandise{,} … formally rais{ing} these arguments for the first

time…” Id. The CIT concluded that, “{g}iven these circumstances and its

discussions with the parties, … SCI’s additional arguments on this issue are not

properly before the court and are deemed forfeited.” Id. These assertions by the

CIT fail to recognize that SCI’s arguments were presented fully to Commerce on

the record (which was before the CIT on review) and then again fully to the CIT,

both in briefing and subsequent telephonic conferences requested by the CIT on

these issues. SCI consistently argued that suspension of liquidation cannot apply

to “the product in question” (welded outlets) in entries made prior to the date of

initiation of Commerce’s scope inquiry.

          3.     SCI Did Not Forfeit Its Arguments on the Effective Date for
                 Suspension of Liquidation Under Commerce’s Remand
                 Redetermination

      As shown above, SCI clearly did not forfeit its arguments concerning the

effective date for Commerce’s suspension of liquidation in connection with the

agency’s (k)(2) remand redetermination. These arguments were present in SCI’s

filings on the record before Commerce and the CIT, and have been consistent

throughout. SCI provided additional information to the CIT, at its request, during

and subsequent to telephonic conferences, regarding whether or not SCI’s

arguments were moot in light of the evolving positions of the United States and


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Vandewater below. However, such additional information did not fundamentally

alter or withdraw SCI’s arguments, nor was such information necessary for the CIT

to reach the legal questions already contained in SCI’s arguments. Thus, the CIT’s

finding that SCI forfeited its arguments fails to recognize that SCI’s arguments

were presented fully to Commerce (which became part of the record before the

CIT) and then fully to the CIT, both in briefing and subsequent telephonic

conferences requested by the CIT. Accordingly, SCI’s arguments cannot

accurately be described as forfeited, and the CIT abused its discretion in ruling that

they were.

      This Court has found forfeiture to occur when a party fails to timely assert a

right. In re Google Tech., 980 F.3d 858, 862 (Fed. Cir. 2020). For example, this

Court found forfeiture to occur in cases where parties neglect to raise an issue in

their principle or moving briefs, or raise an issue for the first time in a reply brief.

See Novosteel S.A. v. United States, 284 F.3d 1261, 1273 (Fed. Cir. 2002) (holding

that because Novosteel presented the issue of retroactive application of

antidumping duties for the first time in its summary judgment reply brief, instead

of in its motion for summary judgment, Novosteel had waived (i.e., forfeited) that

argument). As explained by this Court, arguments raised untimely are deemed

forfeited, in part, because of concerns for procedural fairness. For example, in

United States v. Ford Motor Co., the Court held that because Ford neglected to


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raise a particular argument in its opening brief, and provided only a cursory

statement on the argument in its reply brief, Ford forfeited the argument on appeal.

United States v. Ford Motor Co., 463 F.3d 1267, 1277 (Fed. Cir. 2006). The Court

held that it would be “unfair” to review the argument on appeal because it was “an

argument to which the government had been given no opportunity to respond.” Id.

Additionally, arguments that are not sufficiently developed or inadequately briefed

may be deemed forfeited. See, e.g., United States v. Great Am. Ins. Co. of N.Y.,

738 F.3d 1320, 1328 (Fed. Cir. 2013) (“the government did no more than end its

brief with a prayer for the relief requested in the complaint and attach a proposed

order”), United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991) (noting that a

“skeletal ‘argument’, really nothing more than an assertion, does not preserve a

claim”).

      None of the above bases for finding an argument to be forfeited were present

for SCI’s arguments on the effective date for suspension of liquidation stemming

from Commerce’s (k)(2) remand redetermination. SCI timely raised the arguments

before Commerce and the CIT (both in briefing and during telephonic

conferences). Both the CIT and other parties to the proceeding below were aware

of and had opportunity to respond to SCI’s arguments. SCI’s arguments were fully

and adequately presented. Accordingly, the CIT’s ruling that SCI forfeited its

arguments constitutes an abuse of discretion, and should be overturned by the


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Court. See Hohenberg Bros. Co. v. United States, 301 F.3d 1299, 1303 (Fed. Cir.

2002) (an abuse of discretion occurs where the trial court’s decision is clearly

unreasonable, arbitrary or fanciful, or based on clearly erroneous findings of fact or

erroneous conclusions of law); United States v. Great Am. Ins. Co. of N.Y., 738

F.3d at 1326 (reviewing the lower court’s forfeiture ruling based on an abuse of

discretion standard).

      In overturning the CIT, this Court should rule on the questions of law

presented by SCI’s arguments. See Singleton v. Wulff, 428 U.S. 106, 121 (1976)

(stating that the matter of what questions may be taken up and resolved on appeal

is left primarily to the discretion of the courts of appeal). This discretion is

“especially appropriate” in cases that do not present new issues on

appeal. Ericsson Inc. v. TCL Commc’n Tech. Holdings Ltd., 955 F.3d 1317, 1322

(Fed. Cir. 2020). Alternatively, the Court should remand these questions to CIT

for its consideration and ruling. See, e.g., Trimed, Inc. v. Stryker Corp., 608 F.3d

1333, 1339 (Fed. Cir. 2010) (noting that although certain arguments were raised

before the district court, because the district court did not address them, the Court

would remand for full consideration).

VII. Conclusion and Relief Requested

      For all the reasons set forth above, we respectfully submit that this Court

should find that:


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1. the plain language of the AD Order’s scope contains unambiguous terms that

   exclude welded outlets or, in the alternative,

2. the enumerated sources of 19 C.F.R. § 351.225(k)(1) exclude welded outlets

   from the AD Order’s scope or, in the alternative,

3. should Commerce’s final (k)(2) remand redetermination be upheld, Commerce

   may only impose suspension of liquidation as to unliquidated entries that

   entered on or after October 30, 2020, and that retroactive suspension on any

   entries made prior to that date is unlawful or, in the alternative,

4. the CIT should address SCI’s arguments regarding the effective date for

   suspension of liquidation in Commerce’s final (k)(2) remand redetermination

   and rule on that issue in the first instance.



                                                   Respectfully Submitted,

                                                   /s/ Gregory S. McCue
                                                   Gregory S. McCue
                                                   Zachary Simmons

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                                                   Counsel to Smith-Cooper
                                                   International, Inc.

 Dated: January 9, 2023

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FORM 19. Certificate of Compliance with Type-Volume Limitations                              Form 19
                                                                                            July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number:        2023-1093, -1141


  Short Case Caption: Vandewater International Inc. v. United States

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                                                   Name:          Gregory S. McCue
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                     ADDENDUM 1
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tial evidence. On remand, however, if Com-     determination of Department of Com-
merce continues to add VAT and import          merce that importer’s steel branch outlets
duties to the natural gas benchmark, for a     used to join sections in fire sprinkler sys-
product that is not imported, Commerce         tems were within scope of antidumping
must also explain why the methodology          duty order on carbon steel butt-weld pipe
should be different for the phosphate rock     fittings (BWPF) from People’s Republic of
benchmark.
                                               China. The Court of International Trade,
              CONCLUSION                       476 F.Supp.3d 1357, remanded for redeter-
                                               mination. On remand, Commerce again de-
  The court sustains Commerce’s determi-
nation regarding Rosneft as a government       termined outlets were within scope of
authority and the de facto specificity find-   BWPF order. Plaintiffs challenged rede-
ing, and utilization of a tier-three bench-    termination.
mark for natural gas. For the foregoing
                                               Holdings: The Court of International
reasons, the court remands to Commerce
                                               Trade, Leo M. Gordon, J., held that:
for a determination consistent with this
opinion on certain calculation issues and      (1) finding that physical characteristics of
with regard to the phosphate rock input.           outlets and BWPFs subject to order
The remand shall be issued within 60 days          were similar was reasonable, as factor
hereof. Comments may be filed 30 days              in favor of determination that outlets
thereafter and any response 15 days there-         were within order’s scope;
after.
                                               (2) finding that outlets and other BWPF

             ,                                     were similarly expected by purchasers
                                                   to be welded into permanent, fixed pip-
                                                   ing systems for gases or liquids was
                                                   reasonable, as factor in favor of deter-
  VANDEWATER INTERNATIONAL                         mination that outlets were within or-
        INC., Plaintiff,                           der’s scope;
                    and                        (3) finding that outlets and BWPF were
    SIGMA Corporation, and Smith-                  similarly used to be permanently weld-
       Cooper International, Inc.,                 ed into fire sprinkler systems was rea-
         Plaintiff-Intervenors,                    sonable, as factor in favor of determi-
                     v.                            nation that outlets were within order’s
     UNITED STATES, Defendant,                     scope;
                    and                        (4) finding that channels of trade for out-
       Island Industries, Defendant-               lets and BWPF were similar was rea-
                Intervenor.                        sonable, as factor in favor of determi-
                                                   nation that outlets were within order’s
             Slip Op. 22-104
            Court No. 18-00199                     scope; and

  United States Court of International         (5) finding that outlets and BWPF were
                Trade.                             similarly advertised was reasonable, as
                                                   factor in favor of determination that
          September 8, 2022
                                                   outlets were within order’s scope.
Background: Importer filed suit, in which
other importers intervened, challenging        Affirmed.




                                         Appx1
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                        VANDEWATER INTERN. INC. v. U.S.                                  1325
                              Cite as 589 F.Supp.3d 1324 (CIT 2022)

1. Customs Duties O84(6)                          term ‘‘butt-weld,’’ and that BWPFs were
     When reviewing agency determina-             intended to be covered by the order. 19
tions, findings, or conclusions for substan-      C.F.R. § 351.225(k)(2)(ii).
tial evidence, the Court of International         4. Customs Duties O21.5(5)
Trade assesses whether the agency action               Finding of the Department of Com-
is reasonable given the record as a whole.        merce, that saddles were a type of butt-
Tariff Act of 1930 § 516A, 19 U.S.C.A.            weld pipe fitting (BWPF) that had physical
§ 1516a(b)(1)(B)(i).                              characteristics comparable to importer’s
2. Customs Duties O21.5(5)                        steel branch outlets used to join sections in
                                                  fire sprinkler systems, was reasonable, as
     Finding of the Department of Com-
                                                  factor that weighed in favor of Commerce’s
merce, that the contoured edges of import-
                                                  redetermination that outlets were within
er’s steel branch outlets that connected to
                                                  scope of antidumping duty order on carbon
the midsection of a pipe constituted butt-
                                                  steel BWPFs from People’s Republic of
weld pipe fittings (BWPF), was reason-
                                                  China; importer’s petition included illustra-
able, as factor that weighed in favor of
                                                  tions of various types of butt-weld fittings
Commerce’s determination on remand that
                                                  including an illustration of saddles as a
outlets were within scope of antidumping
                                                  type of BWPF, catalog page in the petition
duty order on carbon steel BWPFs from
                                                  displayed numerous products that were
People’s Republic of China; Commerce’s
                                                  unambiguously BWPFs, including prod-
product specification sheets described its
                                                  ucts shown before and after saddles, and
female threaded outlet and grooved outlet
                                                  image containing the saddle illustration
as having ‘‘butt welding ends,’’ and product
                                                  also contained an image of a cap, which
catalog from a domestic producer with il-
                                                  was an in-scope BWPF. 19 C.F.R.
lustrations of basic shapes of BWPFs in-
                                                  § 351.225(k)(2)(ii).
cluded a product that had a contoured
edge and was connected to the midsection          5. Customs Duties O21.5(5)
of a pipe. 19 C.F.R. § 351.225(k)(2)(ii).               Department of Commerce’s consider-
                                                  ation of expert report in support of im-
3. Customs Duties O21.5(5)                        porter’s position that its steel branch out-
      Finding of the Department of Com-           lets were not butt-weld pipe fittings
merce, that a butt-weld pipe fitting              (BWPF) was reasonable, in importer’s ac-
(BWPF) need not have an end-to-end con-           tion challenging determination on remand
nection, was reasonable, as factor that           that its outlets were within scope of anti-
weighed in favor of Commerce’s determi-           dumping duty order on carbon steel
nation on remand that importer’s steel            BWPFs from People’s Republic of China;
branch outlets used to join sections in fire      even though Commerce did not adopt the
sprinkler systems were within scope of            position recommended in the report, Com-
antidumping duty order on carbon steel            merce repeatedly referenced the report,
BWPFs from People’s Republic of China;            highlighting that various aspects of the
even though Commerce had found in a               report supported Commerce’s ultimate
prior proceeding investigating forged steel       findings, and Commerce explained that it
fittings from China, Italy, and Taiwan that       would not place greater weight on the
butt weld fittings could only have butt           expert report created for the purpose of
welded end connections, product catalogs          litigation than the other evidence on the
on the record supported the finding that          record indicating that outlets were
there was a broader understanding of the          BWPFs. 19 C.F.R. § 351.225(k)(2)(ii).




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6. Customs Duties O21.5(5)                     similarly expected by purchasers to be
     Finding of the Department of Com-         welded into permanent, fixed piping sys-
merce, that the physical characteristics of    tems for gases or liquids, was reasonable,
importer’s steel branch outlets were indis-    as factor that weighed in favor of Com-
tinguishable from butt-weld pipe fittings      merce’s determination on remand that im-
(BWPF) even though there were separate         porter’s outlets were within scope of anti-
industry standards governing branch out-       dumping duty order on carbon steel
lets and BWPFs, was reasonable, as factor      BWPFs from People’s Republic of China;
that weighed in favor of Commerce’s de-        Commerce found that, although certain
termination on remand that outlets were        types of BWPFs could be designed to han-
within scope of antidumping duty order on      dle high-pressure systems, fire protection
carbon steel BWPFs from People’s Repub-        sprinkler systems were a contemplated ap-
lic of China; outlet standard was a non-       plication of BWPFs, which was the intend-
exclusive standard with substantial overlap    ed application for importer’s outlets, and
with the BWPF standard, and importer’s         importer acknowledged that some sprin-
outlets were physically identical to the       kler systems could use BWPFs for run
products described in the first sentence of    pipes, to which branch connections were
the antidumping order.          19 C.F.R.      attached. 19 C.F.R. § 351.225(k)(2)(ii).
§ 351.225(k)(2)(ii).                           9. Customs Duties O21.5(5)
                                                    Department of Commerce’s finding,
7. Customs Duties O21.5(5)
                                               that importer’s steel branch outlets and
     Finding of the Department of Com-
                                               other butt-weld pipe fittings (BWPF) were
merce, that the physical characteristics of
                                               similarly used to be permanently welded
importer’s steel branch outlets were simi-
                                               into fire sprinkler systems, was reason-
lar to butt-weld pipe fittings (BWPF) even
                                               able, as factor that weighed in favor of
though importer’s outlets were imported        Commerce’s determination on remand that
under a separate subheading of the Har-        importer’s outlets were within scope of
monized Tariff Schedule of the United          antidumping duty order on carbon steel
States (HTSUS), was reasonable, as factor      BWPFs from People’s Republic of China;
that weighed in favor of Commerce’s de-        International Trade Commission found
termination on remand that outlets were        that BWPFs were commonly found in au-
within scope of antidumping duty order on      tomatic fire sprinkler systems, and Com-
carbon steel BWPFs from People’s Re-           merce determined that even if outlets and
public of China; Commerce considered the       other BWPFs did not have identical func-
relevance of the different HTSUS classifi-     tions, the uses of outlets and other BWPFs
cations, and explained that the outlet’s       were similar, as they both were perma-
physical characteristics indicated that they   nently welded into automatic fire sprinkler
were in scope, as outlets were formed or       systems to change or divide the flow of
forged, made of carbon steel, had a diame-     water. 19 C.F.R. § 351.225(k)(2)(ii).
ter of less than 14 inches, and had one
butt-welded end with a beveled edge. 19        10. Customs Duties O21.5(5)
C.F.R. § 351.225(k)(2)(ii).                         Department of Commerce’s finding,
                                               that the channels of trade for importer’s
8. Customs Duties O21.5(5)                     steel branch outlets and other butt-weld
    Department of Commerce’s finding,          pipe fittings (BWPF) were similar, was
that importer’s steel branch outlets and       reasonable, as factor that weighed in favor
other butt-weld pipe fittings (BWPF) were      of Commerce’s determination on remand




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that importer’s outlets were within scope         time in the context of responding to peti-
of antidumping duty order on carbon steel         tioner’s consent motion to amend its statu-
BWPFs from People’s Republic of China;            tory injunction, but argument did not ap-
even though importer’s outlets were used          pear in intervenor’s remand comments,
to join sections in fire sprinkler systems,       and were not raised before Commerce in
and were typically sold to a particular type      the course of the remand.
of contractor given their targeted applica-
tion, both outlets and other BWPFs were
sold through distributors and to fabrica-
tors    and    contractors.    19     C.F.R.
§ 351.225(k)(2)(ii).                                Richard P. Ferrin, D. Alicia Hickok, and
                                                  Douglas J. Heffner, Faegre Drinker Bid-
11. Customs Duties O21.5(5)
                                                  dle & Reath, LLP of Washington, D.C., for
     Department of Commerce’s finding,
                                                  Plaintiff Vandewater International, Inc.
that importer’s steel branch outlets and
other butt-weld pipe fittings (BWPF) were           Lucius B. Lau, Walter Spak, and Ron
similarly advertised via online catalogs in       Kendler, White & Case LLP of Washing-
company websites or affiliated or third-          ton, D.C., for Plaintiff-Intervenor SIGMA
party online sources, was reasonable, as          Corporation.
factor that weighed in favor of Commerce’s
redetermination that importer’s outlets             Gregory S. McCue and Zachary Sim-
were within scope of antidumping duty             mons, Steptoe & Johnson LLP of Wash-
order on carbon steel BWPFs from Peo-             ington, D.C., for Plaintiff-Intervenor
ple’s Republic of China; Commerce found           Smith-Cooper International, Inc.
that outlets were explicitly referenced in          Joshua E. Kurland, Trial Attorney, U.S.
advertising materials as having butt-weld         Department of Justice, Civil Division,
ends and were displayed side by side, and         Commercial Litigation Branch, Washing-
even though certain advertisements for            ton, D.C., for Defendant United States.
outlets did not contain the term ‘‘butt-weld      With him on the brief were Brian M.
ends,’’ record showed that the term ‘‘butt-       Boynton, Principal Deputy Assistant At-
weld’’ was not a standard term nor com-           torney General, Patricia M. McCarthy, Di-
monly used, and, therefore, was not used          rector, and L. Misha Preheim, Assistant
in certain advertisements. 19 C.F.R.              Director. Of counsel was Saad Y. Chalchal,
§ 351.225(k)(2)(ii).                              Senior Attorney, Office of the Chief Coun-
12. Customs Duties O84(1)                         sel for Trade Enforcement & Compliance,
     Intervenor-importer forfeited for re-        U.S. Department of Commerce of Wash-
view argument that government should not          ington, D.C.
be able to apply antidumping duties to
                                                    Matthew J. McConkey, Mayer Brown
welded steel branch outlets contained in
                                                  LLP of Washington, D.C., for Defendant-
entries that were previously suspended for
                                                  Intervenor Island Industries.
reasons unrelated to petitioner-importer’s
challenge to Department of Commerce’s
determination on remand that outlets were                             OPINION
within scope of antidumping duty order on
                                                     GORDON, Judge:
carbon steel butt-weld pipe fittings
(BWPF) from People’s Republic of China;             This action involves the scope of the
intervenor raised argument for the first          antidumping duty order on Carbon Steel




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Butt-Weld Pipe Fittings (‘‘BWPFs’’) from             China BWPFs Order. And, as with Vande-
the People’s Republic of China that covers:          water, Commerce determined that SIGMA
   carbon steel butt-weld pipe fittings, hav-        and SCI’s outlet products were covered by
   ing an inside diameter of less than 14            the China BWPFs Order. See Carbon
   inches, imported in either finished or            Steel Butt-Weld Pipe Fittings from the
   unfinished form. These formed or forged           People’s Republic of China, Court No. 19-
   pipe fittings are used to join sections in        00003, ECF No. 29-4 (Dep’t of Commerce
   piping systems where conditions require           Dec. 11, 2018) (final scope ruling on SIG-
   permanent, welded connections, as dis-            MA’s fire-protection weld outlets); Carbon
   tinguished from fittings based on other           Steel Butt-Weld Pipe Fittings from the
   fastening methods (e.g., threaded,                People’s Republic of China, Court No. 19-
   grooved, or bolted fittings). Carbon steel        00011, ECF No. 29-4 (Dep’t of Commerce
   butt-weld pipe fittings are currently             Dec. 10, 2018) (final scope ruling on SCI’s
   classified under subheading 7307.93.30            cooplet weld outlets). Plaintiffs collectively
   of the Harmonized Tariff Schedule                 now challenge Commerce’s determinations
   (HTS). Although the HTS subheading is             that their respective outlet products fall
   provided for convenience and customs              under the scope of the China BWPFs Or-
   purposes, our written description of the          der.1
   scope of the order is dispositive.
                                                        The court presumes familiarity with the
Certain Carbon Steel Butt-Weld Pipe Fit-
                                                     history of this action. See Vandewater
tings from the People’s Republic of China,
                                                     Int’l, Inc. v. United States, 44 CIT ––––,
57 Fed. Reg. 29,702 (Dep’t of Commerce
                                                     476 F. Supp. 3d 1357 (2020) (‘‘Vandewater
July 6, 1992) (‘‘China BWPFs Order’’).
                                                     I’’). In Vandewater I, the court held that
Plaintiff Vandewater International Inc.
                                                     ‘‘Commerce unreasonably concluded that
(‘‘Vandewater’’) sought a scope ruling from
                                                     the sources in 19 C.F.R. § 351.225(k)(1)
the U.S. Department of Commerce (‘‘Com-
                                                     were dispositive on the inclusion of Plain-
merce’’) as to whether its products, steel
                                                     tiff’s steel branch outlets within the Or-
branch outlets used to join sections in fire
                                                     der,’’ and remanded the matter to Com-
sprinkler systems, were covered by the
                                                     merce ‘‘to conduct a full scope inquiry and
China BWPFs Order. Commerce deter-
                                                     evaluate the factors under 19 C.F.R.
mined that these products were within the
                                                     § 351.225(k)(2).’’ Vandewater I, 44 CIT at
scope of the China BWPFs Order. See
                                                     ––––, 476 F. Supp. 3d at 1359.
Carbon Steel Butt-Weld Pipe Fittings
from the People’s Republic of China, ECF                Before the court are Commerce’s Final
No. 25-4 (Dep’t of Commerce Sept. 10,                Results of Redetermination Pursuant to
2018) (final scope ruling on Vandewater’s            Court Remand, ECF No. 112 (‘‘Remand
steel branch outlets) (‘‘Final Scope Rul-            Results’’), filed pursuant to Vandewater I.
ing’’). Plaintiff-Intervenors SIGMA Corpo-           On remand, Commerce ‘‘continue[d] to find
ration (‘‘SIGMA’’) and Smith-Cooper In-              that Vandewater’s outlets are within the
ternational, Inc. (‘‘SCI’’) similarly sought         scope of the China BWPFs Order pursu-
scope rulings from Commerce excluding                ant to an analysis under the (k)(2) crite-
their respective outlet products from the            ria.’’ See Remand Results at 2. Plaintiffs

1.     Plaintiffs all commenced their own individ-     court did not consolidate the three actions.
     ual actions—Vandewater (Court No. 18-             However, for litigation efficiency, the court
     00199); SIGMA (Court No. 19-00003); and           permitted SIGMA and SCI to intervene in this
     SCI (Court No. 19-00011). Because each ac-        action and brief the merits.
     tion had its own administrative record, the




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challenge that determination. See Com-              record fairly detracts from its weight.’’).
ments of Vandewater in Opp’n to Com-                Substantial evidence has been described as
merce’s Remand Redetermination, ECF                 ‘‘such relevant evidence as a reasonable
No. 133 (‘‘Vandewater Comments’’); SIG-             mind might accept as adequate to support
MA’s Comments in Opp’n to Remand Re-                a conclusion.’’ Dupont Teijin Films USA v.
sults, ECF No. 132 (‘‘SIGMA Comments’’);            United States, 407 F.3d 1211, 1215 (Fed.
Comments of SCI in Opp’n to Commerce’s              Cir. 2005) (quoting Consol. Edison Co. v.
Remand Redetermination, ECF No. 134                 NLRB, 305 U.S. 197, 229, 59 S.Ct. 206, 83
(‘‘SCI Comments’’); see also Defendant’s            L.Ed. 126 (1938)). Substantial evidence has
Response to Comments on the Remand                  also been described as ‘‘something less
Results, ECF No. 144 (‘‘Def.’s Resp.’’);            than the weight of the evidence, and the
Defendant-Intervenor’s Response to Com-             possibility of drawing two inconsistent con-
ments on the Remand Results, ECF No.                clusions from the evidence does not pre-
146. SCI’s comments focused on challeng-            vent an administrative agency’s finding
ing as unlawful Commerce’s determination            from being supported by substantial evi-
that it would ‘‘continue’’ to suspend liqui-        dence.’’ Consolo v. Fed. Mar. Comm’n, 383
dation of Plaintiffs’ entries that pre-date         U.S. 607, 620, 86 S.Ct. 1018, 16 L.Ed.2d
the initiation of the underlying scope inqui-       131, (1966).
ry. See SCI Comments at 2–14. The court
                                                      Fundamentally, though, ‘‘substantial evi-
has jurisdiction pursuant to Section
                                                    dence’’ is best understood as a word for-
516A(a)(2)(B)(vi) of the Tariff Act of 1930,
                                                    mula connoting reasonableness review. 3
as amended, 19 U.S.C. § 1516a(a)(2)(B)(vi)2
                                                    Charles H. Koch, Jr., Administrative Law
, and 28 U.S.C. § 1581(c) (2018). For the
                                                    and Practice § 9.24[1] (3d ed. 2022). There-
reasons set forth below, the court sustains
                                                    fore, when addressing a substantial evi-
Commerce’s analysis and scope determina-
                                                    dence issue raised by a party, the court
tion in the Remand Results.
                                                    analyzes whether the challenged agency
           I. Standard of Review                    action ‘‘was reasonable given the circum-
   [1] The court sustains Commerce’s                stances presented by the whole record.’’
‘‘determinations, findings, or conclusions’’        8A West’s Fed. Forms, National Courts
unless they are ‘‘unsupported by substan-           § 3.6 (5th ed. 2022).
tial evidence on the record, or otherwise                               II. Discussion
not in accordance with law.’’ 19 U.S.C.
§ 1516a(b)(1)(B)(i). More specifically, when        A. Framework of 19 C.F.R. § 351.225(k)
reviewing agency determinations, findings,            Scope proceedings are governed by 19
or conclusions for substantial evidence, the        C.F.R. § 351.225. Commerce may self-initi-
court assesses whether the agency action            ate a scope proceeding, see § 351.225(b), or
is reasonable given the record as a whole.          an interested party may submit a request
Nippon Steel Corp. v. United States, 458            for a scope ruling, see § 351.225(d). In
F.3d 1345, 1350–51 (Fed. Cir. 2006); see            determining whether a product is covered
also Universal Camera Corp. v. NLRB,                by the scope of an order, Commerce will
340 U.S. 474, 488, 71 S.Ct. 456, 95 L.Ed.           consider the ‘‘language of the scope and
456 (1951) (‘‘The substantiality of evidence        may make its determination on this basis
must take into account whatever in the              alone if the language of the scope, includ-

2. Further citations to the Tariff Act of 1930,       Title 19 of the U.S. Code, 2018 edition.
  as amended, are to the relevant provisions of




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ing the descriptions of the merchandise              (i) steel branch outlets possess physi-
expressly excluded from the scope, is dis-        cal characteristics that are similar to
positive.’’ 19 C.F.R. § 351.225(k)(1). Addi-      other subject merchandise because they
tionally, Commerce may consider the fol-          are formed or forged, made of carbon
lowing interpretive sources in making its         steel, have a diameter of less than 14
determination—the descriptions of the             inches, and are designed to have at least
merchandise contained in the petition per-        one end with a beveled edge for perma-
taining to the subject order, the initial         nent attachment to a pipe or fitting (id.
investigation, and Commerce’s prior or            at 45–54);
concurrent determinations, including prior           (ii) the expectations of ultimate pur-
scope determinations pertaining to the            chasers of steel branch outlets and other
subject order, and other orders with simi-        subject merchandise are similar because
lar language, and determinations of the           they expect both to be welded into per-
U.S. International Trade Commission               manent, fixed piping systems for gases
(‘‘ITC’’) regarding the subject order.            or liquids, and fire sprinkler systems are
§ 351.225(k)(1)(i). If the (k)(1) sources are     a contemplated application for subject
not dispositive, then Commerce is to con-         merchandise (id. at 54–57);
duct a full scope inquiry and consider the           (iii) the ultimate uses of steel branch
additional criteria in § 351.225(k)(2)—           outlets and other subject merchandise
namely, (1) the product’s physical charac-        are similar because both are permanent-
teristics, (2) ultimate purchasers’ expecta-      ly welded to piping systems to change or
tions, (3) the ultimate use of the product,       divide the flow of liquids, e.g., redirect-
(4) trade channels in which the product is        ing water in an automatic fire sprinkler
sold, and (5) the manner in which the             system (id. at 58–60);
product is advertised and displayed.                 (iv) steel branch outlets and other
§ 351.225(k)(2). At the conclusion of its         subject merchandise are sold in similar
scope inquiry, Commerce will issue a final        channels of trade because they are both
scope ruling. § 351.225(h). As noted previ-       sold through distributors and to fabrica-
ously, the court, in Vandewater I, rejected       tors and contractors (id. at 60); and
Commerce’s determination that the (k)(1)
                                                     (v) steel branch outlets and other sub-
sources were dispositive, and directed
                                                  ject merchandise are similarly adver-
Commerce to conduct a full scope inquiry
                                                  tised and displayed in online catalogs
and evaluate the additional criteria provid-
                                                  (id. at 60–62).
ed under § 351.225(k)(2). See Remand Re-
sults at 9–10.                                  Plaintiffs challenge Commerce’s findings
                                                on each of the (k)(2) criteria as unreason-
     B. Commerce’s Analysis Under
                                                able. See Vandewater Comments; SIGMA
        19 C.F.R. § 351.225(k)(2)
                                                Comments; SCI Comments.
   After evaluating the (k)(2) criteria, Com-
merce determined that Vandewater’s steel               1. Physical Characteristics
branch outlets are sufficiently similar to         Commerce found that ‘‘the physical
unambiguous examples of subject mer-            characteristics of outlets and BWPFs sub-
chandise and that the record supported the      ject to the China BWPFs Order are simi-
determination that Vandewater’s products        lar.’’ Remand Results at 45. Specifically,
fell within the China BWPFs Order. See          Commerce concluded that the scope lan-
Remand Results at 45–96. Specifically,          guage in the China BWPFs Order ‘‘indi-
Commerce found that:                            cates that subject merchandise must be




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formed or forged, made of carbon steel,            the conclusion that a BWPF is ‘‘intended
and have a diameter of less than 14                to be an end-to-end connection.’’ See id. at
inches.’’ Id. Commerce further found that          9–11. They emphasize that information in
‘‘to be an in-scope ‘butt-weld pipe fitting,’      the Petition, as well as the ITC’s 2016
the merchandise must be designed to have           Sunset Review of the China BWPFs Or-
at least one end with a beveled edge,              der, supports their position. Id.; see also
whether contoured or not, for permanent            Vandewater I, 44 CIT at ––––, 476 F.
attachment to at least one pipe or fitting         Supp. 3d at 1362 (agreeing with Plaintiffs
and may have a temporary connection on             that product descriptions of covered mer-
another end.’’ Id. Based on the record,            chandise from 2016 ITC Sunset Review
Commerce determined that Vandewater’s              and Petition, particularly as to ‘‘beveling
outlets meet these criteria. Id. at 46 (‘‘the      on both parts of the assembled piping,’’ did
record demonstrates that Vandewater’s              not reasonably support Commerce’s con-
outlets are consistent with BWPFs in               clusion that (k)(1) sources dispositively
terms of manufacturing method (i.e.,               demonstrated that steel branch outlets are
formed/forged), material (i.e., carbon steel       covered by China BWPFs Order). With
forged steel bars or welded pipe), and size        respect to the product catalogs and specifi-
requirements (i.e., less than 14 inches in         cation sheets relied on by Commerce,
inside diameter). Like all BWPFs, the out-         Plaintiffs argue that this ‘‘out-of-context’’
lets feature a beveled edge for permanent          information cannot serve as a reasonable
attachment to a pipe or fitting.’’).               basis for Commerce’s conclusion that
   Plaintiffs argue that the physical charac-      BWPFs do not require end-to-end connec-
teristics of subject BWPFs are distinct            tions. Id. at 11–15. Plaintiffs stress that
from Vandewater’s outlets. Plaintiffs focus        various distinctions in the wording and
much of their argument, both in the pro-           description of outlets as compared to
ceeding below and in this action, on the           BWPFs demonstrate that the sources re-
differences between the physical charac-           lied upon by Commerce cannot reasonably
teristics of their outlets and the subject         provide a ‘‘sufficient basis for determining
BWPFs, as this prong of the (k)(2) analy-          the meaning of a ‘butt-welded’ pipe fitting,
sis    is     critical.  See    19     C.F.R.      as found within the scope.’’ Id. at 12.
§ 351.225(k)(2)(ii) (providing that ‘‘[i]n the
                                                      Plaintiffs also dispute Commerce’s read-
event of a conflict between the factors
                                                   ing of the term ‘‘butt-weld’’ in those
under paragraph (k)(2)(i) of this section,
                                                   sources, maintaining that off-hand refer-
[the physical characteristics factor] will
                                                   ences to the term ‘‘butt-weld’’ is not indica-
normally be allotted greater weight than
                                                   tive of industry recognition that outlets are
the other factors’’).
                                                   BWPFs that would fall under the scope of
        a. End-to-End Connection                   the China BWPFs Order. Id. at 12–14.
   Plaintiffs first contend that a ‘‘butt weld     Ultimately, Plaintiffs ask the court to hold
is—by definition—an end-to-end welded              that Commerce erred in determining the
connection,’’ and maintain that Commerce           meaning of ‘‘butt-weld’’ (i.e., that BWPF
cannot reasonably defend its finding that          may have a ‘‘contoured edge that connects
‘‘contoured edges that connect to the mid-         [the product] to the midsection of the
section of a pipe [constitute] butt-weld pipe      header or run pipe’’) on the basis of an
fittings.’’ See Vandewater Comments at 3,          inference from the use of that term in
11. Plaintiffs further maintain that Com-          product catalogs and specification sheets
merce disregarded evidence supporting              found in the record. Instead, Plaintiffs




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would have Commerce determine that a             er or run pipe is not a physical characteris-
BWPF may only involve an ‘‘end-to-end            tic that distinguishes the outlets from
connection’’ on the basis of a reasonable        BWPFs that are subject to the scope of
inference from other information on the          the China BWPFs Order, such as saddles.’’
record, including the offered opinion of an      Id. at 48. Given the record, the court can-
expert submitted by Vandewater and the           not agree with Plaintiffs that Commerce’s
findings by the ITC in its 2016 Sunset           determination here was unreasonable.
Review. Id.                                         Plaintiffs further contend that Com-
   [2] In rejecting Plaintiffs’ arguments,       merce failed to appreciate the importance
Commerce found that ‘‘the record evidence        of the angle of the beveled edges in analyz-
establishes that products with a contoured       ing the physical characteristics of subject
edge that are designed to connect to the         outlets and BWPFs. See Vandewater Com-
mid-section of a pipe can be BWPFs.’’            ments at 11 (arguing that BWPFs are
Remand Results at 47. Specifically, Com-         required to have end-to-end connections
merce found that ‘‘[i]n its product specifi-     that ‘‘impact[ ] the very shape of the fitting
cation sheets, Aleum USA, a U.S.-based           itself, requiring ends that are beveled at a
distributor of outlets, describes its female     37.5 degree angle’’). To the contrary, Com-
threaded outlet and grooved outlet as hav-       merce found that the China BWPFs Order
ing ‘‘[b]utt welding ends.’’ Id. (further not-   contains no specifications as to any partic-
ing that ‘‘[l]ike Vandewater’s outlets, Ale-     ular bevel angle for subject BWPFs. Re-
um USA’s outlets have one threaded or            mand Results at 48.
grooved end and a contoured edge on the             Plaintiffs now argue that Commerce’s
other end that is connected to the middle        reasoning is ‘‘detached from reality and
of another pipe.’’). Commerce also high-         the record evidence.’’ Vandewater Com-
lighted that ‘‘[t]he exhibits accompanying       ments at 11. The court disagrees. While
the Petition included a product catalog          Commerce agreed that the ‘‘Petition and
from a U.S. producer of the domestic like        prior ITC determinations state that the
product with illustrations of basic shapes       beveled edges of BWPFs distinguish
of BWPFs (under the heading ‘seamless            BWPFs from other pipe fittings,’’ Com-
welded fittings’) and among them is a            merce highlighted that ‘‘none of these
product that is referred to as a saddle,         sources indicate that the edge must be
which, like Vandewater’s outlets, has a          beveled at a particular angle for the fitting
contoured edge and is connected to the           to be considered a BWPF.’’ Remand Re-
midsection of a pipe.’’ Id. (adding that ‘‘the   sults at 48. Commerce explained that
current version of the same U.S. produc-         adopting Plaintiffs’ suggestion that a
er’s product catalog continues to include        BWPF requires a specific bevel angle for
saddles as a type of ‘seamless welded fit-       proper installation would result in an ‘‘end-
ting,’ and the product is displayed side-by-     use requirement for subject merchandise’’
side with a full range of other BWPFs’’          that would inappropriately be based on the
and that ‘‘the product catalog for a major       ‘‘physical characteristics of the recipient
U.S. distributor of pipes and fittings also      pipe, rather than on the physical charac-
includes a saddle as one of the various          teristics of the outlets in question.’’ Id. at
‘standard butt weld fitting types.’ ’’). Con-    49. Since Plaintiffs ultimately fail to dem-
sequently, Commerce determined that ‘‘the        onstrate that Commerce’s determination is
contoured edge that connects Vandewa-            unreasonable, the court rejects their argu-
ter’s outlets to the midsection of the head-     ments that Commerce did not reasonably




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account for the importance of the bevel                covered under the China BWPFs Order.
angle in analyzing the subject outlets and             See Remand Results at 85 n.539 (noting
BWPFs.                                                 that ‘‘construction of an exclusion in a sep-
     b. Forged Steel Fittings Comparison               arate proceeding is not determinative
                                                       here’’ and further finding ‘‘that Vandewa-
   Plaintiffs further maintain that Com-
                                                       ter’s outlets do, in fact, feature a butt-
merce’s finding that a BWPF need not
                                                       welded connection to the run pipe.’’). As
have an end-to-end connection is unrea-
                                                       Plaintiffs acknowledge, Commerce found
sonable in light of Commerce’s finding in a
                                                       that products such as caps and lap joint
prior proceeding that ‘‘butt weld fittings
                                                       stub ends, which would not meet the nar-
can only have butt welded end connec-
                                                       row definition of BWPFs under the
tions.’’ See Vandewater Comments at 15–
                                                       Forged Steel Fittings exclusion guidelines,
16 (quoting final scope decision memoran-
                                                       nevertheless are plainly within the scope of
dum from investigations of Forged Steel
                                                       the China BWPFs Order. See Vandewater
Fittings from China, Italy, and Taiwan,
                                                       Comments at 16–17.
PR 3 21 at Tab 8 (Dep’t of Commerce July
13, 2018)). As Commerce explained, to                     Plaintiffs argue that Commerce may not
qualify as ‘‘butt weld outlets’’ or ‘‘butt             differ in defining what constitutes BWPFs
weld fittings’’ that would be excluded from            in its Forged Steel Fittings analysis versus
the scope of the Forged Steel Fittings in-             the (k)(2) analysis here. However, that ar-
vestigations, ‘‘butt weld outlets must be              gument ignores the different purposes and
butt welded at both end connections to be              records undergirding the two analyses. As
excluded from the scope of the investiga-              Commerce noted, accepting Plaintiffs’ nar-
tions.’’ Id. at 15 (further quoting with em-           row definition of BWPFs and strictly abid-
phasis Commerce’s statement that ‘‘[o]ut-              ing by the Forged Steel Fittings analysis
lets with a socket-weld or threaded end                would require it to ignore the product
connection, or with only one butt weld end             catalogs on the record that plainly support
connection, are not considered a butt weld             the finding that there is broader under-
fitting and, therefore, are not excluded               standing of the term ‘‘butt-weld’’ and
from the scope of the investigations’’).               BWPFs intended to be covered by the
Plaintiffs maintain that Commerce’s ‘‘de-              China BWPFs Order. See Remand Results
tailed discussion’’ of the nature of butt              at 85. Accordingly, Commerce’s analysis of
weld fittings in that prior scope memoran-             butt weld fittings in the Forged Steel Fit-
dum ‘‘should be the end of the matter’’ as             tings investigations does not control here,
‘‘Vandewater’s grooved and threaded                    nor did Commerce act unreasonably in
welded outlets are not butt-weld pipe fit-             determining a broader definition for
tings because their end connections on the             BWPFs in this matter than was used to
run side are grooved or welded, not butt-              determine scope exclusions in the Forged
weld end connections.’’ Id. at 16.                     Steel Fittings investigations.

  [3] Plaintiffs’ argument falls short,                           c. Product Comparisons
however, because the scope exclusion                     Much of the parties’ disagreement about
guidelines Commerce determined in the                  physical characteristics stems from Com-
Forged Steel Fittings investigation do not             merce’s comparison of the subject outlets
neatly correspond to the scope of products             to other products described in the record

3.     ‘‘PR     ’’ refers to a document contained        found in ECF No. 131-1 unless otherwise
     in the public administrative record, which is       noted.




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that appear to be covered as BWPFs by                ject outlets from caps, lap joint stub ends,
the China BWPFs Order, including caps,               saddles, and other similar products consid-
lap joint stub ends, and saddles. See Re-            ered to be BWPFs based on their physical
mand Results at 83–89 (‘‘We also find that           characteristics, see Vandewater Comments
outlets have a variety of characteristics in         at 16–17, while maintaining that Com-
common with other common BWPFs, such                 merce erred in assuming saddles to be
as having one butt-welded end (similar to            BWPFs. Id. at 17–18 (‘‘While it is disposi-
caps and lap joint stub ends) and also               tive that Vandewater’s threaded and
attach to a header pipe via a butt-weld              grooved outlets have zero connections ca-
(similar to saddles).’’). Though Plaintiffs          pable of being butt welded, it merits em-
maintain that various physical characteris-          phasis that a saddle is not a butt-weld pipe
tics of outlets make them unique from                fitting.’’).4 In arguing that saddles are not
BWPFs, Commerce addressed each poten-                a type of BWPF, Vandewater focuses on
tially distinguishable physical characteris-         the distinct ‘‘function’’ of saddles from oth-
tic raised and found that other products             er BWPFs. In so doing, Vandewater fails
covered by the China BWPFs Order also                to engage with evidence on the record
had the physical characteristics that Plain-         plainly supporting Commerce’s finding
tiffs claimed were exclusive to outlets and          that saddles are a type of BWPF. See, e.g.,
not found in BWPFs. Commerce explained               Remand Results at 47 n.335 (noting that
why it rejected Plaintiffs’ preferred find-          Petition identifies that ‘‘Butt-weld fittings
ings, noting that:                                   come in several basic shapes: ‘elbows’,
     this line of argument, downplaying the          ‘tees’, ‘caps’, and ‘reducers’ TTT Illustra-
     similarity between outlets and caps, for        tions of the various types of butt-weld
     instance, reflects a broader flaw in the        fittings are attached at Appendix B,’’ and
     importers’ arguments throughout their           that Appendix B includes ‘‘an illustration
     comments – they continue to attempt to          of ‘saddles’ as a type of BWPF’’). Com-
     artificially narrow the scope of the China      merce specifically explained that it disa-
     BWPFs Order by pointing to subsets of           greed with ‘‘Vandewater[’s assertion] that
                                                     saddles are not BWPF, and that it was
     subject merchandise (or subsets of
                                                     merely coincidence that the image of a
     uses/expectation, as discussed below) in
                                                     saddle was included among BWPFs in the
     their analysis. This is incorrect. In our
                                                     petition.’’ Id. (explaining that ‘‘[t]he catalog
     (k)(2) analysis, we must assess physical
                                                     page in the Petition displays numerous
     similarities between outlets and other in-
                                                     products that are unambiguously BWPFs,
     scope merchandise; this includes cap, lap
                                                     including products shown before and after
     joint stub ends, elbows, and the variety
                                                     saddles, e.g., elbows,’’ and further noting
     of fittings that fall within the greater
                                                     that ‘‘the subsection of the image contain-
     heading of BWPFs.
                                                     ing the saddle illustration also contains an
Remand Results at 88.                                image of a cap, which is clearly an in-scope
   [4] In their remand comments, Plain-              BWPF.’’). In light of the record, the court
tiffs continue to attempt to distinguish sub-        concludes that Commerce reasonably iden-

4.     Notably, here there appears to be some dis-     similarities between outlets and saddles rea-
     agreement between Vandewater and SIGMA            sonably justifies a finding that outlets share
     that saddles may constitute BWPFs. Vande-         the same physical characteristics as BWPFs.
     water maintains that saddles are not BWPFs,       See Vandewater Comments at 17–18; SIGMA
     while SIGMA acknowledges that saddles are         Comments at 7–8.
     BWPFs, but does not agree that any physical




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tified saddles as a type of BWPF that has            that portions of the affidavits support
physical characteristics comparable to the           our conclusion regarding the scope sta-
subject outlets.                                     tus of Vandewater’s outlets.

            d. Sperko Report                      Remand Results at 85–86. While Plaintiffs
                                                  criticize Commerce for failing to adopt the
   [5] Plaintiffs also contend that Com-
                                                  position recommended by Mr. Sperko, the
merce failed to fully consider the report of
Walter Sperko, President of Sperko Engi-          court does not agree that Commerce ‘‘dis-
neering Services, Inc., who provided his          regarded’’ or otherwise failed to consider
expert opinion in support of Plaintiffs’ po-      the information in the Sperko report. See
sition that the subject outlets are not           Vandewater Comments at 4 n.2 (arguing
BWPFs. See Vandewater Comments at 3–              that ‘‘Commerce addresses the Sperko
9; Remand Results at 27 n.185 (identifying        Declaration only superficially in footnote
Mr. Sperko). Plaintiffs maintain that             542 TTT’’). Rather, it appears that Com-
‘‘Commerce’s disregard of the substance           merce repeatedly referenced the Sperko
and sources relied on in the Sperko Decla-        report, highlighting that various aspects of
ration, except for TTT two offhand and            the report actually supported Commerce’s
inaccurate references TTT show that Com-          ultimate findings on the factors. See, e.g.,
merce’s conclusion was not based on sub-          Remand Results at 49, 86, 88, 91.
stantial evidence.’’ Vandewater Comments
                                                     As noted above, Commerce refused to
at 9; see also SIGMA Comments at 7 (‘‘the
                                                  afford dispositive weight to Mr. Sperko’s
Redetermination contains no meaningful
                                                  views, explaining that the agency would
discussion of the expert report of Walter
                                                  not ‘‘place greater weight on the expert
Sperko, P.E. – to which SIGMA, Vandewa-
ter, and SCI all cited in their comments          affidavit provided in support of Vandewa-
prior to Commerce’s issuance of the re-           ter’s scope request and an affidavit placed
mand.’’). Plaintiffs’ arguments, however, do      on the record for the purpose of this litiga-
not address other evidence on the record          tion’’ than on the other evidence on the
that supports Commerce’s determination.           record. Id. at 85–86. Plaintiffs maintain
As Commerce explained:                            that Commerce unreasonably failed to
   Ultimately, the importers ask us to ig-        credit Mr. Sperko’s affidavit, despite its
   nore the product catalog of Aleum USA          preparation in anticipation of litigation, as
   and Bonney Forge (the latter of which          such a rationale is ‘‘inconsistent with Fed-
   was placed on the record by Vandewa-           eral Rule of Evidence 702.’’ See Vandewa-
   ter) and to place greater weight on the        ter Comments at 4–6. Plaintiffs offer no
   expert affidavit provided in support of        explanation, however, for why or how the
   Vandewater’s scope request and an affi-        Federal Rules of Evidence apply to Com-
   davit placed on the record for the pur-        merce’s administrative determinations or
   pose of this litigation. We decline to do      its discretionary decision-making in deter-
   so, and we note that Commerce regular-         mining the appropriate weight to accord
   ly considers whether documents are pre-        the evidence on the record. See id. at 5 n.3
   pared in the ordinary course of busi-          (‘‘Although F.R.E. 702 is not binding on
   ness—or prepared specifically for the          the factfinder here (Commerce), the un-
   administrative proceeding—in determin-         derlying principles should guide Com-
   ing the appropriate weight to accord to        merce, and this Court in its role in vetting
   record evidence. Moreover, as discussed        Commerce’s fact-finding for substantial ev-
   elsewhere in these final results, we find      idence.’’). Accordingly, the court sustains




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Commerce’s consideration of the Sperko         on discrete industry standards in a sepa-
report.                                        rate scope proceeding concerning the ex-
          e. Industry Standards                act same order as the one at issue in this
   Vandewater argues that ‘‘[t]hroughout       appeal’’ (citing King Supply Co., LLC v.
the administrative proceeding, Vandewater      United States, 674 F.3d 1343 (Fed. Cir.
has consistently emphasized that a critical    2012))).
difference between outlets and butt-weld          [6] The court again disagrees. Plain-
pipe fittings is that outlets meet the MSS-    tiffs’ arguments reflect an unwillingness to
SP-97 industry standard, which is different    engage with Commerce’s uncontradicted
from the ANSI/ASME B16.9 specification         finding that the MSS SP-97 is a ‘‘non-
that governs butt-weld pipe fittings.’’        exclusive standard’’ with ‘‘substantial over-
Vandewater Comments at 18–19. Com-             lap’’ of the ANSI/ASME B16.9 standard.
merce rejected Plaintiffs’ proposed distinc-   Though Plaintiffs are correct that Com-
tion of outlets from in-scope BWPFs on         merce has relied on industry standards as
the basis of these different industry stan-    one relevant consideration in concluding
dards, finding that adopting Plaintiffs’ po-   that certain products should be included
sition would give ‘‘undue significance’’ to    under the China BWPFs Order, Plaintiffs
these industry standards. See Decision         ignore the fact that Commerce also found
Memorandum at 91. Commerce further             that the merchandise at issue to be ‘‘physi-
noted that ‘‘MSS SP-97 is a ‘non-exclusive     cally identical to the products described in
standard’ and, in fact, several aspects of     the first sentence of the [China BWPFs
the standard incorporate by reference the      Order].’’ See SIGMA Comments at 5
standards established by ASTM and              (quoting King Supply Co., LLC, 674 F.3d
ANSI/ASME.’’ Id. at 94. Commerce em-           at 1347). Additionally, while King Supply
phasized that it found the two standards at    supports the proposition that Commerce
issue to ‘‘reflect substantial overlap in      does consider industry standards in reach-
terms of attributes, and in turn expecta-      ing its determinations as to the scope of
tions, for outlets and BWPFs.’’ Id. at 91.     the China BWPFs Order, it does not sup-
   Plaintiffs maintain that Commerce’s         port Plaintiffs’ follow-on proposition that
conclusion that a product could conform to     products that do not fall within the indus-
both ANSI/ASME B16.9 and MSS SP-97             try standards should automatically be ex-
standards ‘‘would render those standards       cluded from the China BWPFs Order. See
meaningless,’’ and is therefore unreason-      id. at 6 (arguing that ‘‘[i]t follows that,
able. See Vandewater Comments at 20;           where a product is neither physically iden-
SIGMA Comments at 3–7 (‘‘Industry stan-        tical to the products described in the Or-
dards exist to define distinct products; the   der, nor produced according to these in-
idea that a product could conform to mul-      dustry standards, it will not fall within the
tiple industry standards, thereby re-cate-     scope of the Order.’’). Ultimately, Plaintiffs
gorizing that product, would effectively       urge the court to conclude that Commerce
render those standards meaningless.’’).        should have reached a different conclusion
Plaintiffs also highlight that Commerce        based on an inference that the different
has previously relied on distinctions in in-   industry standards serve to establish dis-
dustry standards for excluding products        tinct product categories. Commerce re-
from the China BWPFs Order. See SIG-           fused to draw Plaintiffs’ preferred infer-
MA Comments at 5 (noting that ‘‘the            ence, and instead determined that the
CAFC has affirmed Commerce’s reliance          ‘‘substantial overlap’’ in the similarities of




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those standards did not support a distinc-        {HTSUS} subheadings are provided for
tion between the subject outlets and              convenience and customs purposes, our
BWPFs. Decision Memorandum at 91, 94.             written description of the scope of this
   Plaintiffs offer what may well be a rea-       proceeding is dispositive’’). Commerce fur-
sonable conclusion. This issue presents a         ther explained that it did consider this
close question. However, for Plaintiffs to        distinction in HTSUS classifications in its
establish that Commerce’s analysis of the         analysis, but ultimately found that ‘‘the
physical characteristics of BWPFs and             mere fact that Vandewater’s outlets are
outlets was unreasonable, they must dem-          imported under a different subheading
onstrate that their preferred outcome was         within the same chapter and heading of
the ‘‘one and only reasonable’’ conclusion        the HTSUS as the subheading listed in the
Commerce could reach in light of the rec-         scope does not necessarily require Com-
ord. See Pokarna Engineered Stone Ltd.            merce to conclude that the outlets have
v. United States, 45 CIT ––––, ––––, 547 F.       physical characteristics that are distin-
Supp. 3d 1300, 1308 (2021) (‘‘A party’s           guishable from subject merchandise.’’ Id.
ability to point to an alternative, reason-       While Commerce acknowledged that Plain-
able finding on the agency record does not        tiffs’ position was supported by a prior
provide a basis for the court to set aside        Customs Ruling, it determined that ‘‘in
an agency’s determination.’’); see also Mit-      light of our broader analysis regarding
subishi Heavy Indus. Ltd. v. United               physical characteristics of in-scope mer-
States, 275 F.3d 1056, 1062 (Fed. Cir.            chandise – including the characteristics of
2001) (‘‘the possibility of drawing two in-       Vandewater’s outlets in particular – [the]
consistent conclusions from the evidence          ruling does not warrant arriving at a dif-
does not prevent an administrative agen-          ferent conclusion here.’’ Id. Plaintiffs main-
cy’s finding from being supported by sub-         tain that the HTSUS classifications are
stantial evidence.’’) (quoting Consolidated       ‘‘corroborating evidence that confirms’’ the
Edison, Co. v. NLRB, 305 U.S. 197, 229, 59        correctness of their position that outlets
S.Ct. 206, 83 L.Ed. 126 (1938)). This Plain-      are outside of the scope of the China
tiffs did not do. Accordingly, the court          BWPFs Order. See Vandewater Com-
cannot agree that Commerce unreasonably           ments at 22. Thus, in Plaintiffs’ view, Com-
rejected Plaintiffs’ arguments seeking to         merce unreasonably ‘‘disregard[ed]’’ the
distinguish outlets from BWPFs based on           different HTSUS classifications in con-
industry standards.                               ducting its (k)(2) analysis. Id.
         f. HTSUS Subheadings                        [7] Plaintiffs’ argument is not sustaina-
   Plaintiffs also challenge Commerce’s           ble. Commerce expressly acknowledged
finding that their outlets and BWPFs have         that it considered the relevance of the
similar physical characteristics even             different HTSUS classifications but con-
though their outlets are imported under a         cluded that this distinction was insufficient
separate     HTSUS       subheading    from       in light of the totality of the record to
BWPFs. See Remand Results at 54. Com-             support a determination that ‘‘the outlets
merce first noted that ‘‘HTSUS subhead-           have physical characteristics that are dis-
ings listed in the scope are not disposi-         tinguishable from subject merchandise.’’
tive.’’ Id. (citing Smith Corona Corp. v.         See Remand Results at 54. In reaching its
United States, 915 F.2d 683, 687 (Fed. Cir.       conclusion, Commerce explained that ‘‘with
1990), as well as the language of the China       respect to physical characteristics, we find
BWPFs Order stating: ‘‘Although the               that Vandewater’s outlets are formed or




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forged, made of carbon steel, have a diam-     are, similarly, expected to be welded into
eter of less than 14 inches, and have one      permanent, fixed piping systems for gases
butt-welded end with a beveled edge suit-      or liquids in plumbing, heating, refrigera-
able for permanent attachment to a piping      tion, air conditioning, and fire sprinklers
system that conveys gas or liquid. We also     systems.’’ Id. at 90. Commerce further ob-
find that outlets have a variety of charac-    served that ‘‘the fact that Vandewater’s
teristics in common with other common          outlets have a temporary connection on
BWPFs, such as having one butt-welded          one end is not a feature that distinguishes
end (similar to caps and lap joint stub        outlets from other in-scope merchandise,
ends) and also attach to a header pipe via     and, therefore, does not change consumer’s
a butt-weld (similar to saddles).’’ Remand     expectations regarding the product.’’ Id.
Results at 89. Thus, given the record, the     Commerce also rejected Vandewater’s ar-
physical characteristics factor supports the   gument that Commerce should defer to the
reasonableness of Commerce’s scope de-         opinion of Vandewater’s expert witness,
termination.                                   Walter Sperko, ‘‘rather than the other
                                               sources on the record, such as the ITC
2. Expectations of Ultimate Purchasers         report, to ascertain the expectations of
  Commerce found that ‘‘the ultimate pur-      consumers and users.’’ Id. As noted previ-
chaser’s expectations regarding the uses of    ously, Commerce refused to afford signifi-
outlets and other BWPFs are similar.’’ Re-     cant weight to the expert opinion affidavit
mand Results at 55. Specifically, Com-         submitted by Vandewater, explaining that
merce observed that ‘‘[b]oth outlets and       Commerce did not ‘‘find that the affidavit
BWPFs are used in fire sprinkler systems       represents more reliable evidence than
(among other types of piping systems), are     other record evidenceTTTT’’ Id.
subject to similar, and in some cases over-       Plaintiffs now challenge Commerce’s
lapping, industry standards, and are sold      finding that ‘‘[o]utlets and other BWPFs
according to standard sizes.’’ Id. at 57.      are, similarly, expected to be welded into
Commerce also determined that ‘‘the rec-       permanent, fixed piping systems for gases
ord does not reveal that customers would       or liquids,’’ as unreasonable. See Vandewa-
have a significantly different expectation     ter Comments at 23 (quoting with empha-
regarding the installation costs for outlets   sis Remand Results at 90). In particular,
and BWPFs.’’ Id. During the remand,            Vandewater contends that the record
Plaintiffs challenged the reasonableness of    ‘‘demonstrates conclusively that Vandewa-
these findings, highlighting ‘‘four main ex-   ter’s outlets are used only for functions in
pectations of ultimate purchasers that pur-    which its customers do not want and can-
portedly differ across the products: (1)       not use permanent connections.’’ Id.
compliance with a particular industry stan-    Vandewater further argues that ‘‘[t]he rea-
dard; (2) custom vs. standard sizing; (3)      son that outlets are used, and the reason
whether the product can be used in fire        that lower pressure is necessary, is be-
sprinkler systems; and (4) installation        cause the outlets are used for functions
costs.’’ Id.                                   such as sprinkler heads, which must be
                                               capable of removal and replacement. Butt-
  Contrary to Plaintiffs’ argument, Com-
                                               weld pipe fittings cannot be used for those
merce found consistency across the expec-
                                               functions.’’ Id.
tations of ultimate purchasers of outlets
and other BWPFs. Specifically, Commerce          [8] The court disagrees with Plaintiffs
noted that ‘‘[o]utlets and other BWPFs         that Commerce’s findings on this factor




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are unreasonable. Commerce concluded              connections used in the oil and gas indus-
that the record did not support Vandewa-          try.’’ Id.
ter’s arguments. Rather, it found that
‘‘[a]lthough certain types of BWPFs may              Plaintiffs challenge Commerce’s finding
be designed to handle high-pressure sys-          as unreasonable, highlighting that the ‘‘ul-
tems, fire protection sprinkler systems are       timate purchasers of Vandewater’s steel
a contemplated application of BWPFs.              branch outlets are all fabricators of fire
This is the intended application for Vande-       sprinkler systems.’’ Vandewater Com-
water’s product. Therefore, we find that          ments at 24 (further adding that ‘‘Com-
outlets and other BWPFs are, similarly,           merce does not (and cannot) deny this
expected to be welded into permanent,             fact.’’). Plaintiffs maintain that this detail is
fixed piping systems for gases or liquids in      critical, as ‘‘no fire sprinkler uses any butt-
plumbing, heating, refrigeration, air condi-      weld pipe fittings for branch connections
tioning, and fire sprinklers systems.’’ Re-       to sprinkler leads, because a butt-weld
mand Results at 56. While Plaintiffs urged        pipe fitting does not have the ability to
Commerce to focus on the prevalence of            accept a sprinkler head with threads.’’ Id.
BWPFs in high pressure systems rather             Plaintiffs also emphasize that the ITC ‘‘has
than low-pressure sprinkler systems, Com-         explained the use and expectation of ulti-
merce highlighted that ‘‘Vandewater itself        mate users of butt-weld pipe fittings by
acknowledges that ‘[s]ome sprinkler sys-          stating that ‘[b]utt-weld pipe fittings are
tems may, however, use butt-weld pipe             used to connect pipe sections where condi-
fittings for the run pipes, to which the          tions require permanent, welded connec-
branch connections are attached.’ ’’ Id. As       tions.’ ’’ Id. (citing 2016 ITC Sunset Re-
a result, Commerce reasonably found that          view at I-4).
Plaintiffs were ‘‘simply incorrect that
BWPFs are used exclusively in high-pres-             [9] Commerce       acknowledged     that
sure settings, while outlets are used in          Vandewater’s outlets are designed for a
distinct, low-pressure piping systems.’’ Id.      specific use within fire sprinkler systems,
at 56.                                            but found that BWPFs are also used in
                                                  fire sprinkler systems and that the minor
             3. Ultimate Use                      difference in specific uses within a sprin-
   Commerce determined that ‘‘the uses of         kler system did not indicate a significant
Vandewater’s outlets and other BWPFs              difference in the ultimate use of subject
are similar.’’ Id. at 58. Specifically, Com-      outlets as compared to BWPFs. Remand
merce noted that ‘‘Vandewater’s outlets           Results at 58–59 (‘‘Such use variation is
are designed to be permanently welded to          found throughout the range of BWPFs’’).
a fire sprinkler system, which is a recog-        In disagreeing with Plaintiffs that the
nized application for BWPFs subject to the        ITC’s findings support a distinction be-
scope of the China BWPFs Order. Fur-              tween outlets and BWPFs, Commerce
thermore, even though Vandewater em-              highlighted that the ITC found that
phasized that its outlets are designed for        BWPFs are commonly found in automatic
fire sprinkler systems, Vandewater ac-            fire sprinkler systems. Despite Plaintiffs’
knowledges that other outlets with physi-         arguments emphasizing the different in-
cal characteristics that are similar to its       system uses of outlets and BWPFs, Com-
outlets are used in a range of applications,      merce determined that ‘‘[e]ven if it is the
including those that the importers identify       case that the outlets and other BWPFs do
as fundamental BWPF uses, e.g., piping            not have identical or complete overlap of




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functions, the fact remains that the uses of         Shyman Declaration, and highlighted that
outlets and other BWPFs are similar be-              Mr. Shyman acknowledged that ‘‘welded
cause, as explained above, both are perma-           branch outlets and butt-weld fittings are
nently welded into automatic fire sprinkler          both sold to distributors like Neill Supply.’’
systems to change or divide the flow of              Id. at 93–94. Vandewater maintains that
water.’’ Id. at 59. Plaintiffs’ argument dem-        Commerce’s simplistic analysis on this is-
onstrating that the subject outlets may              sue misses the point and fails to engage
have specific uses within automatic fire             with the record. See Vandewater Com-
sprinkler systems does not undermine the             ments at 24–25 (noting that ‘‘Home Depot
reasonableness of Commerce’s conclusion              sells paint and flowers, but that says noth-
that the ultimate use of BWPFs and sub-              ing about whether ultimate purchasers
ject outlets are similar given that both             deem them to be the same product.’’).
BWPFs and subject outlets are used in                   Commerce acknowledged the distinction
automatic fire sprinkler systems. Accord-            highlighted by Plaintiffs, but overall found
ingly, the court concludes that Commerce             it unpersuasive in demonstrating that out-
reasonably found that the ultimate uses of           lets and BWPFs subject to the China
outlets and BWPFs are similar.                       BWPFs Order involve different channels
                                                     of trade. As Commerce explained:
              4. Channels of Trade
                                                        We agree that Vandewater’s outlets are
   Commerce ultimately found that ‘‘the                 typically sold to a particular type of
channels of trade for outlets and other                 contractor given their targeted applica-
BWPFs are similar.’’ Remand Results at                  tion, when compared to BWPFs more
60. Commerce noted that ‘‘both [outlets                 generally – which cover a wide range of
and other BWPFs are] sold through dis-                  products and applications. However, this
tributors and to fabricators and contrac-               is true in any circumstance when com-
tors.’’ Id. Plaintiffs challenge Commerce’s             paring a particular product to a broad
conclusion that the record, and in particu-             class of products. Outlets and other
lar the Shyman 5 Declaration, supports a                BWPFs are sold to distributors and
finding that the expectations of purchasers             then to contractors and users involved in
of BWPFs and outlets are similar based on               constructing piping systems, even if the
the fact that both products are sold                    particular type of contractor/customer
through distributors like Neill Supply. See             for Vandewater’s outlets focuses on cer-
Vandewater Comments at 24 (citing Re-                   tain types of systems, i.e., fire protection
mand Results at 93–94).                                 and other low-pressure applications.
   [10] Once again, the court disagrees.             Remand Results at 94. In the court’s view,
Commerce rejected Vandewater’s argu-                 Plaintiffs’ arguments about the over-
ment that the agency should rely on other            breadth of Commerce’s analysis under this
parts of the Shyman Declaration, empha-              factor go to the weight that the agency
sizing ‘‘differences in the ultimate consum-         should assign this factor in its overall
er of the products.’’ Remand Results at 93.          (k)(2) analysis and not the reasonableness
Commerce noted that it considered the                of its determination. While the court un-

5.     Vandewater submitted this declaration to        is a fabricator and supplier of fire sprinkler
     Commerce as part of its remand comments,          and industrial piping and sells Vandewater’s
     noting that ‘‘Mr. Neil Shyman was Vice Presi-     steel branch outlets.’’ See Remand Results at
     dent and General Manager of Neill Supply          27 n.186.
     from May 1968 to January 2011. Neill Supply




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                         VANDEWATER INTERN. INC. v. U.S.                                 1341
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derstands that this factor provides limited       tend that Commerce’s finding that Plain-
assistance in comparing BWPFs and sub-            tiffs’ afforded ‘‘undue significance’’ to in-
ject outlets, it cannot agree with Plaintiffs     dustry standards is unreasonable in light
that Commerce’s findings under this factor        of ‘‘repetition and centrality of these stan-
were unreasonable.                                dards in the advertisements.’’ Id. Again,
                                                  Plaintiffs’ arguments focusing on the im-
      5. Manner of Advertisement                  portance of industry standards in adver-
             and Display                          tising ignores contrary evidence in the
   As to the final criterion, Commerce            record, namely that ‘‘the record supports
found that ‘‘outlets and other BWPFs are          Island’s proffered explanation: [namely,
advertised in a similar manner, i.e., via         that] the term ‘butt-weld’ itself is not a
online catalogs in company websites or            standard term nor commonly used, and,
affiliated or third-party online sources.’’       therefore, Island does not use it in its
Remand Results at 60–61. Commerce ob-             advertising.’’ See Remand Results at 61.
served that ‘‘[t]hese sources identify the           Plaintiffs also contend that Commerce’s
size, weight, and other technical specifica-      finding that outlets and BWPFs are ‘‘dis-
tions of the merchandise, including pres-         played side by side’’ was unreasonable.
sure resistance, materials used, and in-          Vandewater Comments at 25 (quoting Re-
dustry standard.’’ Id. at 61. Commerce            mand Results at 95 & n.577). Plaintiffs
highlighted that ‘‘outlets (and similar           maintain that the sources relied on by
products, such as saddles) and BWPFs              Commerce to support such a finding do
are displayed side by side. In some in-           not actually include ‘‘traditional butt-weld
stances, outlets are explicitly referenced        pipe fittings.’’ Id. at 26. Plaintiffs’ argu-
in advertising materials as having butt-          ments here again focus on a narrow subset
weld ends.’’ Remand Results at 94. Com-           of BWPFs, discounting the variety of
merce disagreed with Plaintiffs, emphasiz-        BWPFs covered by the China BWPFs Or-
ing the fact that certain advertising mate-       der that Commerce found to be advertised
rials for subject merchandise referenced          in the same product catalogs along with
particular industry standards, and further        outlets. See Remand Results at 61 (‘‘First,
noting that ‘‘simply because the advertis-        the ‘Fire Sprinkler Pipe Fabrication’ sec-
ing materials reference particular stan-          tion of the Aleum USA catalog shows out-
dards (i.e., ANSI/ASME B16.9 for certain          lets with a branch side that is threaded or
products) and or references particular            grooved along with ‘butt welding ends.’
uses, [Commerce does not agree] that this         Second, product catalogs on the record
reflects a clear dividing line between the        show outlets and similar products and oth-
method of advertising for each product.’’         er BWPFs advertised side by side. For
Id. at 95.                                        instance, the Petition shows ‘elbows,’ ‘re-
                                                  ducers,’ ‘lap joint stub ends,’ ‘saddles,’ and
   [11] Plaintiffs maintain that Com-             ‘multiple outlet fittings’ in the same prod-
merce’s analysis sidesteps the critical sig-      uct catalog; the Shin Tech catalog advertis-
nificance of industry standards in adver-         es two outlet products – one with a beveled
tising the products, which ‘‘draw a clear         edge that allows for a permanent connec-
dividing line between butt-weld pipe fit-         tion only on the branch end, and one with
tings on one hand and steel branch outlets        such edges on both the branch and con-
on the other.’’ SIGMA Comments at 13.             toured ends – in a similar manner.’’). Given
Plaintiffs argue that Commerce ‘‘failed to        these findings, the court concludes that
give this evidence due regard,’’ and con-         Commerce reasonably found that outlets




                                          Appx18
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and other BWPFs are advertised in a simi-      Resp. to Vandewater’s Mot. for Amended
lar manner.                                    Order for Statutory Injunction, ECF No.
     C. Suspension of Liquidation              166 (noting that SCI has no objection to
             Instructions                      Vandewater’s revision of the statutory in-
   As a result of Commerce’s new analysis      junction covering its entries, but adding
on remand, the parties disputed whether        that ‘‘SCI files this response to state that
Commerce was required to revise its in-        it does not agree with the statement in
structions to U.S. Customs and Border          this motion that the Government should
Protection regarding suspension of liqui-      be able to apply antidumping duties to
dation and cash deposits. See Remand Re-       welded outlets contained in entries ‘that
sults at 96–103. This issue was resolved       were previously suspended’ for reasons
with respect to Vandewater after the con-      unrelated to the underlying proceeding at
clusion of briefing on the merits of the       issue in this appeal (i.e., entries that were
Remand Results. See Letter, ECF No. 151        previously suspended because they con-
(seeking clarification about potential moot-   tained unrelated products subject to sus-
ness given that existing statutory injunc-     pension pursuant to an unrelated AD/CVD
tions already suspend liquidation of unliq-    order as of the effective date of Com-
uidated entries of subject merchandise         merce’s scope determination on Vandewa-
dating back to 1992 and requesting addi-       ter’s welded outlets (September 10,
tional information as to this issue); Def.’s   2018)).’’), with SCI Comments & Remand
Initial Resp. to Letter, ECF No. 152; Con-     Results (discussing parties’ disagreement
ference Call, ECF No. 157; Def.’s Second       as to Commerce’s authority to ‘‘continue’’
Resp. to Letter, ECF No. 159; Second           suspension of liquidation under the regula-
Conference Call, ECF No. 164; Order            tory framework, but making no reference
Amending Statutory Injunction, ECF No.         to particular mixed entries, or any issues
166. As to SIGMA, this was not an issue.       involving inappropriately assessed duties).
                                               As noted previously, these arguments re-
   SCI, though, maintains that this is a
                                               garding ‘‘mixed entries’’ do not appear in
live issue. While SCI initially presented
                                               SCI’s remand comments nor do they ap-
arguments challenging the legal basis for
                                               pear to have been raised before Com-
Commerce’s instructions to ‘‘continue’’
                                               merce in the course of the remand. See
suspension of liquidation, SCI’s arguments
                                               SCI Resp. to Vandewater’s Mot. for
appear to have evolved significantly after
                                               Amended Order for Statutory Injunction,
conferencing with the court. Specifically,
                                               ECF No. 166 (noting that SCI’s argu-
SCI maintains that this issue is not moot
                                               ments in the response reflect SCI’s argu-
because certain of its entries contain both
                                               ments ‘‘stated during [the August 10,
subject merchandise and non-subject mer-
                                               2022] conference call’’).
chandise (‘‘mixed entries’’), and argues
that these mixed entries may be inappro-          [12] Given these circumstances and its
priately subject to duties as a result of      discussions with the parties, the court con-
Commerce’s instructions as applied to a        cludes that SCI’s additional arguments on
suspension of liquidation covering the non-    this issue are not properly before the court
subject merchandise. SCI now attempts to       and are deemed forfeited. See United
formally raise these arguments for the         States v. Great Am. Ins. Co., 738 F.3d
first time in the context of ‘‘responding’’    1320, 1328 (Fed. Cir. 2013) (‘‘It is well
to Vandewater’s consent motion to amend        established that arguments that are not
its statutory injunction. Compare SCI          appropriately developed in a party’s brief-




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ing may be deemed waived.’’); Dorbest               and other BWPFs are sufficiently similar
Ltd. v. United States, 604 F.3d 1363, 1375–         such that the subject outlets should be
77 (Fed. Cir. 2010) (affirming waiver of            included under the scope of the China
arguments not raised until after remand);           BWPFs Order. Judgment will enter ac-
see also In re Google Tech. Holdings LLC,           cordingly.
980 F.3d 858, 862 (Fed. Cir. 2020) (explain-
ing the distinction between ‘‘forfeiture’’
and ‘‘waiver’’ and acknowledging that ‘‘[b]y
and large, in reviewing this court’s prece-                         ,
dent, it is evident that the court mainly
uses the term ‘waiver’ when applying the
doctrine of ‘forfeiture.’ ’’); Saha Thai Steel
Pipe Pub. Co. v. United States, 46 CIT
––––, 592 F.Supp.3d 1299, 1305 (2022) (ex-             BOTH-WELL (TAIZHOU) STEEL
ploring precedent addressing forfeiture                    FITTINGS, CO., LTD.,
and waiver, and explaining that ‘‘[f]ailing                     Plaintiff,
to raise an argument in a previous pro-                                   v.
ceeding thus forfeits the argument after
the matter has been remanded and is back                  UNITED STATES, Defendant,
on appeal.’’). The court also notes that
                                                                         and
SCI’s additional arguments on this issue
may well be moot in light of the existing                   Bonney Forge Corporation,
statutory injunction that enjoins liqui-                      Defendant-Intervenor.
dation of SCI’s imports of unliquidated
entries of subject merchandise dating back                         Slip Op. 22-105
to July 6, 1992. See Order Entering Form                          Court No. 21-00166
24 Statutory Injunction, Court No. 19-
                                                       United States Court of International
00011, ECF No. 17 (Jan. 28, 2019).
                                                                     Trade.
              III. Conclusion                                     September 13, 2022
   Despite their arguments supporting an            Background: Foreign exporter filed suit
alternative reasonable conclusion, Plain-           challenging Department of Commerce’s fi-
tiffs have failed to demonstrate that the           nal determination in administrative review
record supports Plaintiffs’ preferred out-          of countervailing duty (CVD) order on
come as the one and only reasonable de-             forged steel fittings (FSF) from People’s
termination Commerce could have made.               Republic of China. Exporter moved for
See, e.g., supra pp. 1336–37. Although              judgment on agency record. The Court of
Plaintiffs have demonstrated that informa-          International Trade, Claire R. Kelly, J.,
tion on the record could reasonably sup-            557 F.Supp.3d 1327, remanded. On re-
port a finding that outlets are excluded            mand, Department of Commerce issued
from the scope of the China BWPFs Or-               remand results.
der, the court cannot agree that Com-
                                                    Holdings: The Court of International
merce acted unreasonably in reaching its
                                                    Trade, Kelly, J., held that application of
findings to the contrary under each of the
                                                    adverse facts available was not warranted.
(k)(2) factors. The court therefore sustains
Commerce’s determination that outlets               Sustained.




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                     ADDENDUM 2
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                                                                                                  A-570-814
                                                                                                    Remand
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                                                                                           Public Document
                                                                                            E&C/OV: Team

                         Vandewater International, Inc. v. United States,
                   Court No. 18-00199, Slip Op. 20-146 (CIT October 16, 2020)

                           FINAL RESULTS OF REDETERMINATION
                               PURSUANT TO COURT REMAND
I.      SUMMARY

        The Department of Commerce (Commerce) prepared these final results of

redetermination in accordance with the opinion and remand order of the U.S. Court of

International Trade (the Court) in Vandewater International, Inc. v. United States, Court No. 18-

00199, Slip Op. 20-146 (October 16, 2020) (Remand Order). This remand concerns

Commerce’s Final Scope Ruling,1 in which we determined, pursuant to 19 CFR 351.225(d), that

steel branch outlets (outlets) imported by Vandewater International Inc. (Vandewater) fall within

the scope of the antidumping duty (AD) order on carbon steel butt-weld pipe fittings (BWPFs)

from the People’s Republic of China (China).2 In the Remand Order, the Court held that

Commerce’s determination that the scope language and the descriptions of the merchandise

contained in the sources under 19 CFR 351.225(k)(1) are dispositive as to the inclusion of the

outlets within the scope of the China BWPFs Order was unsupported by substantial evidence.3

Accordingly, the Court remanded the Final Scope Ruling and directed Commerce to conduct a

scope inquiry to evaluate the outlets using the criteria enumerated under 19 CFR 351.225(k)(2).



1
  See Memorandum, “Antidumping Duty Order on Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic
of China: Final Scope Ruling on Vandewater International Inc.’s Steel Branch Outlets,” dated September 10, 2018
(Final Scope Ruling).
2
  See Antidumping Duty Order and Amendment to the Final Determination of Sales at Less Than Fair Value;
Certain Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China, 57 FR 29702 (July 6, 1992)
(China BWPFs Order).
3
  See Remand Order at 4-9.



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In accordance with the Remand Order, on October 30, 2020, Commerce initiated this inquiry and

reopened the record to provide interested parties an opportunity to submit comments and new

factual information relevant to an analysis under the (k)(2) criteria.4 On April 19, 2021,

Commerce released the Draft Redetermination to all interested parties and invited parties to

comment.5 Commerce received comments on April 30, 2021, as discussed below.

        In these final results of redetermination, in accordance with the Remand Order, we have

addressed the comments submitted by interested parties on the draft results of redetermination

and continue to find that Vandewater’s outlets are within the scope of the China BWPFs Order

pursuant to an analysis under the (k)(2) criteria on remand.

II.     SCOPE OF THE CHINA BWPFS ORDER

        The products covered by this order are BWPFs having an inside diameter of less than 14

inches, imported in either finished or unfinished form. These formed or forged pipe fittings are

used to join sections in piping systems where conditions require permanent, welded connections,

as distinguished from fittings based on other fastening methods (e.g., threaded, grooved, or

bolted fittings). BWPFs are currently classified under subheading 7307.93.30 of the Harmonized

Tariff Schedule of the United States (HTSUS). Although the HTSUS subheading is provided for

convenience and customs purposes, the written description of the scope of the order is

dispositive.




4
  See Commerce’s Letter, “Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China: Initiation of
Scope Inquiry,” dated October 30, 2020 (Commerce October 30, 2020 Letter).
5
  See Memorandum, “Draft Results of Remand Redetermination, Vandewater International, Inc. v. United States,
Court No. 18-00199, Slip Op. 20-146,” dated April 19, 2021 (Draft Redetermination).

                                                        2

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III.      PRODUCT DESCRIPTION

          Vandewater’s product is commonly known as a “steel branch outlet” or a “welded

outlet.”6 The outlets in question have two ends and are designed for fire sprinkler systems and

other low-pressure piping systems.7 One end, called the “header” or “run” side, is designed to be

placed against the mid-section of another pipe (i.e., a “header” or “run” pipe), and it is contoured

to match the curve of the mid-section of that header pipe.8 The contour allows the outlet to sit

atop the header pipe like a saddle.9 This contoured end has a beveled edge that permits the

fitting to be welded to the header pipe.10

          The other end of the fitting, called the “branch” or “outlet” side, is either threaded or

grooved. Vandewater offers threaded outlets in sizes ranging from ½ inch to 2½ inches, and

grooved steel branch outlets in sizes ranging from 1¼ inches to 8 inches.11 The threaded or

grooved outlet is intended to connect to another component of the piping system, such as a

sprinkler head, e.g., by screwing the sprinkler head on to the threaded end of the outlet.12

IV.       BACKGROUND

       A. Vandewater’s Scope Request and Commerce’s Final Scope Ruling

          In July 1992, Commerce published the China BWPFs Order.13 On May 17, 2018,

Vandewater, an importer of outlets produced in China, requested that Commerce issue a scope




6
  See Vandewater’s Letter, “Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China: Request for
Scope Ruling for Steel Branch Outlets,” dated May 17, 2018 (Scope Ruling Request) at 3.
7
  See Scope Ruling Request at 3-4.
8
  Id. at 3.
9
  Id.
10
   See Scope Ruling Request at 4 (product image for Vandewater’s threaded outlet), 5 (product image for
Vandewater’s grooved outlet), and 13 (“{T}he header side of a steel branch fitting is normally beveled at a 45-
degree angle”).
11
   See Scope Ruling Request at 3.
12
   Id. at 4.
13
   See China BWPFs Order.

                                                       3

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ruling to determine whether the threaded or grooved outlets that it imports are subject to the

China BWPFs Order.14 On June 12, 2018, Island Industries Inc. (Island), a producer of the

domestic like product, submitted its opposition to Vandewater’s scope request.15 On June 29,

2018, Vandewater submitted rebuttal comments to Island’s opposition.16

        On July 11, 2018, counsel for Vandewater met with Commerce and provided samples of

its outlets.17 On July 12, 2018, Smith-Cooper International (SCI), a U.S. importer of outlets,

submitted comments in support of Vandewater’s scope request.18 On July 17, 2018, Anvil

International, LLC (Anvil), a producer of the domestic like product, submitted its opposition to

Vandewater’s scope request.19 On July 25, 2018, counsel for Island and counsel for Anvil met

with Commerce to review the samples submitted by Vandewater.20

        On August 24, 2018, Commerce placed on the record the Petition and the International

Trade Commission (ITC)’s determination in the 2016 sunset review of the China BWPFs

Order.21 On September 5, 2018, Island, SCI, and Vandewater submitted comments regarding the

documents placed on the record.22



14
   See Scope Ruling Request.
15
   See Island’s Letter, “Opposition to Scope Ruling Requests of Vandewater International Inc. and SIGMA
Corporation,” dated June 12, 2018 (Island June 12, 2018 Comments).
16
   See Vandewater’s Letter, “Rebuttal Factual Information Concerning Vandewater Scope Inquiry on Steel Branch
Outlets,” dated June 29, 2018.
17
   See Memorandum, “Vandewater Scope: Ex-Parte Meeting with Requestor’s Counsel,” dated July 12, 2018.
18
   See SCI’s Letter, “Certain Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China:
Comments,” dated July 12, 2018.
19
   See Anvil’s Letter, “Opposition to Scope Ruling Requests of SIGMA and Vandewater and Request for a
Meeting,” dated July 17, 2018 (Anvil Opposition Letter).
20
   See Memorandum, “Vandewater Scope: Meeting with Counsel to Interested Parties,” dated July 26, 2018.
21
   See U.S. Fittings Group’s Letter, “Petition for the Imposition of Antidumping Duties: In the Matter of Certain
Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China and from Thailand,” dated May 22, 1991
(Petition); and Memorandum, “Placing Documents on the Record,” dated August 24, 2018; see also Carbon Steel
Butt-Weld Pipe Fittings from Brazil, China, Japan, Taiwan, and Thailand, Inv. Nos. 731-TA-308-310 and 520-521
(Fourth Review), USITC Pub. 4628 (August 2016) (USITC Fourth Review).
22
   See Island’s Letter, “Comments on Documents Placed on Record,” dated September 5, 2018; SCI’s Letter,
“Comments on Documents Placed on the Record,” dated September 5, 2018; and Vandewater’s Letter, “Vandewater
Comments on Factual Information Placed on the Record by Commerce,” dated September 5, 2018.

                                                       4

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        On September 10, 2018, Commerce issued its Final Scope Ruling.23 Commerce

determined that Vandewater’s outlets were covered by the scope of the China BWPFs Order,

pursuant to 19 CFR 351.225(d) and (k)(1).24 Commerce examined the scope language and

observed that the outlets “are made of carbon steel, have an inside diameter of less than fourteen

inches, and are used to join sections in fire sprinkler piping systems where conditions require

permanent, welded connections.”25 Commerce concluded that the scope language can be

reasonably interpreted to include the outlets (i.e., products with a single welded connection).26

Commerce explained that this conclusion is supported by the descriptions of the merchandise

contained in the (k)(1) sources, which revealed that the distinguishing characteristic of subject

merchandise is a beveled edge on at least one end that facilitates a permanent, welded

connection.27

        In its analysis, Commerce primarily relied upon the Petition, the USITC Fourth Review,

and a prior scope ruling relating to the China BWPFs Order issued in 200928 as (k)(1) sources to

support Commerce’s interpretation of the scope language.29 Commerce also acknowledged

another scope ruling issued in 1992 in connection with the antidumping duty order on BWPFs

from Taiwan, hereinafter referred to as the “Sprink Scope Ruling.”30 The Sprink Scope Ruling




23
   See Final Scope Ruling.
24
   Id. at 8-12.
25
   Id. at 9.
26
   Id.
27
   Id. at 9-10.
28
   See Memorandum, “Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China: Placing Prior
Scope Ruling on the Record,” dated September 10, 2018.
29
   See Final Scope Ruling at 9-10.
30
   See Island June 12, 2018 Comments at Exhibit 2; see also Antidumping Duty Order; Certain Carbon Steel Butt-
Weld Pipe Fittings from Taiwan, 51 FR 45152 (December 17, 1986) (Taiwan BWPFs Order); and Memorandum,
“Recommendation Memo – Final scope Ruling on Request by Sprink, Inc. to Exclude Sprink-let Carbon Steel Butt-
Weld Pipe Fittings from the Antidumping Duty order on Carbon Steel Butt-Weld Pipe Fittings from Taiwan,” dated
March 25, 1992 (Sprink Scope Ruling).

                                                      5

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addressed a product “essentially physically identical” to Vandewater’s outlets.31 In addressing

arguments from interested parties, Commerce explained that it was “not bound by the agency’s

analysis in the Sprink Scope Ruling” because that ruling involved a different proceeding that had

a scope with slightly different language.32 However, at the same time, Commerce still viewed

the Sprink Scope Ruling as informative because it was a prior scope ruling that considered

whether outlets nearly identical to the outlets imported by Vandewater are “butt-weld pipe

fittings.”33 Commerce noted in the Final Scope Ruling that, “as in that case, we have concluded

that the merchandise is covered by the scope of an antidumping duty order on ‘butt-weld pipe

fittings’ because the merchandise is permanently joined by welding.”34 Therefore, Commerce

ensured that its interpretation of “butt-weld pipe fittings” for purposes of the China BWPFs

Order was consistent with Commerce’s longstanding interpretation of that exact same term in

the Sprink Scope Ruling as it relates to the Taiwan BWPFs Order.

         Because Commerce determined that the outlets are covered by the China BWPFs Order

based on an analysis of the scope language and the (k)(1) sources, Commerce determined that it

was not necessary to consider the criteria set forth in 19 CFR 351.225(k)(2).35 As a result of its

Final Scope Ruling, Commerce issued instructions to U.S. Customs and Border Protection (CBP)

in accordance with 19 CFR 351.225(l)(3). Vandewater appealed the Final Scope Ruling to the

Court.

     B. The Court’s Remand Order

         On October 16, 2020, the Court remanded Commerce’s Final Scope Ruling, holding that


31
   See Final Scope Ruling at 11.
32
   Id.
33
   Id. at 5-6 (listing the Sprink Scope Ruling as a relevant prior scope ruling).
34
   Id. at 11.
35
   Id. at 3.

                                                            6

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Commerce’s scope determination was not supported by substantial evidence.36 The Court found

that it was unreasonable for Commerce to conclude that the sources identified in 19 CFR

351.225(k)(1) were dispositive regarding whether Vandewater’s outlets were covered by the

scope of the China BWPFs Order.37 According to the Court, neither the language of the China

BWPFs Order nor the (k)(1) sources that Commerce relied upon resolve the question of whether

Vandewater’s outlets are covered by the scope. The Court stated the following regarding the

scope language:

        {Vandewater’s} products have threaded or grooved ends on their non-weldable
        end. It is therefore not plainly apparent from the language of the {China BWPFs
        Order} whether a steel branch outlet qualifies as a butt-weld fitting covered by the
        {China BWPFs Order} or not. They may be covered: they are made of carbon
        steel, have an inside diameter of less than fourteen inches, and are used to join
        sections in fire sprinkler piping systems where conditions require a permanent,
        welded connection. They also may not be covered: they have a non-weldable,
        threaded or grooved end, and according to Vandewater, the weldable end is never
        joined to the sprinkler system via a true “butt-weld.” The language of the {China
        BWPFs Order} simply does not resolve the issue of whether Vandewater’s steel
        branch outlets are covered.38

        As for the (k)(1) sources, the Court explained that, on the one hand, 28 years ago

Commerce determined that a nearly identical product was within the scope of the Taiwan

BWPFs Order,39 which is an order on BWPFs with very similar scope language.40 On the other

hand, certain language in the ITC’s most recent sunset review and the Petition contemplates that

in-scope fittings must have an end-to-end connection with beveling on the ends of both the

fitting and the adjoining pipe, which is not descriptive of Vandewater’s outlets.41 The Court




36
   See Remand Order at 3-9.
37
   Id. at 5-8.
38
   Id. at 5.
39
   See Taiwan BWPFs Order.
40
   See Remand Order at 5-6; see also Sprink Scope Ruling.
41
   See Remand Order at 7-8; see also USITC Fourth Review at I-4; and Petition at 4.

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concluded that Commerce’s determination that the (k)(1) sources were dispositive was not

reasonable because Commerce dismissed the Sprink Scope Ruling as non-binding and the other

(k)(1) sources Commerce relied upon “do not really tell the court anything about the inclusion of

steel branch outlets within the scope.”42 As a result, the Court remanded the Final Scope Ruling

to Commerce with instructions to conduct a scope inquiry and analyze the criteria under 19 CFR

351.225(k)(2).43

     C. Remand Proceedings

        Pursuant to the Remand Order, on October 30, 2020, Commerce initiated this inquiry and

reopened the record.44 We provided interested parties an opportunity to submit comments and

new factual information related to an analysis under 19 CFR 351.225(k)(2).45

        On November 9, 2020, Island, SCI, Sigma Corporation (SIGMA), and Vandewater

submitted comments containing new factual information.46 Subsequently, on December 3, 2020,

Island, SCI, SIGMA, and Vandewater submitted new factual information to rebut, clarify, or

correct the information placed on the record on November 9, 2020.47

        On April 19, 2021, Commerce released the Draft Redetermination to all interested parties



42
   See Remand Order at 8.
43
   Id. at 9.
44
   See Commerce October 30, 2020 Letter.
45
   Id. at 2.
46
   See Island’s Letter, “(k)(2) Analysis of Vandewater ‘Steel Branch Outlets,’” dated November 19, 2020 (Island
Comments); SCI’s Letter, “Comments and Documentation in Formal Scope Inquiry Pursuant to 19 C.F.R.
351.225(e) and (k)(2),” dated November 19, 2020 (SCI Comments); SIGMA’s Letter, “SIGMA’S Additional
Written Arguments and Supporting Documentation Regarding the “(k)(2)” Criteria,” dated November 19, 2020
(SIGMA Comments); and Vandewater’s Letter, “Comments of Vandewater International Inc. on (K)(2) Factors,”
dated November 19, 2020 (Vandewater Comments).
47
   See Island’s Letter, “(k)(2) Rebuttal Analysis of Vandewater ‘Steel Branch Outlets, ‘“ dated December 3, 2020
(Island Rebuttal Comments); SCI’s Letter, “Rebuttal Comments in Formal Scope Inquiry Pursuant to 19 C.F.R.
351.225(e) and (k)(2),” dated December 3, 2020 (SCI Rebuttal Comments); SIGMA’s Letter, “SIGMA Rebuttal
Comments for Commerce’s “(k)(2)” Analysis,” dated December 3, 2020 (SIGMA Rebuttal Comments); and
Vandewater’s Letter, “Slip Op. 20-146: Rebuttal Comments of Vandewater International Inc. on (K)(2) Factors,”
dated December 3, 2020 (Vandewater Rebuttal Comments).

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and invited parties to comment.48 On April 30, 2021, Island, SCI, SIGMA, and Vandewater each

filed comments on the Draft Redetermination.49

V.      LEGAL FRAMEWORK

        Commerce’s regulations set out rules regarding the issuance of scope rulings, including

standards used in determining whether a product is within the scope of an order. When a request

for a scope ruling is filed, Commerce examines the language of the scope of the order at issue

and the description of the product contained in the scope ruling request.50 Commerce may also

examine other information, including the description of the merchandise contained in the

petition, the initial investigation, and prior determinations of Commerce (including prior scope

rulings) and the ITC.51 If Commerce determines that these sources are dispositive, it will issue a

final scope ruling as to whether the product in question is covered by the scope of the order.52 A

determination pursuant to this analysis may take place with or without initiation of a formal

scope inquiry.53

        Conversely, if Commerce determines the descriptions of the merchandise in the sources

described in 19 CFR 351.225(k)(1) are not dispositive, Commerce will consider the following

five additional factors set forth in 19 CFR 351.225(k)(2):

               (i)     The physical characteristics of the product;



48
   See Draft Redetermination.
49
   See Island’s Letter, “Comments on Draft Remand Redetermination,” dated April 30, 2021 (Island Draft
Redetermination Comments); SCI’s Letter, “SCI’s Comments on the Department’s Draft Remand Redetermination,”
dated April 30, 2021 (SCI Draft Redetermination Comments); SIGMA’s Letter, “SIGMA’s Comments on the
Department’s Draft Results of Redetermination Pursuant to Court Remand,” dated April 30, 2021 (SIGMA Draft
Redetermination Comments); and Vandewater’s Letter, “Comments of Vandewater International Inc. on Draft
Results of Redetermination Pursuant to Court Remand,” dated April 30, 2021 (Vandewater Draft Redetermination
Comments).
50
   See Walgreen Co. v. United States, 620 F.3d 1350, 1357 (Fed. Cir. 2010).
51
   See 19 CFR 351.225(k)(1).
52
   See 19 CFR 351.225(d).
53
   See 19 CFR 351.225(d) and (e).

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              (ii)      The expectations of the ultimate purchasers;

              (iii)     The ultimate use of the product;

              (iv)      The channels of trade in which the product is sold; and

              (v)       The manner in which the product is advertised and displayed.

The determination as to which analytical framework is most appropriate in any given scope

inquiry is made on a case-by-case basis after consideration of all record evidence before

Commerce.

       As explained above, the Court has directed Commerce to conduct a scope inquiry and

analyze the criteria enumerated under 19 CFR 351.225(k)(2) to determine whether Vandewater’s

outlets are covered by the scope of the China BWPFs Order.

VI.    INITIAL COMMENTS ON THE (K)(2) FACTORS

Vandewater, SCI, and SIGMA Comments

Physical Characteristics of the Product

       Outlets have several distinct characteristics that distinguish them from BWPFs. These

characteristics relate to the ends of the outlets, their method of connection to the header pipe, the

shape of the product, the underlying production process, and the applicable industry standard(s).

Such considerations, which were each raised by one or more of the importers of outlets, are

discussed in turn.

       First, outlets always have one end that is contoured with a curved or “fishmouth” design,

which allows the outlet to be attached directly to the curved side or face of a pipe, i.e., to be

attached in a perpendicular manner to another pipe, rather than through an end-to-end




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connection.54 The curvature on an outlet facilitates attachment only to the face of run pipe.55 In

contrast, the ends of BWPFs never have this curved, fishmouth shape because they are attached

exclusively to the end of a pipe.56 A BWPF connects two pipes along the same plane,57 and a

BWPF always has a square end.58 Therefore, outlets are physically different from BWPFs

because the welded end of the outlet is curved and does not allow for an end-to-end weld, which

is a defining characteristic of BWPFs.59

        Second, the method of connection for outlets and BWPFs is distinct.60 Outlets rest

against the face of the pipe at a location that is not itself beveled. The beveled end of the outlet

tapers to a flat surface and does not come to a pointed shape.61 Thus, the connecting weld is a

fillet weld, where the bead of the weld runs along the edge of the point of connection, but does

not fully penetrate the connection and separate the pipes with welding material.62 In contrast,

BWPFs attach to the end of pipe, and the ends of the BWPF and the connecting pipe are beveled

to a pointed shape.63 Thus, the two points (i.e., the two beveled edges) are placed together, and

the weld “bead” rests in the channel created by the two bevels, fully penetrates the connection,

and keeps the two adjoining pieces separate.64 The butt weld forms the bridge between the

fitting and the pipe but never allows the fitting and pipe to contact each other.65 Additionally,

this interpretation is supported by the ITC’s statement that BWPFs are intended to be placed



54
   See Vandewater Comments at 7 and Tabs 3 and 4; see also SIGMA Comments at 6 and Exhibit 2 at 15.
55
   See Vandewater Comments at 7 and Tab 4.
56
   See SCI Comments at 5; see also Vandewater Comments at 5-7.
57
   See SCI Comments at 6.
58
   Id.
59
   Id.
60
   See Vandewater Comments at 4-10; see also SCI Comments at 5-7; and SIGMA Comments at 7 and 10-11.
61
   See SCI Comments at 8.
62
   Id.; see also Vandewater Comments at 8-9.
63
   See SCI Comments at 8.
64
   Id.
65
   Id.

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against the end of a beveled pipe or other fitting.66 Outlets rest against the face of the pipe at a

location that is not itself beveled.67

        Third, the bevel angles are different between the products. Outlets have a 45-degree

bevel angle on the connecting end that attaches to the run pipe.68 BWPFs are beveled, typically

at a 37 ½ degree angle, and the receiving component (whether it is a pipe, a valve, another

BWPF, or a backing ring) also has a beveled end with a similar angle (generally within a

tolerance of plus or minus 2 ½ degrees).69 Thus, when placed together, the beveled edges form a

shallow channel, normally a combined 75 degrees, that accommodates the bead of the weld that

fastens the two adjoining pieces.70

        Fourth, outlets have a non-welded end that is a temporary connection, unlike BWPFs

which do not have any ends featuring a temporary connection.71 Vandewater’s outlets have

grooved or threaded connections. This characteristic clearly distinguishes outlets from

merchandise covered by the China BWPFs Order, which does not cover “fittings based on other

fastening methods (e.g., threaded, grooved, or bolted fittings).”72

        Commerce’s prior decisions suggest that the character and number of butt-weld end

connections are key considerations in analyzing the scope of the China BWPFs Order. In its

scope decision in the context of the Forged Steel Fittings Order,73 and in its Forged Steel




66
   Id. at 6 (citing USITC Fourth Review at 6).
67
   See SCI’s Comments at 8.
68
   See Vandewater Comments at 9 (citing Scope Ruling Request at Exhibits 7, 20, and 21).
69
   See SCI Comments at 8-9; see also Vandewater Comments at 9, Tab 5 at 107, and Table 12.
70
   See Vandewater Comments at 8 (citing USITC Fourth Review at I-5).
71
   See SCI Comments at 11.
72
   Id. (citing China BWPFs Order); see also Vandewater Comments at 7-8.
73
   See SCI Comments at 13-14 and Exhibit 5 (citing Memorandum, “Forged Steel Fittings from China, Italy, and
Taiwan: Final Scope Determination Decision Memorandum,” dated July 23, 2018 (Forged Steel Fittings Scope
Determination)); see also Forged Steel Fittings from Italy and the People’s Republic of China: Antidumping Duty
Orders, 83 FR 227 (November 26, 2018) (Forged Steel Fittings Order).

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Fittings Scope Clarification Memorandum,74 Commerce connected the scope analysis between

that investigation and the analysis associated with the China BWPFs Order. Commerce stated

that outlets must have butt welds on both ends to be considered butt-weld fittings for the

purposes of the exclusion from the Forged Steel Fittings Order. Although the Forged Steel

Fittings Scope Clarification Memorandum states that “{f}ittings and outlets with at least one, but

not all, butt welded end connection and an inside diameter of less than 14 inches are covered by

the scope of the {China BWPFs Order}, so long as the other requirements of the {China BWPFs

Order}scope are satisfied,” this does not cover branch outlets, such as Vandewater’s, which have

no butt-weld ends.75 Products with zero butt-weld ends, like outlets, cannot reasonably be

considered butt-weld fittings.76 Commerce agreed that “{o}utlets with a socket-weld or threaded

end connection, or with only one butt-weld end connection, are not considered a butt-weld fitting

…”77 In addition, the industry that produces forged steel fittings recently told Commerce that

“the industry does not consider a welded outlet to be a butt-weld fitting …”78

        Fifth, outlets and BWPFs follow separate industry standards that require different

physical characteristics. BWPFs always have a square end and bevel made to dimensions

specified in American National Standards Institute (ANSI) and American Society of Mechanical

Engineers (ASME) B16.9,79 which is entitled “Factory-Made Wrought Buttwelding Fittings.”80


74
   See SCI Comments at 12 (citing Memorandum, “Forged Steel Fittings from the People’s Republic of China, Italy,
and Taiwan: Placing Carbon Steel Butt Weld Pipe Fitting Scope Ruling on the Record,” dated September 19, 2018
(Forged Steel Fittings Scope Clarification Memorandum)).
75
   Id. at 14 and Exhibit 11.
76
   Id.
77
   See Vandewater Comments at 18 (citing Forged Steel Fittings Scope Determination at 7-9).
78
   Id. at 26 (citing Scope Ruling Request at Exhibit 16).
79
   ANSI and ASME are distinct organizations that develop industry standards for various products, including
fittings. See Vandewater Comments at Tab 1 (ASME B16.9 standard, “Foreword” discussing ANSI’s and ASME’s
involvement in developing the B16.9 standard). However, the parties refer to ANSI and ASME interchangeably in
their submissions. For ease of reference, these final results of redetermination refer to both ANSI/ASME in
discussing certain industry standards.
80
   See SCI Comments at 15; see also SIGMA Comments at 6 and Exhibit 2 at 4.

                                                      13

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This ANSI/ASME standard includes long radius reducing elbows, long radius returns, short

radius elbows, short radius 180-degree returns, 3D elbows, straight tees and crosses, reducing

outlet tees, reducing outlet crosses, lap joint stub ends, caps, and reducers.81 Branch outlets do

not meet this ANSI/ASME standard, but instead meet Manufacturers Standardization Society

(MSS) SP-97, which is entitled “Integrally Reinforced Forged Branch Outlet Fittings – Socket

Welding, Threaded, and Butt-welding Ends.”82 Moreover, while all BWPFs meet American

Society for Testing and Materials (ASTM) and ANSI/ASME specifications, branch outlets do

not meet ANSI/ASME specifications.83

        Sixth, outlets and BWPFs are made using different manufacturing processes.84 Outlets

are not BWPFs because they are made completely by machining and are not formed or forged.85

Machining is the process of cutting away or otherwise removing excess material.86 The scope of

the China BWPFs Order is expressly limited to fittings that are either “formed or forged” both of

which have particular meanings within the industry and refer to the process of reshaping material

without removing any material.87 BWPFs typically start with seamless pipe,88 which is then

formed into a particular shape over a mandrel.89 Most types of BWPFs are made from ASTM

A234 grade seamless pipe.90 Although it is possible to make some BWPFs with welded pipe,




81
   See SCI Comments at 15 (citing Scope Ruling Request at 10).
82
   Id.
83
   Id.
84
   Id. at 17.
85
   Id. at 17 and Exhibit 6 at 2.
86
   Id. at 17 and Exhibit 6 at 6, 17-18.
87
   Id. at 17 and Exhibit 6 at 17-18.
88
   See Vandewater Comments at 11 and Exhibit 7 at 13.
89
   Id.
90
   Id.

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seamless pipe is typically used to manufacture BWPFs because seamless pipe holds pressure

better than welded pipes and is easier to bend on a mandrel without causing weakness.91

        Seventh, outlets are straight in design, whereas BWPFs (except for caps) are not.92 For

example, as shown in the Weldbend Corporation (Weldbend) catalog, elbows and return bends

are curved along their length. Straight tees and reducing tees have an irregular shape along the

length of one side.93

        Finally, outlets are classified under a different tariff subheading from BWPF.94 While an

HTSUS classification is not dispositive of a scope analysis, it is not irrelevant.95 It is especially

relevant here where the distinction is between HTSUS subheading 7307.93, for “Butt-welding

fittings” (subject merchandise) and HTSUS subheading 7307.99, for “Other” (outlets). The

HTSUS classification, as confirmed by CBP rulings, recognizes physical differences between

outlets and BWPFs.96 Additionally, neither Commerce nor the domestic industry appears to

have made any effort, over many years, to add the applicable HTSUS subheadings for outlets to

the scope of the China BWPFs Order.97

Expectations of the Ultimate Purchasers

        Ultimate purchasers expect outlets to be different from BWPFs, as demonstrated by the

different industry standards to which such products are sold/produced; installation costs; and

pressure ratings and corresponding applications.98

        Purchasers of Vandewater’s outlets expect that the outlet will meet the MSS SP-97


91
   Id.
92
   Id. at 12
93
   Id.
94
   Id.
95
   See SCI Comments at 18.
96
   Id. at 18-19.
97
   Id. at 19.
98
   Id. at 20-23.

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manufacturing standard. The standard covers “Integrally Reinforced Forged Branch Outlet

Fittings – Socket Welding, Threaded, and Butt-welding Ends.”99 Paragraphs 6.1 and 6.1.3 of

MSS SP-97 explain that the essential characteristic of a covered outlet is the connection to the

run pipe, which must be contoured.100

        Purchasers of BWPFs, on the other hand, “expect that the BWPFs will be forged, or

produced from seamless pipe or steel plate, with the starting material conforming to ASTM

A105, ASTM A106, and ASTM A285 standards, and for which the finished BWPFs conform to

the ANSI/ASME B16.9 standard.”101 The product description in the Petition explicitly notes the

industry standards to which BWPF must conform, i.e., ASTM A234-82a and ANSI/ASME

B16.9. There is no table or description of outlets in ANSI/ASME B16.9 because such outlets are

not recognized as BWPFs by the piping industry.102

        BWPFs have higher installation costs, in part as a result of the need to support higher

pressure applications.103 Purchasers expect branch outlets to have much lower installation costs

than BWPFs because only one end is welded and the weld is relatively weaker and less

expensive.104 In order to change a BWPF system, an installer must burn out the connection with

a cutting torch.105

        BWPFs are intended to withstand comparatively high levels of pressure and are rated to

300 pounds per square inch (PSI) or higher.106 In contrast, because purchasers expect to use



99
   See Vandewater Comments at Tab 2.
100
    Id.
101
    See SIGMA Comments at 8 and Exhibit 1 at 25.
102
    Id. at 22; see also Vandewater Comments at 14 and Tab 1.
103
    See Vandewater Comments at 23 and Exhibit 9; SCI Rebuttal Comments at 25; and Vandewater Rebuttal
Comments at 5.
104
    See SCI Comments at 20.
105
    See Vandewater Comments at 7.
106
    See SCI Comments at 22 and Exhibits 1, 9 and 17.

                                                     16

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outlets in low-pressure sprinkler systems, the outlets in question are only certified to withstand

pressure of 300 PSI or less.107

         Outlets are custom engineered by the manufacturer for the sizes, pressures, and

temperatures of the piping to which they are attached for the purpose of minimizing the cost of

creating an outlet in a run of piping.108 BWPFs, in contrast, are standard fittings that match up

with the size and schedule of the pipe to which they are attached.109

Ultimate Use of the Product

         The ultimate uses of outlets are different from BWPFs.110 Vandewater’s outlets are

designed for fire sprinkler systems, which are low pressure and, thus, are rated at no more than

300 PSI.111 These threaded or grooved outlets are used so that the sprinkler head can be changed

quickly and easily.112 Such temporary connections do not provide the same strength as a butt-

weld connection, which is why outlets are used in low pressure applications (e.g., no more than

300 PSI) and not in conditions requiring permanent connection.113 In such settings, threaded and

grooved connections, rather than welded permanent connections, are commonplace.114 No fire

sprinkler fabricator uses BWPFs for branch connections to sprinkler heads, because a BWPF

does not have the ability to accept a sprinkler head with threads.115


107
    Id. at 22 and Exhibit 1 and 17.
108
    Id. (citing Scope Ruling Request at 13 and Exhibit 7).
109
    Id.
110
    Id. at 24.
111
    Id. at 23 (citing Scope Ruling Request at 4); see also Vandewater Comments at 23 and Tab 12 (“Please note that
certain types of steel branch outlets, with similar basic physical characteristics, are also used by the oil and gas
industry. However, the steel branch outlets that Vandewater imports, which are the subject of this scope ruling
request, are used strictly for fire sprinklers”).
112
    See SCI Comments at 25-26 (citing Scope Ruling Request at Exhibit 23); see also Vandewater Comments at 23
(“Steel branch outlets are listed by Underwriter Laboratories (UL) for fire protection systems and are listed in the
UL accessory section as ‘welded outlets, ‘ and are not referred to by UL as BWPFs”)
113
    See Vandewater Comments at 7 and Exhibit 1 at 24 (citing Vandewater Scope Ruling Request at 38); see also
SCI Comments at 23 and Exhibits 6 (at Exhibit 2).
114
    See SIGMA Comments at 7.
115
    See Vandewater Comments at 23.

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         In contrast, BWPFs are used for connections in high pressure, industrial settings, with

permanent connections.116 BWPFs are used in a broader set of industrial settings, such as

chemical synthesis, petroleum refining, electric power generation, construction, and

shipbuilding.117 BWPFs are required in these industries because butt welds create permanent,

strong bonds capable of safely containing highly pressurized or toxic substances.118

Channels of Trade in Which the Product Is Sold

         Outlets are sold in different channels of trade than BWPFs.119 Fire sprinkler system

welded outlets are distributed solely within the fire sprinkler industry, which specializes in

installing large-scale industrial, commercial, and residential fire sprinkler systems.120 For

instance, Vandewater sells to fabricators of sprinkler systems and contractors.121 Vandewater

also sells to fire sprinkler supply distributors, which sell to smaller contractors/fabricators.122

         Distributors/end users for BWPFs are in totally different lines of business.123 BWPFs are

sold to master distributors and contractors in the industrial and mechanical pipe-valves-fittings

(PVF) segment of the construction industry.124 These distributors and contractors service the oil,

gas, steam, and chemical industries, and generally maintain inventory of steel pipe and the

BWPFs that correspond with the steel pipe they supply to their customers.125 According to the

staff report of the ITC’s 1992 final injury determination in the less-than-fair-value investigation,




116
    Id. at 25.
117
    See SCI Comments at 24.
118
    Id.
119
    Id. at 26.
120
    Id. at 27 and Exhibit 1 at 25.
121
    See Vandewater Comments at 26.
122
    See SCI Comments at 27 (stating that SIGMA’s outlets are distributed solely to contractors within the fire
sprinkler system industry) and Exhibit 1 at 25.
123
    See Vandewater Comments at 26.
124
    Id.
125
    See SCI Comments at 26; see also SIGMA Comments at 27.

                                                         18

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“domestic manufacturers and importers sell virtually all their finished fittings to distributors,

who then resell to end users.”126

        U.S. manufacturers that participated in the scope proceedings on outlets, i.e., Island and

Anvil, were not mentioned by the ITC as domestic producers of BWPFs in the original

investigation or in any of the sunset reviews.127 This is because they are not U.S. manufacturers

of BWPFs, but manufacturers of branch outlets, a distinct market segment.128

Manner in Which the Product Is Advertised and Displayed

        Outlets are not advertised or displayed together with BWPFs.129 Vandewater’s

promotional brochures specifically describe its outlets as being intended for “fire protection &

other low-pressure piping systems.”130 Vandewater’s promotional brochures do not refer to any

of these products as “butt-weld pipe fittings.”131 Likewise, SIGMA’s promotional brochures

describe the company’s fire sprinkler system weld outlets as intended “for fire protection & other

low-pressure piping systems.”132

        An exhibition document for the American Fire Sprinkler Association (AFSA) convention

in October 2019 lists past participants for AFSA conventions. No producer of BWPFs is on the

list because BWPFs are not advertised in trade shows that are targeted at the fire sprinkler

industry.133




126
    See SCI Comments at 28 (citing Certain Carbon Steel Butt-Weld Pipe Fittings from China and Thailand, Inv.
Nos. 731-TA-520 and 521 (Final), Publication 2528, June 1992 (USITC Final Investigation) at I-18).
127
    Id. at 26.
128
    Id.
129
    Id. at 28.
130
    See Vandewater Comments at 27.
131
    Id. at 27 and Tab 12.
132
    See SIGMA Comments at 9 and Exhibit 1 at 65.
133
    See Vandewater Comments at 27 and Tab 15.

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        In its own scope proceeding, in response to comments from Island, SCI noted that,

beginning in November 2017, it mistakenly described some outlet types as a “Threaded Butt-

weld Outlet” or a “Grooved Butt-weld Outlet” on import records.134 SCI has corrected this

mistake and at no time did it change the classification of its product from HTSUS subheading

7307.99.135 Prior product descriptions without the term “butt-weld” had been in place for over a

decade, and these descriptions were restored to their original and correct form more than a month

before Island’s submission in the scope proceeding.136 Since then, SCI’s relevant import

documentation has used the correct description, which is also consistent with SCI’s website.137

        The Chief Executive Officer (CEO) of Island, Mr. Sanders, was deposed regarding

Island’s claims that Vandewater’s threaded and grooved outlets are a type of BWPF.138 Mr.

Sanders was asked whether he could “recall or identify any document, such as an email or

another piece of correspondence, with a customer or a competitor or employee, and prior to your

planning for this lawsuit, when you described a grooved outlet or a threaded outlet as a butt-weld

pipe fitting?”139 Mr. Sanders replied “No.”140

        None of the commercial images of BWPFs provided by the ITC resemble Vandewater’s

threaded or grooved outlets.141 None of the commercial illustrations of BWPFs in the Petition

resemble branch outlets.142 None of these example products have the fishmouth end or the

threaded or grooved ends present on Vandewater’s outlets.143 The Ladish catalog cited in the


134
    See SCI Comments at 27 and Exhibit 6 at 37.
135
    Id. at 27 Exhibit 6 at 37.
136
    Id. at 27-28.
137
    Id. at 28 and Exhibit 9 at 2.
138
    See Vandewater Comments at 21-22 and Tab 11.
139
    Id. at Tab 11(the Sanders deposition).
140
    Id.
141
    See SCI Comments at 28 and Exhibit 6 at 24-25 (citing USITC Fourth Review at I-5).
142
    See Vandewater Rebuttal Comments at 7 (citing Petition at Appendix B).
143
    Id. at 28 and Exhibits 6 at 4, and 9 at 4.

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Petition does illustrate some products that are not BWPFs together on the same page with the

BWPFs (i.e., saddles).144 However, outlets are not present in this display and even the non-butt-

weld products contained therein do not resemble branch outlets.145

        Island distributes a variety of fire sprinkler system weld outlet types but does not describe

them as having a “butt-weld” portion or as constituting “butt-weld fittings.”146 Island does

distribute a butt-weld outlet that is configured on one end with a single-plane, circular, beveled

opening. Island correctly describes this end as a “butt-weld” end, and correctly refers to this

product as a “butt-weld” outlet.147 Although this product shares the same “fishmouth” opening

on one end, as with all of Island’s other fire sprinkler system weld outlets, it is only this product

that is described as having a butt-weld end or categorized as a butt-weld outlet.148 It is because

of the beveled/square end that it is a “butt-weld” outlet and, accordingly, assigned the product

code “BW.”149

        Island also distributes type 40 & 10 and Type 50 & 80 weld outlets. Advertisements for

these products explicitly identify these “carbon steel branch outlets” and “weld outlets” as being

sold “For Fire Protection and Low Pressure Piping Systems.”150 Although some of these

advertisements recognize that Island’s weld outlets can be used for other purposes (e.g., building

services, power plant services), they also contain more detailed discussion of use for fire




144
    See SCI Comments at 29.
145
    Id. at 28 and Exhibit 6 at 5 and 15, and Exhibit 9 at 4.
146
    Id. at 29-30 (citing Island’s Letter, “Carbon Steel Butt-Weld Pipe Fittings from China Handouts at July 25, 2018
Department Meeting,” dated July 25, 2018).
147
    Id. at 28 and Exhibit 17 at 7 and Attachment 4.
148
    Id. at 28 and Exhibit 17 at 7.
149
    See SIGMA Comments at 11 and Exhibit 3B (“As stated in the advertisement, ‘BW’ reflects ‘Bevel for Welding,
‘ which is likewise consistent with the physical characteristics of a BWPF”).
150
    Id. at 9 and Exhibit 3B.

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sprinkler systems.151 Further, these advertisements contain no reference to the ANSI/ASME

B16.9 standard.152

Island’s Comments

Physical Characteristics of the Product

        Vandewater offers two types of steel branch outlets: threaded and grooved. Various

names are used to describe these products, including steel branch outlets, threaded or grooved

pipe outlets, and welded outlets.153 Vandewater’s outlets have the same physical characteristics

and welding requirements as products subject to the China BWPFs Order: (1) they are formed

or forged pipe fittings made of carbon steel; (2) they have an inside diameter of less than 14

inches; (3) they feature a “beveled edge” that demands that the fitting be welded to a pipe via a

shallow channel that accommodates the “bead” of the weld; and (4) they are used to join sections

in piping systems where conditions require permanent, welded connections.154 The ITC stressed

that the beveled edges of these fittings is what distinguishes them from other types of pipe

fittings, which rely on different types of fastening methods, such as threaded, grooved, or bolted

fittings.155 In short, Vandewater’s outlets have all of the same relevant physical characteristics

and welding requirements as products covered by the China BWPFs Order.156

Expectations of the Ultimate Purchasers

        The expectations of the ultimate purchasers of outlets are consistent with those of the

purchasers of other merchandise subject to the China BWPFs Order. The ITC has recognized a




151
    Id.
152
    Id.
153
    See Island Comments at 5.
154
    Id. at 6.
155
    Id. at 5-6.
156
    Id. at 6.

                                                  22

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large number of uses for in-scope fittings, explaining that the products “are welded into

permanent, fixed piping systems that convey gases or liquids in plumbing, heating, refrigeration,

air conditioning, automatic fire sprinklers, electric conduit, irrigation, and process‐piping

systems …{and} structural applications.”157

        Products sold and marketed in the United States as “butt-weld pipe fittings” or fittings

with butt-welded ends come in many shapes and configurations and have numerous and varied

uses.158 These products include caps, lap joint stub ends, and saddles. Purchaser expectations

for welded outlets fall within the wide range of expectations associated with the above-

referenced products.159

        Moreover, public litigation records establish that Chinese manufacturers and distributors

of welded outlets with threaded or grooved ends recognize that these products are BWPFs. For

example, in 2017, SCI and Jinan Meide, SCI’s Chinese manufacturer, took the position that SCI

could invoke the exemption carved out for BWPFs from the then-pending AD investigation of

forged steel fittings from China, because their welded outlets were BWPFs.160 Accordingly,

Jinan Meide and SCI changed the description of their welded outlets with threaded and grooved

ends to ‘butt-weld outlets’ in import paperwork, as well as in SCI’s statement concerning the

applicability of antidumping or countervailing duties,161 in which the welded outlets were

described as “threaded butt-welded outlets” and “grooved butt-welded outlets.”162



157
    Id. at 7 (citing USITC Fourth Review at 6 (emphasis added)).
158
    Id. at 7 and Exhibits 1-4B.
159
    Id.
160
    Id. at 8 and Exhibit 6.
161
    Id. at 8 (“SCI maintained Anti-Dumping Duty Stationary so that it would have a ready response in the event that
CBP questioned it about whether an ADD order applied to a product”) and Exhibit 7.
162
    Id. at 8 and Exhibits 7 and 8 (noting that “{i}n further communications between SCI and Jinan Meide, SCI
acknowledged that the merchandise covered by the Sprink Scope Ruling was ‘almost the same as’ SCI cooplets,
which is virtually identical to Vandewater’s outlets”).

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        In sum, the Petition and the ITC’s description of the products covered by the China

BWPFs Order, the advertising materials published by outlet distributors and producers, as well

as their own commercial documents, show that expectations surrounding BWPFs encompasses a

broad range of products including outlets.163 Such products include pipe fittings with only one

beveled end, as well as fittings used in fire sprinkler systems.164 Ultimate purchasers’

expectations may vary depending on the particular type of, and intended use for, the BWPFs they

need. However, they will invariably expect that any such product is made of formed or forged

carbon steel, will have an inside diameter of less than 14 inches, will be permanently welded into

a piping system via a beveled butt-welded end, and will connect to other components, such as

pipes, fittings, flanges and sprinklers.165

Ultimate Use of the Product

        Because products covered by the China BWPFs Order come in so many shapes and

configurations, they have many ultimate uses, as noted above.166 However, such products are

often used in fire sprinkler systems.167 The ITC highlighted this application, noting that BWPFs

“are welded into permanent, fixed piping systems that convey gases or liquids in plumbing,

heating, refrigeration, air-conditioning, automatic fire sprinklers, electrical conduit, irrigation,

and process-piping systems.”168 Vandewater’s outlets are used in one of these explicitly-named

contexts – i.e., they are permanently welded into automatic fire sprinkler systems.169




163
    Id. at 8.
164
    Id.
165
    Id. at 9.
166
    Id.
167
    Id.
168
    Id. (citing USITC Fourth Review at I-6 and 6) (emphasis added).
169
    Id.

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Channels of Trade in Which the Product Is Sold

        Like the products covered by the China BWPFs Order, Vandewater’s outlets are sold

through distributors.

Manner in Which the Product Is Advertised and Displayed

        Like any other BWPFs, outlets are advertised and displayed via online catalogs on

company websites or by affiliated/third-party online sources.170 Such advertisements typically

contain size, weight, and other technical specifications for the product, such as pressure rating

and source materials.171

Vandewater, SCI, and SIGMA Rebuttal

Physical Characteristics of the Product

        Rather than providing a comprehensive comparison of the physical characteristics of

Vandewater’s outlets and BWPFs, pursuant to (k)(2), Island instead attempts to repackage its

(k)(1) arguments by cherry-picking from the investigation of the ITC.172 The fact that

Commerce has already conducted a (k)(1) analysis, and that the Court ordered Commerce to

conduct a (k)(2) analysis, makes clear that the scope of the China BWPFs Order is ambiguous

and that a recitation of the language of the scope is irrelevant in response to the Remand

Order.173 Island has, tellingly, omitted essential language that directly undermines the

conclusion that Island urges Commerce to reach.174

        As noted in the importers’ initial submissions, there are many physical differences




170
    Id.
171
    Id. at 10 and Exhibits 3 and 5.
172
    See Vandewater Rebuttal Comments at 2; see also SCI Rebuttal Comments at 12-18; SIGMA Rebuttal
Comments at 4-6.
173
    See SIGMA Rebuttal Comments at 3.
174
    Id.

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between Vandewater’s outlets and BWPFs, including: different manufacturing specifications;

whether the product is produced from welded pipe or seamless pipe; the existence of a contoured

end; the existence of a threaded or grooved end connection; whether the product is straight or

angular in design; whether the product is welded to the end or to the side of a pipe; whether the

product has different bevel angles; and whether the connection is made with a fillet weld.175

        Contrary to Island’s assertions, Vandewater’s outlets cannot be BWPFs, which, pursuant

to the scope language, “require permanent, welded connections.”176 One end of the branch outlet

is fillet welded to the side of a pipe, and the other end of the branch outlet has the temporary,

non-welded, threaded or grooved connection to allow attachment of a sprinkler head or branch

pipe.177 In contrast, a BWPF never has a threaded end or grooved end because it is designed to

make a permanent connection by welding all connectable ends to a pipe or another fitting.178

        Island asserts that Vandewater’s outlets “feature a ‘beveled edge’ that demands that the

fitting be welded to a pipe via the shallow channel that accommodates the ‘bead’ of the weld,

which, in the ITC’s view, is the essence of a ‘butt-weld pipe fitting.’”179 However, “such

language contemplates beveling on both parts of the assembled pipe …”180 Thus, as the Court

unequivocally concluded, “Vandewater’s branch outlets are welded to header pipe, which is not,

apparently, beveled at the weld. The quoted sunset review language is, therefore, not descriptive

of the actual physical characteristics of Vandewater’s steel branch outlets.”181 Agreeing with

Island here would be tantamount to knowingly contradicting the Court’s holding.182


175
    See Vandewater Rebuttal Comments at 2-3.
176
    See SCI Rebuttal Comments at 14-15.
177
    Id.
178
    Id. at 15; see also Vandewater Rebuttal Comments at 3.
179
    See SIGMA Rebuttal Comments at 4 (citing USITC Fourth Review at 6).
180
    Id. (citing Remand Order at 7).
181
    Id. (citing Remand Order at 8).
182
    Id.

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        Island also points to the Ladish catalog contained in the Petition and notes that it features

pictures of BWPF that include saddles.183 These saddle fittings are not BWPFs by reason of the

“fishmouth” opening on one side; they are BWPFs by reason of the other side of the fittings (i.e.,

the beveled branch end).184

        In addition to the Sperko affidavit,185 the Neil Shyman affidavit provided by Vandewater

echoes several of the differences in physical characteristics between Vandewater’s outlets and

BWPFs.186 These differences include: sprinkler heads cannot be attached to a BWPF while

welded branch outlets can and are; welded branch outlets always carry Underwriters Laboratory

(UL) / Factory Mutual (FM) approvals while BWPFs do not; threaded welded branch outlets are

forged using grade A-105 steel and grooved welded branch outlets generally use grade A-53

steel, while BWPFs generally use grade A-224 steel; and welded branch outlets have a maximum

pressure rating of 300 PSI, while BWPF generally are rated to handle pressures up to and

exceeding 10,000 PSI.187 Mr. Shyman’s points are confirmed by the ITC in its original 1986

preliminary injury investigation where the ITC stated, “{t}he welded connections used in butt-

weld pipe fittings provide a better seal than threaded, grooved, or bolted fittings can give under

pressure.”188 All of these distinctions strongly point to the conclusion that Vandewater’s outlets




183
    Id. (citing Island Comments at 7).
184
    Id.
185
    See Vandewater Comments at Exhibit 7 (noting that Walter Sperko is the President of Sperko Engineering
Services, Inc., which provides engineering consulting services).
186
    See Vandewater Rebuttal Comments at 3 and Attachment A (noting that “Mr. Neil Shyman was Vice President
and General Manager of Neill Supply from May 1968 to January 2011. Neill Supply is a fabricator and supplier of
fire sprinkler and industrial piping and sells Vandewater’s steel branch outlets”).
187
    Id.
188
    Id. at 4 (citing Certain Carbon Steel Butt-Weld Pipe Fittings from China and Thailand, Inv. Nos. 731-TA-520
and 521 (Preliminary), Publication 2401, July 1991 (USITC Preliminary Investigation)).

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have different physical characteristics and are not part of the same class or kind of merchandise

as BWPFs.189

Expectations of the Ultimate Purchasers

          Contrary to Island’s assertions, the expectations of the ultimate purchasers of BWPF

differ from the expectations of the ultimate purchasers with respect to Vandewater’s outlets.190

Purchasers of Vandewater’s outlets are all fabricators of fire sprinkler systems and expect the

outlets to: have interchangeable connections between the outlet and the sprinkler head; be

manufactured with ASTM A-105 grade forging bars; be sold based on the run (header) size, the

branch size, and the pressure rating (300 PSI).191 None of these purchasers use BWPFs for

branch connections to sprinkler heads,192 and BWPF purchasers cannot substitute steel branch

outlets in their own applications.193

          Purchasers of BWPFs are from a wide variety of industrial backgrounds (particularly

manufacturers of piping systems used to convey oil, gas, steam, or chemicals).194 Because

BWPFs require a higher PSI rating (up to and beyond 10,000 PSI) and a permanent connection,

they also have higher installation costs,195 are typically made from ASTM A-234 grade seamless

pipe,196 and are sold in nominal pipe sizes with specific pipe schedules which allow for the

seamless flow within the pipe.197




189
    Id.
190
    Id. at 5.
191
    Id. at 5-6.
192
    Id.
193
    Id.
194
    Id.
195
    Id.
196
    Id.
197
    Id.

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        The Shyman affidavit also states that, Mr. Shyman, in his experience, has never sold

BWPFs for fire sprinkler systems and has never seen BWPFs used in fire sprinkler systems.198

He also states that he has never sold welded outlets to mechanical contractors and has never seen

welded outlets used in those systems.199 Further, he states that the expectation of the ultimate

purchasers of Vandewater’s outlets was that they would be used in fire sprinkler systems, and

that these customers would never use BWPFs for fire sprinkler systems.200

        Island’s reliance on the ITC language, stating that BWPFs “are welded into permanent,

fixed piping systems that convey gases or liquids,” including “automatic fire sprinklers,”

misdirects Commerce from the fundamental question at issue in this scope proceeding: whether

Vandewater’s outlets fall within the scope of the China BWPFs Order.201 Although some

products used in fire sprinkler systems may fall under the scope of the China BWPFs Order,

Vandewater’s outlets clearly do not.202

        Island asserts that products sold and marketed in the United States as BWPFs, or with

“butt-welded” ends, come in many shapes and configurations and have numerous and varied

uses.203 However, none of Island’s exhibits show a single example of a threaded or grooved

outlet with a butt-weld.204 Moreover, Island confuses the issue by pointing to one particular type

of outlet, known as a “butt-weld outlet,” but Commerce has no need to consider whether a “butt-

weld outlet” is a type of butt-weld pipe fitting, because Vandewater’s scope request does not

cover butt-weld outlets.205 Instead, Vandewater’s request covers only low-pressure threaded and


198
    Id. at 6-7 and Attachment A.
199
    Id.
200
    Id.
201
    Id. at 6; see also SIGMA Rebuttal Comments at 6 (citing Island Comments at 7-9).
202
    See SIGMA Rebuttal Comments at 6.
203
    See Vandewater Rebuttal Comments at 7 (citing Island Comments at 7).
204
    Id.
205
    Id.

                                                       29

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grooved steel branch outlets, neither of which is designed to accommodate any type of a butt-

weld.206

         Additionally, Island incorrectly asserts that customers have a wide range of expectations,

given the diversity of products covered by the scope, including “caps, lap joint stub ends, and

saddles,” which it argues have characteristics comparable to welded outlets.207 For proof, Island

points to Ladish’s catalog.208 This is misleading. The Ladish catalog to which Island points is

not limited to BWPFs.209 The catalog segment cited by Island is entitled “Seamless Welding

Fittings,” but does not state (or imply) that all products in that catalog are butt-weld fittings.210

Vandewater agrees that caps and lap joint stub ends are indeed BWPFs.211 Vandewater does not

agree, however, that a saddle is a butt-weld pipe fitting.212 Therefore, the range of products

covered by the scope, and the corresponding expectations associated with these products, are not

as broad as Island suggests.

         Finally, Island argues that “public litigation records establish that manufacturers and

distributors of Chinese welded outlets with threaded or grooved ends also recognize that these

products are BWPF.”213 The documents that Island cites, however, are documents of SCI or

Jinan Meide, which Vandewater understands was SCI’s supplier of outlets.214 None of the



206
    Id. at 7-8.
207
    Id. at 8 (citing Island Comments at 7-8).
208
    Id. (citing Island Comments at Exhibit 3).
209
    Id.
210
    Id.
211
    Id.
212
    Id. (noting that the caps and lap joint stub ends shown in the catalog: (1) all meet B16.9 and ASTM A-234
specifications, based on the notation in upper left and upper right corners, respectively, of the specification sheets;
and (2) show a beveled end, beveled only on the non-flanged side for a lap joint stub end, that resembles the
characteristic 37.5 degree angle; in contrast, the Ladish catalog sheet showing a saddle does not have a reference to
standard B16.9, and the illustration and engineering drawing cross-section of the saddle also does not show a
beveled end).
213
    Id.
214
    Id. at 9

                                                          30

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litigation documents cited by Island pertain to Vandewater, or to Vandewater’s supplier of

outlets, much less any “ultimate purchasers” of outlets.215 Neither Vandewater, its supplier, nor

any purchasers of Vandewater’s outlets have ever claimed or implied that Vandewater’s outlets

are BWPF.216 Therefore, the documents cited by Island are irrelevant to this scope proceeding.

        The discussion above demonstrates stark differences in expectations between ultimate

purchasers of outlets versus purchasers of BWPFs. These differences support a conclusion that

the two products are different classes or kinds of merchandise.

Ultimate Use of the Product

        There are several differences in the ultimate uses of outlets and BWPFs.217 BWPFs are

used to connect pipe sections where connections require permanent, welded connections.218 In

contrast, Vandewater’s outlets are used only in fire sprinkler systems.219 To the best of

Vandewater’s knowledge, no fire sprinkler fabricator uses any BWPFs for the branch

connection, because a BWPF does not have the ability to accept a sprinkler head.220 BWPFs are

used primarily in industries such as chemicals, oil refining, energy generation, construction, and

shipbuilding.221

        Vandewater’s outlets could not be used in a BWPF application because the branch side of

the welded outlet is designed specifically for use with a threaded sprinkler head.222 Mr. Shyman

stated that “in my entire time working at Neill Supply I have never seen butt-welded fittings used

in fire protection systems nor have any customers ever told me they were going to be used in fire


215
    Id. (“Vandewater does not have personal knowledge to explain what {sic} SCI’s position as to those documents”)
216
    Id.
217
    Id.
218
    Id.
219
    Id.
220
    Id. at 9-10.
221
    Id. at 10.
222
    Id.

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protection sprinkler systems.”223 For the same reason, Island’s comments regarding ultimate use

are wrong. BWPFs are simply not used in fire sprinkler systems to connect to a sprinkler head,

because a BWPF does not have the ability to accept a sprinkler with threads.224

Channels of Trade in Which the Product is Sold

         Outlets and BWPFs are sold through completely different distribution channels.225

BWPFs are sold primarily through distributors to a variety of end-users, whereas outlets are sold

to a particular market segment.226

         Vandewater sells the outlets in question to fabricators of sprinkler systems, who in turn

sell to fire sprinkler system installation contractors.227 Vandewater also sells to fire sprinkler

supply distributors, which sell to smaller contractors that fabricate smaller sprinkler systems.228

The Shyman affidavit summarized the distinctions in channels of trade as follows:

         While employed by Neill Supply in a sales capacity, I would make sales calls in the
         morning on fire protection sprinkler contractors, and an afternoon call on a
         mechanical contractor. I would offer welded branch outlets to the fire protection
         sprinkler contractor, but not mention BWPF, because BWPF are not used for fire
         protection systems. Likewise, I would sell BWPF to the mechanical contractor, but
         would not mention welded branch outlets because butt-weld fittings are not used in
         for {sic} fire protection sprinkler systems.229

Thus, Island’s sole statement regarding channels of trade – which is that both BWPF and

Vandewater’s outlets are both sold through “distributors” – simply glosses over the real

differences between the channels of distribution for BWPF and steel branch outlets.




223
    Id. at 10 and Attachment A.
224
    Id. at 10.
225
    Id.
226
    Id. at 10 and Attachment A.
227
    Id. at 11.
228
    Id.
229
    Id. at 11 and Attachment A.

                                                  32

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Manner in Which the Product is Advertised and Displayed.

            In its affirmative comments, Vandewater explained that the advertising of outlets differs

significantly from the advertising of BWPFs. As an example, Vandewater attached to its

affirmative comments the list of exhibitors for the AFSA convention in October 2019. No

producer of BWPFs was on the AFSA exhibitor list, because BWPFs are not advertised in trade

shows that are targeted at the fire sprinkler industry. Rather, BWPFs are advertised and sold to

mechanical contractors. In Vandewater’s ten-plus years of attendance at National Fire Protection

Association conventions, Vandewater personnel never observed any BWPF exhibitor.

            Island’s only discussion of this factor is its statement that both outlets and BWPFs are

advertised and displayed via online catalogs in company websites or affiliated or third-party

online sources. The fact that some entities advertise a broad array of products does nothing to

undermine the fact that the parties who use outlets and BWPF participate in entirely different

trade shows, and the advertising literature reflects those differences.

Island’s Rebuttal

Physical Characteristics of the Product

            As demonstrated below, each one of the alleged distinctions between outlets and BWPFs

raised by the importers is either non-existent or inconsequential for purposes of a (k)(2)

analysis.230 For purposes of a (k)(2) analysis, Commerce need only demonstrate that the general

physical characteristics of the products under consideration are “sufficiently similar” to in-scope

merchandise to conclude that the two are of the same class or kind.231




230
      See Island Rebuttal Comments at 5.
231
      Id. (citing Wirth v. United States, 5 F. Supp. 2d 968, 981 (CIT 1998) (Wirth)).

                                                            33

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        The importers argue that a BWPF “never” has a contour on either end, that it “always has

a square end,”232 and that outlets are welded to a hole cut in the wall or side of the pipe, not the

end of the pipe.233 The importers argue that, in contrast, a BWPF “is always welded to the end of

a pipe, another butt-weld fitting, or a butt-weld valve,”234 and is designed for “end-to-end

connection.”235 However, saddles are covered by the scope and they do not have these

characteristics.236

        The importers further argue that “all connectable end {sic} of the butt-weld pipe fitting

are welded to the end of a pipe, another butt-weld fitting, or a butt-weld valve,”237 and that the

ends of a BWPF are “always for welding” and do not have physical characteristics allowing a

temporary connection.238 However, lap joint stub ends have a beveled edge on one end which

allows for a welded, permanent connection, while on the other end, it has a stub end, which

cannot be welded to a pipe and is instead designed to be bolted to a piping system.239 Therefore,

outlets and other BWPFs are similar in that they both can have an end configured for a

temporary fastening method (such as grooved, threaded, or bolted), while also being permanently

connected to a piping system through at least one welded connection.240

        The importers argue that outlets are “straight in design” and that, in contrast, BWPFs,

“except for caps,” are not straight along their length.241 However, caps are unambiguously




232
    Id. at 5-6 (citing Vandewater Comments at 5 and SCI Comments at 5-6).
233
    Id. at 6 (citing Vandewater Comments at 7 and SIGMA Comments at 5).
234
    Id. (citing Vandewater Comments at 6).
235
    Id. (citing SCI Comments at 5).
236
    Id. at 6 and Exhibits 2 and 3.
237
    Id. at 8 (citing Vandewater Comments at 7).
238
    Id. (citing SCI Comments at 6 and 11-12).
239
    Id. at 10.
240
    Id. at 12.
241
    Id. at 13 (citing Vandewater Comments at 12).

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covered by the scope of the China BWPFs Order, and, therefore, this is not a characteristics that

distinguishes outlets from BWPFs.242

          The importers argue that the angle of the bevel on an outlet is “normally” 45 degrees,

while the bevel angle on a BWPF is 37.5 degrees.243 The importers also claim that outlets rely

on a fillet weld, which is an incomplete joint penetration with “no channel” in which the outlet

rests directly against the pipe, while the butt weld used with BWPFs is a full penetration weld in

which the outlet and the pipe do not make contact.244

          With respect to the bevel angle, neither the China BWPFs Order, the Petition, the ITC

reports, nor the sunset reviews mention any requirements relating to the angle of the bevels.245

Rather, all these sources require is for the beveled edge of the fitting to “form a shallow channel

that accommodates the ‘bead’ of the weld that fastens the two adjoining pieces.”246 With respect

to the purportedly incomplete weld penetration for outlets, the evidence provided by the

importers undermines their own argument.247 Vandewater provided the Sperko affidavit which

states:

          The end of a branch fitting where it attaches to the run pipe is beveled at 45°. The
          header pipe to which it is welded is not beveled. This 45-degree angle groove (i.e.,
          channel) allows welding of a full penetration or partial penetration groove weld
          reinforced by a fillet weld.248

This statement demonstrates that outlets do form a channel to accommodate the bead of a weld,

and that the weld can be considered a full penetration weld.249


242
    Id. at 6, 13, and Exhibits 2 and 3 (citing Petition at 4; and USITC Preliminary Investigation at A-5).
243
    Id. at 14 (citing Vandewater Comments at 8; and SCI Comments at 8).
244
    Id. at 16 (citing Vandewater Comments at 9; SCI Comments at 8; and SIGMA Comments at 5).
245
    Id. at 15 (citing the China BWPFs Order; the Petition; USITC Preliminary Investigation at A-5; and USITC Final
Investigation at I-5).
246
    Id. (citing USITC Fourth Review at 6; and Petition at 4).
247
    Id. at 16-17.
248
    Id. at Exhibit 8.
249
    Id. at 17.

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        There is nothing on the record supporting the importer’s restrictive definition of “butt-

weld.” For example, the American Weld Society handbook, cited by SCI in its comments, notes

that “butt-weld” is “a non-standard term.”250 Furthermore, Island’s CEO may have never called

an outlet a BWPF, but SCI certainly has.251 Similarly, Anvil, which has since merged with

importer SCI, has previously stated that SCI’s outlets were BWPF.252 Other market players,

such as Aleum USA, also have identified outlets as butt-weld products.253 Thus, the record

shows that outlets are “butt-weld” products.

        The importers argue that outlets and BWPFs are manufactured to different industry

standards.254 In particular, they submit that outlets are manufactured using MSS SP-97, while

BWPFs meet ANSI/ASME B16.9,255 and they point to other differences in applicable industry

standards.256 First, the China BWPFs Order is silent as to industry standards, which indicates

that they are not relevant for purposes of determining the scope of the order.257 The

ANSI/ASME standard could have been included but was not, and the Court of Appeals for the

Federal Circuit (CAFC) has stated that the “absence of a reference to a particular product in the

petition does not necessarily indicate that the product is not subject to an order.”258

        It is not true that “all of the manufacturing methods” to produce outlets differ from those

used to manufacture BPWFs.259 The ITC’s description of the manufacturing process of BWPFs

includes the following: “The manufacture of BWPFs typically begins with seamless carbon steel


250
    Id. at 27 (citing SCI Comments at 9 and Exhibit 6).
251
    Id. at 28 and Exhibits 7 and 16.
252
    Id. (citing Anvil Opposition Letter).
253
    Id. at 28 and Exhibit 10.
254
    Id. at 20 (citing Vandewater Comments at 10-11).
255
    Id. (citing SCI Comments at 15; and SIGMA Comments at 6).
256
    Id. (citing Vandewater Comments at 2-5; SCI Comments at 15-16; and SIGMA Comments at 8, 23, and 25).
257
    Id.
258
    Id. at 21 (citing Nitta Industries Corp. v. United States, 997 F.2d 1459, 1464 (Fed. Cir. 1993)).
259
    Id. at 23.

                                                     36

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pipe although some types of fittings, such as caps, are formed from carbon steel plate, billet, or

bar stock and machined (bored) or punched to shape and size in a press.”260 Many of these

processes are typical of outlet production. Therefore, it is not true that outlet manufacturing

methods differ from the methods for producing BWPFs. Indeed, some BWPF may be made

from bar stock and machined.261

         Additionally, the ITC’s description of the manufacturing processes to produce BWPFs

illustrates the wide variety of manufacturing processes, and the language impliedly or expressly

indicates that there are other methods not listed in the report (e.g., by using words like

“typically,” “most of the domestic industry,” “depending on the type of fitting to be made, one

process may be preferred to the other,” “the finishing steps involved in the production of BWPF

may include one or more of the following steps …,” “some manufacturers use semi-automated

machinery that …,” “the manufacturing process may be continuous,” “the Chinese and Thai

industries tend to be based on the hot-process …”).262 These types of statements demonstrate

that there is not one single manufacturing process for BWPFs that is distinct from the process

used to fabricate outlets.263

         Additionally, the China BWPFs Order covers “formed or forged” fittings and, based on

the descriptions provided, Vandewater’s threaded outlets are forged.264 Furthermore,

Vandewater acknowledges that some BWPFs are manufactured with welded pipe, just like the




260
    Id. (citing ITC Final Investigation at I-7) (emphasis added).
261
    Id.
262
    Id. at 24 (citing ITC Final Investigation at I-7 through I-10).
263
    Id.
264
    Id. at 23 and 32.

                                                            37

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grooved outlets.265 Therefore, there are various similarities between the manufacturing processes

of outlets and BWPF.266

         Lastly, the classification of outlets and other BWPF under different HTSUS subheadings

is irrelevant.267 The fact that a threaded outlet is classified under HTSUS subheading

7307.92.3010, because such subheading more specifically describes a threaded outlet, does not

mean that the item would not also potentially fall under HTSUS subheading 7307.93, which is

less specific to the product.268 In any case, HTSUS classification does not determine whether

merchandise is covered by an order.269

Expectations of the Ultimate Purchasers

         The core expectation of purchasers of BWPFs, as well as of outlets, is connecting the

fitting to a piping system through a welded, permanent connection, regardless of whether one of

the ends is amenable to a temporary connection by grooved, bolted, or threaded fastening

methods.270 Furthermore, the Court has repeatedly held that “if two products can be used in at

least some of their applications for similar, if not identical purposes, Commerce may conclude

that purchasers of the products have similar expectations.”271 Outlets and BWPFs share similar

purchaser expectations.

         The importers argue that ultimate purchasers expect outlets and other BWPFs to be

manufactured with different specifications.272 However, their specific arguments conflict with

one another. Vandewater argues that ultimate purchasers of outlets expect that threaded outlets


265
    Id. at 23.
266
    Id.
267
    Id. at 28-30.
268
    Id. at 29.
269
    Id. at 30.
270
    Id. at 31.
271
    Id. at 32 (citing Olympia Industrial, Inc. v. U.S., Court No. 04-00647, 23 (CIT 2006) at 29-30).
272
    Id.

                                                          38

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are made from ASTM A105-grade forging bars.273 SIGMA, in contrast, argues that ultimate

purchasers of outlets expect that the outlets are made from ASTM A572 and ASTM A29 bar

stock.274 Vandewater argues that purchasers of most types of BWPFs generally expect those

products to be made from ASTM A234-grade seamless pipe.275 SCI and SIGMA argue that

purchasers of most types of BWPFs generally expect those products to be made from ASTM

A105, ASTM A106, and ASTM A285 seamless pipe or steel plate.276 The importers’ argument

overstates, or at least misstates, the expectations of the ultimate customers.277 In Island’s

experience, the ultimate purchasers’ expectations will generally focus on meeting the minimum

requirements of third party listings and approvals, i.e., safety/testing ratings, applicable to the

intended application.278

        The importers claim that outlets are not sold according to the corresponding size or

schedule of the pipe,279 and that BWPFs are sold in nominal pipe sizes with specific pipe

schedules which allows a seamless flow within the pipe.280 This alleged distinction is simply not

true; outlets and BWPFs are both advertised and sold in nominal pipe size.281 For example, a 2”

or 4” outlet refers to nominal pipe sizes that will connect to corresponding nominal pipe

diameters of 2” and 4”.282 In fact, SCI’s outlets are manufactured to “match up” with standard

nominal pipe sizes and schedules.283 Consequently, the expectations of the ultimate purchasers




273
    Id. (citing Vandewater Comments at 23).
274
    Id. (citing SIGMA Comments at 7-8).
275
    Id. (citing Vandewater Comments at 23).
276
    Id. (citing SIGMA Comments at 7-8).
277
    Id. at 32-33.
278
    Id. at 33.
279
    Id. at 34 (citing Vandewater Comments at 24 and SCI Comments at 22).
280
    Id.
281
    Id.
282
    Id. at 35 and Exhibits 12 and 13.
283
    Id.

                                                      39

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of outlets and BPWFs are similar because they expect both to be manufactured in sizes which

match up with standard nominal pipe sizes and schedules.284

        The importers argue that no fabricators of fire sprinkler systems use BWPFs for branch

connections to sprinkler leads because a BWPF does not “have the ability to accept a sprinkler

head with threads,” or the flexibility to change the sprinkler head quickly and easily.285 In

contrast, ultimate purchasers of BWPFs, which are in a wide variety of industries, particularly

manufacturers of piping systems used to convey oil, gas, steam, or chemicals, would not buy

outlets for such applications because of their low-pressure grading and the lesser strength of the

connection.286 SCI and SIGMA also claim that, because outlets and BWPFs meet different

industry standards, they are used in different applications.287 However, the China BWPFs Order

includes a sweeping range of products with differing applications, and the expectations of

ultimate purchasers will vary depending on what type of BWPF they need.288 That said, the core

expectation of purchasers of BWPFs, as well as of outlets, is that of connecting the fitting to a

piping system through a welded, permanent connection, regardless of whether one of its ends is

amenable to a temporary connection by grooved, bolted or threaded fastening methods.289

Additionally, and more specifically, one of the expectations that ultimate purchasers of BWPFs

have is the use of BWPFs for “automatic fire sprinklers” applications.290 Because ultimate

purchasers of both outlets and BWPFs may expect to use them for fire sprinkler applications, the




284
    Id.
285
    Id. at 30 (citing Vandewater Comments at 22).
286
    Id.
287
    Id. (citing SCI Comments at 21-22; and SIGMA Comments at 7-8).
288
    Id. at 31.
289
    Id. (citing China BWPFs Order).
290
    Id. (citing USITC Forth Review).

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expectations of ultimate purchasers of outlets are similar to those of ultimate purchasers of other

types of BWPFs.291

        Importantly, outlets are perceived to be BWPFs by the largest manufacturer and master

distributor of outlets in the United States, Anvil.292 At the onset of the underlying scope

segment, Anvil stated on the record that the importer’s outlets are BWPFs that fall within the

scope of the China BWPFs Orders, and it expressed agreement with Island’s arguments.293

The Ultimate Use of the Product

        Connecting the fitting to a piping system through a welded, permanent connection is the

main use of both outlets and BPWFs.294

        The importers argue that outlets are all used “solely” for fabrication of low pressure

commercial or residential fire sprinkler systems applications, while BWPFs are used for other

applications that require permanent, welded connections for higher pressure conveyance of oil,

gas, steam, and chemicals.295 Those generalizations are inaccurate. Both outlets and BWPFs are

used in fire sprinkler systems.296 For example, weld tees can be used for the fire sprinkler

market, although outlets are typically preferred due to cost of installation considerations.297

Additionally, outlets are not used exclusively in the fire sprinkler system field.298

        Although the importers suggest a narrow set of uses for outlets, such characterizations are

not accurate.299 Certain outlets sizes (½”, ¾” and 1”) are expected to be used for connecting to a



291
    Id. at 31-32.
292
    Id. at 33.
293
    Id. at Exhibits 5 and 11.
294
    Id. at 35 (citing USITC Fourth Review at 6).
295
    Id. (citing Vandewater Comments at 24-25; SCI Comments at 22-23; and SIGMA Comments at 7).
296
    Id. (citing USITC Fourth Review at 6).
297
    Id.
298
    Id. at 36.
299
    Id. at 35.

                                                    41

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sprinkler head, and other outlets sizes (1¼”, 1½”, and 2”) are used to connect to other pipes.300

Additionally, grooved outlets in all sizes are for pipe connections only.301 This demonstrates that

both outlets and BWPFs may be used to connect the fitting to a pipe.302 As this discussion

indicates, the uses of outlets are similar to those of BWPFs.

Channels of Trade in Which the Product is Sold

        The importers argue that outlets are sold solely within the fire sprinkler system industry,

whereas BWPFs are sold to master distributors and contractors in the industrial and mechanical

PVF segment of the construction industry.303 Vandewater argues that it sells its outlets to fire

sprinkler supply distributors or to fabricators of sprinklers systems.304 In contrast, BWPFs are

sold to master distributors and contractors that serve the oil, gas, steam, and chemical industries

and BWPF purchasers generally maintain inventory of steel pipe and BWPFs that go with the

steel pipe they supply to their customers.305

        These distinctions are not accurate. The importers all sell widely to master distributors,

fabricators, and some contractors.306 Some of those master distributors also sell into the

industrial and mechanical PVF segment.307 For example, Vandewater sells its outlets to

Ferguson Enterprises (Ferguson), the largest pipe valve and fitting distributor in the United

States, which in turn sells both outlets and other BWPFs on its website.308 While Ferguson sells

BWPFs, it is also by far the single largest distributor of outlets for fire sprinkler systems.309 This


300
    Id.
301
    Id.
302
    Id. at 36.
303
    Id.
304
    Id. (citing Vandewater Comments at 26).
305
    Id. at 37 (citing Vandewater Comments at 26; SCI Comments at 26; and SIGMA Comments at 8).
306
    Id.
307
    Id.
308
    Id. and Exhibit 14.
309
    Id.

                                                    42

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demonstrates that both outlets and other BWPFs share similar channels of trade because they are

both sold to master distributors, fabricators, and contractors.

Manner in Which the Product is Advertised and Displayed

        Outlets and other BWPFs are displayed in a similar manner. The importers claim that

outlets “are not advertised or displayed for any of the applications for BWPF,”310 they are

described as intended for fire sprinkler systems and other low-pressure piping systems, and

promotional brochures do not refer to any of Vandewater’s products as BWPFs.311

        Regardless of the importers’ advertising choices, other fire sprinkler system industry

players describe outlets as having “butt-welding ends that comply with national and international

standards.”312 Industry players often do not mention the term “butt-weld” in their advertisements

– even for clearly covered BWPFs – as it is a non-standard term.313 The fact that advertising

materials related to outlets do not include a reference to BWPFs does not mean that outlets are

not BWPFs. Instead, as noted above, “butt-weld” is simply a non-standard term that is,

accordingly, not always used in the industry marketing materials.314

        Similarly, Island advertises its outlets for numerous applications, including plant services,

building services, mining, oil field services, and pollution control services.315 As a result, both

outlets and BWPFs are advertised for applications in the same or similar industries.

        SIGMA claims that even Island advertises its outlets as sold for fire sprinkler and low-

pressure piping systems, while advertising BWPFs for use in boilers and describing them as




310
    Id. at 38 (citing Vandewater Comments at 27; SCI Comments at 29; and SIGMA Comments at 9).
311
    Id.
312
    Id. and Exhibits 10 and 15.
313
    Id.
314
    Id.
315
    Id.

                                                    43

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designed to provide unobstructed, full flow characteristics.316 This is not true. Island’s grooved

outlets (Type 40 & 10 Weld Outlets) and other Island outlets (Type 40 & 80 Seamless Weld

Outlets) are advertised for a wide variety of end uses also applicable to BWPFs, including plant

services, building services, fire sprinkler systems, mining services, pollution controls services,

oil field services, and power plant services.317

        SCI separately claims that Island does not describe its outlets as BWPFs.318 This is

because butt-weld is not a standard term.319 In fact, Weldbend and Hackney Ladish, the

petitioners in the original investigation, usually do not use the term “butt-weld,” and instead call

their products “Seamless Weld Fittings.”320

        SCI claims that outlets are marketed by size and pipe run size, with size referring to the

pipe diameter of the sprinkler head or branch outlet, and pipe run size referring to the diameter of

the run pipe to which the fishmouth end of the outlet attaches.321 SCI claims that, conversely,

BWPFs are not advertised and displayed using pipe run size. Again, this is not true. Both

outlets and BWPFs are advertised and sold in nominal pipe size.

        Vandewater claims that BWPFs are not advertised in trade shows that are targeted at the

fire sprinkler industry.322 This argument also lacks merit. Attendance or lack thereof at one type

of trade show cannot possibly be proof that BWPFs are not advertised or targeted to the fire

sprinkler industry.323




316
    Id. at 39 (citing SIGMA Comments at 10).
317
    Id.
318
    Id. (citing SCI Comments at 29).
319
    Id. at 40.
320
    Id. (citing Petition at Attachment A).
321
    Id.
322
    Id. (citing Vandewater Comments at 27).
323
    Id.

                                                   44

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VII.     ANALYSIS

         Pursuant to the Court’s Remand Order, we have analyzed the parties’ comments and

supporting information324 for our evaluation of the (k)(2) factors. For the reasons discussed

below, we find that these factors support a finding that Vandewater’s outlets are covered by the

scope of the China BWPFs Order.

Physical Characteristics of the Product

         We find that the physical characteristics of outlets and BWPFs subject to the China

BWPFs Order are similar. The scope of the China BWPFs Order provides, in relevant part, that

“the products covered by this order are carbon steel butt-weld pipe fittings, having an inside

diameter of less than 14 inches, imported in either finished or unfinished form” and “{t}hese

formed or forged fittings are used to join sections in piping systems where conditions require

permanent, welded connections, as distinguished from fittings based on other fastening methods

(e.g., threaded, grooved, or bolted fittings).”325 This language indicates that subject merchandise

must be formed or forged, made of carbon steel, and have a diameter of less than 14 inches. As

discussed further below, we also find that, to be an in-scope “butt-weld pipe fitting{},” the

merchandise must be designed to have at least one end with a beveled edge, whether contoured

or not, for permanent attachment to at least one pipe or fitting and may have a temporary

connection on another end.

         The record demonstrates that Vandewater’s outlets meet these criteria. As stated by

Vandewater, Vandewater offers CEREICO brand threaded steel branch outlets in sizes ranging


324
    We note that this information contains data from a variety of sources, including sources enumerated under (k)(1).
Although the Court determined that the (k)(1) sources do not, themselves, dispositively resolve the question of
whether Vandewater’s outlets are covered by the scope of the China BWPFs Order, information in such sources is
nonetheless relevant to our analysis of the (k)(2) factors.
325
    See China BWPFs Order.

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from ½ inch to 2½ inches; Vandewater also offers CEREICO brand grooved steel branch outlets

in sizes ranging from 1¼ inch to 8 inches.326 The outlets are made of carbon steel.327 Like other

types of BWPF, Vandewater’s “threaded branch outlets are manufactured from forged steel bars,

and its grooved branch outlets are machined from welded pipe.”328 The branch or outlet side is

“formed with a threaded or grooved end.”329 Further, Vandewater states that the product is

permanently attached to at least one pipe in a fire sprinkler or other low-pressure piping

system.330

         Thus, the record demonstrates that Vandewater’s outlets are consistent with BWPFs in

terms of manufacturing method (i.e., formed/forged), material (i.e., carbon steel forged steel bars

or welded pipe), and size requirements (i.e., less than 14 inches in inside diameter). Like all

BWPFs, the outlets feature a beveled edge for permanent attachment to a pipe or fitting.331

         The importers construe the requisite physical characteristics for BWPFs in an overly

narrow manner to highlight purported differences between in-scope merchandise and

Vandewater’s product. However, for many of the attributes identified by the importers as critical

to the definition of a BWPF, we find that there is an insufficient basis to conclude that the term

“butt-weld pipe fitting{}” in the scope requires such attributes.

         The importers assert that in-scope merchandise does not have contoured edges and does

not connect to the middle of a pipe. We disagree, because the record demonstrates that


326
    See Scope Ruling Request at 4.
327
    Id. at Exhibit 1.
328
    Id. at 4 (emphasis added).
329
    Id. at 3 and 12 (emphasis added).
330
    Id. at 15.
331
    See Petition at 4 and Appendix B (“{t}he edges of finished {BWPFs} are beveled, so that when a fitting is placed
against the end of a pipe (the ends of which have also been beveled), a shallow channel is created to accommodate
the ‘bead’ of the weld which joins the fitting to the pipe”); see also the USITC Fourth Review at I-4 (“{t}he beveled
edges of {BWPF} distinguish them from other types of pipe fittings, such as threaded, grooved, or bolted fittings,
which rely on different types of fastening methods”)

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merchandise with these characteristics can be covered by the scope. Specifically, the record

evidence establishes that products with a contoured edge that are designed to connect to the mid-

section of a pipe can be BWPFs.332 In its product specification sheets, Aleum USA, a U.S.-based

distributor of outlets, describes its female threaded outlet and grooved outlet as having “{b}utt

welding ends.”333 Like Vandewater’s outlets, Aleum USA’s outlets have one threaded or

grooved end and a contoured edge on the other end that is connected to the middle of another

pipe. Additionally, Vandewater has described the contoured edge of its outlets as a feature that

allows the outlets to sit on the mid-section of the header pipe like a saddle.334 The exhibits

accompanying the Petition included a product catalog from a U.S. producer of the domestic like

product with illustrations of basic shapes of BWPFs (under the heading “seamless welded

fittings”) and among them is a product that is referred to as a saddle, which, like Vandewater’s

outlets, has a contoured edge and is connected to the midsection of a pipe.335 Saddles (whether

full or partial), by design, are meant to fit to a hole cut into the side of a pipe, and do not rely on

an end-to-end connection for their contoured end.336 Further, the current version of the same

U.S. producer’s product catalog continues to include saddles as a type of “seamless welded

fitting,” and the product is displayed side-by-side with a full range of other BWPFs.337

Similarly, the product catalog for a major U.S. distributor of pipes and fittings also includes a


332
    See Island Comments at Exhibit 4A and 4B; see also Island Rebuttal Comments at 6.
333
    See Island Comments at Exhibits 4A (Aleum USA’s specification sheet for a female threaded outlet) and 4B
(Aleum USA’s specification sheet for a grooved outlet).
334
    See Scope Ruling Request at 3.
335
    See Petition at 4 (“Butt-weld fittings come in several basic shapes: ‘elbows’, ‘tees’, ‘caps’, and ‘reducers’…
Illustrations of the various types of butt-weld fittings are attached at Appendix B”) and Appendix B (including an
illustration of “saddles” as a type of BWPF). Although Vandewater asserts that saddles are not BWPF, and that it
was merely coincidence that the image of a saddle was included among BWPFs in the petition, we disagree. The
catalog page in the Petition displays numerous products that are unambiguously BWPFs, including products shown
before and after saddles, e.g., elbows. Additionally, we note that the subsection of the image containing the saddle
illustration also contains an image of a cap, which is clearly an in-scope BWPF.
336
    Id.
337
    See Island Comments at Exhibit 3.

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saddle as one of the various “standard butt weld fitting types.”338 At least one of the importers

agrees that saddles are a type of BWPF.339 The product catalog from another U.S. producer of

the domestic like product includes an illustration of a “vesselet,” another product with a

contoured edge that is connected to the side of a header pipe, and the illustration refers to the

contoured end as a “butt-weld” and the accompanying description states that the vesselet features

a “{t}rue butt-weld installation in header.”340 Therefore, the contoured edge that connects

Vandewater’s outlets to the midsection of the header or run pipe is not a physical characteristic

that distinguishes the outlets from BWPFs that are subject to the scope of the China BWPFs

Order, such as saddles.

         We also disagree that a particular bevel angle is required. The bevel angle of a subject

BWPF is not specified in the China BWPFs Order. The Petition and prior ITC determinations

state that the beveled edges of BWPFs distinguish BWPFs from other pipe fittings.341 However,

none of these sources indicate that the edge must be beveled at a particular angle for the fitting to

be considered a BWPF. Thus, we disagree with the importers that all BWPFs must have a bevel

angle of 37.5 degrees with a tolerance of plus or minus 2.5 degrees. A pipe fitting possesses the

requisite beveled edge if it is capable of creating a shallow channel to accommodate the bead of

the weld that fastens the two adjoining pieces, as described in the Petition and prior ITC

determinations.342 Regardless of the bevel angle, Vandewater’s outlets are equally able to




338
    Id. at Exhibit 5.
339
    See SIGMA Rebuttal Comments at 4-5 (“These ‘saddle’ fittings were not butt-weld fittings by reason of the ‘fish
mouth’ opening on one side. Rather, these ‘saddle’ fittings were butt-weld fittings by reason of the other side of the
fittings (i.e., the beveled branch end)”).
340
    See Vandewater Comments at Tab 14 (Bonney Forge catalog at 23).
341
    See Petition at 4; see also USITC Investigation Final at I-5; and USITC Fourth Review at I-4.
342
    Id.

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support a permanent, welded connection.343 The importers rely heavily on beveling

specifications established in certain industry standards (in particular, the ANSI/ASME B16.9

standard referenced in the Petition). However, as explained below, we disagree that the scope

requires subject merchandise to conform to ANSI/ASME B16.9 or any other specific industry

standard. Additionally, the ITC report at the time of the investigation explicitly noted that not all

shipments of BWPFs from China – the precise product for which the petitioner sought relief –

met the ASME standard.344

         Relatedly, the importers claim that a combined bevel angle (of approximately 75

degrees), resulting from the welding of two ends featuring a bevel angle of 37.5 degrees (plus or

minus 2.5 degrees), is required. Beyond the fact that no specific bevel angle is required, as

explained above, we also find such a requirement to be inappropriate, because it is based on

physical characteristics of the recipient pipe, rather than on the physical characteristics of the

outlets in question.345 Accepting the importers’ argument would essentially introduce an end-use

requirement for subject merchandise (i.e., the BWPF can only be used with a sub-set of recipient

pipes, limited to those with beveled edges of a particular angle) and the scope does not establish

any such restriction.346

         Regarding the shape of outlets, the importers argue that outlets are straight in design


343
    See Island Rebuttal Comments at 15-17 and Exhibit 9 (citing USITC Fourth Review); and Vandewater
Comments at Exhibit 7 (Report of Walter Sperko) (“This 45-degree angle groove allows welding of a full-
penetration or partial penetration groove weld reinforced by a fillet weld”).
344
    See USITC Investigation Final at I-10 through I-11.
345
    We recognize that the Petition and an ITC report cited by the importers imply that end-to-end connections and
beveling on the recipient pipe are important characteristics of BWPFs.345 However, given the conflicting evidence
on the record with respect to these points, as discussed above, we disagree with the importers that the statements
cited from these documents are dispositive as to this issue. Our (k)(2) analysis of the physical characteristics shows
that BWPFs, like outlets, can be permanently attached to a non-beveled opening on the side of the adjoining pipe.
346
    See King Supply Co. v. United States, 674 F.3d 1343, 1348-49 (King Supply) (holding that “end-use restrictions
do not apply to {antidumping duty} orders unless the {antidumping duty} order at issue includes clear exclusionary
language” and that “{t}he requisite clear exclusionary language must leave no reasonable doubt that certain products
were intended to be outside the scope of the AD order based solely on the end use of those products”).

                                                         49

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while BWPFs are not straight but curved or irregularly shaped. However, the importers

acknowledge that caps are straight in design and are nonetheless in-scope merchandise.347

Additionally, we find lap joint stub ends to be straight in design, despite Vandewater’s

characterization of the stub end as conveying an “irregular” shape simply because of the lip at

the base of the fitting.348 The body of a lap joint stub end has no bend or curvature along its

length, and only has a deviation from the straight cylindrical shape at the ends (i.e., the “stub”

located at the base and the bevel located at the top).349 Mere shaping on the end of a fitting

cannot imbue the fitting with an “irregular” shape, as BWPFs of many types, including

Vandewater’s outlets, have beveling at the end(s). Thus, the straight design of Vandewater’s

outlets is not a physical characteristic that is distinguishable from subject merchandise.

        The importers’ assertions regarding differences in physical characteristics presuppose

that subject merchandise must meet a particular industry standard (ANSI/ASME B16.9). This

line of argument is based on a statement in the Petition that BWPFs are made to ASTM and

ANSI/ASME standards, accompanied by a footnote that references ASTM A234-82a for

materials and ANSI/ASME B16.9 for dimensions.350 However, the scope does not include a

requirement that subject merchandise must conform to that standard. A mere reference to an

industry standard in the petition, without more, does not mean that subject merchandise must

meet the specifications of that industry standard. Evidence on the record shows that BWPFs may

be made to conform to specifications other than those referenced in the footnote in the




347
    See Vandewater Comments at 12.
348
    Id. at 13.
349
    See Island Rebuttal Comments at Exhibit 2 at 82-83 (lap joint stub ends dimensions).
350
    See Petition at 4.

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Petition.351 Therefore, including a requirement that all BWPFs subject to the China BWPFs

Order must conform to ASTM A234-82a and ANSI/ASME B16.9 would introduce a restriction

that is not found in the scope language and would unduly restrict the coverage of the scope.

Moreover, as noted above, one of the importers agrees that certain products that are not

necessarily designed to conform to ANSI/ASME B16.9 (i.e., saddles) are a type of BWPF

covered by the scope.352

         In any case, while the importers emphasize the distinct industry standards – asserting that

ANSI/ASME B16.9 covers BWPFs, while MSS SP-97 covers the outlets in question – the MSS

SP-97 standard for “Integrally Reinforced Forged Branch Outlet Fittings” demonstrates that

outlets conforming to that standard may possess physical characteristics similar to other in-scope

BWPFs. For example, section 1.2 in MSS SP-97 provides that branch outlet fittings

manufactured to the standard are “designed to make a fully reinforced branch connection in

accordance with applicable piping requirements, when attached, at an opening in a run pipe by

means of a full penetration weld.”353 Additionally, section 6.5 in MSS SP-97 states that “{t}he

contour weld bevel angle on the longitudinal section of the fittings shall be a minimum of 35

degrees,”354 which is consistent with the essential characteristic of the beveled edge of in-scope

BWPFs (i.e., creates a shallow channel to accommodate the bead of the weld). Thus, we find no

reason to conclude that products conforming to MSS SP-97 cannot also be BWPFs. In fact, as

shown above, products covered by MSS SP-97 explicitly have many of the same characteristics



351
    See Island Rebuttal Comments at Exhibit 2 (certain elbows, reducing outlet tees, reducers, lap joint stub ends, and
caps are made to “ASA B36.10” and “are not covered in ASA B16.9”).
352
    See SIGMA Rebuttal Comments at 4-5 (“These ‘saddle’ fittings were not butt-weld fittings by reason of the ‘fish
mouth’ opening on one side. Rather, these ‘saddle’ fittings were butt-weld fittings by reason of the other side of the
fittings (i.e., the beveled branch end)”).
353
    See Vandewater Comments at Tab 2 at 1 (emphasis added).
354
    Id. at Tab 2 at 3 (emphasis added).

                                                         51

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that the importers attribute to BWPFs, e.g., full penetration welds and similar bevel angles.

Moreover, MSS SP-97 is described as a “non-exclusive standard”355 and, in fact, several aspects

of the standard incorporate by reference the standards established by ASTM and

ANSI/ASME.356

         The importers assert that BWPFs cannot have an end with a temporary connection

because the scope of the China BWPFs Order notes that such fittings are used in conditions that

“require permanent, welded connections, as distinguished from fittings based on other fastening

methods (e.g., threaded, grooved, or bolted fittings).” However, not all ends must have a beveled

edge to facilitate a permanent connection to be in-scope merchandise; one unambiguously in-

scope fitting type – lap joint stub ends – has a beveled edge for a permanent connection on one

end and the other end is temporarily bolted in place with the use of a flange.357 The lap joint stub

ends example shows that the essential characteristic that distinguishes in-scope BWPFs from

other pipe fittings is a beveled edge on at least one end that facilitates a permanent, welded

connection. Like the lap joint stub ends, Vandewater’s outlets have a beveled edge for a

permanent connection on one end (i.e., the end that is welded to the midsection of another pipe)

and one of the non-permanent fastening methods mentioned in the scope language on the other

end (i.e., the threaded or grooved end to which a sprinkler head or other pipe fitting is attached).

Thus, Vandewater’s outlets have the requisite beveled edge on one end that imparts subject

merchandise with the defining characteristic of BWPFs.

         Additionally, we find that outlets are produced in a manner consistent with certain other,



355
    Id.
356
    See, e.g., id. at 2 (MSS SP-97, sections 5.1 and 5.2 for material), 3 (MSS SP-97, section 6 for design and
dimension), and Appendix C (list and description of the referenced ASTM and ANSI/ASME standards).
357
    See Petition at Appendix B.

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in-scope BWPFs. Specifically, we find that there is clear overlap between outlets and other

BWPFs in terms of the starting materials and processing necessary to produce BWPFs.

         With respect to starting materials, the importers’ argument that outlets and BWPFs are

manufactured from different starting material is not supported by the record. The importers’

assert that BWPFs are typically made from “seamless pipe” or “welded pipe …”358 or “seamless

or welded pipe and tube.”359 The ITC stated that, additionally, “some types of fittings, such as

caps, are formed from carbon steel plate, billet, or bar stock.”360 Accordingly, there is a range of

starting materials from which BWPFs are made. Vandewater states that its “grooved steel

outlets are made from welded pipe,” and its “threaded steel branch outlets are made from steel

bars.”361 Thus, Vandewater’s outlets are produced from starting materials used to produce other

in-scope merchandise.

         Similarly, the production process for outlets and other BWPFs is similar. The ITC

explained that BWPFs are produced through a process that involves “forming (or forging)” and

then machining.362 The importers note that threaded outlets are forged from steel bars with a hot

forging die process with threads machined in, and that grooved outlets are manufactured from

welded pipe with the grooves machined into the pipe, while the fishmouth end is formed with a

high-speed cutting torch.363 Thus, just as with other BWPFs, outlets undergo a forming or

forging process to achieve their shape, and then undergo a machining process for the

threading/grooving/beveling.




358
    See Vandewater Comments at 11.
359
    See SCI Comments at 17.
360
    See USITC Investigation Final at I-7.
361
    See Vandewater Comments at 11.
362
    See USITC Fourth Review at I-6.
363
    Id.

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         Finally, the importers argue that Vandewater’s outlets and BWPFs are imported under

different HTSUS subheadings in accordance with prior CBP rulings, further evincing differences

in physical characteristics.364 However, the fact that Vandewater’s outlets are not imported

under HTSUS subheading 7307.93.30 is not determinative because the HTSUS subheadings

listed in the scope are not dispositive.365 While Commerce “may consider the decisions of

Customs, it is not obligated to follow, nor is it bound by, the classification determinations of

Customs.”366 We note that a prior CBP ruling is on the record, which we have considered.

However, we find that, in light of our broader analysis regarding physical characteristics of in-

scope merchandise – including the characteristics of Vandewater’s outlets in particular – CBP’s

ruling does not warrant arriving at a different conclusion here.367 Accordingly, the mere fact that

Vandewater’s outlets are imported under a different subheading within the same chapter and

heading of the HTSUS as the subheading listed in the scope does not necessarily require

Commerce to conclude that the outlets have physical characteristics that are distinguishable from

subject merchandise.




364
    See Scope Ruling Request at 6 (“All of the parts that are subject to this request are properly classifiable under
either HTSUS item 7307.92.3010 for threaded fittings,… or 7307.99.5045 for grooved fittings …”); see also
Vandewater Comments at 12 (“Also, it should be noted that steel branch outlets are not properly classified under
HTSUS {sub}heading 7307.93 (for ‘Butt welding fittings’), but instead are properly classified under HTSUS
{sub}heading 7307.99 (‘Other’)”).
365
    See Smith Corona Corp. v. United States, 915 F.2d 683, 687 (Fed. Cir. 1990) (stating that reference to an HTSUS
number “is not dispositive” of the scope of an AD/CVD order); and Order, 57 FR at 29702 (“Although the
{HTSUS} subheadings are provided for convenience and customs purposes, our written description of the scope of
this proceeding is dispositive”).
366
    See Wirth, 5 F. Supp. 2d at 973 (“Commerce, not Customs, has authority to clarify the scope of AD/CVD orders
and findings”).
367
    See SCI Rebuttal Comments at Exhibit 5 (“The product to be imported is a forged nonalloy steel threaded weld
outlet pipe fitting made to ASTM Specification A 105, the Standard Specification for Carbon Steel Forgings for
Piping Applications. The fitting is contoured on one end to provide a precise fit at the opening in the run pipe and
threaded on the other end to provide a threaded outlet branch connection. The applicable subheading for the forged
steel threaded weld outlet fitting will be 7307.99.5045…”).

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Expectations of the Ultimate Purchasers

        We find that the ultimate purchaser’s expectations regarding the uses of outlets and other

BWPFs are similar. The importers identify four main expectations of ultimate purchasers that

purportedly differ across the products: (1) compliance with a particular industry standard; (2)

custom vs. standard sizing; (3) whether the product can be used in fire sprinkler systems; and (4)

installation costs.

        First, the importers argue that, because outlets and BWPFs are produced to different

industry standards, they are associated with different expectations. As detailed in the physical

characteristics section, above, we disagree that conforming to a different industry standard, i.e.,

MSS SP-97, indicates that a product cannot also be a BWPF that is covered by the scope.368

        Additionally, with respect to the production process, we find that there is insufficient

evidence to conclude that purchasers expect that the products are made from different starting

materials or that BWPFs are formed/forged while outlets are not. For instance, as noted above,

the record demonstrates that both outlets and other BWPFs may be made with welded pipe or

may be made from steel bars.369 The starting materials for outlets can conform to standards

applicable to BWPFs more generally; for instance, the importers report that the materials for

both outlets and other BWPFs may meet ASTM A105.370 The record also demonstrates that

outlets, like other BWPFs, are forged or formed.371


368
    See Vandewater Comments at Tab 1 and 2.
369
    Id. at 11; see also SCI Comments at 17; and Vandewater Rebuttal Comments at 3.
370
    See Vandewater Rebuttal Comments at 5 (“… outlets are made from ASTM A-105 grade forging bars, whereas
most {BWPF} are made from ASTM A-234 grade seamless pipe”) (emphasis added); SIGMA Comments at 8 (“The
starting materials for {BWPF} conform to ASTM A105, ASTM A106, and ASTM A285 standards …”) (emphasis
added); and Vandewater Comments at Tab 14 (Bonney Forge catalog at 4, 6-8) (showing various outlets with an A-
105 specification).
371
    See USITC Fourth Review at I-6; see also SCI Comments at 17 (noting that some steel branch outlets are shaped
through a die forging process, either a closed-die forging, or an open-die forging; further noting that, for lower



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        Second, the importers argue that outlets are custom engineered, whereas BWPFs are

standardized to match up with the size and schedule of the pipe to which they are attached. The

record does not support this distinction. Outlets are not necessarily made to custom

specifications and, just as with other BWPFs, are sold based on similar sizing criteria.372 For

instance, SCI’s and Vandewater’s catalogs shows outlets sold based on nominal pipe sizes.373

        Third, the importers argue that ultimate purchasers expect different pressure capabilities

with outlets and BWPFs. Specifically, they assert that purchasers only expect to use outlets in

low-pressure sprinkler systems (e.g., 300 PSI or less), whereas purchasers of BWPFs expect the

products to withstand high levels of pressure (e.g., greater than 300 PSI). Although certain types

of BWPFs may be designed to handle high-pressure systems, fire protection sprinkler systems

are a contemplated application of BWPFs.374 This is the intended application for Vandewater’s

product. Therefore, we find that outlets and other BWPFs are, similarly, expected to be welded

into permanent, fixed piping systems for gases or liquids in plumbing, heating, refrigeration, air

conditioning, and fire sprinklers systems. These usages will, of course, have different

requirements and expectations regarding pressure rating and related features, but there is nothing

requiring a particular PSI rating to qualify as a BWPF. Indeed, Vandewater itself acknowledges

that “{s}ome sprinkler systems may, however, use butt-weld pipe fittings for the run pipes, to

which the branch connections are attached.”375 Therefore, it is simply incorrect that BWPFs are



pressure applications, branch outlets may also be machined from seamless or welded pipe and tube); and
Vandewater Rebuttal Comments at 3 and 6.
372
    See Vandewater Comments at 3 (“The key dimensions for {BWPF} are the nominal pipe size (as an example,
two inch is a pipe size) and the schedule (as an example, schedule 40). By contrast, the key dimensions for branch
outlets are the header pipe size range (example, 2 inches), outlet pipe nominal size (example, two inch threaded),
and schedule (example, 300 psi)” (emphasis added)).
373
    See Island Rebuttal Comments at 35 and Exhibits 12 and 13; and Scope Ruling Request at Exhibits 1 and 2
(showing a header and outlet size concordance).
374
    See USITC Fourth Review at 6.
375
    See Vandewater Comments at 23.

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used exclusively in high-pressure settings, while outlets are used in distinct, low-pressure piping

systems.

        Fourth, the importers argue that BWPFs have higher installation costs than outlets

because of the effort, skill, and expense required.376 However, Vandewater has also argued the

opposite, noting that “… installation of a butt-weld pipe fitting can be performed by most pipe

welders and requires no special knowledge or expertise. By contrast, installation of integrally

reinforced steel branch outlets is performed to Pipe Fabrication Institute Standard ES-49 which

requires much more specialized procedure and background knowledge than installation of

BWPFs.”377 Similarly, SCI asserted that “{p}urchasers expect branch outlets to have much

lower installation costs than butt-weld fittings, because … only one end is welded at all.”378

However, this is plainly incorrect, because caps and lap joint stub ends only require welding on

one end despite unambiguously being BWPFs.

        Considering these conflicting arguments from the importers, and the similarities between

outlets and BWPFs (i.e. beveled ends for welded connections in piping systems), we find that

there is no significant difference in expectations for the products.

        Both outlets and BWPFs are used in fire sprinkler systems (among other types of piping

systems), are subject to similar, and in some cases overlapping, industry standards, and are sold

according to standard sizes. We also find that the record does not reveal that customers would

have a significantly different expectation regarding the installation costs for outlets and BWPFs.

For these reasons, we find that purchaser expectations for the products are similar.



376
    Id. at 7 and 23; see also SCI Comments at 20; SCI Rebuttal Comments at 25; and Vandewater Rebuttal
Comments at 5.
377
    See Vandewater Scope Ruling Request at 15.
378
    See SCI Comments at 20.

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Ultimate Use of the Product

         We find that the uses of Vandewater’s outlets and other BWPFs are similar.

Vandewater’s outlets are designed to be permanently welded to a fire sprinkler system, which is

a recognized application for BWPFs that are subject to the scope of the China BWPFs Order.379

Furthermore, even though Vandewater emphasized that its outlets are designed for fire sprinkler

systems, Vandewater acknowledges that other outlets with physical characteristics that are

similar to its outlets are used in a range of applications, including those applications that the

importers identify as fundamental BWPF uses, e.g., piping connections used in the oil and gas

industry.380

         The importers argue that the design and ultimate use of Vandewater’s outlets are specific

to fire sprinkler systems.381 As stated above, however, BWPFs are similarly used in fire

sprinkler systems.382 The fact that Vandewater’s outlets are designed for a specific use within a

sprinkler system, i.e., connecting the piping system to a sprinkler head, whereas another BWPF

might be used to connect two pipes in the system, does not mean that the products do not have



379
    See USITC Fourth Review at 6 (“Butt weld pipe fittings are used to connect pipe sections where conditions
require permanent, welded connections.... Carbon steel BWPF are utilized in residential, commercial, and industrial
pipe systems in chemical synthesis, petroleum refining, electric-power generation, construction, and shipbuilding.
Butt-weld pipe fittings join pipes in straight lines and change or divide the flow of fluids (oil, water, natural gas or
other gasses {sic}, or steam). They are welded into permanent, fixed piping systems that convey gases or liquids in
plumbing, heating, refrigeration, air-conditioning, automatic fire sprinklers, electric conduit, irrigation, and process-
piping systems. Butt-weld pipe fittings are also found in structural applications for construction, where pipes and
fittings are used as support members”).
380
    See Vandewater Comments at 22 (“Please note that certain types of steel branch outlets, with similar basic
physical characteristics, are also used by the oil and gas industry …”).
381
    See Vandewater Comments at 23 (“Steel branch outlets are not designed with sufficient strength to be used for
most butt-weld pipe fitting applications … purchasers of Vandewater’s steel branch outlets expect the flexibility of
having interchangeable connections between the outlet and the sprinkler head, specifically a thread or groove, so
that the sprinkler head can be changed quickly and easily”).
382
    See USITC Fourth Review at 6; see also Island Rebuttal Comments at 35 (“For example, weld tees can be used
for the fire sprinkler market, although Outlets are typically preferred due to cost of installation considerations”); and
SIGMA Comments at 10 (“It is also important to recognize that a fire protection outlet can be a butt weld pipe
fitting – but only if it contains at least one requisite beveled end that enables the ‘bead’ necessary for a butt weld to
be formed”).

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similar uses. Such use variation is found throughout the range of BWPFs. For instance, a cap is

clearly a BWPF that is used to seal the end of a pipe383 and cannot be used to connect two pipes,

while an elbow (another BWPF) can. A reducer may be welded on both ends, while a lap joint

stub end is not. Simply because outlets have a limited and particular use within a piping system

does not mean that the outlets do not have a use that is similar to other types of BWPFs (i.e.,

permanently welded into a piping system that conveys gases or liquids). Here, outlets and other

BWPFs are permanently welded into automatic fire sprinkler systems.

           The importers argue that Commerce should not construe a passage in an ITC report

describing BWPFs as “welded into permanent, fixed piping systems that convey gases or liquids

in plumbing, heating, refrigeration, air-conditioning, automatic fire sprinklers, electric conduit,

irrigation, and process-piping systems”384 to mean that BWPFs are ever connected to sprinkler

heads. Even if it is the case that the outlets and other BWPFs do not have identical or complete

overlap of functions, the fact remains that the uses of outlets and other BWPFs are similar

because, as explained above, both are permanently welded into automatic fire sprinkler systems

to change or divide the flow of water.

           With respect to the importers’ arguments regarding exchangeability of the sprinkler head

(via a threaded connection on the branch/outlet side) and the minimum pressure rating, we

disagree that these considerations warrant a finding that the product uses are distinct. As noted

above, there is no minimum pressure rating in the scope. Additionally, the scope covers products

with a non-welded side, such as lap joint stub ends, which rely on a bolted end and a butt-welded

end. Thus, products with at least one non-welded side (and their concomitant pressure rating)



383
      See USITC Fourth Review at 6.
384
      Id. at 6 (emphasis added).

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still fall within the scope of the China BWPFs Order. For the reasons stated, we find that the

ultimate uses of outlets and other BWPFs are similar.

Channels of Trade in Which the Product is Sold

        We find that the channels of trade for outlets and other BWPFs are similar. They are

both sold through distributors and to fabricators and contractors.

        The importers argue that Vandewater’s outlets are sold in a different channel of trade

because outlets are distributed solely within the fire sprinkler system industry, while BWPFs are

sold to a more varied set of industries through large distributors. Vandewater asserts that it sells

to fabricators of sprinkler systems who then sell to fire protection installation contractors and fire

sprinkler supply distributors (who then sell to smaller contractors that fabricate smaller sprinkler

systems and do their own welding).

        The fact that Vandewater sells to a particular class of customers does not mean that the

products – outlets and other BWPFs – are sold in different channels of trade more generally. The

record demonstrates that both outlets and BWPF share similar channels of trade because they are

both sold to master distributors, fabricators, and contractors.385 The Vandewater-supplied

Shyman affidavit states that outlets and BWPFs are both sold to distributors.386 Additionally, the

record includes examples of companies and catalogs that sell both outlets and BWPFs, indicating

that there is significant overlap in the channels of trade.387

Manner in Which the Product is Advertised and Displayed

        We find that outlets and other BWPFs are advertised in a similar manner, i.e., via online




385
    See Island Rebuttal Comments at 37.
386
    See Vandewater Rebuttal Comments at Attachment A.
387
    See Petition at Appendix B; see also Island Rebuttal Comments at Exhibits 10, 14 and 15.

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catalogs in company websites or affiliated or third-party online sources.388 These sources

identify the size, weight, and other technical specifications of the merchandise, including

pressure resistance, materials used, and industry standard.389

        The importers assert that outlets are not displayed as, or together with, BWPFs and are

advertised specifically for fire protection systems. We disagree. First, the “Fire Sprinkler Pipe

Fabrication” section of the Aleum USA catalog shows outlets with a branch side that is threaded

or grooved along with “butt welding ends.”390 Second, product catalogs on the record show

outlets and similar products and other BWPFs advertised side by side.391 For instance, the

Petition shows “elbows,” “reducers,” “lap joint stub ends,” “saddles,” and “multiple outlet

fittings” in the same product catalog; the Shin Tech catalog advertises two outlet products – one

with a beveled edge that allows for a permanent connection only on the branch end, and one with

such edges on both the branch and contoured ends – in a similar manner.392 Additionally, the

importers’ own product literature advertises outlets for fire protection and other “Low Pressure

Piping Systems.”393

        The importers also argue that Island’s own products demonstrate that outlets and BWPFs

are advertised differently,394 and even Island’s CEO was not aware of any time that an outlet was

described as a BWPF.395 However, we find that the record supports Island’s proffered




388
    Id.
389
    See Island Rebuttal Comments at 34-35 and Exhibits 2, 3, 5, 6, 10, 12 and 13; Vandewater Comments at 24; and
SCI Comments at 22.
390
    See Island Rebuttal Comments at 28 and Exhibit 10.
391
    See Petition at Appendix B; and Island Rebuttal Comments at Exhibit 15 (showing an outlet with a butt-weld
branch end on the same page as an outlet with a threaded branch end).
392
    Id. at Exhibit 15.
393
    Id. at 38 (citing Vandewater Comments at 27 and Tab 12; SCI Comments at 29; and SIGMA Comments at 9).
394
    See SIGMA Comments at 10-11 and Exhibit 1.
395
    See Vandewater Comments at 21-22 and Tab 11.

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explanation: the term “butt-weld” itself is not a standard term nor commonly used, and,

therefore, Island does not use it in its advertising.396

         For the reasons discussed above, we find that outlets and other BWPFs are advertised in a

similar manner.

Suspension of Liquidation and Cash Deposit Requirements

         After issuing the Final Scope Ruling, Commerce instructed Customs to “{c}ontinue to

suspend liquidation of entries of carbon steel butt-weld pipe fittings from the People’s Republic

of China, including Vandewater International Inc.’s steel branch outlets imported by Vandewater

International Inc …”397 No party challenged Commerce’s instructions to CBP before the Court,

and the Court did not otherwise invalidate the instructions in the Remand Order. As discussed

below, should the Court affirm this remand redetermination in a subsequent decision, Commerce

intends to issue instructions to CBP consistent with 19 CFR 351.225(l) and section 516A(c) and

(e) of the Act.

VIII. COMMENTS ON DRAFT RESULTS OF REDETERMINATION

         Interested parties provided comments regarding the sources relied on in our analysis, our

substantive analysis of the (k)(2) factors, and the suspension of liquidation and cash deposit

requirements for Vandewater’s entries. We address these comments in turn.

Comment 1: Commerce’s Treatment of the (k)(1) Sources

         In the Draft Redetermination, Commerce analyzed information provided by interested

parties relating to each of the five (k)(2) factors. Among the various sources relied upon,


396
    See Island Rebuttal Comments at 38-40. The record shows that a U.S. distributor has identified this type of
merchandise as “butt-weld” in its products catalog; similarly, one of the importers (SCI) had itself identified the
product as “butt-weld” in import records (despite its current claim that the description was an error). See Island
Comments at 8; see also SCI Rebuttal Comments at 28-32.
397
    See SCI Comments Id. at Exhibit 14.

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Commerce also considered information contained in the sources enumerated in 19 CFR

351.225(k)(1).

Vandewater’s Comments

          The Draft Redetermination is unreasonable because it ignores the direction of the

           Court.398 The Court remanded Commerce’s scope ruling to Commerce with instructions

           for it to perform a full (k)(2) analysis because the question surrounding Vandewater’s

           outlets was not resolved by the (k)(1) sources. However, as it concedes in a footnote,

           Commerce cites the (k)(1) sources and insists that “information in such sources is

           nonetheless relevant to our analysis of the (k)(2) factors.”399

SIGMA’s Comments

          In its (k)(2) analysis here, Commerce improperly relied on (k)(1) criteria, and

           mischaracterized and disregarded key record evidence.400

          Statements by the Court and the CAFC make clear that (k)(1) and (k)(2) analyses are

           separate.401 The structure of the regulation likewise clearly separates (k)(1) and (k)(2)

           and requires Commerce to analyze these sources discretely.402

          If the (k)(1) sources are not dispositive, they cannot be “relevant” to a (k)(2) analysis.

           Indeed, in the Remand Order, the Court stated that the (k)(1) sources are “not descriptive

           of the actual physical characteristics of Vandewater’s steel branch outlets” and “do not


398
    See Vandewater Draft Redetermination Comments at 1-2.
399
    Id. (citing Draft Redetermination at 44).
400
    See SIGMA Draft Redetermination Comments at 2 (citing Draft Redetermination at 2 and 62).
401
    Id. (citing Laminated Woven Sacks Comm. v. United States, 34 CIT 906, 910, 716 F. Supp. 2d 1316, 1322 (2010)
(Woven Sacks) (stating that, where it proceeds to a (k)(2) analysis, Commerce “applies the five factors codified” in
(k)(2)); and Toys “R” Us, Inc. v. United States, 32 CIT 814, 819 (2008) (“finding that consideration of (k)(2) factors
under a (k)(1) analysis was improper”) (Toys “R” Us)).
402
    Id. (citing Eregli Demir Ve Çelik Fabrikalari T.A.S. v. United States, 415 F. Supp. 3d 1216, 1230 (CIT 2019)
(identifying the “text, structure, history, and purpose of a regulation” as “tools” for interpreting an agency
regulation) (quoting Kisor v. Wilkie, 139 S. Ct. 2400, 2415 (2019))).

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        really tell the court anything about the inclusion of steel branch outlets within the scope

        of the Order.”403 Thus, in its final remand redetermination, Commerce should focus only

        on the (k)(2) criteria.404

Commerce Position: Vandewater and SIGMA assert that Commerce improperly considered the

(k)(1) sources in the Draft Redetermination and contend that this is contrary to the Court’s

Remand Order. We disagree.

        The Court found that the sources listed in 19 CFR 351.225(k)(1) were not dispositive as

to the scope status of Vandewater’s outlets.405 This finding, however, does not indicate that the

(k)(1) sources are irrelevant for the purpose of a (k)(2) analysis. The regulation refers to the

(k)(2) factors as “additional” substantive criteria to consider in the scope analysis; it does not

create a restriction on the source of information to be considered in such an analysis.

        Here, the (k)(1) sources provide factual information that is directly relevant to our

consideration of the (k)(2) criteria. For instance, the ITC determination discussed the physical

characteristics and uses of subject merchandise.406 That this information appears in a source

enumerated by 19 CFR 351.225(k)(1) does not mean that Commerce must ignore the information

for the purpose of a (k)(2) analysis. The importers appear to acknowledge this, as they cite the

ITC Report and the Petition dozens of times throughout their initial comments relating to how

Commerce should perform its Court-mandated (k)(2) analysis.407


403
    Id. at 3-4 (citing Remand Order at 8).
404
    Id. at 4.
405
    See Remand Order at 8.
406
    See USITC Fourth Review at 6 (discussing uses of BWPFs in piping systems); and USITC Investigation Final at
I-10 through I-11 (describing physical characteristics of subject merchandise, and noting that not all imported
merchandise from China was in compliance with the applicable standard).
407
    See, e.g., Vandewater Comments at 24 (“… the ITC described the uses of butt-weld pipe fittings as follows …”);
Vandewater Rebuttal Comments at 4 (“The above points by Mr. Shyman are confirmed by the ITC in its original
1986 preliminary injury investigation”); SIGMA Comments at 10 (“… this is evident in the catalogs provided with



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        The cases cited by the importers do not warrant a different approach. For instance, in

Woven Sacks, the Court simply stated that, where Commerce proceeds to a (k)(2) analysis, it

must apply the five (k)(2) factors.408 That is precisely what we have done here, and the case

imposes no limitation on the sources from which Commerce may draw in conducting a (k)(2)

analysis. Similarly, in Toys “R” Us, the Court found that consideration of (k)(2) factors under a

(k)(1) analysis was improper.”409 Again, this case does not stand for the opposite proposition

that a (k)(2) analysis cannot rely on sources enumerated in (k)(1). The Courts have previously

sustained Commerce’s scope determinations which were based on an evaluation of the (k)(2)

criteria that relied, in part, on information from (k)(1) sources.410

        Accordingly, Commerce has, as directed by the Court and in compliance with the

regulation, considered the (k)(2) factors. As we explained in the Draft Redetermination,

although the (k)(1) sources are not dispositive regarding the scope status of Vandewater’s

product, we relied on facts contained in the (k)(1) sources insofar as they are relevant to our

analysis of the (k)(2) criteria.

Comment 2: Commerce’s Analysis of the (k)(2) Criteria

        Pursuant to the Court’s Remand Order, we evaluated the five (k)(2) criteria to determine

whether Vandewater outlets are covered by the scope of the China BWPFs Order. As part of

this evaluation, we analyzed interested parties’ comments and supporting information, and we




the original petition in 1991”); and SIGMA Rebuttal Comments at 4 (“SIGMA does not contest that the ITC stated
as much, and indeed, cited to the same language … in its comments”).
408
    See Woven Sacks, 716 F. Supp. 2d at 1322.
409
    See Toys “R” Us, 32 CIT at 819.
410
    See, e.g., Sango Int’l L.P. v. United States, 567 F.3d 1356, 1364-65 (Fed. Cir. 2009) (sustaining Commerce’s
determination in a (k)(2) scope analysis in which Commerce relied on the ITC report and underlying petition); and
Power Train Components, Inc. v. United States, 911 F. Supp. 2d 1338, 1347 (CIT 2013) (sustaining Commerce’s
determination in a (k)(2) scope analysis in which Commerce cited to the ITC report and underlying petition).

                                                        65

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issued a Draft Redetermination, where we determined that Vandewater’s outlets are properly

considered BWPFs.

Island’s Comments

          Commerce’s determination that Vandewater’s outlets fall within the scope of the China

           BWPFs Order is supported by substantial evidence and is in accordance with law.411

          It is well established that, for purposes of a (k)(2) analysis, for a product to be covered by

           the scope of an order, all the law requires is for the product to be “sufficiently similar” to

           the products covered by the order.412

          In its Draft Redetermination, Commerce undertook a comprehensive analysis of the five

           factors set forth in 19 CFR 351.225(k)(2). Commerce considered and discussed, in great

           detail, the comments and supporting information submitted by all interested parties in

           their initial and rebuttal comments.413

          For each of the (k)(2) factors, Commerce explained why Vandewater’s outlets met the

           relevant criterion, based on the language of the China BWPFs Order, and showed how

           Vandewater’s outlets were similar to other in-scope BWPFs.414

          Commerce also explained why it disagreed with the importers’ assertions and arguments

           and grounded its position in record information.415

          Therefore, Commerce complied with the Remand Order and reached a reasonable

           determination “given the circumstances presented by the whole record.”416 Island agrees



411
    See Island Draft Redetermination Comments at 3.
412
    Id. (citing Wirth, 5 F. Supp. 2d at 981).
413
    Id. at 4 (citing Remand Order at 3).
414
    Id.
415
    Id. (citing Draft Redetermination at 10-62).
416
    Id. (citing Remand Order at 3).

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           with Commerce’s conclusion that Vandewater’s outlets fall within the scope of the China

           BWPFs Order.417

Vandewater’s Comments

          There are fundamental differences between BWPFs and Vandewater’s outlets: different

           design; different function; and different usage by different customers. Commerce was

           asked to address these considerations on remand but did not do so in the Draft

           Redetermination.418

          The Draft Redetermination’s analysis of physical characteristics is incorrect.419

           o Different industry standards exist for BWPFs and welded outlets. These standards

               reflect bright-line distinctions within the fittings industry.420 Commerce’s contentions

               concerning industry standards are not supported by substantial evidence.421

           o The branch end of an outlet is threaded or grooved in order to accommodate a

               sprinkler head, while BWPFs have no branch end whatsoever.422 Additionally,

               nothing on the branch side of an outlet can be welded.423

           o Unlike BWPFs, there is no forging or forming required to turn a pipe, bar or forging

               into an outlet fitting.424

           o One end of an outlet is threaded or grooved, which is a temporary connection.425




417
    Id. (citing Island Comments; and Island Rebuttal Comments).
418
    See Vandewater Draft Redetermination Comments at 1-2.
419
    Id. at 2-37.
420
    Id. at 3.
421
    Id. at 23-26.
422
    Id. at 4-5.
423
    Id. at 5-8.
424
    Id. at 27-29.
425
    Id. at 26-27.

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           o Neither end of an outlet is butt-welded. Additionally, a particular angle is required

               for a butt-weld, and outlets are not connected through a weld of such an angle.426

           o The shape of BWPFs are different from outlets.427

           o Threaded welded outlets are considered forged steel pipe fittings, rather than BWPFs,

               by the industry in question.428

          o The physical characteristics of Vandewater’s outlets differ sufficiently from BWPFs

             such that they are imported under different HTSUS subheadings.429

          The expectations of the ultimate purchasers suggest outlets are not BWPFs.430

          o Ultimate purchasers of Vandewater’s outlets are all fabricators of fire sprinkler

             systems. No fire sprinkler fabricator uses any BWPFs for branch connections to

             sprinkler leads because a BWPF does not have the ability to accept a sprinkler head

             with threads.431

          o The Draft Redetermination states that “fire protection sprinkler systems are a

             contemplated application of BWPFs.”432 In reaching this conclusion, the Draft

             Redetermination does not mention the declaration of Neil Shyman, who has nearly 43

             years of experience as a fabricator and supplier of fire sprinkler and industrial piping.433

          o Commerce’s analysis ignores the point that sprinkler systems would never use BWPFs

             to connect to a sprinkler head – like a welded outlet does – because fabricators and




426
    Id. at 19-22.
427
    Id. at 23.
428
    Id. at 8-11.
429
    Id. at 30-31.
430
    Id. at 31-33.
431
    Id. at 31 (citing Vandewater Comments at 22-23; and Vandewater Rebuttal Comments at 5).
432
    Id. (citing Draft Redetermination at 55).
433
    Id. at 32 (citing Vandewater Rebuttal Comments at 3 and Attachment A (Shyman Declaration at 17 and 20)).

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             users of sprinkler systems do not want permanent connections, which are an inherent

             feature of butt-welding.434

          o The possibility that some fire sprinkler systems might use BWPFs for the run pipes

             does not undermine Vandewater’s point regarding the starkly different customer

             expectations for outlets.435

          The ultimate use of the products suggest outlets are not BWPFs.436

           o Commerce asserts that the uses of Vandewater’s outlets and BWPFs are similar, in

               part, because “Vandewater’s outlets are designed to be permanently welded to a fire

               sprinkler system, which is a recognized application for BWPFs that are subject to the

               scope of the China BWPFs Order.”437 However, a BWPF is never suitable for

               connecting to a sprinkler head, precisely because the sprinkler head must be attached

               in a manner such that it can be changed, and not permanently affixed via a butt-

               weld.438

          The channels of trade in which the products are sold support finding outlets and BWPFs

           to be distinct.439

           o According to the Draft Redetermination, “{t}he record demonstrates that both outlets

               and BWPF share similar channels of trade because they are both sold to master

               distributors, fabricators, and contractors.”440 The only “record evidence” in support




434
    Id. at 32-33 (citing Draft Redetermination at 55-56).
435
    Id. at 33.
436
    Id. at 33-34.
437
    Id. at 33 (citing Draft Redetermination at 57).
438
    Id. at 33 (citing Vandewater Rebuttal Comments at Attachment A (Shyman Declaration at 22); and Vandewater
Comments at Exhibit 7 (Report of Walter Sperko at 15)).
439
    Id. at 34-35.
440
    Id. at 34 (citing Draft Redetermination at 59).

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               of this assertion are Island’s own comments.441 This does not constitute substantial

               evidence in support of a conclusion that Vandewater’s outlets are sold to master

               distributors.442

           o Vandewater’s outlets simply are not sold in the same channels of trade as BWPFs,

               and there is no record evidence to the contrary.443

          The manner in which the product is advertised and displayed supports finding

           Vandewater’s outlets to be out of scope.444

           o Advertising for Vandewater’s outlets, which are used in the fire sprinkler industry,

               differs significantly from the advertising of BWPFs.445 For example, at the AFSA

               convention in October 2019,446 no producer of BWPFs was on the exhibitor list

               because BWPFs are not advertised in trade shows that are targeted at the fire sprinkler

               industry.447

           o By contrast, the Shyman affidavit states that BWPFs are advertised and sold to

               mechanical contractors.448

           o Commerce’s analysis of this factor is unsupported by record evidence. Commerce

               cites to two pages of what it characterizes as a “Fire Sprinkler Pipe Fabrication”

               section of the Aleum USA catalog.449 No information is given as to the source from

               which these two pages were extracted. Regardless, the two pages of materials from



441
    Id. (citing Draft Redetermination at 59; and Island Rebuttal Comments at 37).
442
    Id. at 35.
443
    Id.
444
    Id. at 35-37.
445
    Id. at 35 (citing Vandewater Comments at 25-26; and Vandewater Rebuttal Comments at 11).
446
    Id. at 35-36 (citing Vandewater Comments at 25-26 and Tab 15; and Vandewater Rebuttal Comments at 11).
447
    Id. at 36.
448
    Id. (citing Vandewater Rebuttal Comments at Attachment A).
449
    Id. (citing Draft Redetermination at 60; and Island Rebuttal Comments at Exhibit 10).

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               Aleum USA that constitute Island’s Exhibit 10 do not show any BWPFs.450 Rather,

               the document simply states that the products have “Butt welding ends complying with

               a {sic} national or international standards.”451

           o The Draft Redetermination also cites a “catalog” from “Shin Tech” to support the

               same point.452 However, the “catalog” consists of four pages, and it says nothing

               about BWPFs.

           o In short, the Draft Redetermination points to no evidence to support its conclusion

               that Vandewater’s outlets and BWPFs are advertised in the same place or manner.453

SCI’s Comments

          Commerce’s Draft Redetermination is not supported by substantial evidence.454

           Commerce must consider the complete record, including the evidence that contradicts or

           undermines its conclusions.455

          Commerce failed to properly analyze the physical characteristics of the product.456

           o A contoured edge that connects to the midsection of a pipe is not a butt-weld.457 The

               Aleum USA catalog cited by Commerce, which identifies an outlet as having “butt

               welding ends,” does not reflect the industry’s understanding more broadly. It is

               important to note that “butt-weld” is not a standard industry term. Moreover,

               references to saddles (which have a contoured edge like an outlet) in other sources,




450
    Id. (citing Island Rebuttal Comments at Exhibit 10).
451
    Id. at 37 (citing Island Rebuttal Comments at Exhibit 10).
452
    Id. (citing Draft Redetermination at 60; and Island Rebuttal Comments at Exhibit 15).
453
    Id. at 37.
454
    See SCI Draft Redetermination Comments at 2-34.
455
    Id. (citing TMB 440AE, Inc. v. United States, No. 18-00095, 2020 CIT LEXIS 46 at *21 (CIT April 6, 2020)).
456
    Id. at 4-17.
457
    Id. at 4-9.

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               such as the Ladish catalog, are inapposite because saddles can have a single butt-weld

               side (on the branch end).458

           o BWPFs must attach on a parallel plane to the recipient pipe,459 and have a beveled

               edge of a particular angle.460

          o Commerce fails to give proper weight to industry standards, which were identified in

             the petition.461

           o BWPFs rely on permanent welded connections.462

          o Commerce improperly characterizes the inputs and processing required to produce

             BWPFs.463 The manufacture of BWPFs typically begins with seamless carbon steel

             pipe; Commerce improperly relies on exceptions to this rule in conducting its (k)(2)

             analysis. The record is replete with evidence of branch outlets that do not employ a

             forming or forging process.464

          The record evidence concerning purchaser expectations does not indicate that

           expectations are the same for subject BWPFs and outlets.

           o Commerce seems to recognize the correct industry standard for outlets (i.e., MSS SP-

               97) but then goes on to find that “conforming to {this} standard … does not indicate

               that a product cannot also be a BWPF.”465 However, Commerce does not indicate

               what industry standards are applicable to subject BWPFs, and ignores the language in

               the Petition which provides that the applicable standards are ASTM A234-82a for


458
    Id. at 4-7.
459
    Id. at 7.
460
    Id. at 9-12.
461
    Id. at 12-14.
462
     Id. at 15-16.
463
    Id. at 16-17.
464
    Id.
465
    Id. (citing Draft Redetermination at 50).

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             materials and ANSI B16.9 for dimensions, which outlets do not satisfy.466 Commerce

             simply notes that certain standards, such as for materials, can apply to both outlets

             and BWPFs more generally (e.g., ASTM A105).467

        o Outlets cannot be certified to meet the high-pressure (300 PSI) applications for which

             BWPFs are used.468

      o Purchasers will expect different sizing dimensions between outlets and BWPFs.469 For

          outlets, size refers to the pipe diameter of the sprinkler head or outlet, and pipe run size

          refers to the diameter of the run pipe to which the fishmouth end of the outlet

          attaches.470 By contrast, BWPFs are not advertised and displayed using “pipe run

          size.”471

      o Commerce’s findings that BWPFs and outlets are both used in fire sprinkler systems is

          not commensurate with a finding that the products are used for the same purposes

          within this application.472 Whereas an outlet is used to connect a sprinkler head or

          branch pipe and a piping system, a BWPF is used to connect pipes within the piping

          system.473

      o Neither SCI nor the other importers have argued that the installation costs of BWPFs

          are lower than those of outlets.474 Rather, both the number and strength of welds

          involved in installing a BWPF make it more expensive than installation for an outlet.475


466
    Id. (citing the Petition at 4).
467
    Id. (citing Draft Redetermination at 54).
468
    Id. (citing SCI Comments at 22).
469
    Id. at 19.
470
    Id. at 18-19.
471
    Id. at 19 (citing SCI Comments at 29; and Vandewater Rebuttal Comments at 5-6).
472
    Id.
473
    Id.
474
    Id. at 20 (citing Draft Redetermination at 56).
475
    Id. (citing SCI Comments at 20).

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             Additionally, Vandewater’s statement that no special knowledge or expertise is

             required to install a BWPF is not equivalent to saying that installing a BWPF is less

             expensive than installing an outlet.476

          Commerce’s determination with respect to the ultimate use of the products is not based

           on substantial evidence on the record.477

           o First, Commerce seems to ignore the fundamental differences in uses between

               BWPFs and outlets.478 Whereas BWPFs are used in numerous applications involving

               pressures/substances that require a permanent connection (e.g., chemical synthesis,

               petroleum refining, electric power generation, construction, and shipbuilding),

               Vandewater’s outlets are used in one low-pressure application – fire sprinkler

               systems.479 If any end of a fitting uses a weaker connecting method than welding,

               such as threading or grooving, the strong-connection value of the BWPF is lost.480

           o Additionally, no fire sprinkler fabricator uses BWPFs for branch connections to

               sprinkler heads, because BWPFs do not have the ability to accept a sprinkler head

               with threads.481

          o Outlets are used specifically to form a temporary connection between a sprinkler head

             or branch pipe and a piping system.482 Commerce presents no evidence that BWPFs

             are used for this purpose.

          Commerce’s determination that BWPFs and outlets are sold through the same channels of



476
    Id. (citing Draft Redetermination at 56).
477
    Id.
478
    Id.
479
    Id. at 20-21 (citing SCI Comments at 24; and Vandewater Comments at 24-26).
480
    Id. (citing SCI Rebuttal Comments at 11).
481
    Id. (citing Vandewater Comments at 24-25).
482
    Id. (citing SCI Comments at 23).

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           trade is unsupported by the record evidence.483

          o Commerce observes that, “{t}he record demonstrates that both outlets and BWPF share

             similar channels of trade because they are both sold to master distributors, fabricators,

             and contractors.”484 However, Commerce does not cite record evidence in support of

             this determination. Rather, Commerce relies on Island’s unsupported assertion that the

             importers “sell widely to master distributors, fabricators, and some contractors.”485

          o Although Commerce correctly observes that the record includes a statement that

             BWPFs and outlets are “both sold to distributors,”486 the statement indicates that

             “distributors then resell these two categories of products to distinct market

             segments.”487 Accordingly, BWPFs and outlets are viewed very differently by

             distributors and are sold in different channels of trade to different customers.488

          o The product catalogs cited by Commerce do not include both BWPFs and outlets.489

             Commerce cannot rely on these catalogs to reach the conclusion that “there is

             significant overlap in the channels of trade” between BWPFs and outlets.490

          Commerce is incorrect that the record demonstrates that BWPFs and outlets are

           advertised or displayed together.491

           o Commerce relies on the Aleum USA catalog “{s}how{ing} outlets with a branch side

               that is threaded or grooved along with a comparable product with ‘butt welding



483
    Id. at 22.
484
    Id. (citing Draft Redetermination at 58).
485
    Id. (citing Island Rebuttal Comments at 37).
486
    Id. (citing Draft Redetermination at 59).
487
    Id. (citing Vandewater Rebuttal Comments at Attachment A).
488
    Id. at 23.
489
    Id. at 24 (citing Draft Redetermination at 59).
490
    Id.
491
    Id.

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               ends.”492 However, these specification sheets pertain to a “female threaded outlet”

               and a “grooved outlet,” not a “BWPF.”493

          o Commerce also relies on the Shin Tech catalog.494 Like the Aleum USA catalog, this

             also does not display BWPFs side-by-side with outlets.495 This catalog references

             “Cold Forging Fire Sprinkler Prefabrication Piping System” products and not

             BWPFs.496 Accordingly, these materials are not evidence that BWPFs and outlets are

             advertised or displayed together.497

          o Commerce observes that “{t}he importers’ own product literature advertise outlets for

             fire protection and other ‘Low Pressure Piping Systems.’”498 However, Commerce fails

             to articulate how this demonstrates that BWPFs and outlets are advertised or displayed

             together.499

SIGMA’s Comments

          Commerce’s discussion of physical characteristics contains three crucial shortcomings

           that, taken together, invalidate its consideration of such characteristics.

          o First, Commerce’s discussion of industry standards is misguided.500 Industry standards,

             by their very nature, exist to define distinct products; the idea that a product could




492
    Id. (citing Draft Redetermination at 60).
493
    Id. (citing Island Rebuttal Comments at Exhibit 10).
494
    Id. (citing Draft Redetermination at 60).
495
    Id. at 25.
496
    Id.
497
    Id.
498
    Id. (citing Draft Redetermination at 60).
499
    Id.
500
    See SIGMA Draft Redetermination Comments at 4.

                                                           76

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           conform to multiple industry standards would effectively render those standards

           meaningless.501

      o In King Supply, the CAFC affirmed Commerce’s decision in a scope inquiry and noted

           that Commerce “emphasized that, not only were King’s products physically identical to

           the products described in the first sentence of the AD Order, but evidence also showed

           King’s products met the same ASTM and ANSI industry standards as were referenced

           in the Petition.”502 Based on this reasoning, if a product is produced according to

           ASTM A234-82a or ANSI B16.9, then it will fall within the scope of the China BWPFs

           Order. Where a product is neither physically identical to the products described in the

           order, nor produced according to the same industry standards, it will not fall within the

           scope.

      o The Draft Redetermination contains no discussion of the expert report of Walter Sperko

           – to which Vandewater, SIGMA, and SCI all cited in their comments.503 It is “well-

           established that Commerce’s total failure to consider or discuss record evidence which,

           on its face, provides significant support for an alternative conclusion renders

           {Commerce’s} determination unsupported by substantial evidence.”504


501
    Id. (citing Draft Redetermination at 49-50; Viraj Forgings Ltd. v. United States, 283 F. Supp. 2d 1335, 1341 n.4
(2003) (“Standardization, in manufacturing, means establishing ‘desirable criteria for the shape, size, quality and
other aspects of a product’”); BP Oil Supply Co. v. United States, Ct. No. 04-00321, Slip Op. 14-48 at 16 (2014)
(“The record demonstrates that there are clear differences in recognized industrial standards between many of the
types of imported merchandise and the substitute merchandise”); Bell Supply Co., LLC v. United States, 393 F.
Supp. 3d 1229, 1242 (CIT 2019) (noting that “threading is a common process in the industry with various standards
for different types of thread joints”); and Tai-Ao Aluminium (Taishan) Co. v. United States, 391 F. Supp. 3d 1301,
1308 n.2 (CIT 2019) (“The Aluminum Association is the authority that maintains the standards for the U.S.
aluminum industry with respect to aluminum alloy designations, the chemical composition for the alloys, and the
approved tempering methods for the different alloys”)).
502
    Id. at 5 (citing King Supply, 674 F.3d at 1347.
503
    Id. at 6 (citing SIGMA Comments at 5-6 and Exhibit 2; Vandewater Comments at 7-9, 11-15, and Exhibit 6; and
SCI Comments at 22).
504
    Id. at 6-7 (citing A.L. Patterson, Inc. v. United States, 36 CIT 1132, 1136 (2012) (quoting Allegheny Ludlum
Corp. v. United States, 112 F. Supp. 2d 1141, 1165 (2000))).

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          o Commerce has mischaracterized a key point raised by SIGMA regarding a fundamental

             physical characteristic of outlets.505 Commerce concluded in the Draft Redetermination

             that products with a contoured edge (i.e., a “fishmouth” design) “can be BWPF.”506 It

             then stated that SIGMA “agrees that saddles are a type of BWPF.”507 Yet SIGMA’s

             explanation was that saddles can be BWPF “not … by reason of the ‘fish mouth’

             opening on one side” but rather by reason of the other side of the fittings (i.e., the

             beveled branch end).”508

          Commerce’s analysis of purchaser expectations is unsupported by record evidence.

          o Commerce dismisses the idea that different industry standards lead to different

             expectations.509 That conclusion is invalid; the courts have long recognized that

             conformity with industry standards is fundamental to the consumption and use of a

             given product.510

          o Purchasers expect to use outlets in fire protection systems and use BWPFs for a variety

             of other uses, namely in “the oil, gas, steam, and chemical industries” as well as

             construction.511 Commerce disagreed with this fact, finding that “fire protection

             sprinkler systems are a contemplated application of BWPFs.”512 Yet, it nevertheless

             stated that different “usages will, of course have different requirements and




505
    Id. at 7.
506
    Id. (citing Draft Redetermination at 10, 46-47).
507
    Id. (citing Draft Redetermination at 47).
508
    Id. (citing Draft Redetermination at 47; and SIGMA Comments at 9-10).
509
    Id. at 8 (citing Draft Redetermination at 54).
510
    Id. (citing Toshiba Corp. v. Imation Corp., 681 F.3d 1358, 1366 (Fed. Cir. 2012) (citing “expert evidence that
compliance with such standards is a ‘a commercial necessity’” that is “necessary, and expected by the
marketplace”); and Maher-App & Co. v. United States, 57 C.C.P.A. 31, 35 (1969)).
511
    Id. (citing SIGMA Comments at 8).
512
    Id. (citing Draft Redetermination at 55).

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             expectations regarding pressure rating and related features....”513 This recognition

             supports the exact opposite of Commerce’s conclusion.514

          With respect to ultimate use, Commerce’s analysis is unpersuasive.

          o Commerce states that the “fact that Vandewater’s outlets are designed for a specific use

             within a sprinkler system, i.e., connecting the piping system to a sprinkler head,

             whereas another BWPF might be used to connect two pipes in the system, does not

             mean that the products do not have similar uses.”515 Here again, Commerce’s logic is

             unreasonable. Despite Commerce’s assertions of “similarity,” the uses outlined by

             SIGMA, Vandewater, and SCI are clearly different from those for which BWPFs are

             produced.516

          o The courts have previously ruled against such equivocation. For example, in the

             proceeding underlying Torrington, Commerce distinguished between five types of

             antifriction bearings, ultimately rescinding investigations of certain bearings.517 The

             petitioner appealed, asserting “that all bearings... have the same ultimate function, that

             is, ‘to reduce friction between moving parts.”518 In response, the Court deemed the

             “claim that all bearings reduce friction and therefore have the same ultimate use is a



513
    Id. (citing Draft Redetermination at 55).
514
    Id. at 8-9 (citing Allegheny Bradford Corp. v. United States, 342 F. Supp. 2d 1172, 1181, 1190-91 (2004); and
Torrington Co. v. United States, 714 F. Supp. 718, 726-27 (1990) (Torrington) (“The expectations of the ultimate
purchasers of antifriction bearings differ depending on the needs of the customer and the ability of the particular
bearing to perform a given task. For example, a customer who needs bearings that can handle heavy loads, but who
is not concerned with speed, would be interested in a plain bearing. Conversely, a purchaser who expects a bearing
to perform at high speeds, but with a light load, would find a ball bearing more useful … Customer expectations do
vary depending on the needs of the customer and the ability of a particular bearing to perform a given task”).
515
    Id. at 9 (citing Draft Redetermination at 57).
516
    Id. (citing SIGMA Comments at 7).
517
    Id. at 10 (citing Torrington v. United States, 745 F. Supp. 718, 719-20 (“The five types of bearings were (1) ball
bearings; (2) spherical roller bearings; (3) cylindrical roller bearings; (4) needle roller bearings: and, (5) plain
bearings.”).
518
    Id. (citing Torrington, 745 F. Supp. at 726).

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             simplistic and unpersuasive argument. Clearly, different bearings exist because they

             have various uses. The industry is a vast and diverse one, and the different types of

             bearings serve the disparate needs of the modern mechanized world.”519

          o The same can be said with respect to the comparison between Vandewater’s outlets and

             BWPFs. These two products exist because they have distinct uses (with distinct

             industrial standards). To conclude that they are “similar” because they “connect pipes”

             is, in the words of the Court, “simplistic and unpersuasive.”520

          Commerce’s analysis of the manner in which the product is advertised and displayed is

           incorrect.

          o Although Commerce mentions in passing that industry standards and other

             characteristics are included in these advertisements,521 it neither discusses nor cites to

             the crucial distinction raised by SIGMA in its comments.522 Island’s advertisements

             include specific, advertised characteristics – end use and industry standards – which

             draw a clear dividing line between BWPFs on one hand, and outlets on the other.523

Commerce Position: The importers raise a number of arguments regarding Commerce’s

analysis of the (k)(2) criteria. However, we continue to find that our analysis of the five criteria

supports finding Vandewater’s outlets to be covered by the scope of the China BWPFs Order.




519
    Id. (citing Legacy Classic Furniture Inc. v. United States, 867 F. Supp. 2d 1321, 1327 (CIT 2012) (“The fact that
seating furniture can {be}, and often is, located in the bedroom does not place it within the scope of the WBF Order.
It is unreasonable to conclude that customers seeing a product marketed as a ‘bench’ or ‘seating furniture’ would
primarily expect to use it as a bedroom chest. Commerce apparently made its conclusion based on conjecture and
not on evidence, or even logical inference from the evidence”)).
520
    Id.
521
    Id. (citing Draft Redetermination at 59-60).
522
    Id. (citing Draft Redetermination at 60).
523
    Id. (citing SIGMA Comments at 9-10).

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We discuss each criterion, in turn.

        With respect to physical characteristics, we continue to find that an analysis of this

criterion supports a finding that outlets are BWPFs. The importers identify purported flaws in

our related discussion of: (1) industry standards; (2) the use of temporary vs. permanent

connections; (3) the applicable weld angle/plane of attachment; (4) shape; (5) production

process/materials; and (6) HTSUS classification.

        First, although the importers assert that Commerce failed to give sufficient weight to an

industry standard (i.e., ANSI/ASME B16.9) in analyzing the physical characteristics of outlets,

Commerce addressed industry standards extensively in the Draft Redetermination.524 The

importers, however, urge Commerce to restrict the scope on the basis of such a standard, and we

feel it is inappropriate to do so. In support of this argument, SIGMA cites King Supply, in which

the CAFC sustained Commerce’s finding that “not only were King’s products physically

identical to the products described in the first sentence of the AD Order, but evidence also

showed King’s products met the same ASTM and ANSI industry standards as were referenced in

the Petition.”525 This quotation does not warrant the interpretation favored by SIGMA. In King

Supply, we determined that a product that fell within the scope language, and also met industry

standards referenced in the petition, was within the scope of the order. That case does not stand

for the proposition that the industry standard and the scope of the order are, or must be,

coextensive. Thus, it does not address the question before Commerce here.

        For Vandewater’s outlets, the question is whether a product that is not among the product

types enumerated in ANSI/ASME B16.9 can be covered by the scope. As explained above, the


524
  See Draft Redetermination at 49-51, 54.
525
  See SIGMA Draft Redetermination Comments at 5 (citing King Supply, 674 F.3d at 1347) (emphasis added by
SIGMA)).

                                                    81

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scope does not include a requirement that subject merchandise must conform to ANSI/ASME

B16.9. A mere reference to an industry standard in the Petition, without more, does not mean

that subject merchandise must meet the specifications of that industry standard.526 Therefore,

including a requirement that all BWPFs subject to the China BWPFs Order must conform to a

particular industry standard, such as ANSI/ASME B16.9, would introduce a restriction that is not

found in the scope language and would unduly restrict the coverage of the scope.

         The importers claim that absence from ANSI/ASME B16.9 indicates that outlets are not

covered. However, we found that certain products that are not listed in the standard, such as

saddles, share physical characteristics with in-scope merchandise and are covered by the China

BWPFs Order.527 Additionally, evidence on the record shows that BWPFs may be made to

conform to specifications other than the standards referenced in the footnote in the Petition.528 In

fact, at numerous points throughout their briefing, the importers acknowledge that certain saddles

may be covered by the scope.529 Thus, they appear to agree that a product is not required to meet

ASME B16.9 specifications to be covered by the scope.

         Additionally, as noted in the Draft Redetermination, “the ITC report at the time of the

investigation explicitly noted that not all shipments of BWPFs from China – the precise product

for which the petitioner sought relief – met the ASME standard.”530 This observation is


526
    See United Steel and Fasteners, 947 F.3d at 800.
527
    See Draft Redetermination at 46-47, and 50.
528
    See Island Rebuttal Comments at Exhibit 2 (certain elbows, reducing outlet tees, reducers, lap joint stub ends, and
caps are made to “ASA B36.10” and “are not covered in ASA B16.9”).
529
    See SIGMA Rebuttal Comments at 4-5 (“These ‘saddle’ fittings were not butt-weld fittings by reason of the ‘fish
mouth’ opening on one side. Rather, these ‘saddle’ fittings were butt-weld fittings by reason of the other side of the
fittings (i.e., the beveled branch end)”); Vandewater Draft Redetermination Comments at 18 (“A saddle would have
to have the bevel of the requisite geometry on its branch end to qualify for the BWPF taxonomy”); and SCI Draft
Redetermination Comments at 10 (asserting that, “perhaps,” saddles with a butt-weld end could be found to be
within the scope of the order). Although SIGMA argues that saddles are only BWPFs when the branch end is
designed for a butt-weld connection, the points remains that SIGMA agrees that a product that is not listed in ASME
B16.9, i.e., a saddle, can be a BWPF.
530
    See Draft Redetermination at 48 (citing USITC Investigation Final at I-10 through I-11).

                                                         82

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consistent with our interpretation that the scope and ANSI/ASME standards are not coextensive.

        The importers also take issue with our discussion of the MSS SP-97 standard and assert

that the implication of our analysis of the standard was unclear.531 However, Commerce was

explicit about its conclusion. We explained:

        Thus, we find no reason to conclude that products conforming to MSS SP-97 cannot
        also be BWPFs. In fact, as shown above, products covered by MSS SP-97
        explicitly have many of the same characteristics that the importers attribute to
        BWPFs, e.g., full penetration welds and bevel angles of 37.5 degrees with a
        tolerance of plus or minus 2.5 degrees. Moreover, MSS SP-97 is described as a
        “non-exclusive standard” and, in fact, several aspects of the standard incorporate
        by reference the standards established by ASTM and ANSI/ASME.532

Therefore, despite the importers’ contention to the contrary, we disagree that the various industry

standards reflect bright-line distinctions between outlets and other BWPFs for the purposes of

analyzing the China BWPFs Order scope.533

        Second, the importers again assert that the method of attaching outlets to pipes

distinguishes them from BWPFs. They assert that outlets have a branch end that features a

temporary (i.e., non-permanent) connection and attaches to a sprinkler head, whereas BWPFs

have no temporary connection and no branch end whatsoever; they also assert that outlets have

no ends featuring a butt-weld at all, i.e., that the contoured end that joins along the axis of the

header pipe does not constitute a butt-weld joint. We addressed these arguments in detail in the

Draft Redetermination.534 With respect to the temporary nature of the connection on the branch



531
    See, e.g., Vandewater Draft Redetermination Comment at 25.
532
    See Draft Redetermination at 50-51.
533
    SCI asserts that Commerce’s finding in this regard “is hardly commensurate with a finding that the industry
standards between BWPFs and outlets are the same.” See SCI Draft Redetermination Comments at 18. We agree.
We did not, and do not, conclude that the ASME B16.9 and MSS SP-97 standards are the same. Rather, we observe
that there are a number of aspects of the standards that demonstrate common physical characteristics across the
products covered by each. Moreover, we noted that standards need not be treated as exclusive – which is, in fact,
explicitly stated in the MSS SP-97 standard itself.
534
    Id. at 45-51.

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end of the outlets, a lap joint stub end has a beveled edge on one end which allows for a welded,

permanent connection, while on the other end, it is designed to be bolted to a piping system.535

Thus, like outlets, one type of unambiguously in-scope BWPF – which is listed as a BWPF in the

very industry standard repeatedly highlighted by the importers – contains a temporary non-

welded connection on one end.536 Thus, the record does not support the importers’ position that

all ends of a BWPF must have only permanent welded connections.

         The importers also assert that BWPFs are never attached to sprinkler heads. This is

entirely circular. The question here is whether Vandewater’s outlets, which feature a sprinkler

head attachment on one end, constitute a BWPF that is covered by the scope of the China

BWPFs Order. For the reasons discussed here, and in the Draft Redetermination, we find that

the shared physical characteristics of outlets and other BWPFs, including the materials, sizes,

shapes, and edges, support finding outlets to be BWPFs. We find that a product may be a BWPF

if it meets the physical characteristics laid out in the scope and, in addition, has one end that is

threaded or grooved or otherwise designed to accommodate a non-permanent attachment. Thus,

we find the purported limitation imposed by the importers, i.e., that BWPFs must provide for

only permanent, welded joints, to not be supported by the record.

         With respect to the non-branch end of an outlet, the importers continue to assert that the

contoured end is not a butt-weld connection and, thus, outlets have no butt-welded ends. This


535
    See Petition at Appendix B; and Vandewater Comments at 13. Vandewater itself notes that “{t}he flared end of a
lap joint stub end is designed to be fastened to a pipe or another fitting via a flange, not a permanent butt weld.” See
Vandewater Draft Redetermination Comments at 19.
536
    In an apparent recognition of the challenge that lap joint stub ends pose to its position, Vandewater suggests that
there is an open question as to whether lap joint stub ends are BWPFs, asserting that “{t}his proceeding, of course,
is not intended to resolve the question of whether a lap joint stub end is or is not included within the scope of the
China BWPFs Order.” Vandewater Draft Redetermination Comments at 27. This position directly contradicts its
arguments, in the same submission, in which it contends that “{i}n this case, there are bright-line distinctions within
the fittings industry, based on differing industry standards” – notwithstanding the fact that lap joint stub ends are
explicitly covered by ASME B16.9. Id. at 3.

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too was addressed fully in the Draft Redetermination. We explained:

         Specifically, the record evidence establishes that products with a contoured edge
         that are designed to connect to the midsection of a pipe can be BWPFs. In its
         product specification sheets, Aleum USA, a U.S.-based distributor of outlets,
         describes its female threaded outlet and grooved outlet as having “butt welding
         ends.” … The product catalog from another U.S. producer of the domestic like
         product includes an illustration of a “vesselet,” another product with a contoured
         edge that is connected to the side of a header pipe, and the illustration refers to the
         contoured end as a “buttweld” and the accompanying description states that the
         vesselet features a “{t}rue butt-weld installation in header.”537

These sources demonstrate that contoured ends, such as the fishmouth shaped end (e.g., on the

bottom of an outlet or saddle), constitutes a butt-welded connection. Vandewater appears to

have entirely ignored the above-cited passage, asserting that “{n}either {Commerce} nor Island

attempt to address the simple, indisputable fact that Vandewater’s outlets contain zero butt

welds.”538 Contrary to Vandewater’s claim, we examined the evidence on the record and

determined that the two catalogs provided a reliable indication of what constitutes a butt-weld

joint, which is fully consistent with Vandewater’s suggestion that “{f}or (k)(2) purposes, the

focus should be on what the pipe fittings industry believes the physical characteristic differences

are.”539 Ultimately, the importers ask us to ignore the product catalog of Aleum USA and

Bonney Forge (the latter of which was placed on the record by Vandewater), and to place greater

weight on the expert affidavit provided in support of Vandewater’s scope request and an affidavit




537
    See Draft Redetermination at 46-47 (citing Island Comments at Exhibits 4A and 4B, and Vandewater Comments
at Tab 14 (Bonney Forge catalog at 23)).
538
    See Vandewater Draft Redetermination Comments at 22 (emphasis in original).
539
    Id. at 3. SCI also asserts that, in the context of its Forged Steel Fittings Order, Commerce “has already found
that products like saddles, that do not have butt welds on both ends, are not butt weld fittings” and that “outlets have
zero butt weld ends.” See SCI Draft Redetermination Comments at 8. As discussed in the Draft Redetermination,
our construction of an exclusion in a separate proceeding is not determinative here. More importantly, we conclude
that Vandewater’s outlets do, in fact, feature a butt-welded connection to the run pipe. Moreover, for the reasons
discussed above, we disagree with SCI’s assertion that products such as saddles and lap joint stub ends cannot be
considered BWPFs.

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placed on the record for the purpose of this litigation.540 We decline to do so, and we note that

Commerce regularly considers whether documents are prepared in the ordinary course of

business – or prepared specifically for the administrative proceeding – in determining the

appropriate weight to accord to record evidence.541 Moreover, as discussed elsewhere in these

final results, we find that portions of the affidavits support our conclusion regarding the scope

status of Vandewater’s outlets.542

         Third, and also related to the connection between outlets and the recipient pipe, the

importers assert that BWPFs must have a beveled edge of a particular angle and/or must attach to

a pipe in a manner that creates an angle of a particular dimension. As we explained in the Draft

Redetermination, “{a} pipe fitting possesses the requisite beveled edge if it is capable of creating

a shallow channel to accommodate the bead of the weld that fastens the two adjoining pieces, as

described in the Petition and prior ITC determinations.”543 Consistent with the discussion above,

in which we explain that the scope of the China BWPFs Order is not coextensive with the

ANSI/ASME standard cited by the importers, we similarly find that the particular bevel angles



540
    Throughout the importers’ submissions, the importers repeatedly ask that Commerce credit the affidavit from
Vandewater’s witness over other record evidence. See, e.g., SIGMA Draft Redetermination Comments at 6; and
Vandewater Draft Redetermination Comments at 3. We also note that Vandewater asserts that the source of the
Aleum USA exhibit is unknown. Although the exhibit consists of two pages, which are excerpted from a larger
document identified by Island as a product catalog, we find no basis to question the reliability of the exhibit.
541
    See, e.g., Certain Softwood Lumber Products from Canada: Final Affirmative Countervailing Duty
Determination, and Final Negative Determination of Critical Circumstances, 82 FR 51814 (November 8, 2017)
(Softwood Lumber), and accompanying IDM at Comment 19 (“Although we consider all evidence on the record of a
proceeding, in determining the weight to be accorded to a particular piece of evidence, we consider whether the
evidence in question was prepared in the ordinary course of business, or for the express purpose of submission in the
ongoing administrative proceeding”).
542
    For instance, the Sperko affidavit provided by Vandewater is consistent with a finding that the contoured end of
an outlet features a full penetration weld, see, e.g., Vandewater Comments at Exhibit 7 (Report of Walter Sperko)
(“This 45-degree angle groove allows welding of a full-penetration or partial penetration groove weld reinforced by
a fillet weld”) (emphasis added), and with a finding that outlets and other BWPFs are made from similar materials
(noting that “{b}utt-weld pipe fittings most commonly are manufactured using seamless pipe as the raw material,”
and “for lower pressure applications, branch outlets may also be machined from seamless or welded pipe and tube,”
in addition to forgings and bar stock) (emphasis added).
543
    See Draft Redetermination at 48.

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identified in the standard are not required for a product to be in-scope. In fact, the ITC final

report in the underlying investigation specifically observed that two domestic producers and

multiple importers reported that Chinese BPWF producers often did not meet the applicable

industry standards.544 Given that the Petition was explicitly designed to cover imports of BWPFs

from China, there were clear reasons as to why the petitioner would not elect to make the scope

coextensive with industry standards, in light of the fact that such standards were not consistently

adhered to by producers of subject merchandise in the exporting country.

        Fourth, Vandewater continues to assert that the shape of BWPFs is distinct from the

shape of outlets, claiming that “welded outlets are straight in design, whereas virtually all

BWPFs (i.e., all BWPFs except caps) are curved or irregularly shaped.”545 As noted in the Draft

Redetermination, “caps are unambiguously covered by the scope of the China BWPFs Order,

and, therefore, this is not a characteristics that distinguishes outlets from BWPFs.”546 In fact, it

is puzzling that the importers ask us to dismiss caps as a point of comparison given the fact that

caps are among the BWPFs enumerated in the industry standard emphasized by the importers

(i.e., ASME B16.9) and they were identified by the ITC as among the “most common” types of

BWPFs.547 Similarly, lap joint stub ends are straight in design.548 The body of a lap joint stub

end has no bend or curvature along its length, and only has a deviation from the straight

cylindrical shape at the ends (i.e., the “stub” located at the base and the bevel located at the



544
    See USITC Investigation Final at “Imported and Domestic Product Comparison” (stating that the two “producers
noting quality differences stated that butt-weld fittings from China often do not meet ASTM and/or ANSI
specifications when tested by distributors and end users,” and that “{a}s with two domestic producers, importers
also noted that Chinese butt-weld pipe fittings often do not meet ASTM and ANSI specifications”).
545
    See Vandewater Draft Redetermination Comments at 22.
546
    See Draft Redetermination at 34.
547
    See USITC Investigation Final at “The Product” (“Butt-weld pipe fittings come in several basic shapes, the most
common of which are elbows, tees, reducers, and caps”) (emphasis added).
548
    Id. at 13.

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top).549 Therefore, the fact that outlets share this characteristic with key types of BWPFs

demonstrates that the so-called “straight” design of outlets is not a distinguishing physical

characteristic.

        We also note this line of argument, downplaying the similarity between outlets and caps,

for instance, reflects a broader flaw in the importers’ arguments throughout their comments –

they continue to attempt to artificially narrow the scope of the China BWPFs Order by pointing

to subsets of subject merchandise (or subsets of uses/expectation, as discussed below) in their

analysis. This is incorrect. In our (k)(2) analysis, we must assess physical similarities between

outlets and other in-scope merchandise; this includes cap, lap joint stub ends, elbows, and the

variety of fittings that fall within the greater heading of BWPFs.

        Fifth, with respect to the relevant production process, the importers assert that Commerce

improperly characterizes the inputs and processing required to produce BWPFs. Vandewater

asserts that there is no forming or forging involved in the creation of an outlet.550 However,

elsewhere in the submission, Vandewater asserts that “Threaded Welded Outlets Are Forged

Steel Pipe Fittings.”551 Moreover, the Sperko declaration provided by Vandewater also states

that “Forged steel branch outlets normally are manufactured using forgings or bar stock as the

raw material. The forging or bar stock is then shaped through a die forging process, either a

closed-die forging, or an open-die forging.”552 Thus, we find that outlets are, like other BWPFs,

formed or forged.

        We also previously addressed the importers’ assertions regarding the starting materials



549
    See Island Rebuttal Comments at Exhibit 2 at 82-83 (lap joint stub ends dimensions).
550
    See Vandewater Draft Redetermination Comments at 22.
551
    Id. at 8 (emphasis added).
552
    See Vandewater Comments at Exhibit 7.

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for outlets and other BWPFs. In the Draft Redetermination, we explained:

         the importers’ argument that outlets and BWPFs are manufactured from different
         starting material is not supported by the record. The importers’ assert that BWPFs
         are typically made from “seamless pipe” or “welded pipe …” or “seamless or
         welded pipe and tube.” The ITC stated that, additionally, “some types of fittings,
         such as caps, are formed from carbon steel plate, billet, or bar stock.” Accordingly,
         there is a range of starting materials from which BWPFs are made. Vandewater
         states that its “grooved steel outlets are made from welded pipe,” and its “threaded
         steel branch outlets are made from steel bars.” Thus, Vandewater’s outlets are
         produced from starting materials used to produce other in-scope merchandise.553

Thus, although there is a variation in starting materials across the range of BWPFs, we find that

the materials for outlets and other BWPFs are comparable.

         Finally, Vandewater repeats its argument regarding HTSUS classification. As discussed

in the Draft Redetermination, although we considered the decisions of CBP, we are not bound by

such classifications. Here, given our analysis regarding the physical characteristics of in-scope

merchandise, do not find that the CBP classification is suggestive of different physical

characteristics between outlets and other BWPFs.554

         In summary, with respect to physical characteristics, we find that Vandewater’s outlets

are formed or forged, made of carbon steel, have a diameter of less than 14 inches, and have one

butt-welded end with a beveled edge suitable for permanent attachment to a piping system that

conveys gas or liquid. We also find that outlets have a variety of characteristics in common with

other common BWPFs, such as having one butt-welded end (similar to caps and lap joint stub

ends) and also attach to a header pipe via a butt-weld (similar to saddles).




553
    See Draft Redetermination at 52. Additionally, the Sperko affidavit states that “{b}utt-weld pipe fittings most
commonly are manufactured using seamless pipe as the raw material,” and notes that “for lower pressure
applications, branch outlets may also be machined from seamless or welded pipe and tube,” in addition to forgings
and bar stock. See Vandewater Comments at Exhibit 7.
554
    See Draft Redetermination at 53.

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           With respect to the expectations of ultimate purchasers, we continue to find that

expectations for outlets and other BWPFs are consistent. Outlets and other BWPFs are,

similarly, expected to be welded into permanent, fixed piping systems for gases or liquids in

plumbing, heating, refrigeration, air conditioning, and fire sprinklers systems. As discussed

above, the fact that Vandewater’s outlets have a temporary connection on one end is not a feature

that distinguishes outlets from other in-scope merchandise, and, therefore, does not change

consumer’s expectations regarding the product. Regarding this fact, Vandewater again asks

Commerce to credit the expert affidavit it provided, rather than the other sources on the record,

such as the ITC report, to ascertain the expectations of consumers and users. For the reasons

stated above, we do not find that the affidavit represents more reliable evidence than other record

evidence that was not created specifically for this scope proceeding.555

           SIGMA also asserts that different industry standards apply to the product, which impact

consumer expectations. For the same reasons discussed above – i.e., that the scope is not

coextensive with ANSI/ASME B16.9 – we continue to find the importers’ characterization of the

applicable industry standards to be without merit. In any case, we also note that the two

standards in question, ANSI/ASME B16.9 and MSS SP-97, reflect substantial overlap in terms

of attributes, and in turn expectations, for outlets and BWPFs. For example, the standard states

that outlets are attached “at an opening in a run pipe by means of a full penetration weld,” which

the importers identify as a defining feature of a BWPF.556 Also, SIGMA states that Commerce’s

conclusion regarding the overlap between the ANSI/ASME B16.9 and MSS SP-97 standards

“makes no sense” because “{i}ndustry standards, by their very nature, exist to define distinct



555
      See Softwood Lumber IDM at Comment 19.
556
      See Vandewater Comments at Tab 2 at 1.

                                                   90

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products; the idea that a product could conform to multiple industry standards, thereby

recategorizing that product, would render those standards meaningless.”557 However, as noted in

the Draft Redetermination, MSS SP-97 is a “non-exclusive standard” and, in fact, several aspects

of the standard incorporate by reference the standards established by ASTM and

ANSI/ASME.558

        SCI also asserts that the installation costs differ across outlets and other BWPFs, claiming

that “the number and strength of welds involved in installing a BWPFs make it more expensive

than installation for a branch outlet.”559 Since there are multiple types of unambiguously in-

scope BWPFs that only have one welded end (e.g., caps and lap joint stub ends), we disagree that

the number of welds results in different expectations in terms of installation costs for ultimate

purchasers. With respect to the strength of the welds, SCI’s argument is based on the assertion

that the type of weld (i.e., full penetration for BWPFs vs. fillet for outlets) is a distinguishing

feature. However, as noted above, we find that outlets and other BWPFs both utilize a full

penetration weld; this finding is supported by a description of the product contained in the

standard proffered by the importers that relates specifically to outlets (i.e., MSS SP-97)560 as well

as the affidavit submitted by Vandewater.561

        As to the ultimate uses of the product, Vandewater essentially raises the same argument

addressed above, contending that “{a} BWPF is never suitable for connecting to a sprinkler



557
    See SIGMA Draft Redetermination Comments at 5.
558
    See Vandewater Comments at Tab 2 at 3.
559
    See SCI Draft Redetermination Comments at 20.
560
    See Vandewater Comments at Tab 2 at 1 (containing MSS SP-97, which notes that outlets are attached to a
header/run pipe via “an opening in a run pipe by means of a full penetration weld”).
561
    See Vandewater Comments at Exhibit 7 (Report of Walter Sperko) (“This 45-degree angle groove allows welding
of a full-penetration or partial penetration groove weld reinforced by a fillet weld”) (emphasis added); see also
Vandewater Comments at Tab 14 (Bonney Forge catalog at 23 (noting that the outlet in question is connected to the
header pipe with a butt-weld).

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head, precisely because the sprinkler head must be attached in manner that it can be changed, and

not permanently attached through a butt weld.”562 As noted, the fact of a temporary connection

does not render outlets distinct from other BWPFs, as certain BWPFs (e.g., lap joint stub ends)

have this same characteristic.563

        SCI similarly asserts that the uses of outlets and other BWPFs are distinct because

“BWPFs are used in numerous applications involving highly-pressured substances and requiring

a permanent connection (e.g., chemical synthesis, petroleum refining, electric power generation,

construction, and shipbuilding).”564 Although SCI argues that such applications necessarily

require the use of a permanent connection, this too ignores the record evidence, including

evidence highlighted by the importers, that not all BWPFs have exclusively permanent

connections.565 Although Vandewater’s outlets have a particular application, i.e., are use in low

pressure piping systems and typically have a lower pressure rating due to the use of one non-

permanent connection, we continue to find that the uses for such outlets are consistent with the

uses of other BWPFs (i.e., permanently welded into a piping system that conveys gases or

liquids).

        SIGMA asserts that Commerce’s analysis of the use criteria is simplistic and merely finds

that outlets and BWPF are similar in that they “connect pipes.”566 However, that is an obvious

mischaracterization of Commerce’s analysis. The products do not just connect pipes – they

connect pipes in a variety of overlapping settings, e.g., fire protection and other low-pressure


562
    See Vandewater Draft Redetermination Comments at 33 (emphasis in the original).
563
    See, e.g., Petition at Appendix B; and Vandewater Comments at Tab 1.
564
    See SCI Draft Redetermination Comments at 21.
565
    See, e.g., Petition at Appendix B; and Vandewater Comments at Tab 1. We note that the importers routinely
suggest that the ANSI/ASME B16.9 standard defines the scope here, despite the fact that the standard contains
fittings (i.e., lap joint stub ends) that do not rely on permanent welds for all ends. The importers attempt to
selectively rely on the industry standard where it supports finding Vandewater’s outlets to be out of scope.
566
    See SIGMA Draft Redetermination Comments at 10.

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piping systems, and do so in a similar manner, i.e., through at least one permanent, full

penetration welded joint. Although SCI emphasizes that outlets and other BWPFs do not have

the same use within fire protection systems, the same could be said of many subsets of the

broader range of BWPF products. For instance, an elbow connects pipe in a manner that changes

the flow of the substance being transported, while caps restrict the flow at a certain location and

reducers modify the size of the pipe containing the flow.567 All subject fittings have a particular

purpose within the broader piping system. Moreover, certain BWPFs have particular uses that

are closely analogous to that of an outlet. As noted above, a saddle is attached axially to a length

of pipe in a manner that changes the flow of the transported substance.568 A “tee” is designed to

perform a similar function – creating an outbound flow from a run pipe that is perpendicular to

the main flow.569 A comparison of two images showing Vandewater’s outlet and a tee, both

provided by Vandewater, demonstrates a high level of similarity in the two products’ purpose

and function.570

         With respect to the channels of trade, Vandewater asserts that the record evidence does

not support a finding that outlets and BWPFs are sold in the same channel. It urges Commerce

to consider the declaration of Neil Shyman to find differences in the ultimate consumer of the

products.571 We did consider this evidence in our Draft Redetermination. Specifically, we noted

that the declaration states that “welded branch outlets and butt-weld fittings are both sold to




567
    See, e.g., Vandewater Comments at 13.
568
    See, e.g., Petition at Appendix B (showing the shape of a saddle, which is designed to connect to the run pipe).
569
    See Vandewater Comments at 13.
570
    Compare id. (showing a tee) and Vandewater Draft Redetermination Comments at 8 (showing an installed
outlet). SCI also asserts that “a BWPF is used to connect pipes within the piping system.” See SCI Draft
Redetermination Comments at 19. Although this is clearly a common use for such products, unambiguous BWPFs,
such as caps, are not designed to connect pipes.
571
    See Vandewater Draft Redetermination Comments at 35.

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distributors like Neill Supply.”572 The importers concede that outlets and BWPFs are both sold

to distributors, but emphasize that distributors resell these two categories of products to distinct

market segments: BWPFs to mechanical and industrial contractors, and outlets to the fire

protection sprinkler industry.573 We agree that Vandewater’s outlets are typically sold to a

particular type of contractor given their targeted application, when compared to BWPFs more

generally – which cover a wide range of products and applications. However, this is true in any

circumstance when comparing a particular product to a broad class of products. Outlets and

other BWPFs are sold to distributors and then to contractors and users involved in constructing

piping systems, even if the particular type of contractor/customer for Vandewater’s outlets

focuses on certain types of systems, i.e., fire protection and other low-pressure applications.

        SIGMA asserts that Island’s advertising materials reference particular end uses and

industry standards which “draw a clear dividing line between butt-weld pipe fittings on one hand

and steel branch outlets on the other.”574 Throughout the Draft Redetermination and these final

results of redetermination, we continue to find that the importers give undue significance to

ANSI/ASME B16.9, and those same considerations apply here.

        The record indicates that advertisements for outlets and other BWPFs contain similar

types of information, such as measurements of length and inside/outside diameter, and often list

applicable standards.575 Although SCI asserts that the sizes reported for outlets are different, i.e.,

they are sold on the basis of run pipe size, rather than the dimensions of the end of the recipient




572
    See Vandewater Rebuttal Comments at Attachment A.
573
    See, e.g., Vandewater Draft Redetermination Comments at 35.
574
    See SIGMA Draft Redetermination Comments at 11.
575
    See, e.g., Petition at Appendix B (listing products and applicable ASTM standards); Island Rebuttal Comments at
Exhibit 10 (listing products, dimensions, and applicable ASTM standards).

                                                        94

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pipe,576 this is not a distinguishing feature. For instance, a reducer, cap, and saddle would all be

sold according to the dimensions relevant to the type of connection(s) contemplated.

         Moreover, outlets (and similar products, such as saddles) and BWPFs are displayed side

by side.577 In some instances, outlets are explicitly referenced in advertising materials as having

butt-weld ends.578 We do not agree that, simply because the advertising materials reference

particular standards (i.e., ANSI/ASME B16.9 for certain products) and or references particular

uses, that this reflects a clear dividing line between the method of advertising for each product.

         Finally, although the importers repeatedly suggest that Vandewater’s outlets are

exclusively sold to the fire protection industry579 – and highlight that the outlets were sold at an

exhibition for the fire protection industry while other BWPFs were not – its own product

literature advertises outlets for fire protection and other “Low Pressure Piping Systems.”580 This

fact demonstrates that the target audience of Vandewater’s advertising extends beyond

exclusively the fire protection industry. The fact that these outlets happened to be featured at an

exhibition for fire protection products does not demonstrate that the outlets are advertised




576
    See SCI Draft Redetermination Comments at 19.
577
    See Petition at Appendix B (showing “elbows,” “reducers,” “lap joint stub ends,” “saddles,” and “multiple outlet
fittings” in the same product catalog); and Island Rebuttal Comments at Exhibit 15 (showing an outlet with a butt-
weld branch end on the same page as an outlet with a threaded branch end); see also Island Rebuttal Comments at
Exhibit 10 (describing outlets with threaded/grooved branch ends, and a beveled and contoured end, as having “butt
welding ends).
578
    See Vandewater Comments at Tab 14 (Bonney Forge catalog at 23) (noting that the vesselet outlet features a
“{t}rue butt-weld installation in header”); and Island Comments at Exhibits 4A (Aleum USA’s specification sheet
for a female threaded outlet) and 4B (Aleum USA’s specification sheet for a grooved outlet) (stating that the outlets
feature “butt welding ends”).
579
    See, e.g., Vandewater Draft Redetermination Comments at 35 (“Vandewater explained that the advertising of its
welded outlets—all of which are used for the fire sprinkler industry—differs significantly from
the advertising of BWPFs”); SIGMA Comments at 7 (“As both SIGMA and Vandewater explained in their original
scope ruling requests, their steel threaded outlets are used exclusively for fire protection, or fire sprinkler systems”);
and SCI Comments at 33 (“All of Vandewater’s outlets are designed for fire protection applications …”).
580
    See Vandewater Draft Redetermination Comments at 35.

                                                           95

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exclusively to the fire protection industry and/or that other BWPFs cannot be advertised to that

industry.

           For these reasons, we continue to find that outlets and other BWPFs are advertised in a

similar manner.581

Comment 3: Commerce’s Suspension of Liquidation and Cash Deposit Requirements

           In the Draft Redetermination, we found it unnecessary to change Commerce’s previous

CBP instructions and determined that, consistent with 19 CFR 351.225(l)(1) and (l)(3), CBP

should continue any suspension of liquidation of entries of outlets imported by Vandewater.

Vandewater’s Comments

          Commerce’s interpretation of the suspension of liquidation requirements in the Draft

           Redetermination is wrong as a matter of law.582 The CAFC found in United Steel and

           Fasteners that Commerce cannot retroactively suspend liquidation, holding that the

           “regulation is clear …{it} does not allow suspension before a scope inquiry.”583 Further,

           the CAFC found in Sunpreme that, “{w}hen Commerce rules that a product falls within

           the scope of an order, but there has been no suspension of liquidation {pursuant to a

           scope inquiry under 19 CFR 351.225(l)(1) or a preliminary scope ruling under 19 CFR

           351.225(l)(2)}, a new suspension must be ordered beginning only ‘on or after the date of

           initiation of the scope inquiry.”584 The CAFC held that “{a}nything else would be




581
    See Petition at Appendix B (showing BWPFs in a product catalog); and Island Rebuttal Comments at Exhibits 10
and 15 (showing various outlets in product catalogs).
582
    See Vandewater Draft Redetermination Comments at 37-42.
583
    Id. at 39 (citing United Steel and Fasteners, Inc. v. United States, 947 F.3d 794, 801 (Fed. Cir. 2020) (United
Steel and Fasteners).
584
    Id. (citing Sunpreme Inc. v. United States, 946 F.3d 1300, 1319 (Fed. Cir. 2020) (Sunpreme) (en banc) (quoting
19 CFR 351.225(l)(3)) (internal quotation marks and brackets omitted)).

                                                        96

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           impermissibly retroactive.”585

          Commerce initiated a formal scope inquiry on October 30, 2020, and, therefore,

           Commerce’s authority to suspend liquidation is limited to outlets entered on or after that

           date.586 In its letter soliciting (k)(2) comments, Commerce stated that, “{i}n accordance

           with the Remand Order, Commerce is hereby initiating a formal scope inquiry, pursuant

           to 19 CFR 351.225(e), to evaluate the (k)(2) factors and determine whether Vandewater’s

           steel outlets are covered by the scope of the {China BWPFs Order}.”587

          Accordingly, pursuant to section 351.225(l)(3), absent a prior and continuing “suspension

           of liquidation under paragraph (l)(1) or (l)(2),” any instructions from Commerce to

           suspend liquidation are expressly limited to “each unliquidated entry of the product

           entered... on or after the date of initiation of the scope inquiry.”588 Here, however, there

           is no prior and continuing “suspension of liquidation under paragraph (l)(1) or (l)(2)” that

           would authorize Commerce’s suspension of liquidation for outlets entered before the

           initiation of the scope inquiry (i.e., October 30, 2020).589

          Commerce has not shown that the outlets were subject to suspension at the time

           Commerce issued its cash deposit instructions to CBP on September 17, 2018.590 Based

           on this fact alone, any prior and continuing suspension under 19 CFR 351.225(l)(3) must




585
    Id. (citing United Steel and Fasteners, 947 F.3d at 801 (noting that “‘{t}he unambiguous language of
{351.225(l)} only authorizes Commerce to act on a prospective basis, and such express prospective authorization
reasonably is interpreted to preclude retroactive authorization’”) (quoting AMS Assocs., Inc. v. United States, 737
F.3d 1338, 1344 (2013) (AMS Assocs.)).
586
    Id. at 39-42.
587
    Id. (citing Commerce October 30, 2020 Letter).
588
    Id. at 39-40 (citing United Steel and Fasteners, 947 F.3d at 801; and Sunpreme v. United States 946 F.3d at
1319.)
589
    Id. at 40.
590
    Id.

                                                         97

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           necessarily derive from Commerce’s cash deposit instructions.591 There is no dispute that

           these instructions arose from Commerce’s Final Scope Ruling.592 However, this ruling

           was not only issued absent a formal scope inquiry, but it was also stricken by the Court as

           “unreasonable,” in part, due to Commerce’s failure to initiate a formal scope inquiry and

           consider the (k)(2) factors.593 Thus, the instructions derived from a ruling that was

           rejected by the Court as “unsupported by substantial evidence on the record, or otherwise

           not in accordance with law.”594

          Commerce argues that its suspension authority is not limited by the scope inquiry date

           because “Vandewater has not provided any information to show that its outlets were not

           subject to the suspension of liquidation prior to the date of initiation of this scope

           inquiry.”595 But in making this assertion, Commerce does not (and, indeed, cannot) point

           to any regulation that requires an importer to provide such information.596

          The only requirement here is clear: Commerce must fulfill its legal obligation of issuing

           instructions consistent with its limited prospective authority under 19 CFR

           351.225(l)(3).597 Thus, absent a prior and continuing suspension of liquidation (which

           Commerce implicitly admits it cannot show here), any and all suspension instructions

           must be limited by the October 30, 2020, date of initiation of the (k)(2) scope inquiry.598



591
    Id. at 40.
592
    Id. (citing Commerce’s Final Scope Ruling, dated September 10, 2018).
593
    Id. (citing Remand Order at 9 (“Commerce unreasonably concluded that the sources in {19 CFR 351.225(k)(1)}
were dispositive... and remands the matter to Commerce to conduct a full scope inquiry and evaluate the factors
under {19 CFR 351.225(k)(2)}”).
594
    Id. (citing Remand Order at 2 and 9; and Sunpreme v. United States, 256 F.Supp.3d 1265, 1293 (CIT 2017), aff’d
in part and rev’d in part on other grounds, 946 F.3d at 1319).
595
    Id. (citing Remand Order at 62).
596
    Id. at 41.
597
    Id. at 42.
598
    Id.

                                                       98

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           Any notion that Commerce’s authority to suspend is based on requiring an impacted

           party to prove a negative is unfounded and contrary to law.599

          Commerce also appears to suggest that the parties have waived their ability to challenge

           Commerce’s authority under 19 CFR 351.225(l) because “{n}o party challenged

           Commerce’s instructions to CBP before the {CIT}.”600 Even if a waiver theory were a

           viable basis to preclude Vandewater from raising this issue in post-remand administrative

           proceedings, Commerce’s baseline assertion is incorrect, since Vandewater did, in fact,

           raise this issue before the Court.601

          Any suspension of liquidation instruction to CBP must observe the “clear” dictates of 19

           CFR 351.225(l): absent a prior and continuing suspension of liquidation (which does not

           exist here), Commerce is prohibited from ordering the suspension of liquidation on

           outlets entered before the October 30, 2020, date of the initiation of this scope inquiry.602

SCI Comments

          Commerce’s analysis in the Draft Redetermination concerning the suspension of

           liquidation of Vandewater’s entries is unlawful and inconsistent with multiple CAFC

           precedents.603

          Commerce never explains how it reached the determination that Vandewater’s entries

           were “already subject to suspension of liquidation” prior to the initiation of the instant



599
    Id.
600
    Id. (citing Draft Redetermination at 61).
601
    Id. (citing Vandewater’s Mem. of Points and Authorities, Vandewater Int’l v. United States, 1:18-cv-00199-LMG
(CIT June 24, 2020), ECF No. 93 at 29 (“If the Court determines that the (k)(1) sources are not dispositive either
way, then the Court should remand with instructions directing Commerce to initiate a formal scope inquiry, examine
the (k)(2) sources, and at a minimum, release any of Vandewater’s steel branch outlets that were entered prior to
initiation of the formal scope inquiry”)).
602
    Id.
603
    See SCI Draft Redetermination Comments at 26.

                                                       99

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           scope proceeding initiated pursuant to the Remand Order.604

          Commerce’s position is contrary to the CAFC’s decision in United Steel and

           Fasteners,605 which prohibits Commerce from instructing CBP to suspend liquidation of

           entries prior to the initiation of a scope inquiry.

          Additionally, the language of the applicable regulations themselves demonstrates that the

           effective date of suspension of liquidation should be the initiation of the current scope

           inquiry.606

          Outlets were not subject to suspension of liquidation prior to Commerce’s 2018 scope

           ruling for Vandewater. That decision has been invalidated by the Court in its Remand

           Order.607

          The present scope inquiry demonstrates that the status of Vandewater’s outlets was not

           knowable without this new scope inquiry.608 This is precisely why the regulations call

           for suspension only from the point of the initiation of the scope inquiry.609

          Commerce’s characterization of the proposed amendments to 19 CFR 351.225 supports

           the importers’ position. In that notice, Commerce explained that, under the current rule,

           “all entries not already suspended prior to the date on which Commerce initiates a scope

           inquiry are essentially excused from AD/CVD duties, even if Commerce finds through

           the scope inquiry that such duties should have applied.”610




604
    Id. at 27 (citing Draft Redetermination at 62).
605
    Id. at 28-30 (citing United Steel and Fasteners, 947 F.3d at 794).
606
    Id. at 30 (citing 19 CFR 351.225(l)(1)).
607
    Id.
608
    Id.
609
    Id.
610
    Id. (citing Regulations to Improve Administration and Enforcement of Antidumping and Countervailing Duty
Laws, 85 FR 49483 (August 13, 2020)).

                                                      100

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          In this new scope inquiry, there currently exists no valid suspension of Vandewater’s

           entries prior to the initiation of the scope proceeding on October 30, 2020.611 Commerce

           previously issued instructions to CBP based on the now-invalidated decision regarding

           Vandewater’s scope request.612 Therefore, those previous instructions likewise,

           necessarily, are invalidated.613

          Commerce must confirm that any suspension of liquidation applies only to entries made,

           or withdrawn from warehouse, on or after the date of initiation of this scope inquiry.

SIGMA’s Comments

          Commerce misinterprets 19 CFR 351.225(l) and misapplies that regulation to

           Vandewater. Commerce criticizes Vandewater for not providing information showing

           that its outlets were not subject to suspension of liquidation prior to the date of initiation

           of the scope inquiry.614 The error, however, does not lie with Vandewater.615 Rather, the

           error lies with Commerce for instructing CBP to “continue” the suspension of liquidation

           as opposed to instructing CBP to affirmatively suspend liquidation.616

          Commerce’s scope regulation is clear as to the consequences of a final scope ruling that a

           product is within the scope of an order. “Where there has been no suspension of

           liquidation, the Secretary will instruct the Customs Service to suspend liquidation and to

           require a cash deposit of estimated duties …”617 Separately, that same regulation

           provides that “any suspension of liquidation under paragraph (l)(1) or (l)(2) will


611
    Id.
612
    Id. at 33 (citing Memorandum, “Placing CBP Instructions on the Record,” dated September 17, 2018 (CBP
Instruction Memorandum)).
613
    Id. at 33.
614
    See SIGMA Draft Redetermination Comments (citing Draft Redetermination at 61-62).
615
    Id. at 12.
616
    Id.
617
    Id. (citing 19 CFR 351.225(l)(3)).

                                                     101

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                                                  Appx121
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           continue.”618

          In this instance, Commerce instructed CBP to “continue” the suspension of liquidation of

           BWPFs from China, including Vandewater’s outlets.619 It is unclear why Commerce

           believed that Vandewater’s outlets were already subject to suspension of liquidation and,

           as a result, that such suspension should “continue.” In a case where Vandewater has

           always contended that its outlets were not BWPFs, it appears that Commerce erred in its

           conclusion that Vandewater’s outlets were already subject to suspension of liquidation.620

          If Commerce believed that there was a suspension of liquidation in place that applied to

           Vandewater’s outlets, then it should have identified where this suspension of liquidation

           was first implemented.621

          Finally, Commerce criticizes the parties for not challenging Commerce’s CBP

           instructions before the Court.622 SIGMA did not challenge these instructions because it

           was not harmed by these instructions.623

Commerce’s Position: On September 14, 2018, upon determining that Vandewater’s outlets are

covered by the scope of the China BWPFs Order pursuant to 19 CFR 351.225(d), Commerce

instructed CBP to “{c}ontinue to suspend liquidation of entries of carbon steel butt-weld pipe

fittings from the People’s Republic of China, including Vandewater International Inc.’s steel

branch outlets imported by Vandewater International Inc....”624 The importers argue that, in light

of the initiation of a scope inquiry on remand, any suspension of liquidation on Vandewater’s


618
    Id. (citing 19 CFR 351.225(l)(3)).
619
    Id. at 12.
620
    Id. at 12-13.
621
    Id. (citing Professional Air Traffic Controllers Organization v. Federal Labor Relations Authority, 685 F.2d 547,
577 n. 65 (D.C. Cir. 1981)).
622
    Id. (citing Draft Redetermination at 61).
623
    Id. at 14.
624
    See CBP Instruction Memorandum (containing Message No. 8257302).

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outlets should be applied only to entries made on or after the date of initiation of this scope

inquiry on remand, i.e., October 30, 2020.

       In the Remand Order, the Court held that Commerce’s determination that the scope

language and the descriptions of the merchandise contained in the sources under 19 CFR

351.225(k)(1) are dispositive as to the inclusion of Vandewater’s outlets within the scope of the

China BWPFs Order was unsupported by substantial evidence. In light of the Court’s Remand

Order, should the Court affirm this remand redetermination in a subsequent decision, Commerce

intends to issue instructions to CBP consistent with 19 CFR 351.225(l) and section 516A(c) and

(e) of the Act. Specifically, Commerce intends to instruct CBP to suspend or continue to

suspend entries that entered, or were withdrawn from warehouse, for consumption on or after the

date of initiation of this scope inquiry. With respect to entries pre-dating the date of initiation of

the inquiry that were suspended pursuant to the instructions issued following the September 10,

2018, Final Scope Ruling, Commerce intends to instruct CBP to refund cash deposits upon

request but continue to suspend the entries at a zero percent cash deposit rate pending any

appeals. In the event that the Court’s final judgment is not appealed or is upheld on appeal,

Commerce intends to instruct CBP to lift suspension of liquidation and liquidate such entries

without regard to antidumping duties.




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IX.     FINAL RESULTS OF REDETERMINATION

        Consistent with the Remand Order, and in view of the parties’ comments on the Draft

Redetermination, we have conducted an analysis pursuant to the criteria set forth in 19 CFR

351.225(k)(2). We continue to find that Vandewater’s outlets are within the scope of the China

BWPFs Order.

                                7/22/2021



 X

  Signed by: CHRISTIAN MARSH
Christian Marsh
Acting Assistant Secretary
for Enforcement and Compliance




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                     ADDENDUM 3
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                   VANDEWATER INTERNATIONAL, INC. v. U.S.                                1357
                              Cite as 476 F.Supp.3d 1357 (CIT 2020)

aside as unlawful because it did not comply       quire the Government to follow its own
with the APA requirements as described in         laws when it acts.
Invenergy I. The court denies the Govern-            SO ORDERED.
ment’s motion to dissolve the PI because it
does not have jurisdiction to do so pending
the Government’s appeal and because the
court instead modifies the PI. The court                          ,
grants Plaintiffs’ cross-motion to modify
the PI to reflect the Second Withdrawal
and Plaintiffs’ challenge of that decision in
their amended complaints. The court also            VANDEWATER INTERNATIONAL,
grants Plaintiffs’ motion to complete the                 INC., Plaintiff,
agency record, in part, and denies the                                   v.
motion as to the First Withdrawal and the
                                                        UNITED STATES, Defendant,
fourth category of documents. The Plain-
tiffs’ motion to stay is denied.                                        and

  The court notes that if presented with                 Island Industries, Defendant-
an adequate record and explanation of                             Intervenor.
USTR’s action, the court could proceed, in                       Slip Op. 20-146
accordance with well-established adminis-                       Court No. 18-00199
trative law standards, to review USTR’s
decision to withdraw it previously granted           United States Court of International
exclusion from safeguard duties on import-                         Trade.
ed bifacial solar modules. However, various
                                                                  October 16, 2020
procedural missteps by USTR mean that
the court cannot reach that point now. As         Background: Importer filed suit challeng-
the court has stated,                             ing determination of Department of Com-
                                                  merce that importer’s steel branch outlets
  The court acknowledges the Government           used to join sections in fire sprinkler sys-
  and Defendant-Intervenors’ concern that         tems were within scope of antidumping
  domestic industries may face a threat of        duty order on carbon steel butt-weld pipe
  material injury due to USTR’s decision          fittings from People’s Republic of China.
  to exclude bifacial solar products from
                                                  Holdings: The Court of International
  safeguard duties. The court also ac-
                                                  Trade, Leo M. Gordon, J., held that scope
  knowledges the concerns of Plaintiffs
                                                  determination was unreasonable.
  (consumers, purchasers and importers of
  utility-grade bifacial solar panels), who       Remanded.
  oppose safeguard duties that they claim
  increase the cost of bifacial solar panels.     1. Customs Duties O84(6)
Invenergy III, 450 F. Supp. 3d at 1365                 When reviewing an agency’s anti-
(citations omitted). The court takes no po-       dumping determinations, findings, or con-
sition on the efficacy of safeguard duties in     clusions for substantial evidence, Court of
providing protection to the domestic solar        International Trade assesses whether the
industry or of a decision to exclude prod-        agency action is reasonable given the rec-
ucts from those safeguard duties. Id. Once        ord as a whole. Tariff Act of 1930 § 516A,
again, the court merely continues to re-          19 U.S.C.A. § 1516a(b)(1)(B)(i).




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1358                  476 FEDERAL SUPPLEMENT, 3d SERIES


2. Customs Duties O84(6)                        its steel branch outlets matched order’s
    ‘‘Substantial evidence,’’ as required to    description of butt-weld pipe fittings, but it
uphold an antidumping determination, is         was not plainly apparent from order’s lan-
such relevant evidence as a reasonable          guage whether steel branch outlet quali-
mind might accept as adequate to support        fied as butt-weld fitting covered by order,
a conclusion. Tariff Act of 1930 § 516A, 19     and sources on which Commerce relied as
U.S.C.A. § 1516a(b)(1)(B)(i).                   dispositive, namely, prior scope ruling,
    See publication Words and Phrases           scope petition language, and sunset review
    for other judicial constructions and        language, were not informative as to inclu-
    definitions.                                sion of steel branch outlets in order’s
3. Customs Duties O84(6)                        scope, other than one prior scope ruling
     ‘‘Substantial evidence,’’ as required to   that seemed to be dispositive but which
uphold an antidumping determination, is         Commerce dismissed as non-binding. 19
something less than the weight of the evi-      C.F.R. § 351.225(k)(1).
dence, and the possibility of drawing two
inconsistent conclusions from the evidence
does not prevent an administrative agen-
cy’s finding from being supported by sub-
                                                  Richard Preston Ferrin, Dorothy Alicia
stantial evidence. Tariff Act of 1930
                                                Hickok, and Douglas John Heffner,
§ 516A, 19 U.S.C.A. § 1516a(b)(1)(B)(i).
                                                Faegre Drinker Biddle & Reath, LLP of
    See publication Words and Phrases
    for other judicial constructions and
                                                Washington, DC, for Plaintiff Vandewater
    definitions.                                International, Inc.

4. Customs Duties O84(6)                          Joshua Ethan Kurland, Trial Attorney,
    Substantial evidence is best under-         U.S. Department of Justice, Civil Division,
stood as a word formula connoting reason-       Commercial Litigation Branch, Washing-
ableness review of an antidumping deter-        ton, DC., argued for Defendant United
mination. Tariff Act of 1930 § 516A, 19         States. On the brief were Jeffrey Bossert
U.S.C.A. § 1516a(b)(1)(B)(i).                   Clarke, Assistant Attorney General,
                                                Jeanne E. Davidson, Director, L. Misha
5. Customs Duties O84(6)                        Preheim, Assistant Director, International
    When addressing a substantial evi-          Trade Field Office, New York, NY. Of
dence issue raised by a party, Court of         counsel were John Anwesen and Saad
International Trade analyzes whether the        Younus Chalchal, Office of the Chief Coun-
agency’s challenged antidumping action          sel for Trade Enforcement & Compliance,
was reasonable given the circumstances          U.S. Department of Commerce of Wash-
presented by the whole record. Tariff Act       ington, DC.
of   1930     §      516A, 19   U.S.C.A.
                                                  Matthew Jon McConkey, Mayer Brown
§ 1516a(b)(1)(B)(i).
                                                LLP of Washington, DC, for Defendant-
6. Customs Duties O21.5(5)                      Intervenor Island Industries.
     Department of Commerce’s determi-
nation that importer’s steel branch outlets              OPINION and ORDER
were within scope of antidumping duty
order on carbon steel butt-weld pipe fit-         GORDON, Judge:
tings from China was unreasonable; Com-           This opinion addresses the scope of the
merce found that importer’s description of      antidumping duty order on Carbon Steel




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Butt-Weld Pipe Fittings from the People’s          unless they are ‘‘unsupported by substan-
Republic of China, which covers:                   tial evidence on the record, or otherwise
  carbon steel butt-weld pipe fittings, hav-       not in accordance with law.’’ 19 U.S.C.
  ing an inside diameter of less than 14           § 1516a(b)(1)(B)(i). More specifically, when
  inches, imported in either finished or           reviewing agency determinations, findings,
  unfinished form. These formed or forged          or conclusions for substantial evidence, the
  pipe fittings are used to join sections in       court assesses whether the agency action
  piping systems where conditions require          is reasonable given the record as a whole.
  permanent, welded connections, as dis-           Nippon Steel Corp. v. United States, 458
  tinguished from fittings based on other          F.3d 1345, 1350–51 (Fed. Cir. 2006); see
  fastening methods (e.g., threaded,               also Universal Camera Corp. v. NLRB,
  grooved, or bolted fittings). Carbon steel       340 U.S. 474, 488, 71 S.Ct. 456, 95 L.Ed.
  butt-weld pipe fittings are currently            456 (1951) (‘‘The substantiality of evidence
  classified under subheading 7307.93.30           must take into account whatever in the
  of the Harmonized Tariff Schedule                record fairly detracts from its weight.’’).
  (HTS). Although the HTS subheading is            Substantial evidence has been described as
  provided for convenience and customs             ‘‘such relevant evidence as a reasonable
  purposes, our written description of the         mind might accept as adequate to support
  scope of the order is dispositive.               a conclusion.’’ DuPont Teijin Films USA v.
Certain Carbon Steel Butt-Weld Pipe Fit-           United States, 407 F.3d 1211, 1215 (Fed.
tings from the People’s Republic of China,         Cir. 2005) (quoting Consol. Edison Co. v.
57 Fed. Reg. 29,702 (Dep’t of Commerce             NLRB, 305 U.S. 197, 229, 59 S.Ct. 206, 83
July 6, 1992) (‘‘Order’’). Plaintiff, Vandewa-     L.Ed. 126 (1938)). Substantial evidence has
ter International Inc., sought a scope de-         also been described as ‘‘something less
termination from the U.S. Department of            than the weight of the evidence, and the
Commerce (‘‘Commerce’’) that their prod-           possibility of drawing two inconsistent con-
ucts, steel branch outlets used to join sec-       clusions from the evidence does not pre-
tions in fire sprinkler systems, are not           vent an administrative agency’s finding
covered by the Order. Commerce deter-              from being supported by substantial evi-
mined that they were. Carbon Steel Butt-           dence.’’ Consolo v. Fed. Mar. Comm’n, 383
Weld Pipe Fittings from the People’s Re-           U.S. 607, 620, 86 S.Ct. 1018, 16 L.Ed.2d
public of China, (Dep’t of Commerce Sept.          131 (1966). Fundamentally, though, ‘‘sub-
10, 2018) (final scope ruling on Vandewa-          stantial evidence’’ is best understood as a
ter’s steel branch outlets) (‘‘Final Scope         word formula connoting reasonableness re-
Ruling’’). For the reasons set forth below,        view. 3 Charles H. Koch, Jr., Administra-
the court holds that Commerce unreason-            tive Law and Practice § 9.24[1] (3d ed.
ably concluded that the sources in 19              2020). Therefore, when addressing a sub-
C.F.R. § 351.225(k)(1) were dispositive on         stantial evidence issue raised by a party,
the inclusion of Plaintiff’s steel branch out-     the court analyzes whether the challenged
lets within the Order, and remands the             agency action ‘‘was reasonable given the
matter to Commerce to conduct a full               circumstances presented by the whole rec-
scope inquiry and evaluate the factors un-         ord.’’ 8A West’s Fed. Forms, National
der 19 C.F.R. § 351.225(k)(2).                     Courts § 3.6 (5th ed. 2020).

          I. Standard of Review                                        II. Discussion
   [1–5] The court sustains Commerce’s               Commerce may render a scope ruling
‘‘determinations, findings, or conclusions’’       after a full ‘‘scope inquiry,’’ 19 C.F.R.




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§ 351.225(e), or, as Commerce did in this         of the scope covering butt-weld pipe fit-
case, on the expedited basis of a party’s         tings.
application and the sources listed in 19        Final Scope Ruling at 9. Commerce omit-
C.F.R. § 351.225(k)(1) (the ‘‘descriptions of   ted from its ‘‘plain reading’’ the scope lan-
the merchandise contained in the petition       guage that distinguishes ‘‘fittings based on
[for imposition of an antidumping duty or-      other fastening methods (e.g., threaded,
der], the initial investigation, and the de-    grooved, or bolted fittings).’’ Plaintiff’s
terminations of the Secretary (including        products have threaded or grooved ends
prior scope determinations) and the [Inter-     on their non-weldable end. It is therefore
national Trade] Commission.’’). 19 C.F.R.       not plainly apparent from the language of
§ 351.225(d). Here, Commerce determined         the Order whether a steel branch outlet
that the (k)(1) sources were dispositive and    qualifies as a butt-weld fitting covered by
included Vandewater’s steel branch outlets      the Order or not. They may be covered:
within the Order.                               they are made of carbon steel, have an
  Had Commerce determined the (k)(1)            inside diameter of less than fourteen
sources were not ‘‘dispositive,’’ Commerce      inches, and are used to join sections in fire
would have conducted a full scope inquiry       sprinkler piping systems where conditions
and    evaluated     the    criteria  under     require a permanent, welded connection.
§ 351.225(k)(2), which include the product’s    They also may not be covered: they have a
physical characteristics, ultimate purchas-     non-weldable, threaded or grooved end,
ers’ expectations, the ultimate use of the      and according to Vandewater, the weldable
product, trade channels in which the prod-      end is never joined to the sprinkler system
uct is sold, and the manner in which the        via a true ‘‘butt-weld.’’ The language of the
product is advertised and displayed. 19         Order itself simply does not resolve the
C.F.R. § 351.225(k)(2).                         issue of whether Vandewater’s steel
   [6] In rendering its scope determina-        branch outlets are covered.
tion Commerce began with a ‘‘plain read-           As for the (k)(1) sources, Commerce
ing’’ of the Order, finding that Vandewa-       long ago included steel branch outlets vir-
ter’s description of its steel branch outlets   tually identical to Vandewater’s within the
matched the description of the butt-weld        scope of a companion antidumping duty
pipe fittings in the Order:                     order on butt-weld fittings from another
   A plain reading of the scope includes        country. Carbon Steel Butt-Weld Pipe Fit-
   carbon steel butt-weld pipe fittings that    tings from Taiwan, (Dep’t of Commerce
   have an inside diameter of fourteen          Mar. 25, 1992) (final scope ruling on
   inches or less, which require a weld to      Sprink, Inc. exclusion request) (‘‘Sprink
   be permanently attached to a piping sys-     Scope Ruling’’); see also Certain Carbon
   tem. Based on Vandewater’s description,      Steel Butt-Weld Pipe Fittings from Tai-
   and the samples provided, the steel          wan, 51 Fed. Reg. 45,152 (Dep’t of Com-
   branch outlets are made of carbon steel,     merce Dec. 17, 1986) (‘‘Taiwan Butt-Weld
   have an inside diameter of less than         Order’’). In the Final Scope Ruling here,
   fourteen inches, and are used to join        Commerce noted this prior ruling:
   sections in fire sprinkler piping systems       Sprink’s scope inquiry request stated
   where conditions require permanent,             that ‘‘{i}t appears that the definition of
   welded connections. Thus, we find that          a butt-weld fitting is one that requires
   Vandewater’s description of its steel           welding as a method of attachment for
   branch outlets matches the description          all connections. The Sprink-let does re-




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  quire that it be welded onto the outside           here, as in that case, we have concluded
  of the pipe, but the connection for the            that the merchandise is covered by the
  joining pipe is either threaded or                 scope of an antidumping duty order on
  grooved.                                           ‘‘butt-weld pipe fittings’’ because the
  Commerce specifically stated in its rul-           merchandise is permanently joined by
  ing, ‘‘the order does not require that all         welding.
  pipe fitting connections be welded.’’           Final Scope Ruling at 11 (emphasis add-
  Commerce further stated that, ‘‘al-             ed).
  though the initial connection is obtained          Commerce chose instead to look for
  because of threading or grooving, the           support in its King Scope Ruling that fit-
  Sprink-let, like other products subject to      tings with only one weldable end were
  this order, is permanently joined by            covered by the Order. Id. at 9 (citing
  welding.’’ Commerce concluded that,             Carbon Steel Butt-Weld Pipe Fittings
  ‘‘{a}ccording to the product descriptions       from the People’s Republic of China
  presented above, a pipe fitting with bev-       (Dep’t of Commerce Oct. 20, 2009)) (‘‘King
  eled edges that is permanently joined           Scope Ruling’’). The King Scope Ruling,
  through welding falls within the scope of       however, dealt with subject butt-weld fit-
  the order on carbon steel butt-weld pipe        tings used in applications other than pres-
  fittings from Taiwan. Because the               surized piping systems—as handrails,
  Sprink-let, possesses these characteris-        fencing, and guardrails—it did not address
  tics, we determine that the Sprink-let,         dual-nature fittings like Vandewater’s
  imported by Sprink, Inc. is within the          steel branch outlets. Commerce’s reliance
  scope of the antidumping duty order on          on the King Scope Ruling, which has no
  carbon steel butt-weld pipe fittings from       facial applicability or relevance to Vande-
  Taiwan.’’                                       water’s branch outlets, and Commerce’s
Final Scope Ruling at 5-6 (footnotes omit-        eschewing the Sprink Scope Ruling, sig-
ted). For over 25 years, then, Commerce           nals to the court that something is not
has treated steel branch outlets as butt-         quite right with Commerce’s (k)(1) analy-
weld fittings. That would seem to be dis-         sis.
positive. Commerce, however, for some                 The court was further confused by the
reason, chose to dismiss its Sprink Scope         balance of Commerce’s (k)(1) analysis.
Ruling as non-binding:                            Searching for dispositive support among
  TTT We agree that the products at issue         the (k)(1) sources to cover the steel branch
  in the Sprink Scope Ruling were essen-          outlets, Commerce identified two quotes,
  tially physically identical to Vandewa-         one from the petition and one from the
  ter’s steel branch outlets. However, we         U.S. International Trade Commission
  note that Commerce analyzed those               (‘‘ITC’’) sunset review. The petition lan-
  products under the Taiwan Butt-Weld             guage reads: ‘‘{t}he edges of finished butt-
  Order and not the China Butt-Weld Or-           weld fittings are beveled, so that when a
  der. We recognize that some of the lan-         fitting is placed against the end of a pipe
  guage in both orders is the same, but as        (the ends of which have also been beveled),
  Vandewater points out, there is also lan-       a shallow channel is created to accommo-
  guage unique to the China Butt-Weld             date the ‘bead’ of the weld which joins the
  Order. Accordingly, we are not bound by         fitting to the pipe.’’ Final Scope Ruling at
  the agency’s analysis in the Sprink             9–10 (quoting Petitioners’ Letter, ‘‘In the
  Scope Ruling, although we not [sic] that        Matter of Certain Carbon Steel Butt-Weld




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Pipe Fittings from the People’s Republic          Other than the Sprink Scope Ruling,
of China and from Thailand,’’ dated May        which Commerce dismisses as non-binding,
22, 1991 (Petition)). The quoted language      the other (k)(1) sources Commerce relied
contemplates beveling on both parts of the     upon as dispositive (the King Scope Rul-
assembled pipe—‘‘{t}he edges TTT are           ing, the petition language, and the lan-
beveled, so that when a fitting is placed      guage from the ITC sunset review) do not
against the end of a pipe (the ends of         really tell the court anything about the
which have also been beveled) TTT.’’           inclusion of steel branch outlets within the
Vandewater pointed out to Commerce that        scope of the Order. Commerce’s determi-
its branch outlets, although beveled on one    nation that the (k)(1) sources are disposi-
end, do not join to a beveled end on the       tive is therefore not reasonable (unsup-
header pipe. The quoted petition language,     ported by substantial evidence).
which contemplates beveling on both parts
                                                 For whatever reason Commerce does
of the assembled pipe, is therefore not
                                               not have much confidence in its Sprink
descriptive of the actual physical charac-
                                               Scope Ruling. Given that posture, the
teristics of Vandewater’s steel branch out-
                                               court believes that Commerce must consid-
lets.
                                               er the factors under (k)(2) to determine
   The quoted language Commerce relied         whether Vandewater’s steel branch outlets
upon from the ITC sunset review suffers        are within the scope of the Order. Accord-
from the same problem as the petition          ingly, it is hereby
language—it contemplates beveling on
                                                  ORDERED that Commerce’s determi-
both parts of the assembled pipe: ‘‘When
                                               nation that the (k)(1) materials are disposi-
placed against the end of a beveled pipe or
                                               tive of the inclusion of Vandewater’s steel
another fitting, the beveled edges form a
                                               branch outlets within the scope of the Or-
shallow channel that accommodates the
                                               der is unreasonable; it is further
‘bead’ of the weld that fastens the two
adjoining pieces.’’ Final Scope Ruling at 10     ORDERED that this matter is remand-
(quoting Carbon Steel Butt-Weld Pipe Fit-      ed to Commerce to conduct a scope inquiry
tings from Brazil, China, Japan, Taiwan,       to evaluate the factors under (k)(2); it is
and Thailand, Inv. Nos. 731-TA-308-310         further
and 520-521, at I-4 (Fourth Review),             ORDERED that Commerce shall file its
USITC Pub. 4628 (Aug. 2016)). Again,           remand results once the scope inquiry is
though, Vandewater’s branch outlets are        completed; and it is further
welded to header pipe, which is not, appar-
                                                  ORDERED that, if applicable, the par-
ently, beveled at the weld. The quoted
                                               ties shall file a proposed scheduling order
sunset review language is therefore not
                                               with page limits for comments on the re-
descriptive of the actual physical charac-
                                               mand results no later than seven days
teristics of Vandewater’s steel branch out-
                                               after Commerce files its remand results
lets.
                                               with the court.
  Commerce also highlights butt-weld
caps as an example of a butt-weld fitting
that has only one weldable end. Id. at 10.
A butt-weld cap though does not also have                   ,
threads or grooves, problematical attrib-
utes that are expressly excluded from the
Order.




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                     ADDENDUM 4
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                   Barcode:3752679-01 A-570-814 SCO - Scope Inquiry          -   Vandewater




                                                                                             A-570-814
                                                                             SCOPE: Steel Branch Outlets
                                                                                      Public Document
                                                                                          E&C OV: AC
September 10, 2018

MEMORANDUM TO:                    James Maeder
                                  Associate Deputy Assistant Secretary
                                   for Antidumping and Countervailing Duty Operations
                                   performing the duties of Deputy Assistant Secretary
                                   for Antidumping and Countervailing Duty Operations

THROUGH:                          James Doyle
                                  Director, Office V
                                  Antidumping and Countervailing Duty Operations

FROM:                             Annathea Cook
                                  International Trade Compliance Analyst
                                  Antidumping and Countervailing Duty Operations, Office V

SUBJECT:                          Antidumping Duty Order on Carbon Steel Butt-Weld Pipe Fittings
                                  from the People’s Republic of China: Final Scope Ruling on
                                  Vandewater International Inc.’s Steel Branch Outlets


Summary

On the basis of our analysis of Vandewater International Inc.’s (Vandewater) scope request, the
scope language, and the sources described in 19 CFR 351.225(k)(1), we have determined that the
steel branch outlets at issue in this scope inquiry are within the scope of the antidumping duty
(AD) order on carbon steel butt-weld pipe fittings (butt-welds) from the People’s Republic of
China (China),1 pursuant to 19 CFR 351.225(d).

Background

On May 17, 2018, Vandewater requested that the Department of Commerce (Commerce) issue a
scope ruling to determine whether the threaded or grooved CEREICO brand steel branch outlets
it imports are subject to the China Butt-Weld Order.2 June 12, 2018, Island Industries (Island), a


1
  See Antidumping Duty Order and Amendment to the Final Determination of Sales at Less Than Fair Value;
Certain Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China, 57 FR 29702 (July 6, 1992)
(China Butt-Weld Order).
2
  See Letter from Vandewater International Inc. to Commerce, “Carbon Steel Butt-Weld Pipe Fittings from the
People's Republic of China: Request for Scope Ruling for Steel Branch Outlets,” (May 17, 2018) (Scope Ruling
Request).




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producer of the domestic like product, submitted its opposition to Vandewater’s scope request.3
On June 29, 2018, Vandewater submitted rebuttal comments to Island’s opposition.4 On June
29, 2018, Commerce extended the time period for issuing a scope ruling or initiating a formal
scope inquiry by an additional 45 days until August 13, 2018.5

On July 11, 2018, counsel for Vandewater met with Commerce and submitted samples of its
steel branch outlets.6 On July 12, 2018, Smith-Cooper International (SCI), a U.S. importer of
subject merchandise, submitted comments in support of Vandewater’s scope request.7 On July
17, 2018, Anvil International, LLC (Anvil), a producer of the domestic like product, submitted
its opposition to Vandewater’s scope request.8 On July 25, 2018, counsel for Island and counsel
for Anvil met with Commerce to review the samples submitted by Vandewater.9 On August 13,
2018, Commerce extended the time period for issuing a scope ruling or initiating a formal scope
inquiry by an additional 30 days until September 12, 2018.10

On August 24, 2018, Commerce placed on the record the International Trade Commission’s
(ITC) 2016 sunset review and the 1991 petition on carbon steel butt-weld pipe fittings from
China and Thailand.11 On September 5, 2018, Island, SCI, and Vandewater submitted comments
regarding documents placed on the record.12

Scope of the Order13

The products covered by this order are carbon steel butt-weld pipe fittings, having an inside
diameter of less than 14 inches, imported in either finished or unfinished form. These formed or

3
  See Letter from Island to Commerce, “Carbon Steel Butt-Weld Pipe Fittings from China: Opposition to Scope
Ruling Requests of Vandewater International Inc. and SIGMA Corporation,” (June 12, 2018) (Island’s Comments).
4
  See Letter from Vandewater to Commerce, “Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of
China: Rebuttal Factual Information Concerning Vandewater Scope Inquiry on Steel Branch Outlets,” (June 29,
2018).
5
  See Letter to All Interested Parties from Commerce, “Scope Ruling Request for Carbon Steel Butt-Weld Pipe
Fittings from the People’s Republic of China,” (June 29, 2018).
6
  See Memo from Commerce to the File, “Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic
of China: Vandewater Scope: Ex-Parte Meeting with Requestor’s Counsel,” (July 12, 2018).
7
  See Letter from SCI to Commerce, “Certain Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of
China: Comments,” (July 12, 2018) (SCI’s Comments).
8
  See Letter from Anvil to Commerce, “Carbon Steel Butt-Weld Pipe Fittings from The People’s Republic of
China/Opposition to Scope Ruling Requests of SIGMA and Vandewater and Request for a Meeting,” (July 17,
2018) (Anvil’s Comments).
9
  See Memo from Commerce to the File, “Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic
of China: Vandewater Scope: Meeting with Counsel to Interested Parties,” (July 26, 2018).
10
   See Memo from Commerce to the File, “Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of
China: Vandewater International Inc. and Sigma Corporation Scope Ruling Requests,” (August 13, 2018).
11
   See Letter to All Interested Parties from Commerce, “Placing Documents on the Record” (August 24, 2018).
12
   See Letter from Island to Commerce, “Carbon Steel Butt-Weld Pipe Fittings from China: Comments on
Documents Placed on Record” (September 5, 2018); see also Letter from SCI to Commerce, “Certain Carbon Steel
Butt-Weld Pipe Fittings from the People’s Republic of China: Comments on Documents Placed on the Record”
(September 5, 2018); see also Letter from Vandewater to Commerce , “Carbon Steel Butt-Weld Pipe Fittings from
the People's Republic of China: Vandewater Comments on Factual Information Placed On the Record By the
Department” (September 5, 2018).
13
   See China Butt-Weld Order, 57 FR at 29703.



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forged pipe fittings are used to join sections in piping systems where conditions require
permanent, welded connections, as distinguished from fittings based on other fastening methods
(e.g., threaded, grooved, or bolted fittings). Carbon steel butt-weld pipe fittings are currently
classified under subheading 7307.93.30 of the Harmonized Tariff Schedule (HTS). Although the
HTS subheading is provided for convenience and customs purposes, our written description of
the scope of the order is dispositive.

Legal Framework

When a request for a scope ruling is filed, we examine the scope language of the order at issue
and the description of the product contained in the scope ruling request.14 If Commerce is able
to determine whether the product in question falls within or outside the scope based solely on the
language of the order, the unambiguous language of the scope governs.15 If the scope language
is ambiguous, we proceed to examine other information, including the descriptions of the
merchandise contained in the petition, the record from the investigation, and prior determinations
by Commerce, such as prior scope determinations, and the International Trade Commission
(ITC).16 If we determine that these sources are dispositive, we will issue a final scope ruling as
to whether the product in question is covered by the order.17 A determination pursuant to this
analysis may take place with or without a formal inquiry.18

Conversely, where the descriptions of the merchandise in the sources described in 19 CFR
351.225(k)(1) are not dispositive, we will consider the five additional factors set forth in 19 CFR
351.225(k)(2). These criteria are: (i) the physical characteristics of the product; (ii) the
expectations of the ultimate purchasers; (iii) the ultimate use of the product; (iv) the channels of
trade in which the product is sold; and (v) the manner in which the product is advertised and
displayed.19 The determination as to which analytical framework is most appropriate in any
given scope inquiry is made on a case-by-case basis after careful consideration of all the
evidence before Commerce.

As explained in the “Commerce’s Analysis” section below, we find that the scope language and
the information associated with the factors in 19 CFR 351.225(k)(1) are dispositive on the issue
of whether the products in Vandewater’s Scope Ruling Request are within the scope of the China
Butt-Weld Order. Pursuant to 19 CFR 351.225(d), we find that Vandewater’s imports of steel
branch outlets are within the scope of the China Butt-Weld Order. Commerce, therefore, finds it
unnecessary to initiate a formal scope inquiry pursuant to 19 CFR 351.225(e) or consider the
additional factors under 19 CFR 351.225(k)(2).



14
   See Walgreen Co. v. United States, 620 F.3d 1350, 1357 (Fed. Cir. 2010).
15
   See Meridian Prods., LLC v. United States, 851 F.3d 1375, 1381 (Fed. Cir. 2017) (quoting Mid Continent Nail
Corp. v. United States, 725 F.3d 1295, 1302 (Fed. Cir. 2013)).
16
   See 19 CFR 351.225(k)(1); see also Meridian Prods., LLC, 851 F.3d at 1381 (“{T}he inquiry begins with ‘the
language of the final order’ and turns to other sources only if the scope itself ‘is ambiguous.’”) (quoting Mid
Continent Nail Corp. v. United States, 725 F.3d at 1302).
17
   See 19 CFR 351.225(d).
18
   See 19 CFR 351.225(d) and (e).
19
   See 19 CFR 351.225(k)(2).


                                                        3
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Description of Merchandise Subject to This Scope Request

In its Scope Ruling Request, Vandewater described its steel branch outlets as follows:

         A steel branch outlet has one side (called the “header” or “run” side) that is
         contoured to match the curve of a header pipe. The contour allows the steel
         branch outlet to set on (or through) the pipe like a saddle. The other side (called
         the “branch” or “outlet” side) is frequently formed with a threaded end, or a
         groove, and is intended to connect to something else, such as a sprinkler, with a
         threaded connection or grooved connection.20

Vandewater offers two types of CEREICO brand steel branch outlets: threaded and grooved.21
Various names are used to describe these parts, including steel branch outlets, threaded or
grooved pipe outlets, and welded outlets.22 Vandewater further described its CEREICO brand
steel branch outlets as follows:

         Vandewater offers CEREICO brand threaded steel branch outlets in sizes ranging
         from ½ inch to 2½ inches. Vandewater also offers CEREICO brand grooved steel
         branch outlets in sizes ranging from 1¼ inch to 8 inches. Vandewater’s threaded
         branch outlets are manufactured from forged steel bars, and its grooved branch
         outlets are machined from welded pipe. All of Vandewater’s steel branch outlets
         are designed for fire protection and other low-pressure piping systems, and are
         pressure rated at no more than 300 psi. Vandewater’s steel branch outlets are UL
         listed and FM approved.23

Relevant Prior Scope Ruling

King Supply Co.’s Pipe Fittings for Structural Use Applications

In March 2009, King Supply Co. (King) requested that Commerce issue a scope ruling that butt-
weld pipe fittings imported by King from China are outside the scope of the China Butt-Weld
Order.24 King argued that the second sentence of the China Butt-Weld Order was an end-use
restriction that expressly limits the scope of the China Butt-Weld Order to pipe fittings used to
join sections of piping systems.25 By contrast, King's imported butt-weld pipe fittings were
“used in ornamental, architectural, and structural applications and are not used to join sections in


20
   See Scope Ruling Request at 3.
21
   Id. at 4.
22
   Id. at 3 n.2.
23
   Id. at 4; see also Exhibit 1 (description of CEREICO brand threaded steel branch outlets), Exhibit 2 (description
of CEREICO brand grooved steel branch outlets), and Exhibit 3 (complete list of threaded and grooved steel branch
outlets).
24
   See Memorandum from Edward C. Yang, Senior NME Coordinator to John M. Andersen, Acting Deputy
Assistant Secretary, regarding “Final Scope Ruling: Antidumping Duty Order on Carbon Steel Butt-Weld Pipe
Fittings from the People’s Republic of China (‘PRC’),” dated October 20, 2009 (King Scope Ruling), at 1.
25
   Id. at 2.



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piping systems.”26

Commerce issued its scope ruling on October 20, 2009, concluding that King's imports were
included within the scope of the China Butt-Weld Order.27 Commerce emphasized that, not only
were King's products physically identical to the products described in the first sentence of the
order, but evidence also showed King's products met the same ASTM and ANSI industry
standards as were referenced in the Petition.28 Commerce found further support in the ITC's
final determination, which defined the domestic like products as including “all pipe fittings
having an inside diameter of less than 14 inches, whether finished or unfinished regardless of
use.”29

Commerce rejected King's arguments that its products were outside the scope of the China Butt-
Weld Order because they were not “used to join sections in piping systems,” explaining that the
second sentence was not an end-use restriction, but merely a statement that “distinguished butt-
welding from other types of fastening methods.” Commerce elaborated as follows:

        Specifically, we find that this sentence uses piping systems as an example of an
        instance where a permanent, welded connection is desired. We find that the
        language “are used” does not mean that the use identified is necessarily the
        exclusive use. Thus, we conclude that the second sentence does not contain an
        end-use exclusion, but a description of a possible end-use.30

Accordingly, Commerce concluded that King's pipe fittings were subject to the China Butt-Weld
Order.31 That scope ruling was upheld by the Court of Appeals for the Federal Circuit in King
Supply, which affirmed Commerce’s interpretation that the second sentence of the China Butt-
Weld Order is a description of a possible end use that “shed{s} light on the functional
capabilities” of subject merchandise and is “intended to distinguish physical characteristics and
capabilities of the subject pipe fittings.”32

Sprink Inc.’s Safelet Outlets

In March 1992, Commerce issued a scope decision that Sprink Inc.’s (Sprink) Sprink-let outlet
was within the scope of the Taiwan Butt-Weld Order.33 Sprink’s scope inquiry request stated
that “{i}t appears that the definition of a butt-weld fitting is one that requires welding as a

26
   Id.
27
   Id. at 3-6.
28
   Id at 5.
29
   Id.
30
   Id.
31
   Id.
32
   See King Supply Co. v. United States, 674 F.3d 1343 (Fed. Cir. 2012) (King Supply).
33
   See Memorandum to Joseph A. Spetrini, Deputy Assistant Secretary for Compliance, through Roland L.
MacDonald, Director, Office of Antidumping Compliance, regarding “Recommendation Memo - Final scope Ruling
on Request by Sprink, Inc. to Exclude Sprink-let Carbon Steel Butt-Weld Pipe Fittings from the Antidumping Duty
order on Carbon Steel Butt-Weld Pipe Fittings from Taiwan,” (March 25, 1992) (Sprink Scope Ruling); see also
Antidumping Duty Order; Certain Carbon Steel Butt-Weld Pipe Fittings from Taiwan, 51 FR 45152 (December 17,
1986) (Taiwan Butt-Weld Order).



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method of attachment for all connections. The Sprink-let does require that it be welded onto the
outside of the pipe, but the connection for the joining pipe is either threaded or grooved.”34

Commerce specifically stated in its ruling, “the order does not require that all pipe fitting
connections be welded.”35 Commerce further stated that, “although the initial connection is
obtained because of threading or grooving, the Sprink-let, like other products subject to this
order, is permanently joined by welding.”36 Commerce concluded that, “{a}ccording to the
product descriptions presented above, a pipe fitting with beveled edges that is permanently
joined through welding falls within the scope of the order on carbon steel butt-weld pipe fittings
from Taiwan. Because the Sprink-let, possesses these characteristics, we determine that the
Sprink-let, imported by Sprink, Inc. is within the scope of the antidumping duty order on carbon
steel butt-weld pipe fittings from Taiwan.”37 Commerce ruled that Sprink’s Sprink-let is within
the scope of the Taiwan Butt-Weld Order.38

Arguments from Interested Parties

Vandewater’s Comments
• While a steel branch outlet has a permanent welded connection on one end (albeit a fillet
   weld, as opposed to a butt-weld), the other end has either a threaded or grooved end.39 Thus,
   the language of the China Butt-Weld Order specifically excludes steel branch outlets because
   of their threaded and grooved end.40
• The wrongly decided, prior Sprink scope ruling from 1992, that examined a similar product
   to a steel branch outlet, does not apply because it involved a different antidumping duty order
   with different scope language.41
• Vandewater’s steel branch outlets cannot be subject to the China Butt-Weld Order, because
   Commerce recently held in a pending investigation on forged steel fittings that steel branch
   outlets are forged steel fittings, not butt-weld pipe fittings.42
• Use of the factors under 19 CFR 351.225(k)(2), like that in Diversified Products Corporation
   v. United States, demonstrates that Vandewater’s steel branch outlets are outside the scope of
   the China Butt-Weld Order. Vandewater is unaware of any fire sprinkler fabricator that uses
   butt-weld pipe fittings, because a butt-weld fitting does not have the ability to accept a
   sprinkler head with threads.43




34
   See Letter from Sprink Inc. to Commerce, “Steel Butt-Weld Pipe Fittings from Taiwan” (October 10, 1991)
(Sprink Scope Ruling Request).
35
   See Sprink Scope Ruling at 3.
36
   Id.
37
   Id. at 4.
38
   See Sprink Scope Ruling.
39
   See Scope Ruling Request at 15.
40
   Id.
41
   Id. at 2.
42
   Id.
43
   Id. at 3.



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Island’s Comments
• Vandewater argues that steel branch outlets cannot be butt-weld pipe fittings, because they
    are built to different standards.44 Neither the China Butt-Weld Order nor the ITC product
    description defined butt-weld pipe fittings based on any particular standard.45 Given the
    important role of sprinkler systems, standard-setting organizations that focus on fire
    protection have issued distinct specifications for outlets.46 The fact that outlets must meet
    fire-protection standards does not imply that they are not butt-weld pipe fittings. Butt-weld
    pipe fittings are used in a variety of ways in a variety of different industries.47 As the ITC
    recognized, the fire protection industry is just one of those industries.48
• Vandewater argues that the “industry” does not regard steel branch outlets to be butt-weld
    pipe fittings.49 The industry does, in fact, recognize steel branch outlets as butt-weld
    fittings.50 For example, SCI, a major industry player, markets outlets under the “Cooplet”
    brand name.51 Recent public import records describe these products as “butt-weld outlets.”52
• Vandewater argues that butt-weld pipe fittings are “always” welded to the end of a pipe.53
    However, the standard that Vandewater proposes as the true descriptor of butt-weld pipe
    fittings (ASME B.16.9. 2012 Version) recognizes that butt-weld fittings are not always
    joined in parallel planes and, in those instances, must be joined by a circular arc or radius,
    which is precisely how Vandewater’s steel branch outlets are welded to header pipes.54
• Vandewater similarly argues that butt-welding fittings “always” have a square-end, not a
    contoured end, yet the same standard Vandewater uses (ASME B.16.9) expressly
    contemplates that some butt-weld fittings will have contoured ends and are not always
    welded on a single plane.
• Vandewater suggests that outlets cannot be butt-weld pipe fittings because they are relatively
    difficult to install.55 Again, nothing in the China Butt-Weld Order or the ITC investigation
    would classify pipe fittings based on their relative installation difficulty.56
• Vandewater also argues that butt-weld pipe fittings “get their name from the method in which
    they are attached to a piping system.”57 However, Vandewater points to nothing in the China
    Butt-Weld Order or the ITC investigation to support this assertion.58 Rather, the ITC
    investigation stressed that it was the “beveled edges” that “distinguish” butt-weld pipe
    fittings from other types of fittings.59 There can be no dispute that outlets feature beveled


44
   See Island’s Comments at 5-6.
45
   Id.
46
   Id.
47
   Id.
48
   Id.
49
   Id. at 5.
50
   Id.
51
   Id.
52
   Id.
53
   Id. at 6.
54
   Id.
55
   Id. at 7.
56
   Id.
57
   Id.
58
   Id.
59
   Id.



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     edges that create a shallow channel or gap that accommodates the bead of the weld that
     permanently fastens an outlet to an adjoining piping component.60

SCI’s Comments
• SCI agrees with Vandewater that steel branch outlets are not butt-weld pipe fittings.61
• The industry for these products consistently does not consider Vandewater’s products to be
   the type of product described by the scope of the China Butt-Weld Order.62 The fire
   protection products that are under review, clearly, are not within the scope and should be
   excluded.63
• Island argues that the label “butt-weld outlet” used in certain import documents for SCI’s
   “Cooplet” product line demonstrates that the industry recognizes outlets as butt-weld fittings.
   Island is mistaken.64 SCI does not regard Cooplets or similar outlets as “butt-weld fittings”
   and has never labeled them as such.65 Import documentation for SCI’s Cooplets briefly
   included the phrases “threaded butt-welded outlet,” “grooved butt-welded outlet,” and “butt-
   weld outlets” for shipments sent from December 2017 through April 2018.66 But, those
   phrases are not synonymous with butt-weld fitting, and in any event, were applied in error.
   Prior product descriptions without the term “butt-welded” had been in place for over a
   decade, and these descriptions were restored to their original and correct form more than a
   month before Island’s submission.67

Anvil’s Comments
• Anvil agrees with, and affirms, all of Island’s arguments.68

Commerce’s Analysis

Vandewater argues that the threaded or grooved CEREICO brand steel branch outlets it imports
from China do not meet the description of butt-weld pipe fittings defined in the China Butt-Weld
Order. Commerce disagrees and finds the language of the scope supports a conclusion that steel
branch outlets are subject merchandise.

The scope of the China Butt-Weld Order provides, in relevant part, that “the products covered by
this order are carbon steel butt-weld pipe fittings, having an inside diameter of less than 14
inches, imported in either finished or unfinished form” and “{t}hese formed or forged fittings
are used to join sections in piping systems where conditions require permanent, welded




60
   Id.
61
   See SCI’s Comments.
62
   Id. at 2.
63
   Id.
64
   Id.
65
   Id.
66
   Id.
67
   Id.
68
   See Anvil’s Comments.



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connections, as distinguished from fittings based on other fastening methods (e.g., threaded,
grooved, or bolted fittings).”69

As stated by Vandewater, “Vandewater’s threaded branch outlets are manufactured from forged
steel bars, and its grooved branch outlets are machined from welded pipe.”70 Vandewater also
states that, “Vandewater offers CEREICO brand threaded steel branch outlets in sizes ranging
from ½ inch to 2 ½ inches. Vandewater also offers CEREICO brand grooved steel branch
outlets in sizes ranging from 1 1/4 inch to 8 inches.71 Further, Vandewater states that, “a steel
branch outlet is welded to a hole cut into the side of a pipe.” 72

A plain reading of the scope includes carbon steel butt-weld pipe fittings that have an inside
diameter of fourteen inches or less, which require a weld to be permanently attached to a piping
system. Based on Vandewater’s description, and the samples provided, the steel branch outlets
are made of carbon steel, have an inside diameter of less than fourteen inches, and are used to
join sections in fire sprinkler piping systems where conditions require permanent, welded
connections. Thus, we find that Vandewater’s description of its steel branch outlets matches the
description of the scope covering butt-weld pipe fittings.

The China Butt-Weld Order does not require that each end of the pipe fitting be welded. The
scope provides that butt-weld pipe fittings subject to the China Butt-Weld Order “are used to join
sections in piping systems where conditions require permanent, welded connections, as
distinguished from fittings based on other fastening methods (e.g., threaded, grooved, or bolted
fittings).” This scope language references piping systems as an example of an end use
application that requires permanent, welded connections.73 This example illustrates that a
welded connection distinguishes subject merchandise from pipe fittings that rely on other
fastening methods. However, this scope language does not limit the scope to butt-weld pipe
fittings with a welded connection on both ends. A butt-weld pipe fitting with a single welded
connection can be used to join pipe sections where conditions require permanent, welded
connections. This is consistent with the King Scope Ruling, in which Commerce found that “the
second sentence of the scope distinguishes butt-welding from other types of fastening methods”
and “uses piping systems as an example of an instance where a permanent, welded connection is
desired.”74 Thus, we find that the scope language can be reasonably interpreted to include butt-
weld pipe fittings with a single welded connection and, thus, can be reasonably interpreted to
include Vandewater’s steel branch outlets.

The other sources enumerated in 19 CFR 351.225(k)(1) further support Commerce’s
interpretation of the scope. The petition explains that “{t}he edges of finished butt-weld fittings
are beveled, so that when a fitting is placed against the end of a pipe (the ends of which have also
been beveled), a shallow channel is created to accommodate the ‘bead’ of the weld which joins

69
   See China Butt-Weld Order.
70
   See Scope Ruling Request at 4.
71
   Id.
72
   Id. at 12 and Exhibit 7.
73
   See King Supply, 674 F.3d at 1348-51.
74
   See King Scope Ruling at 5.



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the fitting to the pipe.”75 This indicates that only a single welded connection is required to join
the fitting to the piping system. According to the ITC’s final determination from the most recent
sunset review of the China Butt-Weld Order, “{t}he beveled edges of butt-weld fittings
distinguish them from other types of pipe fittings, such as threaded, grooved, or bolted fittings,
which rely on different types of fastening methods. When placed against the end of a beveled
pipe or another fitting, the beveled edges form a shallow channel that accommodates the ‘bead’
of the weld that fastens the two adjoining pieces.”76 This beveled edge is necessary to facilitate a
permanent, welded connection to the piping system. Additionally, caps are one of the most
common shapes of butt-weld pipe fittings.77 Caps are used to seal the end of a pipe and, thus,
fittings with only one welded connection are not excluded from the scope of the order.78
Because Vandewater’s steel branch outlets each feature a beveled end connection, they are butt-
weld pipe fittings that are welded into permanent, fixed piping systems. This physical
characteristic distinguishes Vandewater’s steel branch outlets from pipe fittings that fall outside
the scope of the China Butt-Weld Order.

Vandewater has argued that its steel branch outlets are not butt-weld pipe fittings because butt-
weld pipe fittings are always welded to the end of a pipe with an end-to-end connection
consisting of a perpendicular connection on a single plane.79 However, there is nothing in the
scope language or the sources under 19 CFR 351.225(k)(1) that limits the scope of the Chinese
Butt-Weld Order to butt-weld pipe fittings with an end-to-end, flat, perpendicular, or single plane
connection. Other than the existence of a beveled edge, there are no angle restrictions to what is
considered a butt-weld connection according to the scope and the 19 CFR 351.225(k)(1) sources.
Furthermore, simply having a fitting with a connection other than a butt-weld (e.g., threaded or
grooved) does not distinguish steel branch outlets from butt-weld pipe fittings. According to the
scope language and the 19 CFR 351.225(k)(1) sources, only a single welded connection is
required.

Vandewater also includes arguments regarding the preliminary ITC injury report in the ongoing
antidumping and countervailing duty investigations of forged steel fittings from China.80
However, the proposed scope in the forged steel fittings investigations expressly excludes (all
fittings that have a maximum pressure rate of 300 pounds of pressure/PSI or less,” and as
Vandewater has argued, its steel branch outlets meet both of those criteria. Merchandise
expressly excluded from an investigation is not part of the “class or kind” of merchandise on
which Commerce may find dumping, on which the ITC may find injury, or on which Commerce
issues an order and to which Customs and Border Protection applies duties.81 Accordingly,

75
   See the Petitioners’ Letter, “In the Matter of Certain Carbon Steel Butt-Weld Pipe Fittings from the People’s
Republic of China and from Thailand,” dated May 22, 1991 (Petition).
76
   See Carbon Steel Butt-Weld Pipe Fittings from Brazil, China, Japan, Taiwan, and Thailand, Inv. Nos. 731-TA-
308-310 and 520-521, at I-4 (Fourth Review), USITC Pub. 4628 (August 2016).
77
   Id. at I-4.
78
   Id. at I-4 and Figure I-1.
79
   See Scope Ruling Request at 12-15 and Exhibit 7.
80
   Id. at 22-24.
81
   See Sections 731 (directing the imposition of duties on a class or kind of merchandise) and 771(25) (defining
subject merchandise as a class or kind of merchandise covered by an investigation or order) of the Tariff Act of
1930, as amended.



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Vandewater’s steel branch outlets are not part of the “class or kind” of merchandise covered by
the forged steel fittings investigations, and therefore there is no concern about two existing or
future antidumping duty orders applying to the same merchandise in this case.82

Furthermore, the interested parties also raise arguments relying on the Sprink Scope Ruling.83
We agree that the products at issue in the Sprink Scope Ruling were essentially physically
identical to Vandewater’s steel branch outlets. However, we note that Commerce analyzed those
products under the Taiwan Butt-Weld Order and not the China Butt-Weld Order. We recognize
that some of the language in both orders is the same, but as Vandewater points out, there is also
language unique to the China Butt-Weld Order. Accordingly, we are not bound by the agency’s
analysis in the Sprink Scope Ruling, although we not that here, as in that case, we have
concluded that the merchandise is covered by the scope of an antidumping duty order on “butt-
weld pipe fittings” because the merchandise is permanently joined by welding.

Pursuant to 19 CFR 351.225(d) and (k)(1), we find that the language of the scope of the China
Butt-Weld Order, as well as the descriptions of the merchandise contained in the petition, the
King Scope Ruling, and the ITC’s final determination from the most recent sunset review are
dispositive. Based on the foregoing analysis, we conclude that the China Butt-Weld Order can
be reasonably interpreted to include Vandewater’s steel branch outlets.




82
   We note that, in the forged steel fittings from China investigations, Commerce explained that “butt weld outlets”
were excluded, which it defined as outlets butt welded at both ends. As we have explained in this decision, outlets
butt welded at only one end are covered by the China Butt-Weld Order. In light of the fact that the product at issue
has a maximum pressure rate of under 300 pounds of pressure/PSI, we need not address this distinction further for
purposes of this scope ruling.
83
   See Scope Ruling Request at 2.


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Recommendation

For the reasons discussed above, and in accordance with 19 CFR 351.225(d) and (k)(1), we
recommend finding that the steel branch outlets described by Vandewater fall within the scope of
the China Butt-Weld Order. If you agree, we will notify Customs and Border Protection of our
determination and send a copy of this memorandum to all interested parties on the scope service
list via first class mail, as directed by 19 CFR 351.225(f)(4).

☒                      ☐
____________           ____________
  Agree                Disagree


                              9/10/2018



 X
 Signed by: JAMES MAEDER
James Maeder
Associate Deputy Assistant Secretary
 for Antidumping and Countervailing Duty Operations
 performing the duties of Deputy Assistant Secretary
 for Antidumping and Countervailing Duty Operations




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              UNITED STATES COURT OF INTERNATIONAL TRADE


VANDEWATER INTERNATIONAL, INC.,

                  Plaintiff,
         v.
                                                Before: Leo M. Gordon, Judge
UNITED STATES,

                  Defendant,                    Court No. 18-00199
         and

ISLAND INDUSTRIES,

                  Defendant-Intervenor.




SIGMA CORPORATION,

                  Plaintiff,
         v.
                                                Before: Leo M. Gordon, Judge
UNITED STATES,

                  Defendant,                    Court No. 19-00003

         and

ISLAND INDUSTRIES,

                  Defendant-Intervenor.




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 SMITH-COOPER INTERNATIONAL, INC.,

                     Plaintiff,
             v.

 UNITED STATES,                                       Before: Leo M. Gordon, Judge

                     Defendant,
                                                      Court No. 19-00011
             and

 ISLAND INDUSTRIES,

                     Defendant-Intervenor.



                              MEMORANDUM and ORDER

      This memorandum opinion addresses three related actions arising from the

antidumping duty order on Carbon Steel Butt-Weld Pipe Fittings from the People’s

Republic of China, which covers:

      carbon steel butt-weld pipe fittings, having an inside diameter of less than
      14 inches, imported in either finished or unfinished form. These formed or
      forged pipe fittings are used to join sections in piping systems where
      conditions require permanent, welded connections, as distinguished from
      fittings based on other fastening methods (e.g., threaded, grooved, or bolted
      fittings). Carbon steel butt-weld pipe fittings are currently classified under
      subheading 7307.93.30 of the Harmonized Tariff Schedule (HTS). Although
      the HTS subheading is provided for convenience and customs purposes,
      our written description of the scope of the order is dispositive.

Certain Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China,

57 Fed. Reg. 29,702 (Dep’t of Commerce July 6, 1992) (“Order”). The three plaintiffs,

Vandewater International Inc., SIGMA Corporation, and Smith-Cooper International, Inc.




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each independently requested scope determinations from Commerce, arguing that their

merchandise, Steel Branch Outlets (Vandewater), SAFELET and UNILET fire protection

weld outlets (SIGMA), and Cooplet Weld Outlets (Smith-Cooper) were not covered by the

Order. See ECF No. 25-1, PDs 2–6 at bar codes 3708194-01–05 (Vandewater, Court

No. 18-00199); ECF No. 29-1, PD 1 at bar code 3711158-01 (SIGMA Corp., Court

No. 19-00003); ECF No. 29-1, PDs 1–5 at bar codes 3743270-01–05 (Smith-Cooper,

Court No. 19-00011).

      Commerce separately determined all of the products were within the scope of the

Order. See Scope Ruling on Vandewater International Inc.’s Steel Branch Outlets

(Sept. 10, 2018), ECF No. 25-1, PD 48 at bar code 3752679-01 (“Vandewater Scope

Ruling”); Scope Ruling on SIGMA Corp.’s SAFELET and UNILET fire protection weld

outlets (Dec. 11, 2018), ECF No. 29-1, PD 64 at bar code 3782320-01 (“SIGMA Scope

Ruling”); Scope Ruling on Smith-Cooper International’s Cooplet Weld Outlets (Dec. 20,

2018), ECF No. 29-1, PD 32 at bar code 3785040-01 (“Smith-Cooper Scope Ruling”).

                                      Discussion

      Commerce has by regulation, 19 C.F.R. § 351.225(k), established a process for

deciding whether certain imports are covered by the scope of an antidumping or

countervailing duty order. Commerce     first   examines   the   sources    listed    under

§ 351.225(k)(1), which include “the scope language contained in the order itself, the

descriptions contained in the petition, and how the scope was defined in the investigation

and in the determinations issued by Commerce and the ITC.” 19 C.F.R. § 351.225(k)(1).

If the (k)(1) sources are not dispositive either way, Commerce then conducts a full scope

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inquiry and evaluates the sources under § 351.225(k)(2), which include the product’s

physical characteristics, ultimate purchasers’ expectations, the ultimate use of the

product, trade channels in which the product is sold, and the manner in which the product

is advertised and displayed. Id. § 351.225(k)(2); see generally United Steel and

Fasteners, Inc. v. United States, 947 F.3d 794, 799 (Fed. Cir.            2020) (describing

Commerce’s scope framework).

       Plaintiffs’ central, collective contention is that their products are not “butt-weld

fittings” because the weldable end of their fittings cannot accommodate a true “butt-

weld”—which they define as a joint type in which welded ends are aligned in

approximately the same plane. Commerce was not persuaded by Plaintiffs’ interpretation

of the term “butt-weld” and instead settled on an interpretation of the scope term “butt-

weld fitting” anchored to a specific physical characteristic noted in the petition and the ITC

sunset review—having beveled edges that form a shallow channel to accommodate the

bead of the weld. Vandewater Scope Ruling at 10; SIGMA Scope Ruling at 14; Smith-

Cooper Scope Ruling at 12-13; see also Sprink Inc. Scope Ruling (Mar. 25, 1992).

       Plaintiffs (in consultation with the court and other parties) first present a limited

argument that the scope term “butt-weld” is clear and unambiguous as a well-understood

term in “trade usage” (“(k)(zero) issue”). This is an argument that Plaintiffs contend the

court reviews de novo, without deference to Commerce’s determination. SIGMA Br.

Regarding (K)(Zero) Issues at 2–3.



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       Accepting Plaintiffs’ de novo standard, the court does not share Plaintiffs’ view that

the term “butt-weld fitting” has the one, clear, unambiguous meaning advocated by

Plaintiffs largely because there is a key piece of record information that Plaintiffs failed to

address that undermines their claims that “trade usage” is clear, unambiguous, and

uniform. One Plaintiff’s importers referred to branch outlets as a “threaded butt-welded

outlet,” a “grooved butt-welded outlet,” and “butt-weld outlets,” which weakens any claim

that there is a well-known, uniform “trade usage” of the term “butt-weld fitting” that

excludes Plaintiffs’ merchandise from the Order. Even if those descriptives were

somehow in error, as claimed by Smith-Cooper, they demonstrate that “trade usage” is

not as clear and unambiguous as Plaintiffs advocate. Afterall, similar branch outlets have

been included since 1992 under a similar antidumping duty order covering butt-weld

fittings from another country, making it hard for a reasonable mind to be persuaded that

branch outlets could never be classified as butt-weld fittings because there is one, and

only one, widely- and well-known “trade usage” of the term “butt-weld fittings” that

excludes Plaintiffs’ branch outlets. See Sprink Inc. Scope Ruling.

       The court does not express any opinion on the reasonableness (supported by

substantial evidence) of Commerce’s conclusion that the (k)(1) sources were dispositive

of the inclusion of Plaintiffs’ merchandise. It suffices to say that for Plaintiffs’ (k)(zero)

issue about there being an unambiguous meaning of the term “butt-weld fitting,” the court

did not find Plaintiffs’ arguments persuasive. Accordingly, it is therefore



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       ORDERED that Plaintiffs’ requested relief is denied; and it is further

       ORDERED that parties shall, after conferring with one another, file, on or before

June 11, 2020, a proposed briefing schedule in each of the captioned actions regarding

the final disposition of each action.




                                                                /s/ Leo M. Gordon
                                                             Judge Leo M. Gordon




Dated: June 3, 2020
       New York, New York




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                                                                      International Trade Administration, Commerce                                                § 351.225

                                                                        (i) The date on which the Secretary                     nounce publicly the issuance of a cor-
                                                                      released disclosure documents to that                     rection notice, and normally will do so
                                                                      party; or                                                 within 30 days after the date of public
                                                                        (ii) The date on which the Secretary                    announcement, or, if there is no public
                                                                      held a disclosure meeting with that                       announcement, within 30 days after the
                                                                      party.                                                    date of publication, of the preliminary
                                                                        (3) Replies to comments. Replies to                     determination, final determination, or
                                                                      comments submitted under paragraph                        final results of review (whichever is ap-
                                                                      (c)(1) of this section must be filed with-                plicable). In addition, the Secretary
                                                                      in five days after the date on which the                  will publish notice of such corrections
                                                                      comments were filed with the Sec-                         in the FEDERAL REGISTER. A correction
                                                                      retary. The Secretary will not consider                   notice will not alter the anniversary
                                                                      replies to comments submitted in con-                     month of an order or suspended inves-
                                                                      nection with a preliminary determina-                     tigation for purposes of requesting an
                                                                      tion.                                                     administrative review (see § 351.213) or a
                                                                        (4) Extensions. A party to the pro-                     new shipper review (see § 351.214) or ini-
                                                                      ceeding may request an extension of                       tiating a sunset review (see § 351.218).
                                                                      the time limit for filing comments con-                     (f) Definition of ‘‘ministerial error.’’
                                                                      cerning a ministerial error in a final                    Under this section, ministerial error
                                                                      determination or final results of review                  means an error in addition, subtrac-
                                                                      under § 351.302(c) within three days                      tion, or other arithmetic function,
                                                                      after the date of any public announce-                    clerical error resulting from inaccurate
                                                                      ment, or, if there is no public an-                       copying, duplication, or the like, and
                                                                      nouncement, within five days after the                    any other similar type of unintentional
                                                                      date of publication of the final deter-                   error which the Secretary considers
                                                                      mination or final results of review, as                   ministerial.
                                                                      applicable. The Secretary will not ex-                      (g) Definition of ‘‘significant ministerial
                                                                      tend the time limit for filing com-                       error.’’ Under this section, significant
                                                                      ments concerning a significant min-                       ministerial error means a ministerial
                                                                      isterial error in a preliminary deter-                    error (see paragraph (f) of this section),
                                                                      mination.                                                 the correction of which, either singly
                                                                        (d) Contents of comments and replies.                   or in combination with other errors:
                                                                      Comments filed under paragraph (c)(1)                       (1) Would result in a change of at
                                                                      of this section must explain the alleged                  least five absolute percentage points
                                                                      ministerial error by reference to appli-                  in, but not less than 25 percent of, the
                                                                      cable evidence in the official record,                    weighted-average dumping margin or
                                                                      and must present what, in the party’s                     the     countervailable      subsidy    rate
                                                                      view, is the appropriate correction. In                   (whichever is applicable) calculated in
                                                                      addition, comments concerning a pre-                      the original (erroneous) preliminary
                                                                      liminary determination must dem-                          determination; or
                                                                      onstrate how the alleged ministerial                        (2) Would result in a difference be-
                                                                      error is significant (see paragraph (g) of                tween a weighted-average dumping
                                                                      this section) by illustrating the effect                  margin or countervailable subsidy rate
                                                                      on individual weighted-average dump-                      (whichever is applicable) of zero (or de
                                                                      ing margin or countervailable subsidy                     minimis) and a weighted-average dump-
                                                                      rate, the all-others rate, or the coun-                   ing margin or countervailable subsidy
                                                                      try-wide subsidy rate (whichever is ap-                   rate of greater than de minimis, or vice
                                                                      plicable). Replies to any comments                        versa.
                                                                      must be limited to issues raised in such
                                                                      comments.                                                 § 351.225 Scope rulings.
                                                                        (e) Corrections. The Secretary will                        (a) Introduction. Issues arise as to
                                                                      analyze any comments received and, if                     whether a particular product is in-
                                                                      appropriate, correct any significant                      cluded within the scope of an anti-
                                                                      ministerial error by amending the pre-                    dumping or countervailing duty order
                                                                      liminary determination, or correct any                    or a suspended investigation. Such
                                                                      ministerial error by amending the final                   issues can arise because the descrip-
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                                                                      determination or the final results of re-                 tions of subject merchandise contained
                                                                      view (whichever is applicable). Where                     in the Department’s determinations
                                                                      practicable, the Secretary will an-                       must be written in general terms. At

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                                                                      § 351.225                                                              19 CFR Ch. III (4–1–18 Edition)

                                                                      other times, a domestic interested                        Secretary will issue a final ruling
                                                                      party may allege that changes to an                       under paragraph (d) of this section or
                                                                      imported product or the place where                       will initiate a scope inquiry under
                                                                      the imported product is assembled con-                    paragraph (e) of this section.
                                                                      stitutes circumvention under section                        (d) Ruling based upon the application.
                                                                      781 of the Act. When such issues arise,                   If the Secretary can determine, based
                                                                      the Department issues ‘‘scope rulings’’                   solely upon the application and the de-
                                                                      that clarify the scope of an order or                     scriptions of the merchandise referred
                                                                      suspended investigation with respect to                   to in paragraph (k)(1) of this section,
                                                                      particular products. This section con-                    whether a product is included within
                                                                      tains rules regarding scope rulings, re-                  the scope of an order or a suspended in-
                                                                      quests for scope rulings, procedures for                  vestigation, the Secretary will issue a
                                                                      scope inquiries, and standards used in                    final ruling as to whether the product
                                                                      determining whether a product is with-                    is included within the order or sus-
                                                                      in the scope of an order or suspended                     pended investigation. The Secretary
                                                                      investigation.                                            will notify all persons on the Depart-
                                                                        (b) Self-initiation. If the Secretary de-               ment’s scope service list (see paragraph
                                                                      termines from available information                       (n) of this section) of the final ruling.
                                                                      that an inquiry is warranted to deter-                      (e) Ruling where further inquiry is war-
                                                                      mine whether a product is included                        ranted. If the Secretary finds that the
                                                                      within the scope of an antidumping or                     issue of whether a product is included
                                                                      countervailing duty order or a sus-                       within the scope of an order or a sus-
                                                                      pended investigation, the Secretary                       pended investigation cannot be deter-
                                                                      will initiate an inquiry, and will notify                 mined based solely upon the applica-
                                                                      all parties on the Department’s scope                     tion and the descriptions of the mer-
                                                                      service list of its initiation of a scope                 chandise referred to in paragraph (k)(1)
                                                                      inquiry.                                                  of this section, the Secretary will no-
                                                                        (c) By application—(1) Contents and
                                                                                                                                tify by mail all parties on the Depart-
                                                                      service of application. Any interested
                                                                                                                                ment’s scope service list of the initi-
                                                                      party may apply for a ruling as to
                                                                                                                                ation of a scope inquiry.
                                                                      whether a particular product is within
                                                                                                                                  (f) Notice and procedure. (1) Notice of
                                                                      the scope of an order or a suspended in-
                                                                                                                                the initiation of a scope inquiry issued
                                                                      vestigation. The application must be
                                                                                                                                under paragraph (b) or (e) of this sec-
                                                                      served upon all parties on the scope
                                                                                                                                tion will include:
                                                                      service list described in paragraph (n)
                                                                      of this section, and must contain the                       (i) A description of the product that
                                                                      following, to the extent reasonably                       is the subject of the scope inquiry; and
                                                                      available to the interested party:                          (ii) An explanation of the reasons for
                                                                        (i) A detailed description of the prod-                 the Secretary’s decision to initiate a
                                                                      uct, including its technical character-                   scope inquiry;
                                                                      istics and uses, and its current U.S.                       (iii) A schedule for submission of
                                                                      Tariff Classification number;                             comments that normally will allow in-
                                                                        (ii) A statement of the interested                      terested parties 20 days in which to
                                                                      party’s position as to whether the                        provide comments on, and supporting
                                                                      product is within the scope of an order                   factual information relating to, the in-
                                                                      or a suspended investigation, includ-                     quiry, and 10 days in which to provide
                                                                      ing:                                                      any rebuttal to such comments.
                                                                        (A) A summary of the reasons for                          (2) The Secretary may issue question-
                                                                      this conclusion,                                          naires and verify submissions received,
                                                                        (B) Citations to any applicable statu-                  where appropriate.
                                                                      tory authority, and                                         (3) Whenever the Secretary finds that
                                                                        (C) Any factual information sup-                        a scope inquiry presents an issue of sig-
                                                                      porting this position, including ex-                      nificant difficulty, the Secretary will
                                                                      cerpts from portions of the Secretary’s                   issue a preliminary scope ruling, based
                                                                      or the Commission’s investigation, and                    upon the available information at the
                                                                      relevant prior scope rulings.                             time, as to whether there is a reason-
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                                                                        (2) Deadline for action on application.                 able basis to believe or suspect that the
                                                                      Within 45 days of the date of receipt of                  product subject to a scope inquiry is
                                                                      an application for a scope ruling, the                    included within the order or suspended

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                                                                      International Trade Administration, Commerce                                                § 351.225

                                                                      investigation. The Secretary will no-                     logical advance or significant alter-
                                                                      tify all parties on the Department’s                      ation of an earlier product.
                                                                      scope service list (see paragraph (n) of                    (ii) If the Secretary notifies the Com-
                                                                      this section) of the preliminary scope                    mission under paragraph (f)(7)(i) of this
                                                                      ruling, and will invite comment. Unless                   section, upon the written request of
                                                                      otherwise specified, interested parties                   the Commission, the Secretary will
                                                                      will have within twenty days from the                     consult with the Commission regarding
                                                                      date of receipt of the notification in                    the proposed inclusion, and any such
                                                                      which to submit comments, and ten                         consultation will be completed within
                                                                      days thereafter in which to submit re-                    15 days after the date of such request.
                                                                      buttal comments.                                          If, after consultation, the Commission
                                                                        (4) The Secretary will issue a final                    believes that a significant injury issue
                                                                      ruling as to whether the product which                    is presented by the proposed inclusion
                                                                      is the subject of the scope inquiry is in-                of a product within an order, the Com-
                                                                      cluded within the order or suspended                      mission may provide written advice to
                                                                      investigation, including an explanation                   the Secretary as to whether the inclu-
                                                                      of the factual and legal conclusions on                   sion would be inconsistent with the af-
                                                                      which the final ruling is based. The                      firmative injury determination of the
                                                                      Secretary will notify all parties on the                  Commission on which the order is
                                                                      Department’s scope service list (see                      based.
                                                                      paragraph (n) of this section) of the                       (g) Products completed or assembled in
                                                                      final scope ruling.                                       the United States. Under section 781(a)
                                                                        (5) The Secretary will issue a final                    of the Act, the Secretary may include
                                                                      ruling under paragraph (k) of this sec-                   within the scope of an antidumping or
                                                                      tion (other scope rulings) normally                       countervailing duty order imported
                                                                      within 120 days of the initiation of the                  parts or components referred to in sec-
                                                                      inquiry under this section. The Sec-                      tion 781(a)(1)(B) of the Act that are
                                                                      retary will issue a final ruling under                    used in the completion or assembly of
                                                                      paragraph (g), (h), (i), or (j) of this sec-              the merchandise in the United States
                                                                      tion (circumvention rulings under sec-                    at any time such order is in effect. In
                                                                      tion 781 of the Act) normally within 300                  making this determination, the Sec-
                                                                      days from the date of the initiation of                   retary will not consider any single fac-
                                                                      the scope inquiry.                                        tor of section 781(a)(2) of the Act to be
                                                                        (6) When an administrative review                       controlling. In determining the value
                                                                      under § 351.213, a new shipper review                     of parts or components purchased from
                                                                      under § 351.214, or an expedited anti-                    an affiliated person under section
                                                                      dumping review under § 351.215 is in                      781(a)(1)(D) of the Act, or of processing
                                                                      progress at the time the Secretary pro-                   performed by an affiliated person under
                                                                      vides notice of the initiation of a scope                 section 781(a)(2)(E) of the Act, the Sec-
                                                                      inquiry (see paragraph (e)(1) of this sec-                retary may determine the value of the
                                                                      tion), the Secretary may conduct the                      part or component on the basis of the
                                                                      scope inquiry in conjunction with that                    cost of producing the part or compo-
                                                                      review.                                                   nent under section 773(f)(3) of the Act.
                                                                        (7)(i) The Secretary will notify the                      (h) Products completed or assembled in
                                                                      Commission in writing of the proposed                     other foreign countries. Under section
                                                                      inclusion of products in an order prior                   781(b) of the Act, the Secretary may in-
                                                                      to issuing a final ruling under para-                     clude within the scope of an anti-
                                                                      graph (f)(4) of this section based on a                   dumping or countervailing duty order,
                                                                      determination under:                                      at any time such order is in effect, im-
                                                                        (A) Section 781(a) of the Act with re-                  ported merchandise completed or as-
                                                                      spect to merchandise completed or as-                     sembled in a foreign country other
                                                                      sembled in the United States (other                       than the country to which the order
                                                                      than minor completion or assembly);                       applies. In making this determination,
                                                                        (B) Section 781(b) of the Act with re-                  the Secretary will not consider any
                                                                      spect to merchandise completed or as-                     single factor of section 781(b)(2) of the
                                                                      sembled in other foreign countries; or                    Act to be controlling. In determining
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                                                                        (C) Section 781(d) of the Act with re-                  the value of parts or components pur-
                                                                      spect to later-developed products                         chased from an affiliated person under
                                                                      which incorporate a significant techno-                   section 781(b)(1)(D) of the Act, or of

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                                                                      § 351.225                                                              19 CFR Ch. III (4–1–18 Edition)

                                                                      processing performed by an affiliated                     (f)(3) of this section to the effect that
                                                                      person under section 781(b)(2)(E) of the                  the product in question is included
                                                                      Act, the Secretary may determine the                      within the scope of the order, any sus-
                                                                      value of the part or component on the                     pension of liquidation described in
                                                                      basis of the cost of producing the part                   paragraph (l)(1) of this section will con-
                                                                      or component under section 773(f)(3) of                   tinue. If liquidation has not been sus-
                                                                      the Act.                                                  pended, the Secretary will instruct the
                                                                        (i) Minor alterations of merchandise.                   Customs Service to suspend liquidation
                                                                      Under section 781(c) of the Act, the                      and to require a cash deposit of esti-
                                                                      Secretary may include within the                          mated duties, at the applicable rate,
                                                                      scope of an antidumping or counter-                       for each unliquidated entry of the prod-
                                                                      vailing duty order articles altered in                    uct entered, or withdrawn from ware-
                                                                      form or appearance in minor respects.                     house, for consumption on or after the
                                                                        (j) Later-developed merchandise. In de-                 date of initiation of the scope inquiry.
                                                                      termining     whether     later-developed                 If the Secretary issues a preliminary
                                                                      merchandise is within the scope of an                     scope ruling to the effect that the prod-
                                                                      antidumping or countervailing duty                        uct in question is not included within
                                                                      order, the Secretary will apply section                   the scope of the order, the Secretary
                                                                      781(d) of the Act.                                        will order any suspension of liquidation
                                                                        (k) Other scope determinations. With                    on the product ended, and will instruct
                                                                      respect to those scope determinations                     the Customs Service to refund any cash
                                                                      that are not covered under paragraphs                     deposits or release any bonds relating
                                                                      (g) through (j) of this section, in con-                  to that product.
                                                                      sidering whether a particular product                        (3) If the Secretary issues a final
                                                                      is included within the scope of an order                  scope ruling, under either paragraph
                                                                      or a suspended investigation, the Sec-                    (d) or (f)(4) of this section, to the effect
                                                                      retary will take into account the fol-                    that the product in question is in-
                                                                      lowing:                                                   cluded within the scope of the order,
                                                                        (1) The descriptions of the merchan-                    any suspension of liquidation under
                                                                      dise contained in the petition, the ini-                  paragraph (l)(1) or (l)(2) of this section
                                                                      tial investigation, and the determina-                    will continue. Where there has been no
                                                                      tions of the Secretary (including prior                   suspension of liquidation, the Sec-
                                                                      scope determinations) and the Commis-                     retary will instruct the Customs Serv-
                                                                      sion.                                                     ice to suspend liquidation and to re-
                                                                        (2) When the above criteria are not                     quire a cash deposit of estimated du-
                                                                      dispositive, the Secretary will further                   ties, at the applicable rate, for each un-
                                                                      consider:                                                 liquidated entry of the product en-
                                                                        (i) The physical characteristics of the                 tered, or withdrawn from warehouse,
                                                                      product;                                                  for consumption on or after the date of
                                                                        (ii) The expectations of the ultimate                   initiation of the scope inquiry. If the
                                                                      purchasers;                                               Secretary’s final scope ruling is to the
                                                                        (iii) The ultimate use of the product;                  effect that the product in question is
                                                                        (iv) The channels of trade in which                     not included within the scope of the
                                                                      the product is sold; and                                  order, the Secretary will order any sus-
                                                                        (v) The manner in which the product                     pension of liquidation on the subject
                                                                      is advertised and displayed.                              product ended and will instruct the
                                                                        (l) Suspension of liquidation. (1) When                 Customs Service to refund any cash de-
                                                                      the Secretary conducts a scope inquiry                    posits or release any bonds relating to
                                                                      under paragraph (b) or (e) of this sec-                   this product.
                                                                      tion, and the product in question is al-                     (4) If, within 90 days of the initiation
                                                                      ready subject to suspension of liquida-                   of a review of an order or a suspended
                                                                      tion, that suspension of liquidation                      investigation under this subpart, the
                                                                      will be continued, pending a prelimi-                     Secretary issues a final ruling that a
                                                                      nary or a final scope ruling, at the cash                 product is included within the scope of
                                                                      deposit rate that would apply if the                      the order or suspended investigation
                                                                      product were ruled to be included with-                   that is the subject of the review, the
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                                                                      in the scope of the order.                                Secretary, where practicable, will in-
                                                                        (2) If the Secretary issues a prelimi-                  clude sales of that product for purposes
                                                                      nary scope ruling under paragraph                         of the review and will seek information

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                                                                      International Trade Administration, Commerce                                                § 351.301

                                                                      regarding such sales. If the Secretary                    § 351.102(b)(21). The Department obtains
                                                                      issues a final ruling after 90 days of the                most of its factual information in anti-
                                                                      initiation of the review, the Secretary                   dumping and countervailing duty pro-
                                                                      may consider sales of the product for                     ceedings from submissions made by in-
                                                                      purposes of the review on the basis of                    terested parties during the course of
                                                                      non-adverse facts available. However,                     the proceeding. Notwithstanding para-
                                                                      notwithstanding the pendency of a                         graph (b) of this section, the Secretary
                                                                      scope inquiry, if the Secretary con-                      may request any person to submit fac-
                                                                      siders it appropriate, the Secretary                      tual information at any time during a
                                                                      may request information concerning                        proceeding or provide additional oppor-
                                                                      the product that is the subject of the                    tunities to submit factual information.
                                                                      scope inquiry for purposes of a review                    Section 351.302 sets forth the proce-
                                                                      under this subpart.                                       dures for requesting an extension of
                                                                         (m) Orders covering identical products.                such time limits, and provides that,
                                                                      Except for a scope inquiry and a scope                    unless expressly precluded by statute,
                                                                      ruling that involves section 781(a) or                    the Secretary may, for good cause, ex-
                                                                      section 781(b) of the Act (assembly of                    tend any time limit established in the
                                                                      parts or components in the United                         Department’s        regulations.  Section
                                                                      States or in a third country), if more                    351.303 contains the procedural rules re-
                                                                      than one order or suspended investiga-                    garding filing (including procedures for
                                                                      tion cover the same subject merchan-                      filing on non-business days), format,
                                                                      dise, and if the Secretary considers it                   translation, service, and certification
                                                                      appropriate, the Secretary may con-                       of documents. In the Secretary’s writ-
                                                                      duct a single inquiry and issue a single                  ten request to an interested party for a
                                                                      scope ruling that applies to all such or-                 response to a questionnaire or for other
                                                                      ders or suspended investigations.                         factual information, the Secretary will
                                                                         (n) Service of applications; scope service             specify the following: The time limit
                                                                      list. The requirements of § 351.303(f)                    for the response; the information to be
                                                                      apply to this section, except that an                     provided; the form and manner in
                                                                      application for a scope ruling must be                    which the interested party must sub-
                                                                      served on all persons on the Depart-                      mit the information; and that failure
                                                                      ment’s scope service list. For purposes                   to submit the requested information in
                                                                      of this section, the ‘‘scope service list’’               the requested form and manner by the
                                                                      will include all persons that have par-                   date specified may result in use of the
                                                                      ticipated in any segment of the pro-                      facts available under section 776 of the
                                                                      ceeding. If an application for a scope                    Act and § 351.308.
                                                                      ruling in one proceeding results in a                        (b) Submission of factual information.
                                                                      single inquiry that will apply to an-                     Every submission of factual informa-
                                                                      other proceeding (see paragraph (m) of                    tion must be accompanied by a written
                                                                      this section), the Secretary will notify                  explanation identifying the subsection
                                                                      persons on the scope service list of the                  of § 351.102(b)(21) under which the infor-
                                                                      other proceeding of the application for                   mation is being submitted.
                                                                      a scope ruling.                                              (1) If an interested party states that
                                                                         (o) Publication of list of scope rulings.              the information is submitted under
                                                                      On a quarterly basis, the Secretary will                  § 351.102(b)(21)(v), the party must ex-
                                                                      publish in the FEDERAL REGISTER a list                    plain why the information does not
                                                                      of scope rulings issued within the last                   satisfy the definitions described in
                                                                      three months. This list will include the                  § 351.102(b)(21)(i)–(iv).
                                                                      case name, reference number, and a                           (2) If the factual information is being
                                                                      brief description of the ruling.                          submitted to rebut, clarify, or correct
                                                                                                                                factual information on the record, the
                                                                           Subpart C—Information and                            submitter must provide a written ex-
                                                                                   Argument                                     planation identifying the information
                                                                                                                                which is already on the record that the
                                                                      § 351.301 Time limits for submission of                   factual information seeks to rebut,
                                                                           factual information.                                 clarify, or correct, including the name
kpayne on DSK54DXVN1OFR with $$_JOB




                                                                         (a) Introduction. This section sets                    of the interested party that submitted
                                                                      forth the time limits for submitting                      the information and the date on which
                                                                      factual information, as defined by                        the information was submitted.

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